     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 1 of 278
                                                                             1

 1                 IN THE UNITED STATES DISTRICT COURT FOR

 2                     THE EASTERN DISTRICT OF LOUISIANA

 3                                AT NEW ORLEANS

 4

 5   ROY FERRAND, LUTHER SCOTT,JR., and        )
     LOUISIANA STATE CONFERENCE OF THE         )
 6   NAACP, for themselves and all other       )
     persons similarly situated,               )
 7                                             )
                         Plaintiffs,           )
 8                                             )
               v.                              )       Case No. 11-926 "H"
 9                                             )       October 16, 2012
     TOM SCHEDLER in his official capacity as )        Bench Trial
10   the Louisiana Secretary of State, RUTH    )       Day Two
     JOHNSON, in her official capacity as      )
11   Secretary of the Louisiana Department of )
     Children & Family Services, and BRUCE D. )
12   GREENSTEIN, in his official capacity as   )
     Secretary of the Louisiana Department of )
13   Health & Hospitals,                       )
                                               )
14                 Defendants.                 )
     __________________________________________)
15

16

17                          TRANSCRIPT OF PROCEEDINGS

18                 BEFORE THE HONORABLE JANE TRICHE MILAZZO

19                        UNITED STATES DISTRICT JUDGE

20

21   SUSAN A. ZIELIE, RMR, FCRR
     Official Court Reporter
22   HB 406
     500 Poydras Street
23   New Orleans, Louisiana 70130
     susan_zielie@laed.uscourts.gov
24   504.589.7781

25   Proceedings Recorded by Computer-aided Stenography.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 2 of 278
                                                                            2

 1   APPEARANCES:

 2

 3   For the Plaintiffs:         DALE HO, ESQ.
                                 NATASHA KORGAONKAR, ESQ.
 4                               NAACP Legal Defense
                                   & Educational Fund, Inc.
 5                               99 Hudson Street
                                 Suite 1600
 6                               New York NY 10013
                                 212.965.2200
 7                               dho@naacpldf.org

 8                               RONALD LAWRENCE WILSON, ESQ.
                                 Ronald L. Wilson, Atty at Law
 9                               909 Poydras Street
                                 Suite 2556
10                               New Orleans LA 70112
                                 504.525.4361
11                               Cabra12@aol.com

12                               MICHAEL B. DeLEEUW, ESQ.
                                 ERICA SOLLIE, ESQ.
13                               DAVID YELLIN, ESQ.
                                 JESSE RYAN LOFFLER, ESQ.
14                               Fried, Frank, Harris, Schriver
                                   & Jacobson, LLP
15                               One New York Plaza
                                 New York NY 10004
16                               212.859.8247
                                 michael.deleeuw@friedfrank.com
17
                                 MICHELLE RUPP, ESQ.
18                               SARAH BRANNON, ESQ.
                                 Project Vote
19                               1350 Eye Street NW
                                 Suite 1250
20                               Washington DC 20005
                                 202.546.4173
21                               mrupp@projectvote.org

22
                                 NIYATI SHAH, ESQ.
23                               Project Vote
                                 737 1/2 8th Street SE
24                               Washington DC 20003
                                 202.546.4173
25                               nshah@projectvote.org
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 3 of 278
                                                                            3

 1   APPEARANCES - 2

 2

 3   For Defendant               CELIA R. CANGELOSI, ESQ.
     Schedler:                   Celia R. Cangelosi, Atty at Law
 4                               PO Box 3036
                                 918 Government Street
 5                               Suite 101
                                 Baton Rouge LA 70821
 6                               225.387.0511
                                 ceciacan@bellsouth.net
 7
                                 CAREY JONES, ESQ.
 8                               Carey T. Jones, Atty at Law
                                 PO Box 700
 9                               Denham Springs LA 7072-0700
                                 225.664.0077
10                               tjones@tomoneslaw.com

11   For Defendant               CELIA MARIE WILLIAMS-ALEXANDER, ESQ.
     Sonnier:                    EBONI TOWNSEND, ESQ.
12                               State of Louisiana
                                 (Dpt of Children & Family Services)
13                               627 North 4th Street
                                 PO Box 1887
14                               Baton Rouge LA 70821
                                 225.342.1125
15                               celia.alexander@la.gov

16                               HARRY JOSEPH PHILIPS, JR., ESQ.
                                 AMY COLLIER LAMBERT, ESQ.
17                               Taylor Porter Brooks & Philips, LLP
                                 451 Florida Street
18                               8th Floor
                                 PO Box 2471
19                               Baton Rouge LA 70821
                                 225.387.3221
20                               amy.lambert@taylorporter.com

21

22

23

24

25
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 4 of 278
                                                                            4

 1   APPEARANCES - 3

 2   For Defendant               DOUGLAS CADE, ESQ.
     Greenstein:                 REBECCA C. CLEMENT, ESQ.
 3                               DAVID L. McCAY, ESQ.
                                 Louisiana Dpt. Of Health & Hospitals
 4                               Bureau of Legal Services
                                 Bienville Building
 5                               628 N. 4th Street
                                 PO Box 3836
 6                               Baton Rouge LA 70821-3836
                                 225.342.9939
 7                               rebecca.clement.la.gov
                                 douglas.cade@la.gov
 8                               david.mccay@la.gov

 9
                                 HARRY JOSEPH PHILIPS, JR., ESQ.
10                               AMY COLLIER LAMBERT, ESQ.
                                 Taylor Porter Brooks & Philips, LLP
11                               451 Florida Street
                                 8th Floor
12                               PO Box 2471
                                 Baton Rouge LA 70821
13                               225.387.3221
                                 amy.lambert@taylorporter.com
14
                                 BRANDON JAMES BABINEAUX, ESQ.
15                               Louisiana Dpt. Of Health & Hospitals.
                                 Bureau of Legal Services
16                               Bienville Building
                                 628 N. 4th Street
17                               PO Box 3836
                                 Baton Rouge LA 70821-3836
18                               225.342.9939
                                 brandon.babineaux@la.gov
19

20

21

22

23

24

25
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 5 of 278
                                                                            5

 1                                   I N D E X

 2   TESTIMONY OF:

 3        LUTHER SCOTT

 4              Direct by Mr. Ho                       78, 57

 5              Cross by Mr. Philips                  29

 6              Cross by Mr. Jones                    49

 7

 8        ERNEST JOHNSON

 9              Direct by Mr. Ho                      65, 130

10              Cross by Ms. Cangelosi                83

11              Cross by Mr. Philips                 117

12

13        EDWARD CHIPPS TAYLOR, III

14              Direct by Mr. Ho                     135, 232

15              Cross by Ms. Cangelosi               183

16              Cross by Mr. Philips                 223

17

18        SUZY SONNIER

19              Direct by Mr. Philips                241

20

21

22

23

24

25
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 6 of 278
                                                                                 6

 1            NEW ORLEANS, LOUISIANA; TUESDAY, OCTOBER 16, 2012

 2                                   8:30 A.M.

 3             THE COURT:    Good morning.

 4                   Mr. Ho, you may call your next witness.

 5             MR. HO:   Before that, Your Honor, we have some exhibits

 6   to move into evidence.     The parties have shortened the length of

 7   the trial.

 8                   The first is plaintiff's Exhibit 53.

 9             MS. CANGELOSI:     Your Honor, that's a one-page exhibit,

10   and the Secretary of State as agreed to the admissibility of

11   that as well.

12             THE COURT:    Admitted.

13                   (Exhibit admitted.)

14             MR. HO:   And we have a modified Exhibit 54.       Not all of

15   the pages in the original plaintiff's Exhibit 54 will be going

16   in.   So only those pages with the face demarcation SOS 2968.

17             THE COURT:    Is that the 2010?

18             MR. HO:   Yes, Your Honor.

19             THE COURT:    Okay.

20             MR. HO:   These are the 2010 through the first quarter

21   of 2011, and the Bates number is SOS 2908.

22             MS. CANGELOSI:     We have no objection to the

23   admissibility of that as modified.       I think it's six pages.       Or

24   10.   Something like that.

25             MR. HO:   Yes.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 7 of 278
                                                                              7

 1                   Plaintiff's Exhibit 55, which is the new

 2   registration for the last three quarters of 2011.

 3             MS. CANGELOSI:    No objection to the admissibility of

 4   that exhibit, Your Honor.

 5             THE COURT:    Let those be admitted.

 6                   (Exhibit admitted.)

 7             MR. HO:   That will shorten our witness list.        We will

 8   no longer being called from the Secretary of State's Office

 9   Joanne Reed and Christine Weatherford.

10                   We've also agreed to enter a stipulation, but we

11   will have to work out the precise wording of those during the

12   recess, both with Secretary of State and the DHH.

13             MS. CANGELOSI:    We have ours.

14                   I think that the stipulation that they asked for

15   was that, during the year 2010, the Secretary of State's office

16   did not conduct training at DCFS.

17             MR. HO:   I think it was training on the NVRA for the

18   DCFS.

19             MS. CANGELOSI:    Training on the NVRA at DCFS, yes.

20             MR. HO:   So, in that case, we no longer need to call

21   Cate McRitchie.

22             MS. CANGELOSI:    McRitchie.

23             MR. HO:   We're working out the stipulation with Philips

24   and DCSF about something with the admissibility of certain

25   pleadings, but we'll deal with that later.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 8 of 278
                                                                              8

 1              THE COURT:   Do we have a stipulation regarding with

 2   DCFS, or is that what we're working on?

 3              MR. PHILIPS:   It's the DHH WIC program.      We're working

 4   on some of the things we discussed in chambers.         And, as soon as

 5   we do that, we'll have a stip.

 6              THE COURT:   Thank you.

 7              MR. HO:   With those preliminary matters resolved,

 8   plaintiffs call their first witness of the morning, Mr. Luther

 9   Scott.

10              THE COURT:   Mr. Scott, please come forward.

11                   LUTHER SCOTT, being duly sworn, testified as

12   follows:

13              THE COURT:   Please have a seat, Mr. Scott.

14                   If you'd please say your name and spell it for the

15   court reporter, please.

16              THE WITNESS:   My name is Luther Scott, L-U-T-H-E-R

17   S-C-O-T-T.   I'm a junior.

18              THE COURT:   You may proceed.

19                             DIRECT EXAMINATION

20   BY MR. HO:

21   Q   Good morning, Mr. Scott.

22   A   Good morning.

23   Q   How are you today?

24   A   I'm okay.

25   Q   Are you here today to testify as a plaintiff in this case,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 9 of 278
                                                                                9

 1   Mr. Scott?

 2   A   Yes, I am.

 3   Q   How old are you, Mr. Scott?

 4   A   Approximately 63, going on 64.

 5   Q   Would you tell the Court --

 6             MS. CANGELOSI:    Your Honor, I'm sorry to interrupt and

 7   I apologize, but I think we have some witnesses in the

 8   courtroom.

 9             THE COURT:    Are there any witnesses in the courtroom?

10             MR. HO:   You're absolutely right.

11             THE COURT:    Do I need to give him instruction, or have

12   you --

13             MR. HO:   You're right.    He was not here yesterday to

14   receive the instruction.

15             THE COURT:    Please come forward, Reverend Taylor.          I

16   just want to give you some instructions.

17                  The parties have requested and I have granted an

18   order of sequestration of witnesses.       And what that means is

19   that you're not allowed to sit in the courtroom during the

20   course of anyone's testimony.      Nor are you allowed to have

21   someone report to you what their testimony was in the courtroom,

22   or you report to anyone else what you testified to.

23                    And the purpose of this order is so that your

24   testimony is based solely on your personal knowledge and not

25   anything you've heard in the courtroom.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 10 of 278
                                                                             10

 1                    So I'm going to ask you to sit outside the

 2   courtroom, and we'll call you when it's time for you to testify.

 3               REVEREND TAYLOR:   Yes, ma'am, Your Honor.

 4               THE COURT:   Thank you.

 5               REVEREND TAYLOR:   Thank you.

 6   BY MR. HO:

 7   Q    I apologize for that interruption, Mr. Scott.

 8                    Mr. Scott, can you tell the Court a little bit

 9   about yourself.

10   A    I am a native of Louisiana, lived here all my life.         Vietnam

11   veteran.     Did seven years of Army Reserve.     Been a citizen, like

12   I say, in the state of Louisiana all my life.         And I've lived

13   here and did charitable things in the state of Louisiana since I

14   lived here in the city.

15   Q    You said you were a Vietnam veteran?

16   A    Yes.    I did 18 months in Vietnam.

17   Q    And how do you make a living these days?

18   A    After being in the service, I went to Delgado Junior

19   College, took up several trades.       I am a mechanic by trade, pipe

20   fitter.     So I'm more or less employed, and do things in my spare

21   time.

22   Q    Anything else other than mechanic work?

23   A    Yes.    Over the years, I've learned to do various things.

24   I'm also a carpenter, sheetrock, roofer.

25   Q    Fair to say, handyman?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 11 of 278
                                                                             11

 1   A    More or less, yes.     Jack of all, master of none.

 2   Q    Where do you live right now, Mr. Scott?

 3   A    At the present time, I live at 2517 1/2 Magnolia Street here

 4   in New Orleans.

 5   Q    Did you say 2517 1/2?

 6   A    2515 Magnolia Street.

 7   Q    And when did you begin living there?

 8   A    Approximately eight months ago.

 9   Q    Do you know how long you're going live there in the future?

10   A    No, I do not.

11   Q    Do you have a lease there?

12   A    No, I do not have a lease.

13   Q    Where did you live before you lived at 2515 Magnolia?

14   A    At that time, I was living out of my car.

15   Q    I'm sorry, did you say --

16   A    Out of my car.

17   Q    And before that?

18   A    Before that, I lived on Condor Street.

19                   And, before that, I lived on St. Patricks.

20                   And, before that, I'd also lived on I believe it

21   was Gravier.

22                   I'm sorry, Derbigny.

23   Q    You didn't live at Gravier?

24   A    No, I didn't live at Gravier.

25   Q    Did there come a time, Mr. Scott, that you came to apply for
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 12 of 278
                                                                             12

 1   some form of public assistance benefits?

 2   A    Yes, I did.

 3   Q    When was -- I'm sorry.      I want to show you a document.

 4                MR. HO:   Permission to approach, Your Honor?

 5                THE COURT:   Yes.

 6   BY MR. HO:

 7   Q    Mr. Scott, could you turn to the first tab in your binder.

 8   This is plaintiff's Exhibit 146, which has already been admitted

 9   into the record.

10                    Take a few moments to flip through that, and let

11   me know when you're ready.

12                     (Pause in proceedings.)

13                THE WITNESS:   Okay.

14   BY MR. HO:

15   Q    Could I direct your attention, do you see the page numbers

16   on the bottom right-hand corner of the page?

17   A    Yes, I do.

18   Q    Could I direct your attention to page DCFS 9386.         Take a

19   look at that, and just let me know when you're ready.

20   A    Okay.

21   Q    Mr. Scott, have you seen this before?

22   A    Yes, I have.

23   Q    What is this?

24   A    Food stamps application form.

25   Q    And whose food stamps form is it?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 13 of 278
                                                                             13

 1   A    It's mine, Luther Scott.

 2   Q    You filled it out?

 3   A    Yes, sir, I did.

 4   Q    And is there a date on this page?

 5   A    Yes.    It's 9/1/09.

 6   Q    Is that September 1st, 2009?

 7   A    Correct.

 8   Q    Can you tell me what happened on that day?

 9   A    I went down to the food stamps office to apply for food

10   stamps.     I initially stepped inside the building, you take a

11   number and wait until your number's called.         At the time that

12   your number's called, you go to a receptionist or a window

13   inside of the building, where they give you forms in order to

14   fill out for food stamps.

15   Q    And what happened next?

16   A    You fill the forms out.     Take that back to the window and

17   give them back to the receptionist.       And then, at that time,

18   someone else will call your name and come out and see you.

19   Q    And then what happened next?

20   A    Next, they take you back to a room inside the building where

21   this person who is supposed to be your caseworker goes over your

22   application, makes sure that you've filled it out correctly.

23   And then advise you what you need to do next.

24   Q    And what happened after that?

25   A    Well, after she checks the paperwork, we're in her office at
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 14 of 278
                                                                              14

 1   the desk, and she explains certain things to you.         And that,

 2   this is regarding your food stamp application, and at that point

 3   in time she asks to you sign certain sections where she has

 4   marked.

 5   Q    And after that?

 6   A    After that, you go sit back out in the hallway.         She tells

 7   you your paperwork has been completed, and you're free to leave.

 8   Q    And after that?

 9   A    After that, you leave the building.

10   Q    Where is the building that you went to that day?

11   A    The one is here in -- I believe it's Iberville here in New

12   Orleans.

13   Q    And let's look at that document again.       And I'd like you to

14   turn two pages forward, to page DCFS 9388.        Just let me know

15   when you're ready.

16                     (Pause in proceedings.)

17              THE WITNESS:   All right.

18   BY MR. HO:

19   Q    Do you see near the bottom of the page a few lines down

20   where it says mailing address?

21   A    Yes, I do.

22   Q    And what does it say written there?

23   A    It's 1301 South Derbigny.

24   Q    Is that your handwriting?

25   A    Yes, it is.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 15 of 278
                                                                              15

 1   Q    Where were you living at that time?

 2   A    That was sort of a shelter.      It was a church on South

 3   Derbigny where I was staying, versus living in my car.

 4   Q    Were you no longer living at St. Patrick Street at that

 5   time?

 6   A    No, sir, I was not.

 7   Q    Did you ever move back to St. Patrick Street?

 8   A    No, I did not.

 9   Q    Let's flip forward a few more pages, to DCFS 9401.         Again,

10   just let me know when you're ready.

11                     (Pause in proceedings.)

12               THE WITNESS:     Okay.

13   BY MR. HO:

14   Q    Have you seen this before?

15   A    Yes, I have.

16   Q    Do you see a date on this page?

17   A    Yes.    It's 9/1/09.

18   Q    So September 1st, 2009?

19   A    Correct.

20   Q    Do you see at the top of the page where it says Voter

21   Registration?

22   A    Yes, I do.

23   Q    I'm going to read a line a few lines down that starts with

24   the word If.

25                     It says:    If you are not registered to vote where
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 16 of 278
                                                                             16

 1   you live now, would you like to apply to register to vote.

 2                     Do you see that?

 3   A    Yes, sir, I do.

 4   Q    Do you see how, next to it, there are check boxes marked yes

 5   and no?

 6   A    Yes, I do.

 7   Q    Is the no box checked here, Mr. Scott?

 8   A    No, sir.    Neither box is checked.

 9   Q    Did you decline to register to vote in writing?

10   A    Not --

11             MR. PHILIPS:      Excuse me, Your Honor, I object.     That's

12   going to a legal issue in this case.

13             MR. HO:    Withdrawn.

14             MR. PHILIPS:      The document speaks for itself.

15             THE COURT:       Sustained.

16   BY MR. HO:

17   Q    I'd like to turn your attention to another document in the

18   binder, Mr. Scott.     And it's at tab 2.     We'll be coming back to

19   this in a moment, but let's look at tab 2, which is plaintiff's

20   Exhibit 161 and which has already been admitted into evidence.

21                    Could you look at the second page, Mr. Scott?

22   A    Pardon me?

23   Q    Could you look at the second page in that binder, Mr. Scott?

24   A    In tab 2?    Tab 2.

25   Q    Tab 2, yes.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 17 of 278
                                                                             17

 1   A    All right.

 2   Q    Do you know what this document is?

 3   A    Voter registration form.

 4   Q    Now, thinking back to that day, September 1st, 2009, on that

 5   day did there come a time that someone gave you a voter

 6   registration form?

 7   A    No, I did not receive a voter registration form.

 8   Q    Let's turn back to the first document under tab 1, and I'd

 9   like to turn to page DCFS 9407.       And, again, take your time.

10             THE COURT:    Help me, what's the --

11             MR. HO:    I'm sorry, it is plaintiff's Exhibit 146.

12             THE COURT:    Thank you.

13             THE WITNESS:    All right.

14   BY MR. HO:

15   Q    Have you seen this before?

16   A    Yes, I have.

17   Q    And what is this, Mr. Scott?

18   A    It's also a food stamp application for myself.

19   Q    Sorry.

20                   And is there a date on this form?

21   A    Yes, December 1, '09.

22   Q    And whose form is this?

23   A    It's my form.

24   Q    I'm sorry?

25   A    It's mine, Luther Scott.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 18 of 278
                                                                             18

 1   Q    Can you tell me what happened on December 1, 2009?

 2   A    Again, I go down to the food stamp office to apply.         And,

 3   you take a number, your number's called, you go to the window,

 4   and the lady asks nature of your business and gives you the food

 5   stamp application form.

 6   Q    On that day, were you given a voter registration form,

 7   December 1, 2009?

 8   A    No, I did not.

 9   Q    I want to turn ahead a number of pages again to page 9422.

10   Just let me know when you're ready.

11   A    All right.

12   Q    Is there a date on this page?

13   A    It looks like 12/1/09; but, on my copy, it could either be

14   12/1/09 or it looks like it could be 11/1/09.

15   Q    Well, December 1, 2009 is when you applied for food stamps;

16   is that right, Mr. Scott?

17   A    Yes, it is.

18   Q    So, this form, do you see at the top where it says Voter

19   Registration?

20   A    Yes, I do.

21   Q    And, again, like the last one we looked at, do you see how

22   there's a sentence on it that says:       If you are not registered

23   to vote where you live now, would you like to apply to register

24   to vote?

25   A    Yes, I do.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 19 of 278
                                                                             19

 1   Q    And is the no box checked on this form?

 2   A    Neither box is checked, sir.

 3   Q    Excuse me?

 4   A    Neither box yes or no box is checked, no.

 5   Q    But is the no box checked?

 6   A    No, it isn't.

 7   Q    And did you put your signature on this page?

 8   A    No, sir.

 9   Q    I want to turn forward again now --

10             THE COURT:    Wait.   Did you say:    No, sir?

11             THE WITNESS:    No.   My signature's not on this.

12             THE COURT:    All right.    Thank you.

13             THE WITNESS:    I did not sign it.

14   BY MR. HO:

15   Q    I'd like to turn forward two pages to DCFS 9424.

16   A    Got it.

17   Q    Could you also, just for your own benefit, just look at the

18   next three pages and flip through them and get familiar with

19   them.   And then I want to come back and ask about this page,

20   9424.

21                     (Pause in proceedings.)

22             THE WITNESS:    All right.

23   BY MR. HO:

24   Q    Have you seen this before, Mr. Scott?

25   A    Yes, I have.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 20 of 278
                                                                             20

 1   Q    And what is this?

 2   A    This is a food stamp application change of address form.

 3   Q    Whose form is this?

 4   A    It's my form.

 5   Q    Is there a date on this page?

 6   A    Yes.    It is 11/15/010.

 7   Q    So November 15, 2010?

 8   A    Correct.

 9   Q    And you said this is your form?

10   A    Yes, it is.

11   Q    Can you tell me what happened that day, November 15, 2010?

12   A    Previously, I had the wrong address on my food stamp

13   application.    Several weeks later or days later, I did not

14   receive the stamps.     I called in to the office and they told me

15   that there was mis-information on the form.         So I had to come

16   back and fill out a change of address form.

17   Q    Where did you -- sorry.

18                Did there come a time that you submitted this form to

19   anyone?

20   A    Yes.    You go in to the office again, building, you take a

21   number.     Your number's called.    One of the receptionists will

22   call you to the window, and proceed to ask you about the nature

23   of your business.

24   Q    Which office was this?

25   A    New Orleans office, here in New Orleans.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 21 of 278
                                                                             21

 1   Q    Same one where you submitted those other two applications we

 2   talked about earlier today?

 3   A    Yes, it is.

 4   Q    And, on this day, November 15, 2010 -- excuse me -- did

 5   there come a time when you were given a voter registration form?

 6   A    No, I was not given a voter registration form.

 7   Q    Were you given any other form asking you about voter

 8   registration on that day?

 9   A    No, I did not receive any.

10   Q    I just want to look at this form a little bit more closely.

11   Do you see the topic where it says Louisiana Office of Family

12   Support, Simplified Report?

13   A    Yes, I do.

14   Q    And do you see the next line where it says:        Important, you

15   must complete, sign and return this form and all of it required

16   verification by -- and there's a blank space -- or your case may

17   be closed?

18   A    Yes, I do.

19   Q    And then there's some numbered items here.        I just want to

20   read these to you.

21                   Do you see where it says No. 1, is the address

22   shown above correct.

23                     Is that right?

24   A    Yes.

25   Q    And, No. 2, do you see where it says:       Have you moved.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 22 of 278
                                                                             22

 1                     Is that correct?

 2   A    That's correct.

 3   Q    And No. 3 where it says:     If you have moved or the address

 4   shown above is not correct, complete the information below.

 5                     Is that a correct reading?

 6   A    Yes, it is.

 7   Q    I want to turn forward a few pages in this document to DCFS

 8   9427.    Are you there?

 9   A    Yes, I am.

10   Q    Is there a signature on this page?       I know it's a little

11   light.

12   A    Yes, it is.

13   Q    Whose signature does that appear to be?

14   A    That's my signature.

15   Q    And is there a date?

16   A    11/15/02.

17   Q    '02?   I'm sorry?

18   A    It's hard to make out.     It looks like it could be 0-12.

19   Q    Well, we were talking about a form -- this appears to be

20   part of the same form that was dated November 15, 2010.          Does

21   that refresh your memory here, Mr. Scott?

22   A    Yes.

23   Q    Three pages back?

24   A    Yes, yes.

25   Q    Does this appear to be part of the same form?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 23 of 278
                                                                             23

 1   A    Yes, it is.

 2   Q    I want to move away from these forms for a moment, Mr.

 3   Scott, and ask you about something else.

 4                   Did there ever come a time in this case that you

 5   submitted a written statement?

 6   A    Yes.    Yes, I did.

 7   Q    I want to show you tab -- I'm sorry -- tab 3 in your binder,

 8   and this is plaintiff's 234.       It's been proffered?

 9               MR. PHILIPS:    Objection, Your Honor.

10                    May I approach?

11               THE COURT:     Yes.

12                    (Sidebar Conference.)

13               MR. PHILIPS:    It's not admissible.    He can ask the

14   questions but he can't refer to this document.         It's not

15   admissible in this trial here.

16               MR. HO:   I don't plan on admitting the exhibit.      I want

17   to ask him the questions about the document itself.

18               THE COURT:     I think you can ask him the questions.

19               MR. PHILIPS:    That's my objection, the document is

20   irrelevant to his testimony.       So just ask the him questions,

21   fine.   But he can't refer to the exhibit in his responses.

22               THE COURT:     I think you can ask him those questions.

23                    (Sidebar concluded.)

24   BY MR. HO:

25   Q    Mr. Scott, we're not going to look at that tab, you can
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 24 of 278
                                                                             24

 1   close your binder.

 2                   Do you remember signing a declaration in this

 3   case, Mr. Scott?

 4   A    Yes, I do.

 5   Q    And do you remember whether your written declaration

 6   stated --

 7                     (Sidebar conference.)

 8               MR. PHILIPS:   Your Honor, I'm sorry, it's the same

 9   objection.    It's a referral to the document that's not in

10   evidence.

11               THE COURT:   I think you need to not refer to the

12   document.    You will get him to clean up whatever he needs to

13   clean up and to explain without reference to the document.

14                     (Sidebar concluded.)

15               MR. HO:   May I take just a few moments, Your Honor?

16                     (Pause in proceedings.)

17               MR. HO:   Sorry for the interruption, Mr. Scott.

18   BY MR. HO:

19   Q    At any point in time, was your recollection that the last

20   time that you were registered to vote at a current address in

21   New Orleans was before Hurricane Katrina in 2005?

22   A    Yes, that's correct.

23   Q    That was your best recollection at one point?

24   A    My best memory, yes.

25   Q    Did there ever come a time that you learned anything that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 25 of 278
                                                                             25

 1   changed that recollection?

 2   A    Yes.

 3   Q    And what was that?

 4   A    I was presented some papers stating that I had some time in

 5   -- after Katrina, when I was living on St. Patrick Street, I

 6   believe, had filled out -- or should I say an application was

 7   filled out for me at the corner drug store or convenience store

 8   somewhere in that area.

 9   Q    When you say a form was filled out, what kind of form?

10   A    It was a voter registration form.       There were people out on

11   the streets in the neighborhood in the area conducting voter

12   registration.

13   Q    And how long ago was that?

14   A    I don't remember.    Four or five years.

15   Q    Do you know who these people were?

16   A    No, I never saw them before.

17   Q    Did you mention -- I'm sorry.      Let me strike that.

18                   Did there ever come a time that you learned what

19   happened to those voter registration forms?

20   A    No.    I received no confirmation that the voter registration

21   form had been properly sent to where it needed to be, and so I

22   wasn't sure if I was a registered voter or not.

23   Q    Did you ever receive any kind of confirmation in the mail

24   that those voter registration applications had been processed?

25   A    No, I did not.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 26 of 278
                                                                             26

 1   Q    Did you ever receive anything in the mail about them?

 2   A    No, I did not.

 3   Q    Let me change topics, Mr. Scott.

 4                   At any point in time, was it your best

 5   recollection that you had not declined to register to vote

 6   during the benefits application or renewal process?

 7   A    What you mean by renewal process?

 8   Q    Let me break it up into two pieces.

 9                   At any point in time, was it your best

10   recollection that you had never declined to register to vote

11   during the benefits application process?

12   A    There's two parts of that, too.

13                   I did on the last application sign no because of

14   the fact that we were already in litigation regarding voter

15   registration.    Now at this time they wanted to give me a form

16   asking me if I wanted to vote.       And, this time, I signed no.

17   Q    I want to get to that in a moment, Mr. Scott.        But the

18   question that I had was, was it your best recollection at any

19   point that you had not declined to register to vote during any

20   of your benefits applications?

21   A    Yes.

22   Q    And was there a time that came where you learned anything

23   that changed that recollection?

24   A    Yes.   Recently.

25   Q    And what was that?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 27 of 278
                                                                             27

 1   A    I was shown a document stating that I'd already declined by

 2   saying no on one of the applications.        My last application,

 3   should I say, which was in the beginning of this year.

 4   Q    Around when was that?

 5   A    I'm not sure of the date.       I think it was December 11 or

 6   somewhere in that neighborhood.

 7   Q    So this lawsuit was filed?

 8               THE COURT:   Excuse me.    What year, sir?

 9               THE WITNESS:   It was 0-11.

10               THE COURT:   In 11.    I'm sorry.   Go ahead.

11   BY MR. HO:

12   Q    So this lawsuit was filed in April of 2011.         So it was after

13   that, in December of 2011, that this occurred?

14   A    Yes.

15   Q    Now, since the time that this lawsuit was filed, did there

16   come a time when someone tried to give you a voter registration

17   form?

18   A    Yes.    Several times.

19   Q    Give me one example.

20   A    Well, we were doing a -- one was you, my lawyer, gave you an

21   application to give to me.        And asked me if I would sign it.

22   Fill it out and sign it at that time.

23                    And there were two other times here in the

24   courthouse where we were doing a deposition where they also

25   offered me a voter registration form.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 28 of 278
                                                                              28

 1   Q    Let's talk about the one in your deposition.

 2                     Did you complete the voter registration -- first

 3   of all, I'm sorry, let me take that back.

 4                     But I'm talking about your deposition.      Do you

 5   recall who during your deposition tried to give you a voter

 6   registration form?

 7   A    Yes, I do.

 8   Q    Who was it?

 9   A    The lady sitting back there in the back.        I don't know her

10   name, but with the glasses on in the right corner.

11             MR. HO:    I believe the witness has identified Celia

12   Alexander, counsel for DCFS.      I want to the record to reflect

13   that.

14   BY MR. HO:

15   Q    When Ms. Alexander gave that you voter registration form,

16   did you complete it?

17   A    Not at that time, no.

18   Q    And why not?

19   A    I felt at that time I was -- I should have gotten this

20   information of voter registration from the beginning.          Now all

21   of the sudden I'm being pressured to fill out a voter

22   registration form each time that I see these people.

23   Q    Just one other question for you -- well, sorry, one other

24   line of questioning for you, Mr. Scott.

25                   How do you feel about this case?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 29 of 278
                                                                             29

 1   A    Personally, it feel like it's my duty.       I don't feel like I

 2   got certain information that was offered to me and should have

 3   been offered to me at the time that I filled out the food stamp.

 4   And, over the last three years, possibly I've been there, in

 5   person, possibly six more times, and I wasn't given the

 6   necessary information that I should have got.

 7   Q    And why is that important to you?

 8   A    Again, I live here in the city and the state all my life.          I

 9   did my duty as a Vietnam veteran, I also did two years of armed

10   reserve after this.     So I just feel like, as a citizen, to help

11   out myself.

12             MR. HO:    Thank you, Mr. Scott.     I don't have any other

13   questions for you at this time.       But the lawyers for the other

14   parties are going to ask you some questions, and the judge may

15   ask you some questions, and I may follow-up at the end.

16             THE COURT:    Mr. Philips.

17                              CROSS EXAMINATION

18   BY MR. PHILIPS:

19   Q    Morning, Mr. Scott.     My name is Skip Philips.     I don't

20   believe we've had a chance do meet before.

21   A    How are you?

22   Q    I have some questions about some of the questions and

23   answers you gave to Mr. Ho, and I will try to be as focused as I

24   can about not repeating what you've already told us.

25                   Is it true, Mr. Scott, that you registered to vote
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 30 of 278
                                                                             30

 1   in 2008 when you were living on St. Patrick Street?

 2   A    I had forms to fill out at that time, but I wasn't sure that

 3   I was registered or not.

 4             MR. PHILIPS:    Could I ask to see Secretary of State

 5   Exhibit, Your Honor, No. 6, please.

 6   BY MR. PHILIPS:

 7   Q    Let me ask you to take a look at this document, see if you

 8   recognize what that is.

 9   A    Louisiana voter registration form.

10   Q    I'm sorry, say it again?

11   A    It's a Louisiana voter registration form.

12   Q    Right.

13                   And, the right-hand side of block No. 19, is that

14   your signature?

15   A    Yes, it is.

16   Q    Is this the application form to register to vote in Orleans

17   Parish that you signed in 2008?

18   A    Yes, it is.

19   Q    When you signed this form, I believe you told us it was kind

20   of in response to a voter registration drive of some kind; is

21   that right?

22   A    Correct.

23   Q    It was your expectation after you signed this that it would

24   be sent off to the Registrar of Voters in Orleans Parish, and

25   that you would be registered to vote; right?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 31 of 278
                                                                              31

 1   A    Yes, sir.

 2   Q    And what you're telling me is that you just never got a

 3   confirmation of that?

 4   A    I had no way of knowing whether or not it it had been taken

 5   care of, no, sir.

 6   Q    I didn't meant to interrupt you, I'm sorry.

 7                    Did you call the Registrar of Voters Office to

 8   inquire about what your status might be?

 9   A    At the time, I was homeless and I had no phone.         So, no, I

10   did not.

11   Q    And, when you registered, you were living on St. Patrick

12   Street?

13   A    Yes, sir.    Staying in a truck.

14              MR. PHILIPS:    Your Honor, I know there's been an

15   instruction about this, but I want to ask the witness a question

16   about if he attempted to vote while he was living at St. Patrick

17   Street in 2008.      I don't meant to go in to his voting history,

18   but I think that is relevant.

19              MR. HO:    Your ruling on the motion in limine made clear

20   we cannot get into the history.

21              THE COURT:    I think his history is irrelevant, but I

22   think we've opened the door dealing with his understanding of

23   the consequences of filling out this application.

24              MR. PHILIPS:    And my question, just so counsel --

25              THE COURT:    Limit it.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 32 of 278
                                                                             32

 1             MR. HO:    Thank you.

 2   BY MR. PHILIPS:

 3   Q    Mr. Scott, after you signed this application, registration

 4   application on August 1, 2008, did you make an attempt to vote

 5   in any election?

 6   A    I don't think so, no.

 7   Q    Now, you've testified --

 8             MR. PHILIPS:    And, Your Honor, I'd offer and

 9   introduce -- I know it's not my exhibit but the witness has

10   authenticated this.     I'd offer, introduce and file into evidence

11   Secretary of State Exhibit No. 6.

12             THE COURT:    Any objection?

13             MR. HO:    No, Your Honor.

14             THE COURT:    Let it be admitted.

15                   (Exhibit admitted.)

16             MR. PHILIPS:    Thank you, Your Honor.

17   BY MR. PHILIPS:

18   Q    Mr. Scott, you were asked some questions about plaintiff's

19   Exhibit 146?

20             MR. PHILIPS:    And that's the same exhibit as the DCFS

21   Exhibit No. 5 Your Honor.      So I don't know that it matters which

22   one we pull up.     It's a document that you've already seen.

23                   So let me see Exhibit 8, please, to DCFS No. 5.

24             THE COURT:    And that would be in Mr. Scott's tab 1?

25             MR. PHILIPS:    It's his case file, Your Honor.       And I'm
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 33 of 278
                                                                              33

 1   going to be referring to some of the same documents Mr. Ho

 2   looked at.

 3                THE COURT:   It's tab 1, if that helps.

 4                MR. PHILIPS:   That's a better way to do it.     Tab 1 in

 5   your folder.

 6   BY MR. PHILIPS:

 7   Q    Now, Mr. Scott, as I understood your testimony -- and here

 8   I'm going to be referring to pages DCFS 9386 to 9401; okay?             You

 9   with me?

10   A    9386.

11   Q    Good.

12                     You testified, I believe, and identified this as

13   being your application for food stamps that you submitted to the

14   office here the DCFS here in Orleans Parish on or about

15   September 1, 2009; correct?

16   A    That's correct.

17   Q    And you, I believe, also identified your signature on the

18   first page of the application or the page that's marked DCFS

19   9386; correct?

20   A    Yes, it is.

21   Q    Let's skip ahead to 9401, if you would.        You with me?

22   A    Find it.

23   Q    Now, you signed again on this page; correct?

24   A    Apparently so, yes.

25   Q    Is that your signature?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 34 of 278
                                                                             34

 1   A    It is my signature.

 2   Q    All right.

 3                     Do you remember being interviewed by a caseworker

 4   for the Department of Children and Family Services when you went

 5   in to make this application?

 6   A    I do remember that, sir, yes.

 7   Q    By chance, do you happen to remember who it was that

 8   interviewed you?

 9   A    No, sir, I don't.

10   Q    You see some initials or a signature below yours on that

11   same page of an agency representative and the same date's

12   reflected; correct?

13   A    Correct.

14   Q    Let me go up to the top of this page now, if I could.

15                   And, first, Mr. Scott, I don't mean to make this

16   an improper question, but I need to know if you have the ability

17   to read and write the English language.

18   A    Yes, I do.

19   Q    So, when you were going through this form and filling out

20   the application, you were reading the instructions and

21   responding based on your understanding of the instructions; is

22   that right?

23   A    No, sir.   I did not read this form.      And the form that I

24   actually filled out was a food stamp form.

25                     Now, this particular page, I did not fill out.        I
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 35 of 278
                                                                             35

 1   did sign it, however.     Because I was instructed to sign it

 2   because this was part of -- I was instructed at that time that

 3   this was all regarding food stamp.       The case workers lined all

 4   these forms up on her desk and indicated the areas that I needed

 5   to sign.

 6   Q    Did you write the information that's reflected on this form

 7   about your name and your address and your date of birth?          Did

 8   you write that on page 9388, for example?        Is that your

 9   handwriting?

10   A    Yes, that is mine.

11   Q    So, as I understand, you're given the form, you sit down and

12   you fill out the form and you have to complete the form before

13   you get an interview with the caseworker; true?

14   A    For the food stamp form, yes.

15   Q    What form are you talking about that's not a food stamps

16   form, if there is one?

17   A    941 was not in the food stamp form packets.

18   Q    You didn't get a form consisting of 14 pages, page 93 --

19   A    There was no form that I filled out, sir.        I was asked to

20   sign this form.    The representative, the caseworker, indicated

21   that all these were regarding food stamps, and I needed to sign

22   all 14 forms.     And that's what I did.

23   Q    Okay.   Let me ask you this then.      If you read the rest of

24   the form and you were filling out information.         When you got to

25   page 14, did you stop reading the form?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 36 of 278
                                                                             36

 1                MR. HO:   Objection.   That's misstating his testimony,

 2   Your Honor.

 3                THE COURT:   He is under cross examination; but it is

 4   misstating his testimony.      Rephrase it.

 5                MR. PHILIPS:   I'll try it again.

 6   BY MR. PHILIPS:

 7   Q    Mr. Scott, before you signed DCFS 9401, did you read what

 8   was written on the paper?

 9   A    No, sir.    I did not read that, because it was -- I was

10   instructed at the time to only fill out the food stamps

11   application form.      This is only regarding the food stamps.

12   Again, you say voter registration, that wasn't at the time

13   regarding the food stamps.      So I only filled out the food stamps

14   application form.

15                     Now, at the end of this interview, there were --

16   all these papers were laid out on the desk.         I was just

17   instructed to sign all these papers.        I did not read it.

18   Q    Okay.    So you didn't read -- the page that bears your

19   signature that starts with voter registration, you're telling

20   the Court you didn't read that page?

21   A    No.   I was instructed that was all food stamps application.

22   So, no, sir.     I knew what I'd filled out and I just signed it.

23   Q    Well, did anybody tell you you couldn't read this page?

24   A    No.   The only instruction to sign it.

25   Q    So, when the question was asked of you whether if you are
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 37 of 278
                                                                             37

 1   not registered to vote where you live now, would you like to

 2   apply to register to vote, you didn't read that question and

 3   know that there was an answer that was solicited from you then?

 4   A    I didn't know that was the question, no, sir.

 5   Q    So you didn't refuse to try to register to vote; you just

 6   didn't read the paper?

 7   A    I didn't get the information, no, sir.

 8   Q    You remember a conversation with the caseworker in which the

 9   right to apply to register to vote was discussed during your

10   application process?

11   A    Again, sir, we only discussed food stamps.

12   Q    So your testimony, just so we're clear, Mr. Scott, your

13   testimony is that, after you filled out this form and you signed

14   the form and you were interviewed, there was no discussion about

15   whether or not you wished to apply to register to vote?

16   A    No, sir.   If they had, I would have checked the blank.

17   Q    And why would you have checked the blank then when you could

18   have checked the blank had you simply read the form?

19   A    I was told it was food stamps application, sir.         Again, the

20   caseworker was there.     She laid these forms out on her desk

21   after she checked all of them.       And instructed me to various

22   areas where I needed to sign my name.        This is what I did.

23   Knowing that I only filled out all the forms that I filled out

24   was regarding the food stamps, I took her at her word as being

25   the person in charge and signing where she asked me to sign.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 38 of 278
                                                                             38

 1   Q    So there was no discussion in your mind about whether or not

 2   you could or could not register to vote as part of this process?

 3   A    In my mind?    Sir, it had actually happened.      You see, there

 4   was no question in my mind that it actually happened.          There was

 5   no conversation about voter registration.

 6   Q    And this is after, some months after you -- or about a year

 7   after you had already signed an application to register in

 8   Orleans Parish based on the voter registration drive; true?

 9   A    Correct.   But I wasn't aware of whether or not I was a

10   registered voter or not.      I had no confirmation to that effect.

11   Q    Let's skip ahead a little bit, if we could, Mr. Scott, to

12   page 9386 in the same tab that we've been looking at.

13             MR. PHILIPS:    Again, Judge, that's DCFS 5 and

14   plaintiff's 146.

15   BY MR. PHILIPS:

16   Q    Let's look at 9422, please, Mr. Scott.

17   A    Pardon me?

18   Q    Page 9422.

19   A    Got it.

20             MR. PHILIPS:    That's not the right exhibit, folks.

21                     I'm looking at DCFS 9422, it's the December 1, '09

22   application.    Plaintiff's 146.

23   BY MR. PHILIPS:

24   Q    Mr. Scott, since we're looking at the paper copy anyway I

25   believe here, and I think everybody has this.         This is the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 39 of 278
                                                                               39

 1   document you were telling us a minute ago it that was dated in

 2   either December 1st, '09 or November 1st, '09; is that right?

 3   Kind of unclear about the date; isn't it, at the bottom?

 4             THE COURT:    Mr. Scott, tab 1, and it's DCFS 9422.           They

 5   have, I think, the wrong document on the screen.

 6             THE WITNESS:     My document has no signature or anything

 7   on it.

 8   BY MR. PHILIPS:

 9   Q    Right.   I was asking you, Mr. Scott, if this is the document

10   that's dated either December 1, '09 or November 1, '09.

11   A    Yes, it is.

12   Q    You didn't sign on this page; true?

13   A    No, sir, I did not.

14   Q    Scoot back to page 9407, if you would.

15                   You recognize this as a food stamps application

16   just like the one we talked about a moment ago?

17   A    947, yes, it is.

18   Q    Is that your signature on page 9407?

19   A    Yes, it is.

20   Q    Now let's go ahead back to page 9422 with me, if you will,

21   and I want to ask you some of the same kinds of questions I

22   asked you about the document we looked at a minute ago.

23                   Did you read this page of the application when you

24   were in the office in New Orleans on or around December the 1st

25   of '09?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 40 of 278
                                                                             40

 1   A    Sir, this page was not offered to me at the time that I came

 2   there.    You only get food stamps forms when you go to the

 3   window.    There's no voter registration form attached to that,

 4   there's no staple or anything else.       You only get food stamps

 5   application.    This was not in the packet.      That's why there's no

 6   signature or no check points, it was not there.

 7   Q    So your testimony is, when you got your food stamps

 8   application, there was no voter registration form with it?

 9   A    No, sir.

10   Q    What about the previous time, same testimony?

11   A    I did not get a voter registration form.

12   Q    When did you get -- I'm sorry.      When did you get the voter

13   registration form the previous time you went, the one you

14   signed, when was that --

15   A    That was the last time that I signed, which was

16   approximately 0-11 of -- I mean, December 0-11.         That was the

17   last time that I applied and that was last time -- that was the

18   first time that I recall getting a voter registration form.

19   Q    And so would it be correct that your testimony is that you

20   didn't read this form and you didn't sign this form when you

21   went back to the food stamps office later in 2009?

22   A    No, sir.   That would not be correct.      I didn't get a form.

23   Q    And you never saw this form when you were there?

24   A    Correct.   There's no signature, nothing checked.

25   Q    Were you, Mr. Scott, interviewed by a caseworker when you
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 41 of 278
                                                                             41

 1   went back to the food stamp office in December of '09?

 2   A      Good question.    I have gone there approximately five to six

 3   times.    I saw my caseworker exactly once.

 4   Q      So your testimony is that -- well, first of all, tell me on

 5   which occasion then did you see your caseworker?         What time that

 6   you went in?

 7   A      The first time that I went there.

 8   Q      Is that the document we looked at --

 9   A      That was the only time I saw my caseworker.

10   Q      Let's not talk over each other, Mr. Scott, because, sorry, I

11   just didn't catch your answer.

12                     Would it be your testimony that the only time you

13   were interviewed by a caseworker at the Orleans Parish DCFS was

14   on September 1, 2009 when you went in to apply for food stamps?

15   A      Correct.

16   Q      And so, any subsequent trip you made, and I think you said

17   five or six trips, any subsequent trip you made was you filled

18   out the application, left it, and you were not interviewed by a

19   case worker?

20   A      Correct.

21   Q      No people at all, whether it was your assigned caseworker or

22   not?

23   A      No, sir.

24               MR. HO:     Objection, Your Honor.   I don't know if he

25   knows who his assigned caseworker is.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 42 of 278
                                                                             42

 1   BY MR. PHILIPS:

 2   Q    You never saw again the person who interviewed you when you

 3   went in in September of '09; is that right?

 4   A    No, sir.

 5   Q    Now let's scoot head --

 6             THE COURT:    Wait.   I just want to make sure I

 7   understand.     When you say no, sir, you never saw her, the

 8   caseworker?

 9             THE WITNESS:    The caseworker, I may have seen her in

10   the office.     I never signed in her presence.

11   BY MR. PHILIPS:

12   Q    Just to follow-up on that, you weren't interviewed by anyone

13   else on the trips you made to the office?

14   A    Those are, when you get an application for food stamps, you

15   fill it out there, return it there, and then you have no way to

16   actually see no one.     The clerk, the person at the windows,

17   takes your paperwork and tells you you're done.

18   Q    And then scoot head with me, if you would, to page 9424 in

19   the same tab in your binder, if you would, Mr. Scott.

20   A    The 9424?

21   Q    9424, please.

22   A    Got it.

23   Q    You've talked about this form already with Mr. Ho.         But, as

24   I understand it, the reason you submitted this form was not

25   because you'd changed your address; is that right?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 43 of 278
                                                                             43

 1   A    Yes, sir, that would be correct.

 2   Q    What do you remember the reason was that you had to submit

 3   9424 to the DCFS office?

 4   A    If you'd turn back to I believe the -- what tab is that?

 5   Anyway, it had the wrong address on the initial food stamps

 6   application.    I did not receive the stamps.

 7                   I called down to the office, and they told me that

 8   they had the wrong address, and that the paperwork -- I mean,

 9   that the papers had come back to them.        And I needed to come

10   back down to change and get a change of address form.

11   Q    What was wrong were the address?

12   A    It was the wrong address.      They mailed it to the wrong

13   place.

14   Q    It's true that on the initial application you put 1303

15   Gravier, and the real address was 1803?

16   A    1803, correct.

17   Q    So that was the reason you had to go back in; correct?

18   A    Correct.

19   Q    When you went back in and submitted this form, I take it

20   from your prior testimony that it's true, you were not

21   interviewed by anybody, any caseworker or anybody else at DCFS;

22   right?

23   A    Just the clerk at the office window where you pick up your

24   forms.

25   Q    The two times you went to the DCFS office and you filled out
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 44 of 278
                                                                             44

 1   applications for food stamps, and the two times we've talked

 2   about where there was a voter registration/voter preference form

 3   that we've looked at, is it your testimony that you never

 4   declined the opportunity to register to vote?

 5   A    First two times --

 6              MR. HO:   Objection, Your Honor.     We had the same issue

 7   when I was asking this question.

 8              MR. PHILIPS:    I'll rephrase the question.

 9              THE COURT:   Rephrase the question.      That's calling for

10   a legal conclusion.

11              MR. PHILIPS:    Counsel's point is well taken.

12   BY MR. PHILIPS:

13   Q    Mr. Scott, let's start with the December 1, 2009 SNAP

14   program.   If you want to look at the page --

15   A    No, no.   I understand what you're saying.

16   Q    It's 9401.

17                   You didn't check a block yes or know when it came

18   time to answer the question about do you want to register to

19   vote; right?

20   A    No, sir, I did not.

21   Q    And, on the second time, the second visit in December of

22   '09, same thing, you didn't check yes or no, one way or the

23   other; did you?

24   A    Sir, they wasn't there.     I am keep telling you, when you go

25   to the food stamps, this voter registration form was not in the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 45 of 278
                                                                               45

 1   packet.   All you get are the food stamps application.         Not a

 2   voter registration form.      All the time I've been there, five or

 3   six times, the last time which was 11 of 0 -- December 0-11 was

 4   the last time I actually got a form with my food stamps

 5   application.    And, at that time, I check no, because of the fact

 6   that we were already in litigation regarding the situation.

 7   Q    Well, if you would you --

 8             MR. PHILIPS:    Now I'm going to be here, Your Honor,

 9   referring to DCFS Exhibit No. 7, Exhibit A.         7, Exhibit A.       It's

10   the 2011 application that Mr. Scott has talked about previously.

11   BY MR. PHILIPS:

12   Q    You don't have this one in your binder, Mr. Scott, so we're

13   above going to look at the screen.

14             THE COURT:    Wait.   This is DCFS 7?

15             MR. PHILIPS:    It's Exhibit A to DCFS 7, Your Honor.

16             THE COURT:    Thank you.

17             MR. PHILIPS:    I'm not going to offer the exhibit, but I

18   think this attachment is relevant.

19   BY MR. PHILIPS:

20   Q    Mr. Scott, you with me on this one?       You recognize this

21   paper?

22   A    Yes, I do.

23   Q    Is that your signature on the page?

24   A    Yes, it is.

25   Q    Do you recall that this is an application for food stamps
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 46 of 278
                                                                             46

 1   that you made in 2011?

 2                     And we can scoot back to some pages later on to

 3   show you the date.     How about that?

 4                     Let's go to page 13, please.

 5                   See that page there, Mr. Scott?

 6   A    Yes.

 7   Q    That's your signature as well?

 8   A    Yes, it is.

 9   Q    I'm sorry?

10   A    Yes, it is.

11   Q    Thank you.

12                   Dated December 19, 2011.      True?

13   A    Correct.

14   Q    Now, between December of 2009 and this application, had you

15   made application to the food stamp people here in Orleans

16   Parish?

17   A    Give me the dates again, please, sir?       Between what dates?

18   Q    The December 2009 document we looked at and this, December

19   of 11, did you have to submit any other applications to the food

20   stamp office?

21   A    Did I have to --

22   Q    To continue your benefits?

23   A    Yes, I did.

24   Q    And then did you do that?

25   A    Yes, I did.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 47 of 278
                                                                             47

 1   Q    Did you do that in-person at the office?

 2   A    Yes.   Every six months, I go in to renew.

 3   Q    When you got here to December of 2011, at the top of this

 4   page, it appears that the block No is checked.         True?

 5   A    Yes, sir.

 6   Q    Did you check that block no?

 7   A    Yes, sir, I did.

 8   Q    And I believe you said that your decision to check the block

 9   no had something to do with this litigation?

10   A    Well, not something to do with it.       We are already in

11   litigation as far as not receiving this form of voter

12   registration information.      So it was my decision at the time to

13   check no because we were already having a problem -- we already

14   in litigation regarding this.      So at that time I did not want to

15   fill out a voter registration form.

16   Q    At that time, did you believe still that you were not

17   registered to vote in Orleans Parish based on your 2008

18   application?

19   A    Correct.

20   Q    Or, at least, it had not been confirmed to you that you were

21   registered to vote?

22   A    Correct.

23   Q    And so you had elected at this point, based on your

24   understanding that you were a litigant, that you were not

25   registered to vote?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 48 of 278
                                                                             48

 1   A    Not at that time.

 2   Q    And have you since registered to vote?

 3   A    Yes, sir, I have.    And I have received confirmation that my

 4   paperwork was received.

 5             MR. PHILIPS:    Your Honor, if I could have just 30

 6   seconds, please.

 7             THE COURT:     Sure.

 8                    (Pause in Proceedings.)

 9             MR. PHILIPS:    I'm told I don't have any other

10   questions.

11                    Thank you, Mr. Scott.     I appreciate your

12   cooperation, sir.

13                    Exhibit -- two exhibits.      I think 5 is already in.

14   Exhibit A to DCFS 7, but not the underlying document.

15             THE COURT:     That's the --

16             MR. HO:    So 7 is a declaration with the benefits

17   application attached.     If you want to remove the application.

18             MR. PHILIPS:    That's it.     Just the application.

19             THE COURT:     Let it be admitted.

20                    (Exhibit admitted.)

21             MR. HO:    With respect to 5, I think the declaration is

22   5.

23             MR. PHILIPS:    Five   is the case file.

24             THE COURT:     Why don't you guys talk about it and then

25   make an offer.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 49 of 278
                                                                             49

 1               MR. PHILIPS:   We'll straighten it out.

 2               THE COURT:   I want to make sure we offer the correct

 3   thing, and we'll wait a minute and let you do that.

 4                    (Pause in proceedings.)

 5               MR. PHILIPS:   Thank you, Your Honor.

 6               THE COURT:   Wait.   Do we have the exhibits offered and

 7   accepted?

 8               MR. PHILIPS:   I would offer them if I have not already,

 9   Your Honor.    SOS 6, which I think is admitted.

10               THE COURT:   Okay.

11               MR. PHILIPS:   Exhibit A to DCFS 7.

12               THE COURT:   Which is just the --

13               MR. PHILIPS:   Just the application.

14               THE COURT:   Let that be admitted.

15                    (Exhibit admitted.)

16               MR. PHILIPS:   And DCFS 5 is Mr. Scott's case file,

17   which I believe is the same exhibit as plaintiff's 146.

18               THE COURT:   All right.   Those are all admitted.     Thank

19   you.

20                    (Exhibit admitted.)

21               MR. PHILIPS:   Thank you, Your Honor.

22                   I tender the witness.

23               THE COURT:   Mr. Jones.

24                              CROSS EXAMINATION

25   BY MR. JONES:
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 50 of 278
                                                                             50

 1   Q    How you doing, Mr. Scott?

 2   A    How are you, sir?

 3   Q    Can you read from that screen in front of you okay if I use

 4   computer documents instead of paper documents?

 5   A    Yes, sir, I can.

 6               MR. JONES:   Judge, initially, I would like to look at

 7   SOS 6.

 8   BY MR. JONES:

 9   Q    Now, Mr. Scott, do you know what that document is that

10   appears as SOS 6 --

11   A    Yes.   It's the Louisiana Voter Registration Form.

12   Q    Let go ahead and finish.

13                    That's now on the screen in front of you, do you

14   recognize that document?

15   A    Yes.

16   Q    And you've identified it as a voter registration form for

17   Louisiana; is that correct?

18   A    Yes, sir.

19   Q    Does that document bear your signature at the bottom right?

20   A    Yes, sir, it does.

21   Q    To the left of your signature, does it bear the date

22   5/23/08?

23   A    Yes, sir.

24   Q    How did that document come to be prepared?

25   A    Again, there were a group of people on the streets in the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 51 of 278
                                                                             51

 1   area of St. Patrick where I live.       As I was coming out of the

 2   one of the buildings, a grocery story -- I'm not sure the exact

 3   address where they were -- they actually filled these forms out

 4   for you, and all you did was sign it.

 5   Q    And was it your intention and expectation that this document

 6   would be filed, and you would become a registered voter?

 7   A    Correct.

 8   Q    After you prepared, signed that form, did you follow-up to

 9   determine whether you had indeed become a registered voter?

10   A    No, sir.   I had no form at the time, and I was living in my

11   vehicle.   So, actually, I did not receive anything stating that

12   I was a registered voter.

13   Q    What is the address provided on that form?

14   A    510 St. Patrick Street, New Orleans, Louisiana.

15   Q    I'm sorry?

16   A    New Orleans, Louisiana.

17   Q    Who gave that address as your address?

18   A    I did.

19   Q    All right.

20                     Let me scroll down on that document.      This is

21   still SOS 6.    Let me ask you to take a look now at the document

22   on the screen in front of you.

23                     Do you recognize that document?

24   A    Yes, sir, I do.

25   Q    And you have testified that that is another voter
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 52 of 278
                                                                             52

 1   registration form that you completed on August 1, 2008; is that

 2   correct?

 3   A    Yes.

 4   Q    When you filled out that document, did you become curious as

 5   to whether you had become a registered voter as a result of the

 6   application you filled out just a few months before?

 7   A    Again, I received no information, so that was the reason for

 8   doing it again.    I had no way of knowing.      At the time, I had no

 9   phone, and I hadn't received anything in the mail.          So these

10   were the reason for redoing it again.

11   Q    Do you have a phone now?

12   A    Yes, sir, I do.

13   Q    You have a cellphone?

14   A    Yes, sir.

15   Q    When did you get that cellphone?

16   A    After starting receiving food stamps.

17   Q    When did you start receiving food stamps?

18   A    '09.   They made you eligible to receive food stamps -- I

19   mean, a phone, if you are on food stamps application.

20   Q    And that phone would have been enabled you to call the

21   Registrar of Voters to see if you were a registered voter; is

22   that right?

23   A    Yes, sir.

24   Q    Did you do that?

25   A    Not in '09, no, sir.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 53 of 278
                                                                             53

 1   Q    Did you do that before this lawsuit was filed in April of

 2   2011?

 3   A    No, sir.

 4   Q    Did you want to register to vote?

 5   A    Sir, obviously I wanted to register, I've gotten two forms

 6   with my name on it.

 7   Q    Did you want to vote?

 8   A    Yes, sir.

 9   Q    But it's your testimony that you didn't check to see whether

10   you were entitled to vote?

11   A    I didn't receive --

12   Q    Prior to the filing of this lawsuit; is that true?

13   A    Right.

14   Q    Now, at some point after this lawsuit was filed, did one of

15   your lawyers show you a voter registration application?

16   A    Yes.

17   Q    Do you recall when that occurred?

18   A    I'm sorry?

19   Q    Do you recall when that happened?

20   A    When it happened?    It was -- no.     Not exactly.

21   Q    Was it after the lawsuit was filed?

22   A    Yes.     I would have to say so.

23   Q    Did you understand how your lawyer came to have that form?

24   A    He instructed me that it was given to him by the state, on

25   behalf of the state.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 54 of 278
                                                                             54

 1   Q    By one of the lawyers in this case on behalf of the state?

 2   A    Correct.

 3   Q    And did you complete that form in order to register to vote?

 4   A    Not at that time, no, sir.

 5   Q    Were there any later times that you were asked to fill out

 6   an application to register to vote?

 7   A    Yes, sir.

 8   Q    Was one of those times on May 10, 2012?

 9   A    Yes, it was.     I believe so.

10   Q    That was during your deposition?

11   A    Correct.

12   Q    And did you decline at that time to complete the voter

13   registration form?

14               MR. HO:   Your Honor, that language of decline, I think

15   we've agreed, is a legal term.        He's asking the witness for --

16               THE COURT:   Sustained.

17               MR. JONES:   I think it's clear, but I'll --

18   BY MR. JONES:

19   Q    Did you complete the voter registration form that you were

20   offered on May 10, 2012?

21   A    Not at that time.

22   Q    Have you filled it out up to today?

23   A    Yes.   And I've already received confirmation that my

24   paperwork was had been received.

25   Q    And when did you fill out that form?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 55 of 278
                                                                             55

 1   A    Approximately two weeks ago.

 2   Q    Had you become aware at that point that you were already a

 3   registered voter?

 4   A    No.   I was not aware at that point.

 5   Q    I'm sorry?

 6   A    At that time?    You mean, since I filled it out?

 7   Q    Well, after May 10, 2012, when your deposition was taken,

 8   were you aware that you were a registered voter?

 9              MR. HO:   I'm going to object.     Assuming facts not in

10   evidence, Your Honor.     It's not clear that he was a registered

11   voter, he wasn't living at the address that these voter

12   registration cards are, and I think there's a legal

13   determination to be made on that.

14              THE COURT:   It is a legal determination.      I think

15   perhaps the better question is, was he aware that he was on the

16   rolls.

17              MR. JONES:   I'll a call a witness to clear it up.

18   BY MR. JONES:

19   Q    Were you offered a registration form again here at the

20   courthouse on July 31st, 2012?

21   A    Yes, I was.

22   Q    Did you complete that form?

23   A    Yes, I did.

24   Q    What did you do with that form?

25   A    I took it home, and it's on my dresser.        But I did complete
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 56 of 278
                                                                             56

 1   it.   I just hadn't mailed it in.

 2   Q     So it's never been sent to a registrar or any other official

 3   who might be involved in voter registration?

 4   A     Yes.   It has been taken care of now.

 5   Q     I'm referring to the second form, the one in your dresser,

 6   that's not been sent to anybody; is that true?

 7   A     My attorney, Mr. Ho and I, he brought me -- I requested one

 8   from him --

 9   Q     No, no.   It's against the rules to talk about any discussion

10   between you and your attorney.       The judge may want to tell you

11   about privilege.

12                THE COURT:   Mr. Scott, any conversations you had with

13   Mr. Ho or anyone on the team of attorneys that represent you are

14   confidential conversations, and you should not reveal those in

15   the courtroom.     You can tell what you did regarding your

16   registration.

17                THE WITNESS:   I just did.   I filled it out, it's

18   sitting on my dresser.

19                MR. JONES:   Okay.   I just wanted to clarify that to be

20   sure.

21                    Thank you, Mr. Scott.    That's all I have.

22                    If we could pull down that exhibit, unless Mr. Ho

23   needs it.

24                MR. HO:   I'm sorry?

25                MR. JONES:   This has been offered; is that correct?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 57 of 278
                                                                               57

 1              MR. HO:   Just a few moments.

 2                   (Pause in proceedings.)

 3              MR. HO:   Thank you, Your Honor.

 4                             REDIRECT EXAMINATION

 5   BY MR. HO:

 6   Q     Mr. Scott, I want to ask you a little bit about when you are

 7   living at St. Patrick Street.      What was that housing situation

 8   like?

 9   A     Actually, it was a mobile trailer.      And the house was -- I'd

10   say the building with the address on it was a building that I

11   happened to be working in, and staying in a trailer next door to

12   it.

13   Q     Was it the building itself inhabited?

14   A     At the time, we were renovating.

15   Q     And how long did you stay in that trailer at St. Patrick

16   Street?

17   A     Approximately eight months.

18   Q     And, after you stopped living there, what did you do?

19   A     At that time, I lived in my vehicle for a week or two.            And

20   then, from that point, I went to I believe it was North Derbigny

21   or South Derbigny.

22   Q     Mr. Philips asked you some questions, and I believe Mr.

23   Jones did, too, about checking your voter registration status.

24                   Did you check your voter registration status while

25   you were living in your vehicle?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 58 of 278
                                                                             58

 1   A    No, I did not.

 2   Q    Why not?

 3   A    At the time, it was a little bit stressful.        I'm living and

 4   sleeping out of my car.      So there were other factors in my life

 5   rather than to check on a voter registration form.

 6   Q    Was that the only time that you've been living in your

 7   vehicle?

 8   A    Yes.

 9   Q    I want to go back and ask you about your benefits

10   applications.     Let me ask you about your first application in

11   September 2009.

12                   How long did you speak with your caseworker at

13   that day?

14   A    Five, maybe ten minutes.

15   Q    Did you understand that day that you could register to vote

16   at the food stamps office?

17   A    No, I did not.

18   Q    Do you remember if, at the end of your application process,

19   you had a conversation about voter registration?

20   A    No, sir, I didn't.

21   Q    Let me ask you about your second trip to the food stamps

22   office in December of 2009.

23                   How long were you at the office that day?

24   A    Hour, hour and a half.

25   Q    How long were you speaking to an employee of that office,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 59 of 278
                                                                             59

 1   would you say?

 2   A    Roughly five minutes.

 3   Q    Did you understand that day that you could register to vote

 4   at the food stamps office?

 5   A    No.

 6   Q    Do you remember getting a voter registration form that day?

 7   A    No, I did not.

 8   Q    Anyone during that five minutes of conversation offer to

 9   assist you with the voter registration form?         And, again, I'm

10   talking about December of 2009.

11   A    No.

12   Q    Third benefits application -- or, sorry -- the benefits

13   paperwork that we showed you today from November of 2010, how

14   long were you in the office that day?

15   A    Again, it varied.    Hour, hour and a half, two hours.

16   Q    How long were you actually speaking to an employee of that

17   office during that day?

18   A    Three to five minutes.

19   Q    And did you understand that day that you could register to

20   vote at that office?

21   A    No.

22   Q    During that three to five minute conversation, did anyone

23   offer to assist you to register to vote?

24   A    No, they did not.

25   Q    And do you remember getting a voter registration form that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 60 of 278
                                                                             60

 1   day?

 2   A      No, I did not.

 3               MR. HO:     If I could just have one moment.

 4                    (Pause in proceedings.)

 5               MR. HO:     Those are all the questions that I have for

 6   you today, Mr. Scott.       Thank you very much for your time.

 7               MR. JONES:     If I may, I would like to request an offer

 8   of proof in connection with this witness's testimony.

 9                    That offer of proof would be exhibit SOS 7, the

10   second page titled Voter Registration History.         Your Honor has

11   ruled is not admissible.

12               THE COURT:     You want to just, as an offer of proof,

13   that's fine.

14               MR. JONES:     Right.

15                    And, second, I would like to offer SOS 10 as an

16   offer of proof, pages 27 --

17               THE COURT:     Are those subject to all of the motions in

18   limine?

19               MR. JONES:     The first one was directly in the motion in

20   limine.

21                    The second involves, again, a request about

22   whether he voted or attempted to vote after May 2008.          And, as I

23   understand it, Your Honor has ruled that that's a very limited

24   subject matter.       So I wanted to present an offer of proof on

25   that.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 61 of 278
                                                                             61

 1                   The second item in the offer of proof is SOS 10,

 2   which is the witness's deposition from May 10, 2012.          It's pages

 3   27, line 24, through page 29, line 15.        And page 38, line 18,

 4   through page 39, line 10.      And, again, that's offered to show

 5   that Mr. Scott has not voted or attempted to vote since May

 6   2008.

 7             MR. HO:    I think there's been a lot of testimony on

 8   that, Your Honor.

 9             THE COURT:    It's a proffer.     I am a going to allow him

10   to proffer it for another court to consider.         Because I've

11   indicated what I would consider it for and what I would not

12   consider it for.

13                   I have a couple of questions for Mr. Scott.

14                   Mr. Scott, first thing, when you were in Vietnam,

15   sir?

16             THE WITNESS:    '69 through '71.     '69 through '71.

17             THE COURT:    Let me first thank you for your service.        I

18   I appreciate your service to your country.

19                   I do want to talk to you, sir, about when you

20   lived on St. Patrick Street.      And, as I appreciate it, you were

21   there because you were working on an uninhabited house, but you

22   were living in your car, or was it a motor trailer?

23             THE WITNESS:    I was living in my car at the time, but I

24   had an offer about me having background in carpentry, to live at

25   this particular place while I did the work.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 62 of 278
                                                                             62

 1             THE COURT:    And you were there for about eight months?

 2             THE WITNESS:    Correct.

 3             THE COURT:    Did you receive mail at St. Patrick Street?

 4             THE WITNESS:    Yes, I did.

 5             THE COURT:    And it's your testimony you never received

 6   confirmation from the voter registration?

 7             THE WITNESS:    No, I did not.

 8             THE COURT:    Describe for me, sir -- we talked about

 9   your first time you completed an application to register to

10   vote.   That was one of those voter registration drives?

11             THE WITNESS:    Yes.

12             THE COURT:    Can you tell me, were there people at a

13   table outside, or can you describe for me exactly what occurred?

14             THE WITNESS:    Yes.    It was in front of a normal

15   building, I believe it was like a grocery store or somewhere,

16   and there was a table sitting on the outside of the building.

17             THE COURT:    Okay.    Were there multiple people at the

18   table working the drive?

19             THE WITNESS:    Yes.    At that time I think it must have

20   been at least two.

21             THE COURT:    And, when you walked out of the grocery

22   story, did they --

23             THE WITNESS:    They questioned me whether or not you

24   were registered or wanted to register.        And, I wasn't sure, so I

25   -- they'd asked me if I wanted to register, and I -- at that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 63 of 278
                                                                             63

 1   time, I had forgotten.     I told them yes.     And, they filled the

 2   form out for me, and all I had to do was sign it.

 3             THE COURT:    And you signed it.

 4                   Did you understand that you would receive some

 5   sort of confirmation?

 6             THE WITNESS:    They told me I would, but I never did.

 7             THE COURT:    Okay.

 8                   Three months later, we've just seen evidence that

 9   you applied to register again.

10             THE WITNESS:    I wasn't sure, and it was a different

11   area in another area.

12             THE COURT:    Tell me about that circumstance, if you

13   recall.

14             THE WITNESS:    I was doing mechanic work, so I was at an

15   auto parts place at the time.      And these people happened to be

16   outside of the place.     And, again, it was actually they asked me

17   if I was registered to vote.      And I told them I wasn't sure.        I

18   told them that I had done the paperwork some months before but I

19   wasn't sure.    They said:    Well, you can do it again.

20             THE COURT:    So you did it out again?

21             THE WITNESS:    Correct.

22             THE COURT:    All right.

23                   Did you fill out that second form?

24             THE WITNESS:    I filled out the second form myself, yes.

25             THE COURT:    And you signed it.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 64 of 278
                                                                              64

 1             THE WITNESS:    Yes.

 2             THE COURT:    Did you ever hear anything after that to

 3   confirm that you were in fact registered?

 4             THE WITNESS:    No, I did not.

 5             THE COURT:    Do you know who was sponsoring the voter

 6   registration drive?

 7             THE WITNESS:    No.    I do not.   I don't care to

 8   speculate, I have no idea.

 9             THE COURT:    Were there other people signing cards --

10             THE WITNESS:    Yes.    There were several people, other

11   people, there in line to register.

12             THE COURT:    Thank you, sir.

13                   All right.    Are there any questions solely related

14   to the questions that I just asked?

15             MR. HO:    None from us, Your Honor.

16             MR. PHILIPS:    We have none, Your Honor.

17             THE COURT:    Thank you.

18                   We're going to take a 15 minute recess.        Court's

19   at recess for 15 minutes.

20                   You may step down, Mr. Scott.

21                   (Proceedings in recess.)

22             THE COURT:    Mr. Ho.

23             MR. HO:    Thank you, Your Honor.     Our next witness, the

24   plaintiffs call Ernest Johnson.

25                   ERNEST JOHNSON, being duly sworn, testified as
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 65 of 278
                                                                             65

 1   follows:

 2               THE COURT:   Mr. Johnson, would you please state your

 3   name and spell it for the court reporter, please.

 4               THE WITNESS:   Yes.    Ernest Johnson, E-R-N-E-S-T

 5   J-O-H-N-S-O-N.

 6                              DIRECT EXAMINATION

 7   BY MR. HO:

 8   Q    Morning, Dr. Johnson.

 9   A    Good morning.

10   Q    How are you today?

11   A    Great.

12   Q    You're here to testify on behalf of the Louisiana State

13   Conference of the NAACP today; is that right?

14   A    Correct.

15   Q    And I'll refer to that as the Louisiana NAACP, and will you

16   understand me if I do that?

17   A    Yes.

18   Q    How old are you, Dr. Johnson?

19   A    Too old to say.     I'm 62.

20   Q    And what do you do for a living?

21   A    Attorney by profession.

22   Q    How long have you been a lawyer?

23   A    Since 1976.

24   Q    Where did you go to law school?

25   A    Southern University.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 66 of 278
                                                                             66

 1   Q    And where do you live?

 2   A    In Baton Rouge.

 3   Q    How long have you been living there?

 4   A    Since 1973.

 5   Q    And do you have a role in the Louisiana NAACP?

 6   A    Yes, I do.

 7   Q    And what is that role?

 8   A    I am president of the Louisiana NAACP.

 9   Q    And how long have you --

10             MS. CANGELOSI:     Your Honor, I object for the record for

11   using shortened names because there is some issue as to what the

12   name of the organization is.      So, if they're calling it the

13   Louisiana State Conference, I think we need to ask the questions

14   based on that, because I have some questions on other names as

15   well.

16             THE COURT:    I think he's established that that's what

17   he -- you want, every time they mention it, to be Louisiana

18   Conference of the NAACP?

19             MS. CANGELOSI:     Yes, ma'am.    If that's the name of the

20   organization --

21             THE COURT:    I understand.

22                   Why don't we call it the Louisiana Conference.

23             MR. HO:    Okay.

24             THE WITNESS:    I think we have to put the NAACP in it.

25             THE COURT:    Yeah, but we'll know that.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 67 of 278
                                                                             67

 1   BY MR. HO:

 2   Q    So I'm going to ask you some questions today, Dr. Johnson,

 3   and I'm going to call it the Louisiana State Conference of the

 4   NAACP the Louisiana conference.       Is that all right?

 5   A    Well --

 6   Q    I'll call it the Louisiana State Conference of NAACP.          That

 7   will make everyone happy.      How about that?

 8   A    I think it's very important that we keep the NAACP in it.

 9   Q    I agree with you.    I understand.

10               THE COURT:   We weren't taking it out.

11   BY MR. HO:

12   Q    How long have you been the president of the Louisiana State

13   Conference of the NAACP?

14   A    Since 1995.

15   Q    And, before that, did you have any role with the Louisiana

16   State Conference of the NAACP?

17   A    Yes.    Before that, I served as the first vice president of

18   the Louisiana NAACP.

19                    And, before that, I was general counsel.

20   Q    And, roughly, what were the years that you held those roles?

21   A    I started -- my involvement started with the NAACP under Ms.

22   Rupert Richardson in 1983.      I came in as a young attorney,

23   volunteering time and services to assist the NAACP out, and got

24   locked into the NAACP.     And that's the story.

25   Q    You said locked in.     What did you mean by that?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 68 of 278
                                                                              68

 1   A    Well, you find, in certain areas of life, that there are

 2   certain things that you get committed to.        There's not any

 3   financial reward in it, it's just reward to try to get people to

 4   help themselves.     And Ms. Richardson was very inspirational to

 5   me to be involved to try to assist those persons throughout the

 6   state of Louisiana who we saw in the fight for freedom and

 7   needed some help.     And I just got locked in to the role and been

 8   here ever since.

 9   Q    Could you tell us about some of your responsibilities as

10   president.

11   A    As president of the Louisiana NAACP, in between meetings of

12   the NAACP state conference, I am the authority for the

13   organization.    I conduct the meetings of the NAACP.        I appoint

14   all of the standing committee chairs and special committee

15   appointments.    And I perform the duties as outlined by the

16   bylaws of the NAACP.

17   Q    Do you directly manage other people who have duties with the

18   NAACP -- the Louisiana State Conference of the NAACP?

19   A    No.   We do not have a paid executive director.        As president

20   of the organization and sitting at the committee level,

21   executive committee meeting level, we basically address the

22   policy in terms of resolutions that are passed by the

23   organization and carry out those resolutions.

24   Q    When you say address the policy, what do you mean by that?

25   A    What my definition of policy is, when we pass resolutions or
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 69 of 278
                                                                             69

 1   making sure that the bylaws are complied with in terms of

 2   oversight, that's my definition of policy.        Not day-to-day

 3   management.    We do not have anyone who handles day-to-day

 4   management of the organization.

 5   Q    And you don't?

 6   A    No, I don't.

 7   Q    Tell me just a little bit about the purpose of the Louisiana

 8   State Conference of the NAACP.

 9   A    The Louisiana NAACP is basically a part of the national

10   NAACP.   We have what some people would refer to as chapters, we

11   call them branches.     We have adult branches, we have college

12   chapters, youth councils throughout the country, including in

13   Louisiana.

14                   And the Louisiana -- the state conferences of

15   NAACP is more of a coordinating unit for all of the units that

16   would be located within the particular state.         And so all of the

17   units, what I'm calling units, would be the adult branches,

18   college chapters, youth councils in Louisiana.

19             THE COURT:    I just want to make sure I understand,

20   Dr. Johnson.    Are all of the branches underneath the conference,

21   is that what you're telling us?       If you could just describe --

22   maybe I missed something, I'm not sure.

23             THE WITNESS:    What happens is, if there's a local area

24   that would like to organize a NAACP unit, they will file an

25   application for a charter request to the national NAACP office.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 70 of 278
                                                                               70

 1   Once that charter is issued, according to the NAACP bylaws, the

 2   units within a particular state come under for oversight and

 3   coordinating activities.      So we don't have NAACP units doing one

 4   thing here and one thing there, we all operate within the state

 5   conferences.    And so as the coordinating unit of all of the

 6   units within the state.

 7             THE COURT:    Thank you.

 8   BY MR. HO:

 9   Q    And I'll ask you a few more questions about the organization

10   in a minute.    But I just wanted to ask you about the goals of

11   the Louisiana NAACP.

12                   When I said Louisiana State Conference of the

13   NAACP, when I asked earlier about its purpose, I want to know

14   what some of the goals of the organization are.

15   A    The goals of the Louisiana NAACP, or any other NAACP unit,

16   is the goals -- are the goals of the national organization.             And

17   the mission was set out in 1909 when the NAACP was created, and

18   that was to fight against racial discrimination, which results

19   in eliminating racial discrimination and racial prejudice.              And

20   the areas that we focus on is in the area of education,

21   political, social and economic.

22   Q    How do you go about accomplishing those goals?

23   A    The goals are accomplished through what we call direct

24   action.   Direct action can take a lot of different forms.

25                   It can be legislative, where we seek to get
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 71 of 278
                                                                             71

 1   legislation changed to help eliminate disparities that may

 2   exist.

 3                    And, primarily, I want to say that the NAACP, when

 4   it was started, primary was for African Americans, protection of

 5   Africans Americans.     Over the years, it has evolved into

 6   African-Americans, other minorities, including women.          But it

 7   was actually -- the original mission of the organization was to

 8   fight against disparities in those four areas for Africans

 9   Americans.

10                    Now, how do we accomplish our goals?       I mentioned

11   legislative.

12                    In the courts.    We're here in the court today.       We

13   were in court in Brown vs. Board of Education.         When I say we,

14   it was the NAACP.     Even though we have different units, the

15   NAACP is the NAACP.

16                    And we protest.    We march.   We strike.    We

17   boycott.    We put up picket signs.     But those are some of the

18   more drastic direct action steps.

19                    What we try to do is to negotiate, we try to pass

20   legislation, we try to go through the court.

21                    But then, sometimes, when all else fail, then the

22   other methods of direct action would be used --

23               MS. CANGELOSI:   Your Honor, I'd object to the narrative

24   response.    I forgot what the question was.

25               MR. HO:   I can follow up with him.     We can move on.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 72 of 278
                                                                             72

 1             THE COURT:    I think we need to follow up.

 2   BY MR. HO:

 3   Q    Instead of asking you generally, let me ask you one more

 4   basic question before we move on.

 5                   Since you've been president, Dr. Johnson, what are

 6   some of the most, in your view, significant accomplishments of

 7   the organization.

 8   A    Since I've been president, our march against Mike Foster in

 9   1996 where we marched over 35,000 people in support of

10   affirmative action.

11                   We coordinated the Jena 6 march a few years back

12   where over 100,000 people went to Jena, Louisiana to protest six

13   African-American high school students who were in jail with bail

14   over $100,000 for what amounted to no more than a high school

15   fight, you know.

16                   So, since I have a been in the organization, even

17   though I'm a lawyer by profession, I've liked to put on my

18   tennis shoes and get out and march and protest.         I believe

19   that's the American way.

20   Q    Does the Louisiana Conference of NAACP have any officers

21   other than yourself.

22   A    Yes, we do.

23   Q    Who are some of those officers?

24   A    You mean, individual names or --

25   Q    Types.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 73 of 278
                                                                             73

 1   A    Positions?

 2   Q    Positions.

 3   A    First vice president, district vice president,

 4   secretary-treasurer, we have two members elected at large.

 5   Those are the elected members of the state organization.          Of

 6   course, we have the appointed standing committee chairs also.

 7   Q    Do you know a man named Reverend Edward Taylor?

 8   A    Yes, I do.

 9   Q    And who is he?

10   A    Reverend Taylor a friend, and also he is a member of the

11   Louisiana State Conference Executive Committee.         He's chairman

12   of the Religious Affairs Committee.       And I appoint him to

13   special committees from time to time.

14   Q    Does he have any other official responsibilities other than

15   religious affairs?

16   A    Not at this time.

17   Q    Does he have any other responsibilities -- we'd talk about

18   special projects a moment ago.       What are some examples of those?

19   A    When Katrina hit Louisiana, we received funding from the

20   national NAACP to create an advocacy center.         Reverend Taylor

21   was appointed as the director of the Louisiana NAACP Advocacy

22   Center, which provided assistance to individuals who had been

23   displaced and affected by Hurricane Katrina and Rita.          And so he

24   was the director of the advocacy center.

25                     And, over the years, since I've been president,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 74 of 278
                                                                               74

 1   we've gotten funds from the national office from time to time to

 2   conduct voter registration and voter participation activities.

 3   And, whenever we get those opportunities, I've appointed

 4   Reverend Taylor as the person in charge of those activities.

 5   Q    Let me just ask about voter registration.        When you have

 6   appointed him to be in charge of those activities, was that an

 7   official -- was that is an an official officer?         Did he have an

 8   official office of the Louisiana State Conference of NAACP

 9   related to that?

10   A    It was an official position.      Now, you know, with

11   definitions, we always need to know what definition we talking

12   about.     My definition of an officer is as set out in the bylaws

13   as set out as officers.      But also the president has authority to

14   appoint individuals to certain positions.        So, was he an officer

15   according to the bylaws?      No.   Was he an officer in an official

16   position with the Louisiana NAACP?       Yes.

17   Q    You started to tell us earlier about the organizational

18   structure of the Louisiana State Conference of the NAACP.           Can

19   individual people be members of the Louisiana State Conference

20   of the NAACP?

21   A    No.    Individuals cannot directly be a member of the

22   Louisiana NAACP.

23   Q    But can individual people do work on behalf of the Louisiana

24   State Conference of the NAACP?

25   A    I would think so.    I'm an individual, and I'm elected as the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 75 of 278
                                                                               75

 1   president of the Louisiana NAACP.

 2                   And, if I may, the way the organization is set up,

 3   the membership of the state conference would be all of the units

 4   within the state.     And, in order for members to be part of the

 5   state, you'd have to be a member of the local unit.          So, to that

 6   extent, we are members of the Louisiana NAACP through our local

 7   units.

 8                   And, in addition to that, the state conference

 9   receives 15 percent of all the membership dues.         So, whenever

10   the membership dues are paid within the state of Louisiana, 15

11   percent of that membership dues comes to the state NAACP.

12   Q    So that's one of your funding sources.       Do you have any

13   other funding sources?

14   A    Well, the special monies that come down for various

15   projects, like voter registration or to Get Out To Vote.

16                   The other method by which we raise funds would be

17   our annual conventions that we conduct on an annual basis.              That

18   is our primary source of generating funds for the activities

19   that we're doing.     And, of course, to conduct the conventions,

20   activity at the conventions.

21             THE COURT:    Where does the special funding come from?

22   Is that from the national?

23             THE WITNESS:    From the national.

24             THE COURT:    Okay, thank you.

25   BY MR. HO:
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 76 of 278
                                                                             76

 1   Q    Has there ever come a time that you've received any grants?

 2   A    No.

 3   Q    And, when I asked you that question, what do you understand

 4   to be a grant?

 5   A    What I understand to be grants would be state grants and

 6   federal grants.

 7                    And the reason I say no is because we have a

 8   policy at the NAACP that we are an advocacy organization and not

 9   an organization that provide programmatic services.          So the

10   national office -- we are 501C4's at the national level, which

11   means we're not tax exempt.      And we're part of a 501C3, which is

12   a national organization.      So, with the charters that's issued,

13   we have to come under the guidelines of the 501C3 because we do

14   not as a 501C4 file our own taxes.       We spend reports to the

15   national office, they attach those financial reports to the

16   report of the 501C35.

17   Q    When I asked you what you understood to be the meaning of --

18   or, how you use the word grant, you said state and federal.

19   What did you mean by that?

20   A    Grants.   As a 501C3, when you go get a grant from the state

21   or federal government, we do not get those at the state

22   conference level.

23   Q    So you don't get funding from state and federal; is that

24   you're saying?

25   A    No.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 77 of 278
                                                                             77

 1   Q    But you do get funding from the national NAACP, is that what

 2   you're saying?

 3   A    From time to time, we do.

 4   Q    What about your expenses, do you -- what are some of the

 5   things that you expend money on?

 6   A    Well, around the convention, we have speakers that come in,

 7   materials that we have to get printed up, rooms that we might

 8   rent.   So those are expenses that are centered around the

 9   convention.     And we use the sponsorship monies to take care of

10   that.

11                    Now, for day-to-day operation, we do not pay rent,

12   we do not pay electrical bills, we do not pay telephones bills.

13   So, from a day-to-day standpoint, we have a bare-bone operation,

14   and there's not a need to generate a whole lot of money for

15   day-to-day operation.

16   Q    So fair to say the state convention annually is your biggest

17   expense?

18   A    Correct.

19   Q    What are some of the activities at the state convention?

20   A    We have workshops.     Workshops are always geared around our

21   mission.   We have education workshops.       Political action.

22   Political action is geared around two things, increasing voter

23   registration and voter participation.        So, on an annual basis --

24   Q    I'll ask another question.

25                    Do you have an annual budget?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 78 of 278
                                                                              78

 1   A    There is a budget that we present at the beginning of each

 2   year to the state conference for approval.        Yes.

 3   Q    How long is that document?

 4   A    One page.

 5   Q    And is that -- you said at the beginning -- what month of

 6   the year is it?

 7   A    In January.

 8   Q    Is that the beginning or the end of your fiscal year?

 9   A    That is the beginning of the fiscal year.        Our fiscal year

10   is from January 1 through December 31st.

11   Q    So are actual expenses reported in your budget?

12   A    You mean, line items?

13   Q    Yes.

14   A    We don't have line items.      We have general categories.

15   Q    Do you amend the budget during the course of the year to

16   reflect expenses?

17   A    No.    It's a very informal budget.     We do it just to project

18   what we might generate in terms of activities and finances.             We

19   never amend it.

20   Q    Do you have a file with accounts receivable?

21   A    No.

22   Q    Do you record line item expenses in any single place?

23   A    No.    Nothing other than check stubs.

24   Q    Why don't you record your line item expenses in any

25   particular place?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 79 of 278
                                                                             79

 1   A    One, is not required by the national office to be in

 2   compliance.

 3                    And, two, the NAACP is made up of primarily at our

 4   levels -- when I say our level, I mean state and local levels --

 5   of volunteers.    You know, we're never been able to raise enough

 6   money to have a paid executive director or paid staff.          So, when

 7   you have volunteers who are basically trying to address

 8   discrimination, eliminating discrimination, racial prejudice and

 9   doing all the things that you have to do and then have a regular

10   life too, it's just that that formality is not a part of the

11   organization structure.

12   Q    You've talked a little bit about work related to voting

13   performed by the Louisiana State Conference of the NAACP.           What

14   are some of the kinds of voting related work that the Louisiana

15   State Conference of the NAACP does?

16   A    Like I say, on an annual basis, at the state level

17   coordinating and at the local level, we do voter registration.

18   Q    Other kinds of voting related work other than registration?

19   A    Voter education.

20                    And we also, because we are a 501C3, we do not

21   endorse candidates, but we do get involved in elections.          And

22   our primary purpose is to increase voter registration and to

23   increase voter participation.      So, to that extent, you will see

24   NAACP units mobilizing, like even for this upcoming election,

25   between now and the election, you will see us mobilizing.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 80 of 278
                                                                             80

 1                    You saw us probably mobilizing when you saw

 2   earlier in this courtroom where there were people in New Orleans

 3   that were passing out voter registration cards, because that's

 4   what our organization do on a regular basis.         I can't tell you

 5   who did it because I'm not at that level for the actual

 6   implementation.

 7   Q    We'll get to all of those questions.       Let's try to -- I

 8   apologize, Dr. Johnson.      I'm going to try to -- we will get

 9   there.

10             THE COURT:    I think, Dr. Johnson, what he's saying is

11   listen to the question and answer that.

12             MR. HO:    I don't want to draw another objection from

13   the defendants; but, I apologize, I don't want to cut you off.

14   BY MR. HO:

15   Q    I want to ask you some basic questions before we talk about

16   the specifics.

17                    Why do you do this voting work?

18   A    It's part of the mission statement.

19   Q    With respect to voting related work, who does the Louisiana

20   conference of NAACP try to reach?

21   A    African Americans.

22   Q    And are you involved personally in those efforts to register

23   Africans Americans in the state of Louisiana?

24   A    No, I'm not.

25   Q    Are you aware of all the specific individual locations where
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 81 of 278
                                                                             81

 1   that activity takes place?

 2   A    No, I'm not.

 3   Q    Who would be the most knowledgeable person about that?

 4   A    Reverend Taylor.

 5   Q    I just have a few questions related to that topic for you,

 6   Dr. Johnson.

 7                     Do you remember giving a deposition in this case,

 8   Dr. Johnson?

 9   A    Yes, I do.

10   Q    Do you remember the topics on which you were designated to

11   testify?

12              MS. CANGELOSI:    Objection, Your Honor.     A deposition,

13   what topics were you designated on.       A deposition is a prior

14   statement I would use to impeach.       I don't know what he's

15   talking about, a deposition.

16              THE COURT:   I'm not sure where we're going, so maybe

17   let's --

18                     (Sidebar Conference.)

19              THE COURT:   Where are we going?

20              MR. HO:   Let me give the factual predicate.

21   Dr. Johnson has testified that he was designated to testify to

22   some very specific topics during his deposition, including

23   activities other than voter registration.        He's not

24   knowledgeable about where every specific location of voter

25   registration takes place.      The defendants have been trying to
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 82 of 278
                                                                               82

 1   argue that he should be, does he know this stuff.         And I'm just

 2   trying to establish for the record that his level of knowledge

 3   is at a very high level setting policy for the organization and

 4   not in terms of implementing.

 5             MS. CANGELOSI:      I think we've agreed to that, he was

 6   sworn to in his deposition --

 7             THE COURT:    I think it's like the same issue we had

 8   last time, you can get there, you just got to take a different

 9   route.

10             MR. HO:    Route.

11             MS. CANGELOSI:      What's the different route?

12             THE COURT:    Ask him some more questions.

13                   (Sidebar concluded.)

14   BY MR. HO:

15   Q    What responsibilities if any do you have, Dr. Johnson, with

16   respect to voter registration?

17   A    Probably nothing other than appointing of Reverend Taylor to

18   implement whatever the program is.

19             MR. HO:    I don't have any other questions for you at

20   this time, Dr. Johnson.       The attorneys for the defendants, I'm

21   sure, are going to have some questions for you, and judge may

22   also as well.    And, after that, I may have some follow up.            But,

23   for now, I think I'm finished.

24             THE WITNESS:    Thank you very much.

25             MR. HO:    Thank you.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 83 of 278
                                                                             83

 1                THE COURT:   Ms. Cangelosi?

 2                     I think it would be better if we have some sort of

 3   system, so we're going to go with the Secretary of State, and

 4   then DCFS.

 5                MR. PHILIPS:   We just arranged to do it in that order

 6   for the next couple of witnesses, Your Honor.

 7                THE COURT:   That's fine.

 8                    Ms. Cangelosi.

 9                               CROSS EXAMINATION

10   BY MS. CANGELOSI:

11   Q    Mr. Johnson, good morning.      I'm Celia Cangelosi.

12                     We know each other; don't we?

13   A    Yes, ma'am.

14                     How you doing, Ms. Cangelosi?

15   Q    Fine.

16   A    Great.

17   Q    The name of the organization who is the plaintiff in this

18   case, what do you understand that name to be?

19   A    NAACP Louisiana State Conference of Youth Council -- NAACP

20   Louisiana State Conference of Adult Branches, Youth Councils and

21   College Chapters.

22   Q    Okay.

23   A    Let me write that down.

24   Q    And where did you get that name from?

25   A    You know, Ms. Cangelosi, I guess maybe I picked it up
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 84 of 278
                                                                               84

 1   because Rupert Richardson was using that name.         But that was the

 2   name that would be in the bylaws, and I don't have a copy of the

 3   bylaws in front of me.     But I think that's the official name of

 4   the organization.     So we may use NAACP Louisiana State

 5   Conference --

 6   Q    So you think the official name of the organization is NAACP

 7   Louisiana State Conference of Adult Branches, Youth Councils and

 8   College Chapters?

 9   A    I think so.

10   Q    Okay.

11                   So the official name is not the Louisiana State

12   Conference of the NAACP?

13   A    No.   That's a d/b/a.

14   Q    And the official name is not State Conference of Louisiana

15   or NAACP State Conference of Louisiana?

16   A    Well, I've never heard of the State Conference of the NAACP,

17   but ...

18   Q    We will get to that in a second.

19                   The whatever the state organization's name is, the

20   parties filed suit is Louisiana State Conference of NAACP.              You

21   are saying the official name is NAACP Louisiana State Conference

22   of the Adult Operations, Youth Councils and --

23   A    I didn't say that.     You asked me my understanding, that was

24   my understanding.     I didn't say it was the official name.

25   Q    So you don't know what the official name is?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 85 of 278
                                                                             85

 1   A    It's in the bylaws.

 2   Q    So, sitting here today, you don't know what the official

 3   name is?

 4   A    I'd have to read the bylaws.      I can't tell you that.

 5   Q    So you don't know.

 6                   It's your opinion, is it not, that this

 7   organization operates under a charter?

 8   A    Correct.

 9   Q    Hum?

10   A    Correct.

11   Q    And that charter, you believe, came into existence 70 or 75

12   years ago, you're not sure about the exact date?

13   A    Correct.

14   Q    And you don't have a copy of the charter?

15   A    Correct.

16   Q    And you've never seen a copy of the charter?

17   A    Correct.

18   Q    So the charter might have some title or name, but you don't

19   know what that is because you've never seen it?

20   A    That's a good presumption.      I don't know.

21   Q    Well, you have seen it?

22   A    Since I haven't seen it, I don't know whether what you're

23   saying is true or not.

24   Q    Let me back up a little bit.      Have you seen the charter?

25   A    No.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 86 of 278
                                                                             86

 1   Q     Do you know what the name of the organization in the charter

 2   is?

 3   A     No.

 4   Q     And nobody in the organization has a copy of the charter

 5   that you're aware of.     You're the president, and you don't have

 6   a copy?

 7   A     No.

 8   Q     It's in this organization, whatever it's name is that you're

 9   the president of, it's not incorporated; is it?

10   A     No, it's not.

11   Q     So it's not a corporation, it's not registered with the

12   Louisiana Secretary of State's Office, for instance?

13   A     No.    It's an association.

14   Q     Okay.    The national organization, which is called the

15   National Association for the Advancement of Colored People --

16   right?      That's the national organization?

17   A     Yes.

18   Q     The national organization is a corporation.       It's

19   incorporated; is it not?

20   A     Correct.

21   Q     But the state entity in Louisiana is not incorporated?

22   A     Correct.

23   Q     You testified that you don't have individuals as members of

24   the Louisiana State Conference or whatever the Louisiana group

25   is; is that right?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 87 of 278
                                                                             87

 1   A    No.    I say we don't have individual members.       Individuals

 2   are members indirectly, but we don't have individual members.

 3   Q    Do you have a list of the members of the Louisiana State

 4   Conference of the NAACP, or whatever its name is?

 5   A    Well, I refer to it -- I refer to the organization as

 6   Louisiana NAACP, Ms. Cangelosi.

 7   Q    Okay.    You want to call it the Louisiana NAACP?

 8   A    Yes, ma'am.

 9                     And the national office has never said anything

10   about it.     And the state of Louisiana has never said anything

11   about it either.

12   Q    Said about what?

13   A    Louisiana NAACP, that's the name that we refer to.         When we

14   say Louisiana NAACP, I don't think there's no misunderstanding

15   about the organization.      It's the NAACP in Louisiana.

16   Q    The person who filed suit is the Louisiana State Conference

17   of the NAACP?

18   A    That's a good name.

19   Q    You say the name is NAACP, Louisiana State Conference of

20   adult branches, Youth Councils and College Chapters?

21   A    Right.    And the short form name that we could use is NAACP

22   Louisiana State Conference, Ms. Cangelosi.

23   Q    And you say you operate under a charter, but you don't know

24   what the name is of the charter?

25                MR. HO:   Objection.   Asked and answered.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 88 of 278
                                                                             88

 1              THE COURT:    Sustained.

 2   BY MS. CANGELOSI:

 3   Q     All right.    Let's talk about members.

 4                      It's my understanding that an individual person --

 5   I'm an individual, you know, a separate human entity -- an

 6   individual person cannot be a member of that organization that

 7   you call the LA NAACP.

 8   A     Cannot be a direct member, that's correct.

 9   Q     But there's no other kind of member.      You're a member or

10   you're not.    There's no direct or indirect members; is that

11   correct?

12   A     There's indirect, Ms. Cangelosi.      There's two types of

13   memberships.    You have membership where you join directly, and

14   you have memberships where you join indirectly.

15   Q     Let me ask the question, if you don't mind.

16              THE COURT:    Let her ask the questions.     We'll follow

17   up.   You're entitled to answer the questions.

18   BY MS. CANGELOSI:

19   Q     The only persons who can be members of the Louisiana State

20   Conference of the NAACP are either adult branches, college

21   chapters or youth councils; is that correct?

22   A     Well, there are other organs of the organization that can be

23   a member of the state conference coordinating body, but those

24   are the units of the state.      And, in order for any individual to

25   be a member of the state conference, they have to be members of
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 89 of 278
                                                                             89

 1   those individual units.

 2   Q    So your testimony today here in court is that an individual

 3   can be member of the Louisiana State Conference of the NAACP?

 4   A    No, ma'am.    Not directly.    We cannot have an at-large person

 5   coming in and buying a membership in the state.         As I said to

 6   you in the deposition, I'm in the Baton Rouge branch.          The only

 7   way I could be state conference president is that I would have

 8   to be a member of a branch.       I'm member of the branch Baton

 9   Rouge branch, which is also in the state conference.          Which

10   means that I can be elected as president of the Louisiana NAACP

11   as a member indirectly.      I can't go buy a membership in the

12   state conference.

13   Q    Do you remember your deposition on June 6, 2012 in this

14   case?

15   A    Yes.

16   Q    And you were at Mr. Ron Wilson's office, and you were under

17   oath and sworn to tell the truth?

18   A    Yes.

19   Q    Did you not tell me on that date -- give me a second:

20                     So, back to who are members of the Louisiana State

21   Conference of the NAACP, and that would be corporate bodies in

22   the local unit?

23                     And you said:    Yes, in the local unit.

24                     Anybody or anything else?

25                     No.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 90 of 278
                                                                             90

 1                     Do you know how many corporate bodies that are

 2   members?

 3                     I don't have any.

 4                     So you don't have any corporate bodies in

 5   Louisiana?

 6                     Not in Louisiana.

 7                     Was that your testimony at that time?

 8   A    Yes.    That's correct, Mr. Cangelosi.

 9   Q    All right.

10                     Did you also tell me --

11               MS. CANGELOSI:   Give me a second, Judge.

12   BY MS. CANGELOSI:

13   Q    -- you didn't tell me on that date that there was anything

14   other than those kind of members; did you?

15   A    I'm not sure -- I don't know.

16               MR. HO:   Objection Your Honor.    If she's going to

17   impeach with a deposition transcript, we need to know the page

18   number, the question that's being asked.

19               MS. CANGELOSI:   I just need a few minutes, because I

20   didn't think he was going to change his answer.

21               THE COURT:   Actually, I haven't heard a change yet.

22   But you can keep reading.

23                     (Pause in proceedings.)

24   BY MS. CANGELOSI:

25   Q    You told me, did you not, that you were -- you individually
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 91 of 278
                                                                             91

 1   were not a member of the Louisiana state conference of the

 2   NAACP; is that correct?

 3   A    That's correct, yes.

 4   Q    That's because individuals cannot be members?

 5   A    Cannot be direct members of the state conference.

 6   Q    So do you have some document that talks about direct members

 7   and indirect members?     Because I don't know what direct and

 8   indirect member -- is that a term defined in law somewhere?

 9   What's a direct and an indirect member?

10   A    I don't know, but membership is defined in the bylaws, Ms.

11   Cangelosi.     It's my understanding from counsel that you've been

12   provided a copy of the bylaws.       So membership really is defined

13   in the bylaws.

14   Q    Do you have that copy of the bylaws?

15   A    Surely.

16   Q    So you don't have that with you today to provide it to me?

17   A    It was my understanding it was provided through discovery to

18   your office.    I'm not sure.

19   Q    So you know all about what was provided in discovery.          I was

20   going to ask some questions about that later, that's good.

21             MR. HO:    Objection, Your Honor.     This is getting

22   argumentative, and that also mischaracterizes his testimony.

23             THE COURT:    Sustained.

24   BY MS. CANGELOSI:

25   Q    So the only members are adult branches, college chapters or
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 92 of 278
                                                                             92

 1   youth councils; is that correct?       Of the Louisiana State

 2   Conference of NAACP.

 3   A    Did you mention corporate sponsors?

 4   Q    You don't have any corporate sponsors, I thought.

 5   A    But there can be.

 6   Q    But you don't have any; do you?

 7   A    No.    Right.

 8   Q    So the only members of the Louisiana state conference of the

 9   NAACP are adult branches, youth councils or prison branches; is

10   that correct?

11   A    That's correct.

12   Q    And, by adult branches, they're by geographic areas in the

13   state; is that correct?

14   A    Correct.

15   Q    So there is a Baton Rouge branch, that's one of your adult

16   branches that's a member; is that correct?

17   A    Yes.

18   Q    The New Orleans branch, that's one of your adult branches

19   that's a member?

20   A    Correct.

21   Q    And then we go on with the rest of the state.

22                    Those adult branches, the Baton Rouge branch of

23   the NAACP, they operate under their own charter from the

24   national organization; do they not?

25   A    Yes, they do.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 93 of 278
                                                                             93

 1   Q    Okay.    So you have a charter -- which we haven't seen -- and

 2   they have a charter?

 3   A    Right.

 4   Q    Two different chartered organizations?

 5   A    Yes.

 6   Q    So you have a charter, and your members under you have a

 7   charter as well?

 8   A    Yes.

 9   Q    Now, back to the name thing, you have some letterhead and

10   signed some letters, did you not, that say NAACP State

11   Conference of Louisiana with that name on it?

12   A    Probably so.

13   Q    You admitted in your deposition, did you not, that you

14   thought you were president of an organization called the NAACP

15   State Conference of Louisiana?

16   A    Ms. Cangelosi --

17                MR. HO:   Objection, Your Honor.

18                MS. CANGELOSI:   You want us to approach, Judge?

19                THE COURT:   Please.

20                     (Sidebar conference.)

21                MR. HO:   This question has been asked and answered.       At

22   this point, she's badgering the witness.

23                THE COURT:   Ms. Cangelosi.

24                MS. CANGELOSI:   I don't think I'm badgering the

25   witness.     I don't know what the organization is, Judge.       I'm
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 94 of 278
                                                                              94

 1   trying to share -- I don't know what the name is, I don't know

 2   who the members are.      I think they're trying to -- I think it's

 3   very relevant and very important to who this organization is.

 4                THE COURT:   You're getting to the point where you're

 5   badgering because I think we're retreading the same ground.             I'm

 6   going to let you finish this one line of questioning, and then

 7   no more.     But he has said it multiple times, this is what we are

 8   and these are the members.

 9                MS. CANGELOSI:   I'm just responding to questions about

10   you have a name, it's on letters, you told me you were

11   president.

12                THE COURT:   You can go there, but then we're going to

13   move on, I'm telling you.

14                     (Sidebar concluded.)

15   BY MS. CANGELOSI:

16   Q    I think my question was, Mr. Johnson, is that you signed

17   letters with letterhead that say that you're the president of

18   the NAACP State Conference of Louisiana, that's the name of the

19   organization?     Do you know?

20   A    I don't really remember.

21   Q    Okay.    Do you remember giving your deposition on June 6th,

22   2012 in this case?

23   A    Yes.

24   Q    And I asked you, I showed you a letter, and I said:         Do you

25   remember this, is that a letter that you authorized to be sent
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 95 of 278
                                                                             95

 1   under your signature?

 2                    Yes.

 3                    Question:    At the top of the page, it says:      NAACP

 4   Louisiana State Conference.

 5                    You say:    Correct.

 6                    And I say:   And the signature line says that you

 7   were the state president?

 8                    Correct.

 9                    And I say:   Is that the name of the organization

10   that you were the president of, NAACP Louisiana State

11   Conference?

12                    And you say:   Correct.

13   A    Correct.    I mean, you're saying Louisiana State Conference,

14   NAACP Louisiana State Conference.

15   Q    That was the question.

16                    And is that the name of the organization that

17   you're the president of, NAACP Louisiana State Conference?

18   A    Yes.

19   Q    Okay.    That's what you said?

20   A    Sure.

21   Q    You know, there was another letter as well where you had

22   identified it the same way; is that correct?

23   A    Correct.

24   Q    So is the NAACP Louisiana State Conference is the same

25   entity as the plaintiff in this suit, Louisiana State Conference
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 96 of 278
                                                                             96

 1   of the NAACP?

 2   A    Yes.   And I'll authorize the filing of the lawsuit on behalf

 3   of the state conference.      That it was later presented at a

 4   meeting of the Louisiana State Conference and approved by the

 5   resolution of the members meeting.       And, in an official meeting

 6   of this organization in Baton Rouge, we authorized that this

 7   lawsuit be filed because we're concerned with making sure that

 8   everybody comply with the law to register voters.

 9   Q    So you authorized the filing of the lawsuit at a meeting in

10   Baton Rouge?

11   A    At a meeting in Baton Rouge.

12   Q    When we took your deposition -- do you remember taking your

13   deposition on July 31st:      You remember where the meeting was

14   held?

15   A    Well, I don't know.     I thought -- I couldn't remember

16   whether it was in January or March meeting.         I didn't know that

17   it was about where the meeting was.

18   Q    Do you want me to find the location where you couldn't

19   remember the place where it was held?

20   A    Yes, please.

21                    (Pause in proceedings.)

22               MS. CANGELOSI:   It might take me a minute, too, Judge.

23   I didn't anticipate that.

24                    (Pause in proceedings.)

25   BY MS. CANGELOSI:
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 97 of 278
                                                                             97

 1   Q    When you were asked, you said --

 2               THE COURT:   What page?

 3               MS. CANGELOSI:     Of the deposition on July 31st, which

 4   just is SOS Exhibit 52, it's on page 21.

 5   BY MS. CANGELOSI:

 6   Q    My question was:       Where were you when the resolution was

 7   passed?

 8                     Answer:    I was conducting the meeting.    You mean,

 9   like, in what city where we were at?

10                     Question:    Well, what state?

11                     Answer:    In Baton Rouge.

12                     Oh, you did say that.    Got me on that one.

13   A    Ms. Cangelosi, we can live with that.

14               THE COURT:   Ms. Cangelosi, that was effective

15   impeachment.

16               MS. CANGELOSI:     I'm willing to admit my mistakes.

17   BY MS. CANGELOSI:

18   Q    In all seriousness.      We're not all perfect.

19                   Okay.    You said you authorized the filing of this

20   lawsuit in your testimony, I believe that was in January or

21   March of 2011 when the Louisiana State Conference of the NAACP

22   at a meeting passed a resolution to authorize the filing of this

23   lawsuit; is that correct?

24   A    Yes.

25   Q    All right.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 98 of 278
                                                                                 98

 1                    Who brought the information to the Louisiana State

 2   Conference of the NAACP that resulted in the resolution to

 3   authorize the filing of the lawsuit?

 4               MR. HO:   I'm going to object, Your Honor.      I think this

 5   goes -- is directly contra -- contravenes your ruling on the

 6   motion.

 7               MS. CANGELOSI:   Your Honor, can I approach?

 8               THE COURT:   You can approach, but I think we briefed

 9   this in a motion in limine.

10                    (Sidebar conference.)

11               MS. CANGELOSI:   I agree that he wrote it, but he opened

12   the door.    I think he opened the door by him saying they brought

13   in evidence, and the witness opened the door by saying I

14   offered.    I think that -- I wasn't allowed to bring it up by

15   your earlier ruling.      But, for them to bring it up through the

16   testimony, he's opened the door.       He has opened the door about

17   the filing of the lawsuit by his answer.

18               MR. HO:   I don't think he did that.     He didn't talk

19   about the reasons, the manner in which he became plaintiffs in

20   the lawsuit.    That's a very different issue than what the

21   question was about, which is who is the plaintiff in the case,

22   which is what he was trying to answer.

23               MS. CANGELOSI:   But he opened the door.     He brought it

24   up.   He said it.     He was at the state conference.     He said:      I

25   brought the lawsuit.      He brought it up, and he's acting like it
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 99 of 278
                                                                              99

 1   was.    He said he couldn't bring up how they got involved in the

 2   lawsuit.      I wasn't going to ask him about the resolution.       He

 3   opened the door.     He said the Louisiana state conference -- he's

 4   like he initiated the lawsuit.       I didn't open that up.     He did,

 5   by his testimony.      I can't let him open that door and me not go

 6   through it.

 7                THE COURT:   I think I've already ruled on a motion in

 8   limine.      I don't think he's opened the door.     I think he talked

 9   about authorization and passing the resolution, but we're not

10   going any further than that unless he continues to talk.

11                MS. CANGELOSI:   Just note my objection for the record.

12                THE COURT:   Sure.

13                     (Sidebar concluded.)

14   BY MS. CANGELOSI:

15   Q      I kind of remember, Mr. Johnson, you saying some things

16   about the NAACP being involved in different voting rights

17   legislation historically -- let me see if I can find my notes on

18   that.

19                     I can't find my notes on that.     But the Louisiana

20   State Conference of the NAACP, you don't have any knowledge that

21   it was involved in the passage of the 1965 Voting Rights Act,

22   for instance; do you?

23   A      No.

24   Q      And it couldn't have been involved in things as alleged in

25   the petition that occurred in 1909 and 1915 of the Louisiana
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 100 of 278
                                                                              100

 1   State Conference; could it?

 2   A    Well, it depends, Ms. Cangelosi.

 3   Q    Let me ask you this.     Did the Louisiana State Conference of

 4   NAACP exist in 1909?

 5   A    No.   But the parent did.

 6   Q    The Louisiana State Conference --

 7   A    We're children of the parent.

 8   Q    Did the Louisiana State Conference -- oh, so it has parents

 9   back from 70 years ago?

10   A    The parent is the national office of the NAACP, which is the

11   parent.    And all of the units come under the parent.

12   Q    Is that a legal term, parent?

13   A    Well --

14   Q    The national organization is a corporation; is it not?

15   A    That issue charters to various units.        And we report to the

16   national organization.      I mean, we don't file individual taxes.

17   We send reports to the national, and the national files one on

18   our tax returns.

19   Q    Is your testimony anything that the national organization,

20   the NAACP, does, is attributable to the Louisiana organization?

21   A    Yeah.

22   Q    So that's your testimony --

23   A    Attributable to all NAACP units.

24   Q    So your testimony here today is, anything that the national

25   organization does is -- the Louisiana State Conference of the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 101 of 278
                                                                              101

 1   NAACP has done, it's their action as well?

 2   A    I think it's separate actions.       I'm not sure which actions

 3   you're talking about, in other words the national.

 4   Q    I'm talking about in 1909, did the Louisiana State

 5   Conference of the NAACP have any activities with respect to to

 6   this case or the voting rights act?

 7   A    I don't know, Ms. Cangelosi.

 8   Q    So -- but they didn't exist in 1909; did they?

 9   A    No.

10   Q    And it didn't exist in 1915 to do any other kind of work

11   either; did it?     The Louisiana State Conference?

12   A    I don't know, Ms. Cangelosi.

13   Q    So you think it might have existed in 1915?

14   A    I just don't --

15              THE COURT:    Is that 1915, or 1950?

16              MS. CANGELOSI:    15.

17              THE WITNESS:    I don't know, ma'am.     Because, at a

18   certain point in time, when we say 70 years in Louisiana, as I

19   was discussing in deposition, that was a period of time that the

20   NAACP in Louisiana was included as a result of the white

21   citizens council wanting to pass legislation to look at the

22   membership roster.      So that was a period of time.      But I'm not a

23   historian, I don't know all of that history.         All I know, I just

24   go by what I got.     We 70 years, we just celebrated our 70 years

25   convention.    But I have not gone back and done the research to
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 102 of 278
                                                                              102

 1   see when the charters -- there were some state charters issued

 2   in 1915.     Some of the first ones were issued in 1915.

 3                     I really can't say, you know, when Louisiana's

 4   charter was first issued, I just don't know.

 5   Q    It's because you've never seen it.

 6                     So you don't know when the Louisiana state

 7   conference of the NAACP even came into existence; do you?

 8   A    No.    All I have is the charter number, 6045.

 9   Q    But you don't have a copy of the charter, and you haven't

10   seen it?

11                MR. HO:   Objection.    Asked and answered.

12                THE COURT:   Sustained.

13   BY MS. CANGELOSI:

14   Q    You talked about some programs and activities of the

15   Louisiana State Conference.         But, in your opinion, the Louisiana

16   State Conference is more of an advocacy group than a programatic

17   group; is that what you said?

18   A    Yes.

19   Q    I believe you have testified to that?

20   A    Yes.

21   Q    And the only programs that you're aware of that the

22   Louisiana State Conference of NAACP have conducted are in

23   connection with disaster relief; is that correct?

24   A    No.    We've conducted other programs.

25   Q    Okay.    Let me ask you to -- did you give your deposition on
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 103 of 278
                                                                              103

 1   June 6?       Do you recall that?

 2   A      Yes.

 3                 MS. CANGELOSI:   I have this marked wrong.    Give me a

 4   sec.

 5                      (Pause in proceedings.)

 6   BY MS. CANGELOSI:

 7   Q      Do you recall testifying in answer to the questions:        So

 8   what kind of programs have you done, the Louisiana State

 9   Conference?

10                      And this is on page 40, at the last, and on page

11   41.

12                      The answer:   Well, the only programs I can tell

13   you that we probably have done would be in connection with

14   disaster relief.      You know, we've handed out meals before, we've

15   handed out goods at the Red Cross when Katrina hit New Orleans

16   and in south Louisiana area with most of hurricanes, you know,

17   we go into disaster relief mode.       We have trained -- our members

18   have been trained by the Red Cross to provide those types of

19   services.      I do not consider that to be programatic.      But, as

20   far as any other program, on a regular basis, we don't have any.

21                      Is that your testimony on that date?

22   A      Correct.

23   Q      In regard to any programs other than disaster relief, it's

24   really the local units, such as the Baton Rouge branch or the

25   New Orleans branch, that perform those activities; is that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 104 of 278
                                                                              104

 1   correct?

 2   A    I'm not sure what those -- what the local units do on a

 3   day-by-day basis.

 4   Q    So you don't know what the local units do?

 5   A    No, ma'am.

 6   Q    But do you remember giving your deposition on June 41 --

 7   June 6 where you said that any other programs other than the

 8   disaster relief would be done by the local units?

 9   A    If they're done, local programs, Ms. Cangelosi.         I don't

10   know of any programs that they're doing.         I don't manage the

11   local units.     I'm not the executive director of the NAACP.         I'm

12   a volunteer president.

13   Q    Didn't you tell me, any other programs besides disaster

14   relief would be done by the local units because they're

15   independently chartered and they independently have a right to

16   do whatever they want?

17   A    No, ma'am.    They're independently charted, but I don't know

18   if they have an independent right.        They have to report to the

19   national office.     And the organization's policy is that all the

20   units should be advocacy rather than going out to get grants.

21   Now, I don't know how --

22   Q    Let's just kind of answer questions here, if we can.

23              MR. PHILIPS:    If I may, Judge --

24              THE COURT:    Wait, wait.   He can finish his answer.

25              MR. PHILIPS:    Thank you, Judge.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 105 of 278
                                                                              105

 1              THE WITNESS:    I don't know how a 501C4 is going to get

 2   grant money when you have to be a 501C3.         But there may be some

 3   things going on.     That's why I'm being cautious to say I'm not

 4   sure what local units are doing.

 5   BY MS. CANGELOSI:

 6   Q    Do you recall giving your deposition on June 6, page 41, in

 7   response to the question:      So besides the programatic stuff

 8   which is in the connection with disaster relief and your

 9   advocacy things such as protests, marches, litigation,

10   legislation, ya'll all don't have any other activities that you

11   can think of?     That's the question.

12                    Do you recall your answer being:      Not at the state

13   level.    Now, you have to remember that even the local units

14   independently have a right, because they are independently

15   chartered by the national organization, they have a right to do

16   whatever they are going to do locally.        So I'm not speaking for

17   those local units that we have been talking about, I'm just

18   talking about the Louisiana State Conference.

19   A    That's what I just said.

20   Q    That's what you just said in your deposition.

21   A    And that's what I just said in my testimony here today, too.

22   Q    Well, that's subject to debate.

23                    But you agree that that's correct?

24              MR. HO:   Objection.    Argumentative.

25              THE COURT:    It's argumentative, sustained.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 106 of 278
                                                                              106

 1   BY MS. CANGELOSI:

 2   Q    Now, the Louisiana State Conference is required to submit

 3   annual financial reports to the national organization; is that

 4   correct?

 5   A    Yes.

 6   Q    You don't fill those out; do you?

 7   A    No.

 8   Q    And you're not sure what they say what the monies are spent

 9   on each other, those annual financial reports?

10   A    I can't tell you today testifying here what they say.

11   Q    You don't know if the reports list what activities the money

12   is spent on each year; do you?

13   A    The treasurer fills out the reports.        I countersign the

14   report, but I trust the treasurer is doing what the treasurer

15   ought to be doing.

16   Q    So you don't know if the annual financial report lists what

17   the activities the money is spent on each year; do you?

18   A    No.

19   Q    And you don't know if the local -- you know, what the local

20   units report to the national organization, the Baton Rouge

21   branch, the New Orleans branch, you don't know what they report;

22   do you?

23   A    No.

24   Q    And it's the local units and branches, is it not, who have

25   conducted the voter registration drives in the state of
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 107 of 278
                                                                              107

 1   Louisiana?

 2   A    No, that's not entirely true.

 3   Q    Okay.    Do you remember giving your testimony on June 6th?

 4   In this deposition, I mean?

 5   A    Yes, ma'am.

 6                MS. CANGELOSI:   Your Honor, I'm going to read from page

 7   67 of that, lines 13 to 16.

 8   BY MS. CANGELOSI:

 9   Q    And did you say:     Okay.   Do you know, since 2001, what the

10   Louisiana State Conference of NAACP has done regarding voter

11   registration educations, was my question.

12                     And your answer is:    Basically, on an annual basis

13   at our conference, we constantly have workshops on voter

14   education and voter registration as a part of our basic mission.

15   So we do it every year at the convention.         In January, when we

16   set activities for the year, the local units discuss how they

17   intend for that year to do voter registration.         I don't think

18   enough is being done on education because we are constantly

19   trying to do voter registration.

20                     Is that your testimony at that time?

21   A    I think your question was, were the local units the only

22   units doing voter registration in the state.         I said that's not

23   necessarily true, because sometimes the state conference does

24   voter registration and coordinate that with the local units.

25   That's the same thing.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 108 of 278
                                                                              108

 1   Q    That's not what you said on that date.        You said the local

 2   are the ones who do voter registration.

 3   A    They do voter registration, yes.

 4   Q    So you don't dispute that that's what you said on that date?

 5   A    No.    That's partially true.    It's not the whole truth.

 6   Q    And the local units are not required to report to you what

 7   they're doing regarding voter registration; is that correct?

 8   A    They're not legally required; but, from a programmatic

 9   coordinating standpoint, the Louisiana State Conference

10   coordinates with all of the units in the state per the NAACP

11   charter.    And, in that coordination, there is oversight.         And,

12   as a result of that oversight, we meet on a quarterly basis,

13   four times a year, at least four times a year, and the

14   convention.    And, at that period of time, the local units come

15   in and they -- part of whatever our agenda is, the local unit

16   reports.    So that we can continue to provide oversight and

17   continue to coordinate so that Shreveport will know what Baton

18   Rouge is doing, Baton Rouge will know what New Orleans is doing,

19   and we can continue to coordinate.

20   Q    I don't have a requirement that you're supposed to get

21   financial information from those local units, and they don't

22   indicate how many man hours, they don't indicate what they are

23   doing with respect to voter registration; do they?

24   A    No, I don't.

25   Q    Huh?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 109 of 278
                                                                              109

 1   A    I don't.

 2   Q    I'm talking about the Louisiana state conference.         I don't

 3   mean Ernest Johnson individually, I'm talking about the entity.

 4   A    No.   There's no requirement that they have to report up.

 5   But we do coordinate.      Now, that oversight may take different

 6   forms at different times.      It just depends on what the

 7   organization decide to do at a meeting.

 8   Q    So, they don't have to report to you on what they're doing

 9   and how many hours and what they're doing with respect to voter

10   registration; is that correct?

11   A    There's no legal requirement that they have to do it.          But,

12   as part of the overall coordinating of all of the units in the

13   state, they do it.     I've never seen a rule to say they have to

14   do that.     But we do it.

15   Q    Do you recall testifying:      We don't have a requirement that

16   we get financial information from them that they indicate how

17   many man hours; I don't have that.

18                    Do you remember testifying as to that?

19   A    Yes, don't have it.

20   Q    Okay.

21                    And you also -- you've also said that the

22   Louisiana State Conference has never engaged in any direct

23   effort to register voters who are in public assistance; is that

24   correct?

25   A    Well, I don't know what they've done practically.         I know
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 110 of 278
                                                                              110

 1   and what I testified to is that we don't have a policy that

 2   direct our forces to any particular agency.         That was my

 3   comment.    I have nothing to do with the implementation of policy

 4   or resolutions.      I have nothing to do with that.

 5   Q    When you were testifying on June 6 in your deposition, you

 6   were sworn to tell the truth; is that correct?

 7   A    Yes, ma'am.

 8   Q    And you told the truth; did you not?

 9   A    Yes, I did.

10   Q    And did you not say:     Of course there is no direct effort to

11   register voters who are in public assistance?

12              MR. HO:    Objection, Your Honor.     We don't have a

13   question, we don't have the complete answer, we don't have the

14   context for this whatsoever.

15              THE COURT:    Ms. Cangelosi, you need to give him the

16   page.

17              MS. CANGELOSI:    Starts on page 94.

18   BY MS. CANGELOSI:

19   Q    The question:     But do you have any personal knowledge of

20   your organization, the Louisiana State Conference of the NAACP,

21   expending any resources in monetary funds directed toward voter

22   registration efforts as it relates to the Department of Children

23   and Family Services' clients?       And that was the question.

24                    The answer was:    Well, I certainly don't

25   personally know.     What you do is that you tag it with your
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 111 of 278
                                                                              111

 1   clients, your particular clients, and there's no information to

 2   say that this particular individual is there.         What I will tell

 3   you is that, when you look at our community, we go on a

 4   statistical basis in terms of percentages of our people who are

 5   getting those benefits.      And where we basically do voter

 6   registration in the area of inner cities.

 7                     Most of the time, when you look at areas where you

 8   have low voter registration, what you can do the comparative

 9   analysis to those neighbors and those individuals who are on

10   those benefits.      We don't do it in suburbs.     We don't do it in

11   places where folks have very large houses and stuff like that.

12   I don't have a name, but I think statistically it probably will

13   show.    Of course there is not direct effort to register voters

14   who are on public assistance.

15   A    Right.

16              MR. HO:    And the witness's answer finishes on to the

17   next page.

18              MS. CANGELOSI:    Admit that was his answer.      I don't

19   need any more for my purpose.       He admits that was his answer.

20              THE COURT:    Please proceed.

21   BY MS. CANGELOSI:

22   Q    What's the legal defense fund?

23   A    Excuse me?

24   Q    What's the legal defense fund?       Are you familiar with an

25   entity that's known as the legal defense fund?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 112 of 278
                                                                              112

 1   A     Are you talking about the NAACP legal defense fund, or legal

 2   defense -- there are a lot of defense funds.         Which legal

 3   defense funds are you talking about?

 4   Q     In your deposition, you made reference to the legal defense

 5   fund.    Do you know what you were talking about?

 6   A     Can you refresh my memory?     Can I see the testimony?

 7   Q     This is your deposition of July 31st, page 35, line 16 to

 8   18.

 9                    Did you state that LDF sends voter registration

10   everywhere for the units to be able to pass out voter

11   registration cards?

12   A     Yes.

13   Q     And LDF is who?

14   A     NAACP legal defense fund.

15   Q     And they sent them down every year for the Baton Rouge

16   branch, the New Orleans branch to pass out the voter

17   registration cards; is that correct?

18   A     They send them down for the New Orleans, and we have them at

19   our workshops.     I remember, our workshops at the conference, all

20   the units are required to attend the workshops.          The political

21   action which involves increased voter registration and increased

22   voter registration participation.

23   Q     And they give them to the units for the units to pass out

24   the voter registration cards, the LDF does; is that correct?

25   A     Not necessarily the units.     The members who are in
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 113 of 278
                                                                               113

 1   attendance.    You've got to remember that the units themselves

 2   don't attend the convention.       It's the members.     Units who are

 3   indirectly members of the Louisiana NAACP that attend the

 4   conferences.

 5   Q    You testified on July 31st the LDF sent voter registration

 6   cards down, like they do every year, for the units to be able to

 7   pass out voter registration cards.

 8   A    That's correct.

 9   Q    That's all I wanted to know.

10   A    Sure.

11   Q    Louisiana State Conference has named officers; does it not?

12   President, several vice presidents, a secretary and treasurer?

13   A    Yes.

14   Q    They have named committees and committee chairs?

15   A    Yes.

16   Q    They don't have any directors?

17   A    From time to time, we do have directors.        It depends on

18   whether they are appointed.

19   Q    Do you recall giving your deposition on June 6th, page -- I

20   think it looks like page 45, lines 4 to 6?

21                    I said, question:    You have officers, okay.       We

22   will talk about them in a minute.        Does the state conference

23   have committees or directors or --

24                    Answer:   We have committees.

25                    Question:   So you have committees.      Do you have
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 114 of 278
                                                                              114

 1   directors?

 2                     And the answer was:    No.

 3   A    No, we don't have directors.       We have officers, standing

 4   committee chairs.     From time to time, when there is appointment

 5   for special projects, there would be a director.

 6                     And the reason why I say that is, when Reverend

 7   Taylor was appointed as the executive director of the NAACP

 8   advocacy center, that was, quote, unquote, a director.

 9   Q    But when I had asked you on June 6th, you told me there were

10   no directors?

11   A    We don't have any.

12   Q    That's what I'm asking you.

13                     But, now, you're saying you have a director.

14   That's all I wanted to know.

15   A    From time to time, we do have to have special appointments,

16   and those people become directors.

17                     We do not, in our bylaws -- and, you have to

18   understand, most of the times I'm talking to you, I'm talking

19   about bylaws, policy at the level I'm at.         We do not have in our

20   bylaws structured directors.       That's a true answer.

21   Q    All right.    And you don't have any directors, is what you

22   told me on June 6th --

23   A    Until we get some funding.

24   Q    Whether in your bylaw structure or otherwise?

25              MR. HO:   Objection, Your Honor.      This is cumulative,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 115 of 278
                                                                              115

 1   and also I think we're confusing director.

 2               MS. CANGELOSI:   Objection.    I'm going to object to him

 3   testifying.

 4               THE COURT:   I've already talked about speaking

 5   objections.

 6                    It's been asked and answered, and I think it's

 7   time to move on.

 8   BY MS. CANGELOSI:

 9   Q    You all have a treasurer, and that's Mr. Heckard; is that

10   correct?

11   A    Yes.

12   Q    And he's the one that would be in charge of financial

13   related records; is that correct.

14   A    Yes.

15   Q    And you maintain checking accounts where all of -- Louisiana

16   State Conference maintains checking accounts where all the money

17   is deposited in and all the expenses are paid out; is that

18   correct?

19   A    Yes.

20   Q    And the Louisiana State Conference has never received any

21   form of grants; is that correct?

22   A    That statement is not correct by itself.        When I say grants,

23   federal and state.

24   Q    Do you remember giving your deposition on June 6th in this

25   case, yes or no?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 116 of 278
                                                                              116

 1   A    Yes.

 2               THE COURT:   You need to answer the question.

 3               THE WITNESS:    Yes.

 4   BY MS. CANGELOSI:

 5   Q    And, on page -- several places -- but on page 38, the

 6   question was asked on page 38 line 12:        Do ya'll get grants

 7   sometimes?

 8                    Answer:    No.    We probably could, but the NAACP

 9   some years ago -- well, the powers to be felt that it would be

10   more of an advocacy than a programmatic agency.          I sure the

11   programs tie into advocacy but I don't see how you can do

12   advocacy and not do programs, you know, because we are not a

13   501C3 at the state and local level.

14                    Was that your answer on that day?

15   A    Yes.    Yes, it was.

16   Q    And then again on page 39, question was:        And in response to

17   something else, you say:      I would at least take you to lunch.

18                    All right.

19                    So the question was:      So you don't get grant

20   money?

21                    Answer:    No.

22                    Question:    Again, okay.    Have ya'll ever gotten

23   grant money from anybody or anything?

24                    And your answer was no on that date; is that

25   correct?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 117 of 278
                                                                              117

 1   A    Yes.

 2   Q    All right.

 3                MS. CANGELOSI:    That's all the questions I have.     Thank

 4   you very much.

 5                THE WITNESS:    Thank you very much, Ms. Cangelosi.

 6                THE COURT:   Mr. Philips.

 7                                 CROSS EXAMINATION

 8   BY MR. PHILIPS:

 9   Q    Mr. Johnson, hi.       I'm Skip Philips.     I represent, along with

10   my co-counsel, the Department of Children and Family Services

11   and the Department of Heath & Hospitals.

12                     How are you doing?

13   A    Good.

14                     How are you?

15   Q    I have some questions that really are focused on not so much

16   the organization, which I think you've covered, but a little bit

17   more about what oversight and coordination means from your

18   perspective as the state president.        Okay?

19   A    Okay.

20   Q    You talked about units.       And, as I understand, the units,

21   the local organizations -- and they receive their direct charter

22   from the national organization; right?

23   A    Yes.

24   Q    So, if I was drawing an organizational chart, I would have

25   the NAACP in a block here, and then there would be solid lines
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 118 of 278
                                                                              118

 1   that connect that headquarters to all of the local chapters or

 2   units around the country; is that true?        In other words, they

 3   answer directly to the national headquarters for their charter

 4   and for their existence?

 5   A    Certainly for the charter.      But the organization chart

 6   wouldn't necessarily be true as far as oversight is concerned.

 7   It would be national at the top, state conference and then under

 8   state conference it would be all of these various units.           And

 9   this has changed over the years.       Like I say, I'm on the board

10   of directors.     So, while we have charters, we're also regulated

11   by resolutions from the board from time to time, by amendments

12   to the constitution.      So, right now, where it exists would be

13   the national, states and then local units.

14   Q    And, if there's going to be for example the revocation of a

15   local unit's charter, is that a decision that the state

16   organization makes, or the national organization makes?

17   A    It is made at the board level of the national with the

18   recommendation of the state.       The state has to get involved in

19   that.    The state can either make the recommendation to revoke or

20   if in fact -- and, even to get new charters.         The state, right

21   now, the way we have it set up, the state conference has more

22   authority than it's ever had basically in the past.

23   Q    But it's a recommending role, not an approval role, at the

24   state level?

25   A    Well, it has been approval role; because, if it's not
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 119 of 278
                                                                              119

 1   approved by the state, it doesn't get to the board.

 2   Q    So, if I want to start a local charter and I go to the

 3   state, and the state says we're not going to approve this, I'm

 4   not able to go to the national organization and still get a

 5   charter?

 6   A    You won't get it.

 7   Q    I won't get it as a practical matter, or I won't get it

 8   because the national office wouldn't consider it without the

 9   state's approval?

10   A    The state that is it sign off on it.

11   Q    What directive authority does the state organization have to

12   make a local unit do or not do something?

13   A    It's in the bylaws.     I don't have the bylaws with me.       I

14   mean, it's all in the bylaws.

15   Q    This is kind of important, so help me with this.         Can the

16   state chapter -- the state headquarters, the conference, can --

17   if you want to undertake an activity, can you direct a local

18   organization to participate in it?

19   A    You would have to give me a specific on that so I can

20   understand what you're saying.

21   Q    Fair enough.

22                    Let's suppose that the officers, the executive

23   committee of the state conference, decides to engage in a voter

24   registration drive in central Louisiana.         You think that's a

25   good thing for you to do.      Can you pass a resolution that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 120 of 278
                                                                              120

 1   directs the Alexandria chapter of the NAACP to conduct the voter

 2   registration drive?

 3   A    No.   If the state was doing a voter registration drive and

 4   we vote to do a voter registration drive, we would do the voter

 5   registration drive.      The local unit is a part of the state,

 6   they're a part of the vote.

 7   Q    How would you do it?     You told us you don't have any

 8   individual members.      So if you voted to --

 9   A    No, no.   I didn't say that.     No.   I said, directly, we don't

10   have individual members.      But, indirectly, the members of the

11   local unit are members of the state.

12   Q    Well, let's just --

13   A    Think it's very important to keep that --

14   Q    Excuse me, I didn't mean to talk over you.

15                    If you don't have members that are direct members,

16   to use your word, of this state organization, how can you direct

17   a unit, a local organization, to engage in some activity that

18   the state organization thinks is important?

19   A    I don't understand your question.

20   Q    Well, it's real simple.      Suppose the Louisiana conference

21   says at your executive committee meeting:         We would like to do a

22   voter registration drive in central Louisiana.         We don't have

23   any direct members, we can't look around in our meeting and say:

24   Well, let's go do that.      So we're going to tell the Alexandria

25   chapter in central Louisiana to conduct a voter registration
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 121 of 278
                                                                              121

 1   drive.

 2                    Do you have the authority to do that?

 3   A    We don't have authority to tell anybody to do anything.             The

 4   national don't have authority to tell anybody to do anything.

 5   The charters's not set up that way, where there is an

 6   enforcement position where there is a dictatorial piece.           It's

 7   more or less everybody working together.         That's why I say the

 8   state conference is the coordinating unit.         But it's not a

 9   dictatorial we go ahead and make you do this or that.          Most of

10   the times, the things that we do is everybody is in accord and

11   we have a working relationship.       So I've never been faced with

12   the situation that you're talking about?

13   Q    But their participation in my hypothetical, for example,

14   would be voluntary.      The people in the Alexandria, Louisiana

15   chapter would say:     Yeah, we think that's a good idea, we want

16   to do that?

17   A    For all of us who are volunteers and members of the

18   organization are voluntary.       Now, if in fact there are some

19   things that are not being done, then we need to file a request

20   to have charters revoked, having members expelled.          I mean, we

21   do have provisions within the bylaws to handle individuals who

22   don't comply.     But it's not a dictatorial where we go make

23   somebody do something.

24   Q    Who has the authority to do that?       Is that the recommending

25   authority that you have that goes up to national?          Or do you
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 122 of 278
                                                                              122

 1   have the authority at the state level to disqualify a member or

 2   revoke a charter?

 3   A    It's the state.     I mean, national.    The national handles all

 4   of the enforcement.

 5   Q    I understood the part about exchanging information about

 6   what various chapters are doing, and that's one of your

 7   coordinating functions; right?

 8   A    Yes.

 9   Q    I was concerned about the oversight and what that means in

10   terms of your ability to direct some local unit to do or maybe

11   not do something.     So let me give you an example on the other

12   side.

13                    Suppose the folks in Alexandria decide they want

14   to do a voter registration drive.        And, for some reason, the

15   state organization thinks that's a bad idea.         Bad timing, we are

16   going to do it later, we don't think it's the right location.

17   And you say to them:      Do not do a voter registration drive.          Are

18   they bound to abide by your instructions?

19   A    Well, to answer your question, no, they're not.         But it's

20   the hypothet is just not a practical hypothet.         It would be the

21   same way at the nation.      Let's say the local Alexandria branch

22   wanted to do something, voter registration, and the national

23   says:    We don't want you to do it.      First of all, it is in

24   compliance with our mission.       You'd have to give me an example

25   that's not -- the examples you're giving me is in compliance
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 123 of 278
                                                                              123

 1   with the mission, so it would be evil that we have a local unit

 2   that wants to do things in compliance with the mission.           You'd

 3   have to give me something that is out of the mission, something

 4   that is renegade.     In other words, there's some folk taking up

 5   money that they shouldn't be taking up money because they don't

 6   have the required -- whatever required for them to go take the

 7   money.    Yes, the state conference can come in and can -- to

 8   recommend to the national board.       Because we have a national

 9   board of directors.      Not just like a national office, but we are

10   an organization like any other organization, we have national

11   board of directors.      I'm on the national board of directors.         We

12   have a staff that carries out the policies and procedures of the

13   national board.     So it's an organizational structure.       Like I

14   told you, the structure is national at the top, state and all

15   our local units.     So, I mean, we're an organization.

16   Q    The example you just used where a local organization is out

17   collecting money, and the state believes that to be

18   inappropriate -- That was your example; right?

19   A    Right.

20   Q    Is it true that the state could not issue an order to that

21   local unit that says:      Stop?   And all could you do is go to the

22   national and say:     Please do something here, they're doing

23   something we think is wrong?

24   A    Yeah.    As state president, I have authority to issue cease

25   and desist letters to members of the local units and the local
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 124 of 278
                                                                              124

 1   units.

 2   Q    And that would say you may not?

 3   A    Yeah.

 4   Q    Do you have the same authority to say you must do something?

 5   A    I have authority to issue cease and desist orders.          If they

 6   don't cease and desist, I have authority to file the complaint

 7   with the national office for the board to take action.           But, at

 8   my level, as state conference president, I do have that type of

 9   oversight authority.

10   Q    Is that inherent you believe in the position that you hold,

11   or that reflected in some organizational documents or

12   resolution?    In other words, do you believe you can do it simply

13   because you're the president, or are you authorized by the

14   organization's governing documents that says you can do it?

15   A    Yeah.    I think it's probably the organization, the governing

16   documents.

17                    And the reason why I say that is I'm also the

18   chairman of the National Board of Directors Membership, the

19   Units Committee.     And I just had a Membership Units Committee

20   meeting last night.      So it happens all over the country.       But I

21   can tell you, the state president has authority to issue the

22   cease and desist.

23                    Now, can they go in and stop it?       No.   They can

24   issue the cease and desist hoping that there would be

25   compliance.    So what happens when you issue a cease and desist
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 125 of 278
                                                                              125

 1   and there's no compliance?       Then you file a complaint with the

 2   national office, and the national president has authority to

 3   suspend at that point in time.       Then it goes to the board for

 4   the legal procedures.

 5   Q    So you cease and desist is basically a request to stop the

 6   activity; and, if they don't stop it, then the authority to

 7   enforce it would be at the national level.

 8   A    But it's a little bit more than just me calling someone up

 9   and saying don't do this or even writing a letter.          I have

10   authority on the enforcement side to issue cease and desist

11   letters.

12   Q    If you have authority on the enforcement side, and you issue

13   one of those letters, and the unit or the member says we're

14   going to continue to do what you're objecting to, what can you

15   at the state level do to that person?

16   A    I can certainly, as it relates to the membership, side I can

17   file the complaint with the national office that goes to the

18   board.    But, if they're doing something illegal, I can call up

19   the local sheriff and have somebody arrested.

20   Q    I understand that, and we'd all have that obligation to do.

21   But I'm talking about with your hat on as the local conference

22   president, you have no direct authority to enforce your cease

23   and desist order, except to go to national with a

24   recommendation?

25   A    We have an organization.      We have a board of directors.         We
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 126 of 278
                                                                              126

 1   have a process that's in place.       And, in accordance with the

 2   process, we have to do it that way.        I'm not an demigaurd to go

 3   and shut anybody down.

 4   Q    Don't misunderstand me, I'm just trying to understand the

 5   process.     We're not arguing about whose got what authority and

 6   whether it's right or wrong.       I'm just trying to understand what

 7   the relationship is functionally and operationally between the

 8   state conference and the local units.        Fair enough.    And the

 9   national units --

10   A    Yeah.    I'm going to say NAACP is a very complex

11   organization.     I always say that's why it's probably been around

12   since 1909.    And the reason why I wanted to make sure that you

13   guys got a copy of the constitution and bylaws, because, on the

14   board of directors, I'm still trying to understand the bylaws

15   and the constitution.

16   Q    I hear you.

17                    Couple of other questions about some comments that

18   you made.    I think you commented a minute ago that all units are

19   required to attend the state convention.         Is that a provision in

20   their charter that's issued by the national organization, or

21   where is that requirement come from?

22   A    In the bylaws.

23   Q    In the bylaws of the --

24   A    And probably -- I don't know whether the charters -- I

25   haven't seen the charters.       But, in the bylaws, there's
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 127 of 278
                                                                              127

 1   requirement that all the units within the state attend national

 2   conventions and state conventions.

 3   Q    It's in the bylaws of the national organization?

 4   A    The national organization has what we call a constitution.

 5                     And then we have, for the local units, what we

 6   call bylaws.

 7   Q    Okay.    So local unit bylaws?

 8   A    Yes.

 9   Q    Got you.

10                    And is there a consequence if a unit just doesn't

11   go to the state convention?

12   A    Well, there's always consequences.

13   Q    What would the consequence be as your understanding of

14   either the constitution at national or the bylaws at local?

15   A    Could be suspension.     Could be revocation of the charter.

16   For individuals, it could be suspension.         It could be expelling

17   out of the units.

18   Q    But it would be as a result of a violation of either the

19   national constitution or the local unit's bylaws; true?           In if

20   they failed to attend a state convention?

21                MR. HO:   I'm going to object here, Your Honor.      If we

22   need the bylaws in evidence, the defendants have them, they can

23   offer them into evidence.      The best evidence Rule 1001, we can

24   just put them in.

25                THE COURT:   I think it's time to move on.     Sustained.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 128 of 278
                                                                              128

 1   BY MR. PHILIPS:

 2   Q    Few other questions for you, Mr. Johnson.

 3                    You mentioned voter registration specifically, and

 4   I wrote that down as one kind of the purposes of the

 5   organization as one of the functions that's consistent with the

 6   purposes.    Did I get that part right?

 7   A    Yes.

 8   Q    Can you tell me specifically whether the state conference

 9   has sponsored or conducted -- and I know we're going to hear

10   about this from Reverend Taylor later -- but sponsored or

11   conducted any voter registration drives that you can remember

12   and tell me about?

13   A    Well, again, those years that Reverend Taylor was appointed

14   to be over those drives, I think he can say that.          I just I

15   would be afraid to try to zero in on whatever the exact dates

16   were.

17   Q    And I really wasn't asking you for that.        Put aside what

18   Reverend Taylor is going to tell us.        Do you have a recollection

19   of other voter registration drives that the state conference

20   sponsored, conducted?

21   A    Not exactly.

22   Q    And, when the state conference elects to do that, to conduct

23   a voter registration drive, what's the source of the funding

24   that you use to engage in that particular activity?          Where do

25   you get the money to do that with?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 129 of 278
                                                                              129

 1   A    The monies that we've gotten in the past have come from the

 2   national office.     Other than that, there's volunteers doing it.

 3   We've -- you know, I can recall many years ago, I had a

 4   state-wide radio program.         I got the PSAs, public service

 5   announcements, to cut radio programs.         I do that on a regular

 6   basis.    So most of activities from our standpoint, NAACP

 7   Louisiana, is volunteer work.

 8   Q    Through the locals?

 9   A    Through locals.      Me as a state conference president, I'm a

10   member of the branch.       So everything's interrelated.     But it's

11   through people.     I will just say it that way, it's through

12   people.

13   Q    Do the funds that would flow from the national office would

14   come to the state conference and then be distributed to the

15   local units to carry out a voter registration drive, or not?

16   A    Reverend Taylor is over the implementation of those dollars.

17   When I assign him to that particular responsibility, you know, I

18   trust that he is doing whatever he needs to do as far as his

19   plan, his plan and proving his plan is done directly with the --

20   Q    I'll just write that question down and ask him; fair enough?

21   A    Okay.

22                MR. PHILIPS:   Judge, if I could have 30 seconds to ask

23   my colleagues --

24                THE COURT:   Sure.

25                MR. PHILIPS:   Once again, Dr. Johnson, I'm told I have
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 130 of 278
                                                                              130

 1   no further questions.

 2                    Thank you, Your Honor.

 3              THE COURT:      Thank you.

 4                    Mr. Ho:    This will be very brief.

 5                               REDIRECT EXAMINATION

 6   BY MR. HO:

 7   Q     Three topics I want to hit really quickly.        One, you talked

 8   about the state convention and receiving some materials about

 9   the voting for that.        Were those voter education materials?

10   A     Voter education materials.

11   Q     Sorry, just wanted to make sure I had that right.

12                    Second question.       You talked about being on a

13   board of directors.        Which board of directors were you referring

14   to?

15   A     The board of directors of the national association for

16   advancement of --

17              MS. CANGELOSI:      Objection, Your Honor.    Leading.

18                    (Sidebar conference.)

19              THE COURT:      You are leading the witness.

20                    If you would have just said leading, I would have

21   said sustained.

22              MR. HO:   I apologize.

23              THE COURT:      I hate when these young lawyers come in for

24   conference and say rule such and such.

25              MR. PHILIPS:      Stand up and tell me the rule number and
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 131 of 278
                                                                              131

 1   don't say anything else.

 2               THE COURT:   Come up here, let me look up it.

 3                     You were leading.   I knew that.    Sustained.

 4   BY MR. HO:

 5   Q    Were the materials that you got at the state conference

 6   related to voting?

 7   A    Materials?    Sometimes we'll have the voter registration

 8   cards that we hand out.

 9   Q    Anything else?

10   A    I can't think of anything right now.

11   Q    And then I asked about a board of directors.         Which board

12   are you on?

13   A    The board that I referred to in this testimony is the

14   National Board of Directors of the NAACP.

15   Q    Mr. Philips asked you a hypothetical question about the

16   people in Alexandria.      Can the local conference recruit the

17   people in Alexandria to conduct voter registration work?

18   A    Yes.

19   Q    Can you recruit individual members --

20               MS. CANGELOSI:   Objection, Your Honor.      It's leading.

21               THE COURT:   Overruled.

22   BY MR. HO:

23   Q    Let me finish the question.      Can you recruit individual

24   members?

25   A    Yes.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 132 of 278
                                                                              132

 1               MR. HO:   Those are all the questions.

 2               THE COURT:   I just have a couple.

 3                    Who runs the convention?     The annual convention

 4   you have, who puts that on?

 5               THE WITNESS:   The local NAACP unit president would be

 6   the convention coordinator.       Like we were in --

 7               THE COURT:   Which local?

 8               THE WITNESS:   If we were in Lafayette, then it would be

 9   the Lafayette.     If we were in Ferriday, it would be the

10   Ferriday.    If we in New Orleans, it would be the New Orleans

11   branch.

12               THE COURT:   Who determines where the conference will

13   be?

14               THE WITNESS:   At the convention, we have a Time and

15   Place Committee that receives the request from the different

16   local units as to they would like to have it in their area.

17   Because one of the purposes for having it an area is to build up

18   memberships and build up support to the local units.          So the

19   local units try to get the convention to come.         So it comes to

20   us as a body in a meeting.       We approve the location for the next

21   year.

22               THE COURT:   Who is we?

23               THE WITNESS:   We would be the Executive Committee of

24   the state conference.      That would be all the officers, all of

25   the chair persons, chair persons of the standing committees.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 133 of 278
                                                                              133

 1   And presidents of all the local units make up the Executive

 2   Committee.    Others, and the delegates, too.       Because, at the

 3   convention, each unit is entitled a certain number of delegates.

 4   So the delegates would be in attendance at the convention.

 5              THE COURT:    Right.

 6                    When you receive the information from the legal

 7   defense fund that we talked about that you sometimes get,

 8   educational material or voter registration forms, to whom --

 9   where are those documents sent?       To whom?

10              THE WITNESS:    Well, they're given to individuals who

11   are in attendance at the convention who are, quote, unquote, the

12   delegates who should be coming from all the different units, and

13   they are to take them back.

14              THE COURT:    I think you're missing a step.      At some

15   point, a box is delivered.

16              THE WITNESS:    Yes.

17              THE COURT:    With this information.

18              THE WITNESS:    Right.

19              THE COURT:    To whom is the box delivered?

20              THE WITNESS:    To me.   Basically, everything comes to

21   me.

22              THE COURT:    And then you bring that box to the

23   convention site.

24              THE WITNESS:    Right.

25              THE COURT:    And it's distributed from there.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 134 of 278
                                                                              134

 1              THE WITNESS:    Yeah.   Done in the workshops.

 2              THE COURT:    All right.

 3                    Does anybody have any questions, just based upon

 4   those couple of questions I asked?

 5              MR. HO:   No, Your Honor.

 6              MR. PHILIPS:    No, Your Honor.

 7              THE COURT:    All right.   We're going to break for lunch.

 8   It's 12:30.    Court will be in recess until 2:00 o'clock.

 9                        (12:30 p.m., proceedings recessed for lunch.)

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 135 of 278
                                                                              135

 1                               AFTERNOON SESSION

 2                                  2:00 P.M.

 3              THE COURT:    Mr. Ho.

 4              MR. HO:   Your Honor, as our next witness, the

 5   plaintiffs call Edward Taylor.

 6              THE COURT:    Come forward, Reverend Taylor.

 7                    EDWARD TAYLOR, being duly sworn, testified as

 8   follows:

 9              THE COURT:    Mr. Taylor, I'm going to ask you to say

10   your name and spell it, please, for the court reporter.

11              THE WITNESS:    Yes, ma'am.     Edward Chipps Taylor, III.

12              THE COURT:    Could you spell your name for the record,

13   please.

14              THE WITNESS:    E-D-W-A-R-D, capital C-H-I-P-P-S,

15   T-A-Y-L-O-R, III.

16              THE COURT:    Please proceed.

17              MR. HO:   Thank you, Your Honor.

18                              DIRECT EXAMINATION

19   BY MR. HO:

20   Q    Good afternoon, Reverend Taylor.

21   A    Good afternoon, Mr. Ho.

22   Q    How are you?

23   A    A little hot, but I'm okay.      Thank you.

24   Q    Reverend Taylor, you're here to testify today about the

25   Louisiana NAACP's voter registration activities?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 136 of 278
                                                                              136

 1   A    That is correct.

 2   Q    Before we get to that, just want to ask you a few background

 3   questions about yourself.

 4              How old are you?

 5   A    59 years old.

 6   Q    And where do you live?

 7   A    In Hammond, Louisiana.

 8   Q    Which parish is that in?

 9   A    Tangipahoa.

10   Q    And what do you do for a living?

11   A    I work for the capital fund, for the Louisiana Development

12   Corporation Capital Fund.

13   Q    And what do you do?

14   A    I am an analyst.

15   Q    What does that entail?

16   A    Basically, when money was given out in 2010 after Katrina to

17   different property owners, my job is to locate these properties,

18   see what has been done with these properties as far as what type

19   of repair has been made on these properties, and help them get

20   to a position where they can receive their COO, or rent out the

21   properties.

22   Q    COO, what is a COO?

23   A    Certificate of occupancy.

24   Q    And how long have you been doing that?

25   A    I started in February.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 137 of 278
                                                                              137

 1   Q    And what were you doing immediately prior to that?

 2   A    I worked for Achievement Academy, which is a tutorial

 3   program for young folks who are having trouble in school as far

 4   as failing grades and things of that nature.

 5   Q    And what exactly did you do for that program?

 6   A    I was the director of the program.

 7   Q    And how long were you doing that?

 8   A    Basically, on and off, for about five years.

 9   Q    How did you come to do that work?

10   A    A friend of mine who is the president of the Baton Rouge

11   branch wanted to expand down into the Tangipahoa area, and I was

12   blessed to have some contacts with our superintendent.           So, we

13   talked, and he thought it was a good idea, and he allowed us the

14   opportunity to come into Tangipahoa.        And I was appointed as the

15   director of the program.

16   Q    And are you a reverend?

17   A    Yes, I am.

18   Q    And where are you a reverend?

19   A    I am at, in Baton Rouge, Louisiana, at it's called Morning

20   Star Full Gospel Baptist Church, where my pastor is Bishop

21   Gregory Cooper, Senior.

22   Q    How long have you been there?

23   A    I've been there almost two years now.

24   Q    What does that entail?

25   A    I am basically one of the associate elders at the church,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 138 of 278
                                                                              138

 1   and we're responsible for taking care of -- we do preaching at

 2   times, we make sure that the service on Sunday runs properly.

 3   Whether it's the praise and worship or the prayer.          We basically

 4   do what the pastor instructs us to do.

 5   Q    And how did you come to be a reverend?

 6   A    I was called from God.      I received the call back in 1996.

 7   I've been preaching going on 17 years now.

 8   Q    And are you affiliated with any civic organizations here in

 9   Louisiana?

10   A    Yes, I am.

11   Q    Which ones?

12   A    I belong to the NAACP.      I'm a member of the Martin Luther

13   King Committee.     As well as I work with the June Teenth

14   Committee.

15   Q    What are those two last things, very briefly?

16   A    June Teenth Committee is a committee set up to celebrate

17   June 19th, which was the actual day of independence that slaves

18   were told about.

19                     And the Martin Luther King Committee of course was

20   set up to as far as getting a holiday for Dr. Martin Luther King

21   in honor of his legacy.

22   Q    Tell us about your involvement with the Louisiana State

23   Conference of the NAACP.

24   A    I've been involved with the Louisiana State Conference for

25   over 15 years.     I'm a member of the Baton Rouge branch NAACP as
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 139 of 278
                                                                              139

 1   well as the New Orleans branch NAACP.

 2   Q    And how did you come to be involved with the Louisiana State

 3   Conference of the NAACP?

 4   A    Well, I've been a member of the NAACP for over 35 years.

 5   So, when I moved here over 16 years ago, it was just natural

 6   that, once I became a member of the branch, local branch, that I

 7   would become part of the Louisiana State Conference.

 8   Q    Was there ever a time when you said that, in a written

 9   statement, that you said that you had been a member of the

10   Louisiana State Conference for a longer period of time than what

11   you just told us?

12   A    No, I did not.    The statement, I had given the information

13   to my attorneys as far as how many years I had been a member of

14   the NAACP as well as how many years I've been the Louisiana

15   State Conference.     In my statement, it was not correctly put

16   down.

17                    It stated in my statement, I believe, that I had

18   been a member of the Louisiana State Conference for over 35

19   years.

20   Q    When did you notice that misstatement?

21   A    To be very truthful with you, Mr. Ho, I was sent the --

22   what's it called -- that I signed.        Excuse me.   I get

23   tongue-tied sometimes.      But, my statement that I made, I was

24   told by my attorneys to review my statement because we're

25   getting ready to do a deposition.        So, as I reviewed the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 140 of 278
                                                                              140

 1   statement that evening, I noticed that it was incorrect, that it

 2   stated that I had been a member of the Louisiana State

 3   Conference for over 35 years.

 4                    That next day when I met with my attorneys, I

 5   informed them that that statement was inaccurate --

 6   Q    I'm just going to stop you there.

 7               THE COURT:    We need to stop, Reverend Taylor.

 8                    Any conversations you've had with your attorney

 9   are privileged communications.

10               THE WITNESS:   Yes, ma'am.    I apologize.

11   BY MR. HO:

12   Q    What should it have said?

13   A    It should have said that I was a member of the NAACP

14   national for over 35 years, and that I was a member of the

15   Louisiana State Conference for over 15 years.

16   Q    Do you have any official role with the Louisiana State

17   Conference of the NAACP?

18   A    Yes.    I served -- for the last 15 years, I've served as a

19   religious affairs chairman of the Louisiana State Conference, as

20   well as I've served as the membership chairman.

21   Q    Do you have any other kinds of roles other than those two

22   roles?

23   A    Official titles?

24   Q    No.    Unofficial.

25   A    I work with vote -- To Go Get Out the Vote campaign with the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 141 of 278
                                                                              141

 1   Louisiana State Conference.

 2   Q    Anything else?

 3   A    I serve at the pleasure of my president.        Whatever he needs

 4   done, Reverend Taylor does his best to get it done.

 5   Q    Tell us some of your responsibilities as a religious

 6   affairs --

 7              MS. CANGELOSI:    Objection, Your Honor.      This is

 8   interesting, but I don't known the relevance of the religious

 9   affairs.

10              THE COURT:    Is this going to tie back in to?       Let's see

11   if we can get the tie going.

12              MR. HO:    I'll keep it real quick.

13   BY MR. HO:

14   Q    Just tell us about some of the your responsibilities.

15   A    Communication with the local churches.        Build a relationship

16   with them and the NAACP.

17   Q    Any connection between that and your work in voting?

18   A    Of course.    I was able to set up a lot of registration, do a

19   lot of voting type activities at my churches.

20   Q    Let's talk about some of that voting activity.         Just, in a

21   general way -- and we'll talk about specific things in a

22   moment -- what were some of your responsibilities with respect

23   to the voting for Louisiana State Conference of the NAACP?

24   A    I was responsible for training, helping training individuals

25   when it came to Get Out to Vote campaign.         I was responsible for
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 142 of 278
                                                                              142

 1   getting with branches and helping them set up telephone banking,

 2   to set up canvassing as well as self-registration.

 3   Q    How long have you been involved in that voting related work

 4   with the Louisiana State Conference of the NAACP?

 5   A    My first encounter was in the year 2000.        And I was the

 6   religious affairs director for the program at that time.

 7   Q    Are you familiar with the term civic engagement?

 8   A    Yes, I am.

 9   Q    What does that term mean in the context of the Louisiana

10   State Conference of the NAACP?

11   A    Civic Engagement department was enacted in the year 2008 to

12   get the vote out, help get the vote out, to deal with things

13   that dealt with the community, to get us actively involved and

14   engaged.

15   Q    When you say enacted, who was it enacted by?

16   A    Well, Mr. Kirk Clay was the director of Civic Engagement at

17   the NAACP national office.

18   Q    Okay.    Is voting the only thing that Civic Engagement

19   entails?

20   A    No, sir.

21                MS. CANGELOSI:   Your Honor, I don't know how he can

22   speak to what the national office does.        This is something

23   that's set up by the national office, he's testified to, and

24   what Mr. Clay did.     And, who Mr. Clay is, I don't know.        We're

25   talking about the Louisiana State Conference.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 143 of 278
                                                                              143

 1              THE COURT:    I know.

 2                    I'm going to overrule the objection and allow him

 3   to testify as to what he knows.

 4   BY MR. HO:

 5   Q    Let me back up, Reverend Taylor.

 6                    Did the state conference of the NAACP ever come to

 7   be involved in the civil engagement work that we were talking

 8   about a moment ago?

 9   A    Yes, sir.    In the year 2008 is when it started.

10   Q    Has Civic Engagement work been limited only to voting?

11   A    No, it has not.

12   Q    What other kinds of things does it entail?

13   A    It deals with education, it deals with housing, it deals

14   with events that effect the community.        Voting is just one part

15   of it.

16   Q    Did you ever come to do any work around the census in 2010?

17   A    In 2000, we did work with the census.

18   Q    Was that part of the Civic Engagement work we've been

19   talking about?

20   A    That's how I originally started working with the civic

21   engagement, was with the census.

22   Q    Let me ask you about voting and the voting related work

23   that's within Civic Engagement.       Can you tell me about what that

24   exactly entails.

25   A    Basically --
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 144 of 278
                                                                              144

 1              MS. CANGELOSI:    Objection, Your Honor.      Are we talking

 2   about the Louisiana state NAACP or Civic Engagement of the

 3   national office, I don't know.

 4              THE COURT:    Why don't you lay a foundation.

 5   BY MR. HO:

 6   Q    The state conferences voting related work, can you tell me

 7   about it generally?      And then we'll talk about specific aspects

 8   of it.

 9   A    Yes, sir.    With the Louisiana State Conference, we have a

10   program entitled GOTV, which is Get Out to Vote.          It is

11   three-pronged.     You start off with registration.       Then you have

12   education.    And then you have mobilization.

13   Q    Why does the Louisiana State Conference of the NAACP engage

14   in this kind of work?

15   A    Because we feel it's very important that citizens are

16   registered to vote, and vote.

17   Q    Let's just talk about that piece.       The first piece you

18   talked about, registering to vote.        Who does the Louisiana State

19   Conference of the NAACP try to register to vote?

20   A    Anyone who is not a registered voter.        However, we

21   concentrate on the -- I guess the correct terminology would be

22   those, the poor, the individuals of African-Americans.

23   Q    As far as you know, how long has the Louisiana State

24   Conference of the NAACP been engaged in work around voting?

25   A    Since I've been here.     And I can only speak for the last 15,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 145 of 278
                                                                              145

 1   16 years.

 2   Q    And how long have you been engaged in that work, yourself,

 3   personally?

 4   A    Since the year 2000.

 5   Q    Have you been engaged in that work every year since then?

 6   A    We did 2000, 2004, 2008, 9 and 10.

 7   Q    Have you personally attempted to assist people to register

 8   to vote?

 9   A    Yes, I have.

10   Q    And have you assisted people?

11   A    Yes, I have.

12   Q    And how many people would you say you have personally

13   assisted in register to vote over the years?

14               MS. CANGELOSI:   Objection, Your Honor.      What he

15   personally did is not relevant, and what the Louisiana State

16   Conference did would be.      What he personally did is not

17   relevant.

18               MR. HO:   I can rephrase.

19               THE COURT:   Yeah, let's just rephrase it.

20   BY MR. HO:

21   Q    In your work with the Louisiana State Conference of the

22   NAACP around voting, how many people have you personally

23   assisted in registering to vote?

24   A    Since the year 2000, I would say over a thousand people.

25   Q    Do you have any documents that reflect the number of people
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 146 of 278
                                                                              146

 1   that you personally have assisted in registering to vote?

 2   A    No, I do not.

 3   Q    And why not?

 4   A    Basically, it's against the law in the state of Louisiana to

 5   keep or make copies of registration forms.

 6   Q    But you don't try to keep track of that information in any

 7   other way?

 8   A    No, sir.

 9   Q    Why not?

10   A    It's really not important to me to keep people's names and

11   who they are.     It's more important to me to get them registered

12   so they can vote.

13   Q    So, if you don't have any documents, what do you base your

14   estimate of a thousand people that you've registered -- you've

15   assisted in registering to vote on?

16   A    Just my numbers as far as getting out to register people.

17   Knowing that, on a certain day, I may register 20 people.           Over

18   a period of ten years, you know, you can kind of count up in

19   your mind how many people you've come in contact with.

20   Q    I want to now ask you some more specific questions about

21   really how the Louisiana State Conference of the NAACP engages

22   in voting work, and let's stick with registration specifically.

23   How does the Louisiana State Conference of the NAACP go about

24   trying to help people register to vote?

25   A    Well, there are different ways.       We have telephone banking
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 147 of 278
                                                                              147

 1   or telemarketing.     We have canvassing.     And then we also have

 2   where you set up registration tables at different places or

 3   events.

 4   Q    Let's talk about each of those three things in order.

 5                    You referred to telephone banking.

 6   A    Correct.

 7   Q    What exactly does that mean?

 8   A    You set up an office at a location -- where it used to be,

 9   Your Honor, years ago, we'd go to an office, like a lawyer's

10   office or things of that nature, that had a lot of phones.           So,

11   therefore, you would have different lines.         And you would set up

12   the different lines, and you would get people on the phone, give

13   them a script, get the names and then have them call.

14                    As we've progressed with modern technology, we now

15   purchase cellphones a lot of times.        And, that way, you're not

16   confined to just being in a certain location.

17                    And then you still do the same thing, though.           You

18   have a list of names, and you call people off of a script to see

19   if you can get them to vote, to register to vote.

20   Q    Where does that list of names come from?

21   A    At one point, we got the list of names from the secretary of

22   state office.

23                    But then, again, going back to modern technology,

24   we now have a system called the Van system, which has been

25   provided to us through the national office of the NAACP.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 148 of 278
                                                                              148

 1   Q    And what is --

 2              THE COURT:    Is that, the list you got from the

 3   Secretary of State's Office, was that for the Get Out To Vote

 4   effort to actually vote?      Not to register?

 5              THE WITNESS:    These were the lists that we would get

 6   from them with people who were supposed to be registered voters.

 7              THE COURT:    Okay.    So you're getting out the vote at

 8   this time.

 9              THE WITNESS:    Yes.

10                    And then you would call, and sometimes you would

11   find that they were still registered.          Sometimes you'd find that

12   they had moved and were not registered anymore.

13              THE COURT:    Okay.    Thank you.    I'm sorry.

14              MR. HO:    Thank you, Your Honor, for the clarification.

15   BY MR. HO:

16   Q    You mentioned the Van system.       What exactly is that?

17   A    The Van system is the system, a computerized system, set up

18   that again has the same premise, it has names of people who are

19   supposedly registered voters, addresses.         Also gives you

20   information on how often they vote and what area they live in.

21   Q    So, when you call these people, what do you say?

22   A    Usually follow a script.      First thing you should do is a

23   good tell marketer introduces himself to let the people know

24   that he's not a bill collector.       Okay?    And then, you know, ask

25   them if they are a registered voter.        And, if they tell you that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 149 of 278
                                                                              149

 1   they are registered, you simply, you know, ask them -- a lot of

 2   times:    Well, when was the last time you voted, to make sure

 3   that they were still active.       And encourage them to get out and

 4   vote.    And, a lot of times, even ask them if they need a ride to

 5   the polls.

 6   Q    You said in response to Judge Milazzo's question, you would

 7   ask these people if they were still registered at their current

 8   address.    Right?

 9   A    Correct.

10   Q    What would you do if they said they weren't?

11   A    Then you would ask them if they were interested in

12   registering.

13   Q    Then what?

14   A    If they say yes, they are, then you would simply ask them do

15   you want us to bring a registration card to you, would you like

16   us to put one in the mail or do you realize that you can go to a

17   certain location and register to vote.

18   Q    Have you ever done that, actually brought a voter

19   registration form to someone after a phone call?

20   A    Yes, I have.

21   Q    Let's move away from the phone banking.        I think the next

22   thing you talked about was canvassing?

23   A    Correct.

24   Q    What does that entail?

25   A    Canvassing is when you receive material about the importance
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 150 of 278
                                                                              150

 1   of registering to vote, it usually has the date on it, when the

 2   registration closes and it lists information to encourage people

 3   to vote and gives them education about voting.

 4   Q    And how do you choose where to conduct canvassing?

 5   A    I personally like to choose areas where you have a large

 6   inflection of people, a lot of people coming in and out, like a

 7   Walmart.     I also love churches.    Being a preacher, I have access

 8   to a lot of churches.      So I like to go there and set up my

 9   registration.

10   Q    You also mentioned registration tables?

11   A    Correct.

12   Q    What does that entail?

13   A    Basically, for example, if someone is doing an event for

14   example here in New Orleans, the June 2nd celebration, you would

15   go and you would get with whoever's in charge, and you would ask

16   them if it was okay to set up a registration table at that

17   event.     You'd set up a table, you'd have registration cards,

18   maybe some signs encouraging people to register.

19   Q    When you do that kind of activity, do you always have a

20   physical table?

21   A    No.    Because, for example, if you're outside of a Walmart or

22   you're outside of an office or some place that you're

23   registering people, a lot of times just have a clipboard and the

24   registration cards.

25   Q    How do you choose -- you mentioned a little bit about how
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 151 of 278
                                                                              151

 1   you chose a place, but my question's a little more general than

 2   that.    How do you choose within an area before you choose a

 3   place that you want to go to?

 4   A    Well, again, we want to concentrate on the lower income

 5   community.    Because we have found through research that the

 6   lower income community is the least likely to be registered.

 7   So, therefore, again, fertile ground.        So that's one of the

 8   reasons why we concentrate on that.

 9   Q    And whose decision is that, to concentrate on those areas?

10   A    Mine.

11   Q    Do you have any documents to reflect that?

12   A    No.

13   Q    Why not?

14   A    Never needed any.

15   Q    Have you had any personal involvement in these kinds of

16   direct outreach efforts for voter registration by the Louisiana

17   State Conference of the NAACP?

18   A    Yes, I have.

19   Q    What have you done personally?

20   A    I have gone out to different areas or different locations.

21   I have been on the telephone phone banking.         I've gone and stood

22   out in front of places like Walmart or maybe a health unit or

23   maybe a food stamp office or DMV office, places like that.

24   Q    When you do this work yourself, how do you choose the

25   specific place to do it?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 152 of 278
                                                                              152

 1   A    Based on, again, number of people that come in.         And also

 2   based on what you hear -- where people are.         The more people are

 3   there, especially if you're talking lower income individuals, if

 4   it's in the inner city -- for example, at my church, a lot of

 5   our churches are in the inner city, so therefore you don't have

 6   some people registered at the inner city churches that you do at

 7   some of your bigger churches, you know, further out.

 8   Q    Is there anyone at the Louisiana State Conference from whom

 9   you ask permission before choosing a specific location to do

10   that work?

11   A    All due respect, no.

12   Q    When you chose a specific place to do that work, do you

13   report those specific places to anyone at the Louisiana State

14   Conference of the NAACP?

15   A    No, I did not.

16   Q    You gave some examples of different places where you've done

17   this kind of work before.      You mentioned churches.      Is that

18   connected to your role as religious affairs?

19   A    Correct.

20   Q    Fair to say that that's where you do the most of your work?

21   A    That's correct.

22              MS. CANGELOSI:    Your Honor, I'm just objecting.

23   Leading.

24              THE COURT:    Rephrase your question.

25              MR. HO:    Yes, Your Honor.    I apologize.    Well taken.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 153 of 278
                                                                              153

 1   BY MR. HO:

 2   Q    This direct voter registration work out in the community,

 3   where does most of it take place?

 4   A    At my churches.

 5   Q    Could you name a few specific churches where you've done

 6   that.

 7   A    I've done it at Mesodontia Baptist Church in Hammond,

 8   Louisiana.     I've done it at Great Saint Stephens here in New

 9   Orleans.    I have done it at Morning Star Full Gospel Church in

10   Baton Rouge.

11   Q    Let's talk about 2010.      I think you mentioned that was one

12   year in which you've been engaged in registration work.           Did you

13   personally do community outreach for voter registration on

14   behalf of the Louisiana State Conference during 2010?

15   A    Yes, I did.

16   Q    And did you do it the entire year, or certain parts of the

17   year?

18   A    Normally, when you're dealing with -- and make sure I'm

19   correct in hearing you, you're speaking of registration?

20   Q    Yes.    Registration specifically.     I know there's other voter

21   related activity.

22   A    Normally, when you do registration, you want to concentrate

23   on the last three months right before the deadline.          So that's

24   when you do your major push as far as registration is concerned.

25   Q    And how often would you do that direct outreach during those
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 154 of 278
                                                                              154

 1   last three months?

 2   A    You speaking of me personally?

 3   Q    Yes.

 4   A    I would be out there every week at different locations,

 5   though.

 6   Q    How often would you be at churches?

 7   A    My churches, I did at least once a week.        I tried to do them

 8   on every Sunday or on Bible study night.

 9   Q    What night of the week is that?

10   A    Some are Tuesday, some are Thursday.        Depends on your

11   church.

12   Q    Forgive my ignorance on that.

13                    What places other than churches in 2010 did you do

14   that kind of direct outreach?

15   A    I went to -- again, I would do Walmarts.        And I also do food

16   stamps offices, health units.       And did a few DMV offices.

17   Q    Let's talk about the health unit.       By health unit, you mean

18   a place where people can apply for benefits, like WIC?

19   A    That's correct.

20   Q    Was 2010 the first time that you had done that?

21   A    No.    I actually started doing health units I want to say in

22   the year 2008.

23   Q    And how did you come to perform voter registration work near

24   a health unit?

25   A    This may be kind of a lengthy answer, Your Honor.         I do
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 155 of 278
                                                                              155

 1   apologize.

 2                    But it started in 2004.     One of my workers, when

 3   we were working our program, we were required to get so many

 4   registrations on our program at that point.         The individual did

 5   not have transportation that day to get to one of the -- we used

 6   apartment complexes as well.       So they weren't able to get to

 7   their apartment complex.      So they called and they asked -- they

 8   said:    Well, look, I live down the street from a health unit, do

 9   you have a problem with me going with my clipboard and standing

10   out in front of the health unit?       I says:    No, as long as you go

11   and do your two to four hours, that's fine.         And they did.

12                    Well, when we got back together and discussed

13   numbers, we found that the numbers that they did was higher than

14   the other people who had went to the apartment complexes, or

15   even to the Walmart at that time.

16   Q    Do you remember ever describing this event on another

17   occasion?

18   A    Yes.    I believe, when I gave my deposition, I believe it was

19   discussed.

20   Q    And what did you say about it during your deposition?

21   A    Basically, the same thing.

22               MR. HO:   I'll rephrase.

23               THE COURT:   Rephrase your question.

24   BY MR. HO:

25   Q    Did you discuss the year in which these events came up?             Do
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 156 of 278
                                                                              156

 1   you remember discussing the year in which these events came up,

 2   if ever?

 3   A    When I remembered, again, I'd done this so much that my

 4   years sometime run together and I don't remember correct years.

 5   And I think I may have said in my deposition that it was 2004 or

 6   2008 when this incident happened.        But, after thinking about it,

 7   I realized that it was actually in 2004 that it originally

 8   started.

 9   Q    Let's come back to 2010.      How often would you say you were

10   outside of a health unit doing this kind of outreach?

11              MR. PHILIPS:    Your Honor, can we approach for just a

12   moment?

13              THE COURT:    Sure.

14                    (Sidebar conference.)

15              MR. PHILIPS:    I'm not sure where he's going in

16   reference to this witness's testimony; but 2004 is an awful long

17   way to go back with respect to this.

18              MR. HO:   It's not offered for violations.       Only to

19   establish his background.

20              MR. PHILIPS:    I hear you, I hear you.      But we could go

21   back an awful long way, and it would be irrelevant to the

22   standing issue we're talking about.

23              MR. HO:   No dispute on that.

24              THE COURT:    Let's move it up.    I think it's important

25   to get a context of how it ended up, and I think now it was
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 157 of 278
                                                                              157

 1   relevant for that purpose.

 2              MS. CANGELOSI:    So what purpose are we talking about?

 3              THE COURT:    2008, 2009, 2010.

 4              MR. HO:   Almost all my questions are going to be about

 5   2010.

 6              MR. PHILIPS:    So that's where we're going.

 7                    (Sidebar concluded.)

 8   BY MR. HO:

 9   Q    Thank you for your patience, Reverend Taylor.

10                    I want to come back to 2010.      How often would you

11   say during that three month period OF voter registration

12   outreach would you say you were outside of the health unit?

13              MS. CANGELOSI:    I couldn't hear the question.

14              THE COURT:    Would you just please repeat your question?

15              MR. HO:   Sure.

16   BY MR. HO:

17   Q    Back to 2010, how often during that three month period of

18   voter registration outreach work that you were doing, how often

19   were you -- would you say you were outside of a health unit

20   doing this kind of work?

21   A    Probably once a month.

22   Q    Over a few --

23   A    In that three month period or that three month window that

24   we speak about.

25   Q    And where is the health unit?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 158 of 278
                                                                              158

 1   A    The health unit is located in Hammond, Louisiana.

 2   Q    What kind of work, what did you do?

 3   A    I didn't understand your question.

 4   Q    How did it work?     How does it work when you're out there?

 5   A    Well, first of all, with a day like today, it's hot.          So you

 6   go out with water.     You have take your clipboard, take some

 7   registration cards.      And you would greet people normally as they

 8   walked out and ask them if they were registered to vote.           If

 9   they weren't, you'd register them on the spot.         If some people

10   said no, not right now, you'll take a card so you give them a

11   card.

12   Q    Did you personally on any of these occasions assist people

13   in registering to vote?

14   A    Yes, I did.

15   Q    Most of the people you talked to, were most of them already

16   registered?

17   A    No.   They were not.

18   Q    What would you do if they had been?

19   A    If they had been, I would not have stayed out there and

20   continued.    Because, again, my mission was to deal with as many

21   unregistered voters as possible to sign them up.          So, if they

22   were registered, I would not continue to stay out there.

23   Q    Let's shift away from the health unit, let's talk about the

24   food stamps office.

25              MS. CANGELOSI:    Objection.    I thought he said he was at
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 159 of 278
                                                                              159

 1   a WIC office and now he's at food stamps office.

 2              THE COURT:    Overruled.   He mentioned that this is one

 3   of places that he performed these activities.

 4   BY MR. HO:

 5   Q    Did you perform these activities outside of a food stamps

 6   office in 2010?

 7   A    Yes, I did.

 8   Q    Was that the first time you had done that?

 9   A    No.   Again, we started dealing with food stamps offices,

10   health unit and DMVs back in 2008.

11   Q    And how did you come to do -- I mean, you've explained about

12   health units.     How did you come to do this work outside of food

13   stamp offices?

14   A    Because we had found out that it was a requirement of the

15   state to register people when they came into these offices.

16   These were poor people.      Again, my focus was poor people.       So,

17   therefore, if they were not being registered, then I wanted to

18   make sure that they got registered.

19   Q    Let's talk about 2010.      And, again, let's talk about that

20   three month period in which you were doing your voter

21   registration outreach.      About how often would you say you were

22   outside of a food stamps office?

23   A    I tried to do, again, the food stamps at least once a month

24   during that three month period.

25   Q    And where is it again?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 160 of 278
                                                                              160

 1   A    The food stamps office is in Amite, Louisiana.         Amite City.

 2   Q    And, when you're there, about how long are you there?

 3   A    Anywhere from two to four hours.

 4   Q    And, in 2010, did you actually assist people in registering

 5   to vote outside the food stamps office?

 6   A    Yes, I did.

 7   Q    Was your procedure for doing that any different than outside

 8   the health unit?

 9   A    No, sir.

10   Q    The people that assisted -- let me take that back.

11                    The people that you spoke to, were most of them

12   already registered to vote?

13   A    No, sir, they were not.

14   Q    And what would you have done if they had been?

15   A    Again, I would have thought it was a waste of time, so I

16   would have found another location to set up registration.

17   Q    What about DMVs, you mentioned DMVs.

18   A    Well, I must give the state credit on DMVs, because I did

19   stand outside a DMV office and I found that there were not so

20   many individuals coming out of the DMV office who were not

21   registered as it was other locations.        So I only did that maybe

22   a couple of times, and I did not go back.

23   Q    Let's stay on the year 2010, and I want to show you some

24   documents.

25              MR. HO:   Permission to approach, Your Honor?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 161 of 278
                                                                              161

 1              THE COURT:    Yes, you may.

 2   BY MR. HO:

 3   Q    That is a binder with some documents, Reverend Taylor, and I

 4   want to draw your attention to Exhibit 238, which is tab No. 2

 5   in your binder.     When you're ready, flip through this document,

 6   I know there are a lot of pages.       But, whenever you are ready,

 7   just let me know.

 8                     (Pause in proceedings.)

 9              THE WITNESS:    Okay.   Yes, sir.

10   BY MR. HO:

11   Q    Are you familiar with this document?

12   A    Yes, I am.

13   Q    What is it?

14   A    It is what we call the Civic Engagement tool kit.

15   Q    And how did you come to receive this document?

16   A    It was sent to me by Mr. Kirk Clay.

17   Q    And where does he work?

18   A    He is the National Civic Engagement -- or he was the

19   National Civic Engagement director for the headquarters NAACP.

20   Q    Could you turn one page to the page that's marked LA NAACP

21   0070.

22              MS. CANGELOSI:    Your Honor, I object to -- it's

23   hearsay.

24              THE COURT:    Let's approach.

25                     (Sidebar conference.)
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 162 of 278
                                                                              162

 1               THE COURT:   He hasn't asked him a question about it.         I

 2   know the document itself is hearsay.

 3               MS. CANGELOSI:    Look on the page, I guess he's going to

 4   read from it, but it's hearsay.

 5               THE COURT:   I don't know.

 6                    What are you going do with it?

 7               MR. HO:   I was going to note the date of it and ask him

 8   what he used it for.       And, if he engaged in any of the

 9   activities mentioned in it, how he used it.         It's just like the

10   manuals.    The defendants have their own manuals into evidence.

11               THE COURT:   Overruled, until he does something.

12   BY MR. HO:

13   Q    Reverend Taylor, what's the date on this document?

14   A    April 10, 2010.

15   Q    Do you remember when you received that document?

16   A    Around that time, the first part of April.

17   Q    Did you use this document in any way?

18   A    Yes.    We set up our Civic Engagement activity around this

19   document.

20   Q    When you say we, who do you mean by that?

21   A    The Louisiana State Conference.

22               MR. HO:   At this time, Your Honor, I'd like to offer

23   plaintiff's Exhibit 238 into evidence.

24               MR. PHILIPS:    I do have an objection to relevancy of

25   this document, Your Honor.       It may be in parts, but it's not
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 163 of 278
                                                                              163

 1   relevant to the issues that are being offered.

 2              THE COURT:    Is that the same?

 3              MS. CANGELOSI:     Yes, Your Honor.    It's a very lengthy

 4   document that says a lot of things, and I don't know what he's

 5   talking about.

 6              MR. HO:   It's almost exclusively about the voting work

 7   that he's engaged in that he's been asked to testify about.              The

 8   defendants have their own lengthy training manuals in the

 9   record.    It's the same --

10              THE COURT:    I'm going to overrule the objection in

11   regard to those issues.

12   BY MR. HO:

13   Q    I want to turn to page LA NAACP 0073.        If you'd take a look

14   at that page and let me know when you're ready.

15              THE WITNESS:    Your Honor, is it okay if I use this

16   screen that's sitting by me, too?

17              THE COURT:    That's fine.

18              THE WITNESS:    I can look at this, too?

19              THE COURT:    You can look at any of the screens.       Until

20   I tell you you can't look at it, you can look at it.

21              THE WITNESS:    Thank you, Your Honor.

22   BY MR. HO:

23   Q    What is this, Reverend Taylor?

24   A    It was the NAACP unit checklist for the 2010 civic

25   engagement activities.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 164 of 278
                                                                              164

 1   Q    And how is it used?

 2   A    Basically, you check off things that you've done, you've

 3   accomplished, when you've done it.

 4   Q    Do you see a header that says Start?

 5   A    Yes.

 6   Q    Do you see the next header down that says April through

 7   September 2010?

 8   A    Yes, I do.

 9   Q    And what's the -- there are a number of checked boxes there.

10   What does the fourth checked box down say?

11   A    Register people to vote.

12   Q    Did Louisiana State Conference of the NAACP do that in 2010?

13   A    Yes, we did.

14   Q    What's the next check box down?

15   A    Host a voter registration civic engagement training.

16   Q    Did the Louisiana State Conference of the NAACP do that in

17   2010?

18   A    Yes, we did.

19   Q    Roughly, when did you do that?

20   A    Well, we did a couple of trainings.       The one in particular

21   was done at our state conference by Mr. Kirk Clay, who again was

22   the Civic Engagement director.

23   Q    Let's turn a few pages over.      It will come up on your screen

24   if you prefer that.      And it's Louisiana NAACP 0081.      Take a look

25   at it, let me know when you're ready.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 165 of 278
                                                                              165

 1   A    I'm familiar with it.

 2   Q    What is this?

 3   A    This is our, what we use for our phone banking.         Basically,

 4   it's called a script, form of script.

 5   Q    And did the Louisiana State Conference of the NAACP use this

 6   script?

 7   A    Yes, we did.

 8   Q    How does it work?

 9   A    Basically, you would have individuals on the phone who were

10   doing the phone banking, and you would provide them with a

11   script so that they could stay on course to do what they were

12   asked to do.     Time was important.

13   Q    And what's the first question you're supposed to ask,

14   according to this script?

15   A    Well, the first thing you do, again, as I stated before, you

16   need to identify yourself to let to whoever you're speaking to

17   know who you are.     And why you're calling.

18   Q    And what's the first question you're supposed to ask?

19   A    First question is -- well, again, we do, when you ask the

20   first question, you ask them:       Are you registered to vote?

21   Q    And is that the first question that phone bankers for the

22   Louisiana State Conference for the NAACP would ask in using this

23   script?

24   A    Yes.

25   Q    You personally?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 166 of 278
                                                                              166

 1   A    Yes.

 2   Q    Let's turn ahead to page Louisiana NAACP 0095.         And it will

 3   be on your screen.

 4                    Do you see that there are three bullet points on

 5   that screen?

 6   A    Yes.

 7   Q    And do you see the second bullet?

 8   A    Yes.

 9   Q    And what does it say?

10   A    It says:    Subcommittee on voter registration and voter

11   turnout, this subcommittee is responsible for development of

12   projects and strategies to get individuals registered, to the

13   polls on election day.      The four basic features to getting

14   people to register to vote are door-to-door canvassing,

15   telephoning, direct mail and web 2.8 technology including text

16   messaging.

17   Q    In 2010, did the Louisiana State Conference of the NAACP

18   engage in any of those activities?

19   A    We engaged in at least two of them.

20   Q    Which ones?

21   A    Door-to-door canvassing and telephoning.

22   Q    No direct mail?

23   A    Budget would not allow.

24   Q    What about web -- I'm not even sure what it means, web 2.0

25   technology including text messages.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 167 of 278
                                                                              167

 1   A    Sir, you've been to college for many years, and you don't

 2   understand.     So, I wasn't messing with it; okay?       I left it

 3   alone.

 4   Q    Okay.    Let's look at another document.      This is plaintiff's

 5   Exhibit 239.     It will be on your screen.      And it's a tab No. 3

 6   in the binder.     Take a few moments to look at it and let me know

 7   when you are ready.

 8   A    Okay.

 9   Q    What is this?

10   A    This is your voter mobilization toolbox for phone banking

11   for 2008, 120.

12   Q    Are you familiar with this document?

13   A    Yes, I am.

14   Q    How do you come to receive this document?

15   A    Again, I was sent this document as well from Mr. Kirk Clay

16   at the NAACP national office.

17   Q    And did you use this document in any way?

18   A    Yes, we did.

19   Q    And how?

20   A    We basically set up what we were doing as far as our phone

21   banking is concerned based on what was in the document.

22                MR. HO:   At this time, Your Honor, I'd move to offer

23   plaintiff's Exhibit 239 into evidence.

24                MS. CANGELOSI:   Your Honor, the same objection as the

25   prior document, but I also -- the last four pages of the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 168 of 278
                                                                              168

 1   document are not part of the document itself.         It's really hard

 2   when you never get an original document to know what's all

 3   enclosed in it.      But it looks like the document, the first page

 4   is No. 1, and then it goes to page 34.        And they're all the same

 5   format with borders around them, and then there's just four

 6   extraneous pieces of paper that I don't think are part of that

 7   document at any rate.      It's four extraneous pages that are

 8   something else.      Not part of the document in and of itself.

 9              THE COURT:    Mr. Ho -- and I think it starts on 698.

10              MR. HO:    I'm not sure, Your Honor.     Maybe I could ask

11   the witness if he remembers that it's part of it.

12              MR. PHILIPS:    Same objection and same observation as to

13   the contents of the document.

14              THE COURT:    I want to make sure, because it does look

15   like we changed formats.

16              MR. HO:    If it is different, then we won't move those

17   last four pages.

18   BY MR. HO:

19   Q    Reverend Taylor, can you turn to page 698 and look through

20   those last four pages.      Do those look to you like they're part

21   of the voter mobilization toolbox?

22   A    Are you talking about just --

23   Q    698, 699, 700 and 701.

24   A    Mr. Ho, to be very truthful with you, I don't know.          I don't

25   know.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 169 of 278
                                                                              169

 1              MR. HO:   So we'd amend the exhibit to exclude those

 2   four pages, Your Honor.      And just the pages 1 through 34, Bates

 3   numbered LA-NAACP 664 through 697, and move to offer that into

 4   evidence as plaintiff's 239.

 5              MS. CANGELOSI:    We'd just renew our objection to the

 6   prior document as well.      That satisfies that other objection.

 7              THE COURT:    Let it be admitted.

 8                    (Exhibit admitted.)

 9              MR. HO:   Thank you, Your Honor.

10   BY MR. HO:

11   Q    Just want to ask you about one page in this document,

12   Reverend Taylor.     If you could turn to page 690.       And it will be

13   up on your screen.

14                    Do you see a header that says Let's Do It Again,

15   2010?

16   A    Yes, sir.

17   Q    And what's written under that?

18   A    The Let's Do It Again 2010 campaign will work towards

19   addressing the systematic issues of low voter turnout during

20   mid-term elections.      We will focus on first-time voters,

21   infrequent voters or potential voters who also live in the

22   census tract with a high unemployment rate.

23   Q    What did that mean to you?

24              MS. CANGELOSI:    Objection, Your Honor.      What did it

25   mean to him that someone else said?        I don't know how he can
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 170 of 278
                                                                              170

 1   interpret someone's words.

 2              MR. HO:   I'm not asking him to interpret what the

 3   person meant, just what it meant to him.

 4              THE COURT:    I'm going overrule the objection.       He's not

 5   asking him what it meant but what did it mean to him.

 6   BY MR. HO:

 7   A    Well, basically, it meant to me that we needed to do it

 8   again in 2010, which is what we had done in 2008, and that we

 9   needed to address low voter turnout during this time of year.

10   Because, again, that is, working in this industry, you have

11   found that, when it's not a major election, the turnout is lower

12   in mid-term than it is during other times of the year.           So,

13   therefore, it just means that we needed to work harder and focus

14   on first time voters, those who didn't vote as often.          And, you

15   know, again going back to the poor, if they're unemployed, the

16   poor.

17   Q    Reverend Taylor, I just want to ask you about the next

18   sentence in this document.       And I'll go ahead and read it.        It

19   says:    Components of the campaign will include door-to-door

20   neighborhood canvassing, targeting economically distressed

21   communities, community based voter guides, toll-free hot lines,

22   phone banking, public service announcements and community

23   forums.

24                    Did the Louisiana state NAACP in 2010 engage in

25   any of these activities?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 171 of 278
                                                                              171

 1   A    Yes, we did.

 2   Q    Which ones?

 3   A    We did the door-to-door neighborhood canvassing.         We

 4   concentrated on the inner city.       We didn't have toll-free hot

 5   lines, but we did do phone banking.        We did do public service

 6   announcements.     And we did community forums.

 7   Q    I'd like to set these documents aside.

 8                    I want to ask you very broadly, and then we can

 9   talk about specifics here; but, very broadly, does the Louisiana

10   State Conference of the NAACP ever receive any funding to do

11   work around voting?

12   A    Occasionally.

13   Q    What are some of the sources of funding for voter related

14   work that you've received over the years?

15   A    In 2000 and 2004 we had --

16              MR. PHILIPS:    Your Honor, Your Honor --

17              THE COURT:    I think we need to go into 2010.

18              MR. HO:   If we could have a quick sidebar.       Apologize.

19                    (Sidebar conference.)

20              MR. PHILIPS:    He hasn't established that it makes any

21   difference.

22              MR. HO:   I agree, it's not directly related to our

23   affirmative case.     But, during motion practice with the

24   defendants, what we've been arguing is that the structure of the

25   funding in 2004 was such that it wasn't really the Louisiana
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 172 of 278
                                                                              172

 1   NAACP's resources that were being used towards voter

 2   registration, and I think it's helpful to explain what they did

 3   in 2004 and explain what they did in subsequent years, which was

 4   actually very different from that.

 5              MR. PHILIPS:    Why don't we just talk about the

 6   subsequent years.     I just think that's fine.

 7              MR. HO:   If the defendants aren't going to get into the

 8   years 2004.

 9              THE COURT:    I'm trying very diligently to keep you all

10   focused to the time preceding the lawsuit.

11              MR. HO:   Okay.   We're all going to stay out of that,

12   then that's fine with me.

13                    (Sidebar concluded.)

14   BY MR. HO:

15   Q    So let's talk about more recent years, not 2004, but let's

16   talk about 2010.     What were the sources of your funding for

17   voting related work in the year 2010?

18                    First of all, did you have any sources of funding,

19   I should have said, for voting related work in 2010?

20   A    In 2010, we had very limited funding.        However, the funding

21   that we had, Your Honor, came from the NAACP national office

22   Civic Engagement.

23   Q    And, to the best of your recollection, about how much money

24   did the Louisiana State Conference receive?

25   A    In 2010, I want to say it was approximately around $10,000.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 173 of 278
                                                                              173

 1   Q    And what kinds of activities did that funding support?

 2   A    It supported telephone banking, it supported canvassing, it

 3   supported registration Getting Out to Vote.

 4   Q    Everything that we've talked about today?

 5   A    Yes.

 6   Q    Was that funding -- strike that.

 7                    Would you describe that funding as a grant?

 8   A    That's what it was described as.       We had to fill out

 9   paperwork in order to get this funding.

10   Q    And the estimate that you gave us of about $10,000 for

11   funding in 2010, how did you arrive at that number?

12   A    Basically, I was -- I thought about how much I had

13   requested, and then I thought about how much I actually had

14   received.    And it was about approximately $10,000.

15   Q    Did you get the full amount that you had requested?

16   A    No, I did not.    I requested close to $30,000.

17   Q    Do you have any documents stating the exact amount of money

18   that you received?

19   A    No, I don't.

20   Q    Why not?

21   A    I never kept any type of documents like that.

22   Q    Do you know if there's an annual budget for the Louisiana

23   NAACP?

24   A    Yes.   We do have an annual budget.

25   Q    And when does that budget come into existence?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 174 of 278
                                                                              174

 1   A    In January.     In the January -- I don't know when it comes

 2   into existence, but it's presented to us as a body usually at

 3   our January meeting.

 4   Q    Is that at the beginning or the end of your fiscal year?

 5   A    It's at the beginning of our fiscal year.

 6   Q    And does -- is that budget ever amended to reflect expenses

 7   incurred during the year?

 8   A    I don't understand the question, Mr. Ho.

 9   Q    After January, do you ever amend that budget later in the

10   year to reflect the actual expenses that you incur?

11   A    No, sir.

12   Q    What about additional funding sources that you obtain, do

13   you amend the budget for that?

14   A    No, sir.

15   Q    I want to draw your attention to another document.          This is

16   plaintiff's Exhibit 241, which in your binder, is tab No. 4.

17              THE COURT:    I just need to ask a couple of questions.

18              MR. HO:    Sure.

19              THE COURT:    Reverend Taylor, you got about $10,000, you

20   said?

21              THE WITNESS:    Yes, ma'am.

22              THE COURT:    How did you get it?     I mean, was it in a

23   check?

24              THE WITNESS:    It was sent from national, the national

25   NAACP office, in check form.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 175 of 278
                                                                              175

 1              THE COURT:    To whom?

 2              THE WITNESS:    It was sent to me -- well, actually, it

 3   was sent to Louisiana State Conference by Federal Express, and

 4   I'm usually the one who went to pick it up.

 5              THE COURT:    Then did you deposit it, or did you just

 6   cash it?

 7              THE WITNESS:    No, ma'am.    At that point, I gave that

 8   check to our president, Dr. Earnest Johnson.

 9              THE COURT:    Okay.   And it was deposited to the

10   conference account?

11              THE WITNESS:    Yes, ma'am.

12              THE COURT:    All right.   Thank you.

13                    You may proceed.

14   BY MR. HO:

15   Q    Let's look at this.     Take a look at this document, and let

16   me know when you're ready to talk about it.

17   A    What tab did you say it was, sir?

18   Q    It's tab No. 4.

19   A    Yes, sir, I'm familiar with this document.

20   Q    What is it?

21   A    It's an application for a grant for a Let's Do It Again

22   2010.

23   Q    If you flip through it, say on page 654, there's some

24   information filled in there into this form.         Who filled that

25   information in?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 176 of 278
                                                                              176

 1   A    I did.

 2   Q    Is this the final version of the grant application for that

 3   year?

 4   A    No.   This was just a draft.

 5   Q    Do you know where the final version is now?

 6   A    I have no idea, sir.

 7   Q    Who is this a request to?

 8   A    This went to -- actually, it went to Mr. Kirk Clay -- it

 9   went to the Civic Engagement department, attention Mr. Kirk

10   Clay.

11   Q    And could you turn forward a few pages to LA-NAACP 658.

12   What is this page?

13   A    This is an itemized page of my budget.

14   Q    And what's the total requested here?

15   A    $28,929.

16   Q    To the best of your recollection, were you awarded that full

17   amount?

18   A    No, sir.    As I stated, we were -- we got approximately

19   $10,000 that year.

20   Q    Is this the only grant that you applied for from national

21   that year?     And, I mean, for anything.

22   A    No, sir, I don't believe so.

23   Q    Do you have paperwork from all the grants that you submitted

24   to national?

25   A    Whatever grants were submitted, I submitted the paperwork
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 177 of 278
                                                                              177

 1   that I had.

 2   Q    Did you have any reporting requirements that you adhered to

 3   in connection with this grant reporting to national?

 4   A    Not officially.     Mr. Clay, who I had, you know, developed a

 5   very good working relationship with, he did a lot of webinars,

 6   but we also did a lot of telephoning.        So, basically, on a

 7   weekly basis, I would call him or he would call me, and we would

 8   discuss the activities that were going on in the state of

 9   Louisiana.    And that was the only reporting that was really

10   done.

11   Q    I want to show you one other document -- and, I apologize,

12   it is not in your binder -- but it's plaintiff's Exhibit 242,

13   and I can put it on the Elmo.

14              MS. CANGELOSI:    What's the number, 24 what?

15              MR. HO:   242.

16              MS. CANGELOSI:    Just one page?

17              MR. HO:   Yes.

18                    Permission to approach, Your Honor?

19              THE COURT:    Yes.

20              MS. CANGELOSI:    That's not 242.

21              MR. HO:   It's not 242, I apologize.      I obviously have

22   the wrong number.     I apologize, Your Honor.      Thirty seconds to

23   figure out the correct number.

24                    (Pause in proceedings.)

25              MR. HO:   I believe it's 244, Your Honor.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 178 of 278
                                                                              178

 1                      And permission to approach the witness?

 2                 THE COURT:   You may.

 3                 MR. HO:   I apologize, Your Honor.    I never moved in the

 4   last docs that we talked about into evidence.         So --

 5                 THE COURT:   Which was the grant application?

 6                 MR. HO:   Yeah.   The previous grant application.      So, at

 7   this point, I'd like to offer 241.

 8                 MR. PHILIPS:   Objection, Your Honor.    The witness

 9   testified it's merely a draft.          It's not the basis for any

10   order.    He testified about early access.

11                 THE COURT:   Sustained.

12   BY MR. HO:

13   Q      Let's talk about this one page, Reverend Taylor.       This is

14   242.

15                      What is this?

16   A      This is a budget, itemized budget submitted.

17   Q      For what?

18                      Do you recognize it, first of all?

19   A      Yes.

20   Q      And who filled in the numbers here?

21   A      I did.

22   Q      And what did you do it for?

23   A      We were -- at this point, we were finishing up our

24   campaigning, if I remember correctly.          So we used this as the

25   last part to finish up telephone banking -- to get the folks out
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 179 of 278
                                                                              179

 1   to vote.    As I explained to you before, it's a three-pronged

 2   process, and this was the final leg.

 3   Q    So this is -- I'm sorry -- for what is it in what part?

 4   Which prong?

 5   A    It was for the mobilization part of the program.

 6   Q    Is this the final version of the table for this application?

 7   A    Again, final table?     You mean, is it a draft?      It's a draft.

 8   It's not the final.

 9   Q    Were you ever awarded that amount?

10   A    Yes, we were.

11   Q    And do you remember when you were awarded that amount?

12   A    Not the exact date, although we did receive it before the

13   election.    That much, I know.

14   Q    Was it used for voter registration work, this particular

15   grant?

16   A    No, sir.    Voter registration work was finished at that time.

17   So this was used for education and mobilization.

18   Q    I want to shift gears, Reverend Taylor, and ask you a couple

19   of questions about something else, and then we'll come back to

20   some voter registration work in a second.

21                    Have you ever submitted a written statement in

22   this case?

23   A    Excuse me?

24   Q    Have you ever submitted a written signed statement in this

25   case?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 180 of 278
                                                                              180

 1   A    Yes, I have.

 2   Q    And do you remember sitting here today how many times you've

 3   signed a written statement in connection with this case?

 4   A    Yes.    Twice.

 5               MS. CANGELOSI:   Objection, Your Honor.      I don't know

 6   what the relevance of that is.

 7                    (Sidebar conference.)

 8               THE COURT:   What have we got?

 9               MR. HO:   Well, one of the basis for which Ms. Cangelosi

10   has tried to impeachment testimony in the past is the

11   recollection of about the number of times he signed his election

12   declaration.     So I just wanted to make the record clear, he

13   knows how many times he signed the statement.

14               MS. CANGELOSI:   I didn't ask it.

15               THE COURT:   I think you can ask him how many times,

16   because we are not going to have you going through the statement

17   with him.

18               MR. HO:   Understood.

19                    (Discussion held off the record.)

20                    (Sidebar concluded.)

21   BY MR. HO:

22   Q    One last set of questions, Reverend Taylor.         And then I'm

23   going to turn it over to the lawyers for the other sides.

24                    Have you applied for any funding from national for

25   voter related work this year, 2012?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 181 of 278
                                                                              181

 1   A    We have spoken about it.      However, until I get the official

 2   paperwork, I have not officially applied or I have not

 3   officially asked for money.

 4   Q    So have you received any money from national?

 5   A    No, we have not.     Not of yet.

 6   Q    Has that stopped you from doing voter registration work?

 7   A    No, sir.    Not at all.    And, if I may elaborate on that, what

 8   we do, we are the NAACP, we're a volunteer organization.            If we

 9   waited to get paid for everything we did, we would do nothing.

10               MR. HO:   All right.   Those are the only questions I

11   have for you right now, Reverend Taylor.         Like I said, the

12   lawyers for the other side are going to ask you some questions,

13   Judge Milazzo may have a few additional ones, and I may

14   follow-up with a few.

15               MS. CANGELOSI:     Your Honor, would you consider a break

16   so I can get organized?

17               THE COURT:   I would consider a break for other

18   purposes.    Court's at recess for 10 minutes.

19                    (Proceedings in recess.)

20                    (Sidebar conference.)

21               MS. CANGELOSI:     Here's my question, and you can inform

22   me what the rulings I need to know, and I need to put it on the

23   record.    Are you just looking for standing purpose only for the

24   2010?    Because I have all the paperwork with the Louisiana state

25   conference.     So the only reason to go into that is he said 2004,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 182 of 278
                                                                              182

 1   2008, 2010.    Globally, he said that.      I have evidence to

 2   contradict that 2004 was the LA state conference work.

 3              THE COURT:    I think what he said -- the way I looked at

 4   it was they discovered a problem at these offices because they

 5   were effective there because lots of people hadn't registered to

 6   vote.    And then we moved into 2010, and that's -- we're focusing

 7   on 2010.

 8              MS. CANGELOSI:      Not 2000.   Because I can establish, in

 9   2004, that is not state conference, it was an independent

10   contractor.    I can establish that for 2010.       All I got to do is

11   2010, I'm good.

12              THE COURT:    All we're doing is 2010.

13              MS. CANGELOSI:      Can I state on the record?    It's now

14   stated?

15              THE COURT:    Yeah, you objected.

16              MR. HO:   I tried to get in testimony about 2004, and

17   you objected.

18              MR. PHILIPS:    The basis of my objection was standing at

19   the time the suit is filed.

20              MS. CANGELOSI:      So all we're talking about is 2010.

21   Not the global stuff.

22              THE COURT:    No.

23              MS. CANGELOSI:      I'm good.

24              THE COURT:    I think it was, you know, we went there

25   because it was like how did you end up finding this place
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 183 of 278
                                                                              183

 1   because somebody was very effective.        That's it, and then we

 2   moved on.    And I limited him.     I didn't let him go back.

 3               MS. CANGELOSI:    Is it on the record that there is an

 4   objection, or should I say it out loud?

 5               THE COURT:    You're objecting to me not allowing you to

 6   go back --

 7               MS. CANGELOSI:    No.   I just want to make sure you don't

 8   say:    Oh, well, they've been doing stuff since 2004.

 9                    So we're only looking at 2010 activity.

10               THE COURT:    Right, right.

11                    (Sidebar concluded.)

12                                CROSS EXAMINATION

13   BY MS. CANGELOSI:

14   Q      Good afternoon, Reverend Taylor.     How you doing?

15   A      Good afternoon.

16   Q      It's my understanding that you said, in 2010, for the year

17   2010, that the state conference LA NAACP received $10,000 in

18   funds from the national office of the NAACP?

19   A      Approximately that, yes, ma'am.

20   Q      And that this $10,000 in funds that they received was the

21   money used to conduct whatever voter registration activity was

22   done for that year, 2010?

23   A      That is correct.

24   Q      And you also said that you think at least $5,000 of it came

25   in in the form of a grant, and your lawyer showed you earlier
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 184 of 278
                                                                              184

 1   Let's Do It Again 2010 unit grant application?

 2                MR. HO:   Objection, Your Honor.    She's misstating the

 3   testimony.     We talked about two different --

 4                MS. CANGELOSI:   Let me just ask him.

 5                THE COURT:   I just want to read the question again.

 6                     (Pause in proceedings.)

 7                THE COURT:   Just rephrase your question.

 8                MS. CANGELOSI:   Let me ask him so I don't have to

 9   restate it.

10   BY MS. CANGELOSI:

11   Q    The $10,000, you said you got in 2010 from the NAACP

12   national office; is that correct?

13   A    That is correct.

14   Q    And was -- would they come from some grant or some receipt

15   like that?

16   A    The only monies that we received were through grant

17   applications.

18   Q    Okay.    So, in 2010, you received a total of $10,000 through

19   grant applications, and that's what you used for voter

20   registration activities?

21   A    That's what we used for activities, yes, ma'am.

22   Q    All right.

23                     And do you know what those two grants were, or

24   what the one grant was, or what the grants were?

25   A    I don't understand your question, ma'am.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 185 of 278
                                                                              185

 1   Q     Let me show you a document that I have marked as SOS Exhibit

 2   60.   And just take the time, whatever time you need, and tell me

 3   if you recognize that.

 4   A     Yes, ma'am.

 5   Q     Have you looked at the whole thing?

 6   A     Yes, ma'am.

 7   Q     And so SOS Exhibit 60, the first page is an email from you,

 8   it appears to Kirk Clay, dated September 26, 2010; is that

 9   correct?

10   A     That is correct.

11   Q     And then, following that, there's the first page of the next

12   document is called the Let's Do It Again 2010 unit grant

13   application?

14   A     That is correct.

15              MR. HO:   Objection, Your Honor.      I don't think the

16   email's clear that that's --

17              MS. CANGELOSI:    That's what I'm trying to ask him, Your

18   Honor.

19              MR. HO:   It's a separate document.

20              MS. CANGELOSI:    That's what I'm trying to ask.

21              THE COURT:    Let her lay the foundation.

22   BY MS. CANGELOSI:

23   Q     So the next page is Let's Do It Again 2010 unit grant

24   application; is that correct?

25   A     That's what it shows on the monitor.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 186 of 278
                                                                              186

 1   Q    And then what follows is a second page numbered 650;

 2   correct?

 3   A    Yes, ma'am.

 4   Q    And then another page that starts at the top Let's Do It

 5   Again 2010 grant application; is that correct?

 6   A    Yes, ma'am.

 7   Q    Then the next page talks about application evaluation grant

 8   regulations; is that correct?

 9   A    That's correct.

10   Q    The next page talks about, I, Unit Program Information; is

11   that correct?

12   A    That's correct.

13   Q    The next page is Let's Do It Again 2010 grant program

14   application; is that correct?

15   A    Yes, ma'am.

16   Q    And then there's another page that's section C -- I'm just

17   trying to identify this -- the next page has a section D and a

18   section E and then had a budget.       Is that correct?

19   A    Yes, ma'am.    It seems to be.

20   Q    All right.

21                     And, on the first page, which was the email that's

22   dated September 26, 2010, the subject line is Let's Do It Again;

23   is that correct?

24   A    That's correct.

25   Q    And the necessary message that you write on your email and
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 187 of 278
                                                                              187

 1   send to Mr. Clay is:      Here it is grant information, this is

 2   ongoing from the census and will continue until November

 3   election.

 4               MR. HO:   Objection, Your Honor.     I don't think she read

 5   that correctly.

 6               MS. CANGELOSI:   I thought I did.

 7               THE COURT:   I'm at a --

 8               MR. HO:   There was an extra word or two.

 9   BY MS. CANGELOSI:

10   Q    Why don't you read what the email says, Mr. Taylor.

11   A    It says here is grant information.       This is on-going from

12   the census and will continue until November election.

13   Q    So, with that, is that the next -- and, with these numbers

14   of discovery production at the bottom right-hand corner, it says

15   LA NAACP 648.     Do you see that?

16   A    Yes, ma'am.

17   Q    And the next one is 649.      And then 650, et cetera.      The

18   numbers are in succession.       Is that correct?

19   A    Yes, ma'am.

20   Q    So is what follows after the email, the grant information

21   that you sent to Mr. Kirk Clay at the national office in the

22   national NAACP office?

23   A    This is the grant information.       I don't know if it was --

24   again, the way the papers are numbered here, I don't know if

25   that's the sequence that it went.        I don't know if I sent the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 188 of 278
                                                                              188

 1   grant information immediately after I sent the email or how that

 2   worked.     I believe that it all went in succession though.

 3   Q    It all what?

 4   A    Went in succession, went in chronological order.

 5   Q    Yeah.    That's what I'm wondering, is the grant information

 6   that you sent to Mr. Clay is these following pages.          Is that the

 7   grant information you sent to Mr. Clay?

 8   A    I would think so.      Again, I sent more than one grant

 9   application to Mr. Clay.

10   Q    Right.

11                     But, for the Let's Do It Again 2010 unit grant

12   application, is that what you sent to Mr. Clay with the email?

13   A    Yes.     I would say it's the same.     Yes, ma'am.

14   Q    Okay.    All right.

15                MS. CANGELOSI:    Your Honor, I'd like to offer and

16   introduce into evidence SOS Exhibit 60.

17                MR. HO:   Object, Your Honor.    He said he didn't know,

18   and then Ms. Cangelosi kept asking the same question over and

19   over again.

20                THE WITNESS:   If I may --

21                THE COURT:    I'm going allow it into evidence.

22                MS. CANGELOSI:    All right.

23                     (Exhibit admitted.)

24   BY MS. CANGELOSI:

25   Q    So you said again in 2010 that you got $10,000?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 189 of 278
                                                                              189

 1              MR. HO:   We actually offered this into evidence

 2   ourselves, but it just got excluded by the secretary when we

 3   offered it.

 4              MS. CANGELOSI:    I didn't object, Your Honor.

 5              MR. PHILIPS:    I think we objected because he said that

 6   was his draft.

 7              MR. HO:   I don't think it's verified whether this is in

 8   fact the same.

 9              MS. CANGELOSI:    Your Honor, can we approach?

10              THE COURT:    Yes, please.

11                    (Sidebar conference.)

12              MS. CANGELOSI:    Your Honor, when it was offered

13   earlier, Mr. Philips objected because Mr. Taylor testified it

14   was a draft.     When I said it was an email and now I'm saying,

15   hey, this is what you sent to Kirk Clay, this is what you sent,

16   and he said, yeah, that's what he sent.

17              MR. HO:   It's not exactly the same document.

18              MS. CANGELOSI:    It's not a draft.     I have it, what he

19   sent.

20              MR. HO:   It's been identified as a draft earlier, and

21   you're leading him around.

22              MS. CANGELOSI:    You want it in now, or now you don't

23   want it in?

24              THE COURT:    Ya'll both play that game.

25              MS. CANGELOSI:    I didn't object.     I want it in.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 190 of 278
                                                                              190

 1               MR. PHILIPS:   I didn't mean to mess this up.

 2               MS. CANGELOSI:   I can show you where he identified it

 3   in his deposition.

 4               THE COURT:   The deposition's --

 5               MS. CANGELOSI:   I know.

 6               MR. PHILIPS:   Your Honor, if the Court is satisfied

 7   that the document is what it's being offered for, that the

 8   document is what it has been represented to be by Mr. Ho

 9   initially when it was offered and by Ms. Cangelosi, and my

10   objection is messing that up, I withdraw the objection.

11                    My objection was based on the testimony that the

12   document was a draft.

13                    (Pause in Proceedings.)

14               THE COURT:   Is there a date?

15               MS. CANGELOSI:   There's some dates on it.

16               THE COURT:   These dates precede the document.       So

17   that's kind of confusing.

18                    What is your objection, Mr. Ho?

19               MR. HO:   As a draft.   I don't think the record's clear

20   that it was in fact attached to that email.

21               MS. CANGELOSI:   He said it apparently was.

22               THE COURT:   He probably was not -- was this in his

23   files or something?

24               MS. CANGELOSI:   Yes.   It's in his documents that he

25   produced.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 191 of 278
                                                                              191

 1              MR. HO:   He had a big disorganized stack of files that

 2   he gave to us.

 3              MS. CANGELOSI:    It was produced in his deposition,

 4   Judge.

 5              MR. HO:   And there's more than one grant document in

 6   there.    It's not clear what's attached to what.

 7              MS. CANGELOSI:    It's clear that he is the guy that did

 8   it.

 9              MR. HO:   We know that it's a draft, and we're willing

10   to admit it, that that testimony is draft.         Just not attached to

11   the email.

12              MS. CANGELOSI:    He sent him the grant information,

13   according to the email.

14              THE COURT:    I'm going to let it in.     This really is a

15   bench trial, guys.      A lot of this, I can choose at some point to

16   give whatever weight or whatever credibility I give to anything

17   I hear.    Sometimes, in a bench trial, it's easier to let it in.

18              MR. PHILIPS:    I have a sneaking suspicion that your

19   decision in the case will not hinge on this document.

20                    (Sidebar concluded.)

21              MS. CANGELOSI:    So, back on the record, Your Honor.

22   We've offered to introduce and file in evidence is document SOS

23   60.   The exhibit is identified by the witness.

24              THE COURT:    I'm going to allow it, and the objection is

25   noted for the record.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 192 of 278
                                                                              192

 1                     (Exhibit admitted.)

 2               MR. HO:   Thank you, Your Honor.

 3   BY MS. CANGELOSI:

 4   Q    And then, I think, Mr. Taylor, you also identified another

 5   document as the source of some grant funding in your previous

 6   testimony.    I think it was -- is that the document 244?

 7               MS. CANGELOSI:   Can we see plaintiff's Exhibit 244?

 8               THE COURT:   We're going to plaintiff's Exhibit 244?

 9   BY MS. CANGELOSI:

10   Q    Plaintiff's Exhibit 244, that's it, and it's in evidence.

11                     Did I understand you to say that that was for a

12   Get Out the Vote grant?

13               MR. HO:   I'm sorry, Your Honor, it's actually not in

14   evidence.

15               THE COURT:   It's not in the record.

16               MS. CANGELOSI:   It's not in evidence.      It was just

17   identified.

18   BY MS. CANGELOSI:

19   Q    So let me -- you see what 244 is?

20   A    Yes, I do.

21   Q    And what did you say that was for when you testified

22   earlier?    Because we did talk about it.

23   A    I believe this was the grant application that we had sent

24   in, applied for additional funding right before the election.

25   Q    Was it for a Get Out The Vote grant?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 193 of 278
                                                                              193

 1   A    Yes, ma'am, it was.

 2   Q    And it was your testimony that you prepared 244?

 3   A    That I prepared this, yes, ma'am.

 4   Q    And it's got something for a sale for a data analyst Tyra

 5   Banks?

 6   A    That's correct.

 7   Q    Look, if you will, at SOS Exhibit 56.        In SOS Exhibit 56 is

 8   a two-paged document, and the first page is a letter from Kirk

 9   -- and that would be Kirk Clay, that same man at the NAACP, I

10   assume?

11   A    That's correct.

12   Q    And it says:    Dear Kirk, time is of the essence, we're up

13   for the job, Louisiana State Conference is ready to work, but in

14   order for us to be successful we need to have the funds released

15   in a timely manner, this is the budget for the 2010 Get Out The

16   Vote grant, please give me a call if you have any questions

17   regarding this document.      And it's signed by you, Reverend

18   Chipps Taylor?

19              MR. HO:   Objection, Your Honor.      It's not signed.

20              MS. CANGELOSI:    No.   Your name is typed on the bottom.

21              THE COURT:    I'm going to let him see if he can identify

22   the document.

23   BY MS. CANGELOSI:

24   Q    So look at SOS Exhibit 56 and see if you can identify that.

25              THE COURT:    Wait.   Where are we now?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 194 of 278
                                                                              194

 1                MS. CANGELOSI:   SOS 56.

 2                THE WITNESS:   Yes.   I recognize it.

 3   BY MS. CANGELOSI:

 4   Q    And is that something that you wrote and sent to Kirk Clay

 5   of the NAACP national office?

 6   A    I presume I did.

 7   Q    And is the budget that was attached to the second document

 8   on SOS Exhibit 56, which is the -- can you see the second page

 9   of it?

10   A    I can see the second page, but I have -- I'm not sure that

11   this letter that I wrote to Mr. Clay was attached to this

12   budget.

13   Q    Okay.

14   A    I don't know if --

15   Q    Is the budget the budget to the 2010 Get Out The Vote grant?

16   A    There were more than one budgets that we submitted.

17   Q    Well, I'm just trying to figure out the $10,000 that you got

18   for 2010 you said you got from grants.        Is that correct?

19   A    Yes, ma'am.

20   Q    So I'm just trying to find the grants.        And I think we've

21   established that SOS exhibit, the one we just put in evidence,

22   was the Let's Do It Again grant.        Is that correct?    That was the

23   application.

24                     And then you testified about this budget for a

25   grant.    Was this the other $5,000 for the Get Out The Vote
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 195 of 278
                                                                              195

 1   grant?

 2   A    This was a budget -- see, I'm not sure of the dates of when

 3   this one was submitted.       I believe, to the best of my

 4   recollection, if this was the one that was submitted, this one

 5   was submitted near the end of our program.         However, there was

 6   no date on it.     So I can only --

 7   Q    Let me just try it this way.        Did you get $5,000 for the

 8   Let's Do It Again grant in 2011 and $5,000 for a Get Out to Vote

 9   grant in 2010?

10   A    Ma'am, the best that I recall, we received approximately

11   $10,000.     How, you know, again --

12   Q    All right.    Well, let's look at your deposition, and then

13   see what you said at that time about it.

14   A    Okay.

15   Q    Remember when you were deposed?        SOS Exhibit 43 is your

16   deposition of June 6, 2012.         You remember being deposed at that

17   date in Mr. Wilson's office?

18   A    Yes, ma'am.

19   Q    Let's look on page 101, starting on line 18.

20                THE COURT:   Is it 52?

21                MS. CANGELOSI:   43.

22                THE COURT:   Thank you.

23   BY MS. CANGELOSI:

24   Q    It says, starting at line 14:        Did you get a Let's Do It

25   Again grant at any time?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 196 of 278
                                                                              196

 1                    I believe we did.    I'm not sure what year that

 2   grant came.

 3                    I'm going to show what I'm going to mark as

 4   Exhibit 14.    I don't think I have other copies of that one.

 5   Sorry.    Here it is, you've looked at it.

 6                    Yes, ma'am.

 7                    And we can show you Exhibit 14, there was attached

 8   to the deposition.

 9   A    Ms. Cangelosi, what page are you on?

10   Q    I'm sorry, I'm on page 102.      What did I say?

11   A    Could you start again, because I was --

12   Q    Let's Do It Again grant.

13                    Answer:    I believe I did.    I'm not sure what year

14   that grant came.

15                    Question:    I'm going to show you what I'm going

16   mark as Exhibit 14.      And I don't think I have other copies of

17   that one.    Sorry.   Here it is, you have looked at it.

18                    Answer:    Yes, ma'am.

19                    Question:    Is that a grant you applied for and

20   that you think you received, the Louisiana State Conference

21   received the money?

22                    Answer:    We did not receive the total amount of

23   the money.    This was --

24                    Question:    So you think you might have.      I'm

25   sorry.    Go ahead.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 197 of 278
                                                                              197

 1                    Answer:   No.   We did not receive the total amount

 2   of this money.

 3                    Question:   So, in 2010, you told me you got

 4   $10,000.     And we know you got $5,000 for the Get Out the Vote

 5   grant.    And we'll have to show you you said that in your

 6   deposition.    But, anyway, did you get $5,000 from this one?

 7                    And you say:    This may have been the one that we

 8   got 5,000, or we may have gotten -- again, the 2009 or 2010 were

 9   somewhat tied to it.

10                    But did you see in the email on the front of this,

11   this is the grant information, this is constant and will

12   continue until the November election?

13                    So, I mean, is that what you said at that time

14   about this?

15   A    Yes, ma'am.

16   Q    That's not what you said --

17   A    That's what the deposition says, yes, ma'am.

18   Q    Yeah.

19                    And so -- and then look on page 101 also.        And I

20   say in question about getting, on line 3:         So you did get a

21   $5,000 Get Out the Vote grant in 2010?

22                    Answer:   I believe we did.

23                    Okay.

24                    Okay.

25                    And is that part of the $15,000 you were talking
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 198 of 278
                                                                              198

 1   about?

 2                     Answer:   Yes, it is.

 3              MR. HO:    I'm going object, Your Honor.      I don't

 4   understand what she's impeaching here.        She's reading deposition

 5   testimony.

 6              MS. CANGELOSI:    He said he didn't know what the Get Out

 7   the Vote grant was for, the $35,000 in 2010.

 8              MR. HO:    I don't think there's anything inconsistent.

 9              THE COURT:    I'm going to overrule your objection at

10   this time.    To be very frank, I'm not sure where the conflict

11   is.   So why don't you ask your question.

12              MS. CANGELOSI:    I don't know why I'm having so much

13   difficulty.

14   BY MS. CANGELOSI:

15   Q     In 2010, you got $10,000 from the national office to do

16   voter registration activity for the Louisiana State Conference

17   of the NAACP?

18   A     Approximately, yes, ma'am.

19   Q     And the $10,000, you said, came from grants from the NAACP?

20   A     Yes, ma'am.

21   Q     National.

22                     $5,000 of it, you got from the Get Out The Vote

23   grant application; is that correct?

24   A     Yes, ma'am.

25                     May I say something, if I may?     To the best of my
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 199 of 278
                                                                              199

 1   knowledge, I received the $10,000.        Now, how it came, I know it

 2   came from grant money.      Which grant, how the grants, the dates,

 3   I'm not sure about.      So all I know is that the money did come in

 4   the year, you know, for the 2010 campaign.

 5   Q    And you testified in your deposition, did you not, that you

 6   applied for the Get Out The Vote grant for a large amount of

 7   money in 2010, but you will only received $5,000 for the Get Out

 8   the Vote grant that year?

 9              MR. HO:   Objection, Your Honor.      I think it was a

10   different -- I think she's referencing to a different one, the

11   numbers and the -- she's not matching the number up with the

12   right grant.

13              THE COURT:    Approach.

14                    (Sidebar conference.)

15              MS. CANGELOSI:    Obviously, my skills are lacking.       He

16   said in his deposition -- and, given enough time, I can find the

17   right pages.

18              THE COURT:    I want to make sure I understand what

19   you're doing.     I think he's saying, if he doesn't remember, you

20   can refresh his recollection.        We had that conversation

21   yesterday.

22                The other thing is, are you asking if there was a

23   total of 15, or if it was 10-5?

24              MS. CANGELOSI:    His testimony, as I understand it, in

25   2010, he got $10,000 total.       I understand him to say previously
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 200 of 278
                                                                              200

 1   in his deposition he got $5,000 from the Get Out The Vote grant

 2   application and he got $5,000 for the Let's Do It Again grant

 3   application.     That's all I'm trying to get at.      But I'm having

 4   trouble.

 5               THE COURT:   I think it will -- maybe just try to ask

 6   him just like that.

 7               MR. HO:   That's not what I heard from the podium.

 8               THE COURT:   I think, just ask him directly.      Because I

 9   was getting confused, and I think there was an effort I think to

10   make it a little more complicated.

11               MS. CANGELOSI:   That's all I'm trying to do.

12               THE COURT:   Thought so.   So I said let's get up here to

13   see.    If he says he doesn't remember, you can refresh his

14   memory.

15   BY MS. CANGELOSI:

16   Q      We're going to try to get it.     You got $10,000 --

17               THE COURT:   Can we hold down the noise, please.

18   BY MS. CANGELOSI:

19   Q      Got $10,000 in 2010 from the NAACP national office to do

20   voter registration work that year; is that correct?

21   A      To the best of my recollection, yes, ma'am.

22   Q      And, of that money, $5,000 came from the Get Out the Vote

23   grant; is that correct?

24   A      Yes, ma'am.

25   Q      And the other $5,000 came in from a Let's Do It Again 2010
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 201 of 278
                                                                              201

 1   grant?

 2   A    That's where -- again, I know it came from grants.          And, if

 3   -- you know, I'm confused.       And you talk about this grant, that

 4   grant, which grant came from -- you know, again, as I attempted

 5   to explain to Mr. Ho, without having the exact dates on the

 6   grant information, I can only, you know, what I believe.           And I

 7   believe, yes, ma'am, that is correct.        But I can't --

 8   Q    That's good.    If you believe it's correct, that's good.           All

 9   right.

10                    Now, grants in these cases are awarded for

11   specific purposes; are they not?

12   A    Yes, ma'am.

13   Q    And is there -- there's documents to describe the purposes

14   of those grants; is that correct?

15   A    That is correct.

16   Q    All right.

17                     So let's look again at the Let's Get Out the Vote

18   grant.    Let's look again at SOS 60, which is in evidence.         Is

19   this the document, the grant application, that describes the

20   purposes of the grant?

21   A    You talking about the form that's in front of me?

22              THE COURT:    Yes, sir.

23              MS. CANGELOSI:    SOS Exhibit 60.

24              THE WITNESS:    Mine says 649.

25   BY MS. CANGELOSI:
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 202 of 278
                                                                              202

 1   Q    Yeah.   The page 0649, that document.       And, following, is

 2   that the document that describes the purposes of that grant?

 3   A    Yes, ma'am.

 4   Q    And so, in doing whatever activity you did, did you adhere

 5   to and follow the grant purposes?

 6   A    The best we could, yes, ma'am.

 7   Q    And did you do whatever expenditures or work that you were

 8   doing in accordance with whatever the grant said you were

 9   supposed to do?

10   A    I'm not sure of the question.       We used the grant money for

11   the Get Out To Vote campaign.

12   Q    This is not the Get Out The Vote.       And, remember, the Get

13   Out The Vote grant is another grant.        We're talking about the

14   Let's Do It Again grant.

15   A    So are you speaking of the grant for the census?

16   Q    I am talking about document 60, the Let's Do It Again grant

17   application.

18   A    Okay.   So this is the one for the mid-term election, okay.

19   Q    Okay.   I'm talking that one.

20                So the only thing I'm trying to say is, doesn't this

21   document define the purposes the grant?        And doesn't it say how

22   you're supposed to use the money for the grant?

23   A    Yes, ma'am.

24   Q    And my question is, did you follow the restrictions or the

25   rules that the grant --
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 203 of 278
                                                                              203

 1   A    To the best of our abilities, yes, ma'am.

 2   Q    So did you expend funds other than in accordance with the

 3   grant rules?

 4   A    No, ma'am.

 5   Q    Okay.   I wouldn't think so.

 6                    All right.   So what do you know the purpose to be

 7   for the Let's Do It Again grant?

 8   A    To help to -- if this was the mid-term election grant, then

 9   the purpose of this grant was to help get folks out, register

10   folks, mobilize folks and get them to the polls.

11   Q    Okay.   But the application itself says, on page 0649:         In an

12   effort to address low voter turnout and issues and targeted

13   precinct or census tracks, the NAACP is awarding grants to SNAP

14   state conferences and Let's Do It Again units, these grants will

15   help units conduct phone banking and outreach activities aimed

16   at increasing the voter turnout rate and underperforming

17   targeted precincts and census tracks.

18                     That was the purpose stated on that; is that

19   correct?

20   A    Where you at on the letter, ma'am?

21   Q    I'm on page 649.

22   A    What paragraph?

23   Q    The first one.

24   A    Okay.

25                     (Pause in proceedings.)
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 204 of 278
                                                                              204

 1               THE WITNESS:    Yes, ma'am.

 2   BY MS. CANGELOSI:

 3   Q      All right.

 4                       And if you'll turn to page 653.

 5                       Let me ask you first, Mr. Taylor, look at page

 6   654.    And it purports to be a grant application for the Let's Do

 7   It Again grant on behalf of Louisiana State Conference.           And it

 8   says proposals submitted by Reverend Edward Chipps Taylor, III.

 9                       That's you; is that correct?

10   A      Yes, ma'am.

11   Q      And it says your title is state director for Census Yes We

12   Can.    Is that a title you had?

13   A      That's the title I put on this, because there was no

14   official title.       And this is what I was referred to as the

15   director of the program.

16   Q      Did somebody appoint you director of Census Yes We Can?

17   A      Kirk Clay did as far as the individual -- each individual

18   state, from what I understand.       I was appointed as a director.

19   Q      So you think the national office appointed you as the state

20   director?

21   A      I don't -- I didn't deal with the national office other than

22   through Kirk Clay.       And this was the title that, when I

23   submitted the application, this is the title that I put down.

24   Q      And you're the one who filled out this application; is that

25   correct?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 205 of 278
                                                                              205

 1   A    Yes, ma'am.

 2   Q    On behalf of the state conference.

 3                    Look on page 653, and there's at the top of the

 4   page.    And it says Unit Program Information.       Our plan is to

 5   reach out to the six different tract areas that are projected to

 6   have lower voter turnout percentages for the current census than

 7   they had in the 2000 census.

 8                    That's information you supplied in connection with

 9   this application?

10   A    Yes.

11   Q    And you also say:     We plan to implement, maintain and

12   evaluate the phone bank and other operations by using the

13   Mother's Day count toolkit.

14   A    Yes, ma'am.

15   Q    That's the information you supplied?

16   A    Yes, ma'am.

17   Q    Okay.   And, under your program goals, you were going to --

18   under the -- that's the next paragraph -- the goals of this

19   program is to take the six tracts and divide the phone banking

20   and community awareness operations into two months, which are

21   June and July; being that New Orleans has the lowest projected

22   response rate for the 2010 census, we'll be doing two phone

23   banks forums for New Orleans, one within the project timeframe.

24                    That's information you supplied?

25   A    Yes, ma'am.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 206 of 278
                                                                              206

 1   Q    And then, if you look on the last page, which is the

 2   projected budget, these were all phone banking activities;

 3   right?

 4   A    Yes, ma'am.    This shows that, yes, ma'am.

 5   Q    So what you told the national conference you were going to

 6   do is phone banking activities, and for this money.          And, in

 7   fact, on page 654, you filled in how many calls, 50,000 calls or

 8   whatever you were going to do on what dates for the phone

 9   banking activities?

10   A    Yes, ma'am.

11   Q    Now, do you have any records of the receipt of the money?

12   You said it went to the Louisiana State Conference of the NAACP,

13   you gave it to Mr. Johnson?

14   A    I provided the checks to Mr. Johnson, Dr. Johnson.

15   Q    And you assume he deposited it into the NAACP account,

16   Louisiana State Conference account?

17                    And how were the expenses paid?

18   A    I don't quite understand the question.

19   Q    How were the expenses paid?      What was the $5,000 you had to

20   pay -- it paid for something; right?

21   A    Yes.

22   Q    How were those expenses paid?

23   A    They were paid by a check.      If for example if we did phone

24   banking in a certain area, let's say in New Orleans, then

25   whoever was in charge of that banking, that office, would submit
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 207 of 278
                                                                              207

 1   a document stating how many workers they had, how much they paid

 2   their workers or the stipend to the workers received, and then

 3   this information was given to Dr. Johnson.         And then, based on

 4   that, he would write a check from the Louisiana State Conference

 5   for this activity.

 6   Q    And you were paying -- ya'll would pay volunteers $8 per

 7   hour, according to the proposed budget?

 8   A    Some volunteers were.

 9   Q    So all your volunteers got paid a stipend?        Is that what you

10   called it?

11   A    No, ma'am.    All of them did not.     Because we were using

12   college students as well as regular individuals.          And college

13   students had so many hours that they were required to volunteer

14   for their degree.     So everyone did not get paid a stipend.

15   There were some who just volunteered.

16   Q    You didn't tell me about that in your deposition; did you?

17   A    You didn't ask.

18   Q    Well, let me see what I did ask.

19   A    Because, in the deposition, if I remember right --

20               THE COURT:   Sir --

21   BY MS. CANGELOSI:

22   Q    Let's look at SOS 43, page 101.       Starting at question:     So

23   you did get $5,000 Get Out The Vote grant.

24   A    What page are you on?

25   Q    101.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 208 of 278
                                                                              208

 1                    So you did get a $5,000 Get Out The Vote grant in

 2   2010?

 3                    Answer:   I believe we did.

 4                    Question:    Okay.   And is that part of the $10,000

 5   you were talking about?

 6                    Answer:   Yes, it is.

 7                    Question:    Okay.   And volunteers were paid who

 8   worked under that grant; were they not?

 9                    Answer:   No, they were not paid.      They were given

10   stipends.

11                    Question:    They were given stipends?

12                    Answer:   Yes, ma'am.

13                    All right.   And that's monetary stipends?

14                    And the answer is:     Yes, ma'am.

15   A    Yes, ma'am.    However, if you look at that statement, you do

16   not see where I said that all volunteers were paid stipends.

17   Q    Right.    You said -- I said:    And the volunteers were paid

18   who worked on that grant; were they not?

19                    The answer is:    No, they were not paid, they were

20   given a stipend.

21                    And then you say:    Stipend's money.

22   A    Again, I did not state -- just like I stated to you just now

23   -- I did not state that every volunteer -- we have volunteers

24   that work and have never got paid a stipend.

25   Q    Okay.    You didn't state that some volunteers were not paid;
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 209 of 278
                                                                               209

 1   did you?

 2   A    Again, you did not ask me that.

 3               MS. CANGELOSI:   Your Honor, I offer into evidence this

 4   portion of the deposition as identified.         It's SOS Exhibit 43,

 5   page 101, lines 2 through 17.

 6               MR. HO:   Objection, Your Honor.     There's no basis to

 7   admit it.    Nothing impeachable here.

 8               THE COURT:   Well, actually, there is impeachment.        I

 9   don't think the deposition needs to come in.         Statements are

10   already in.

11               MS. CANGELOSI:   I got it.    Thank you, Your Honor.

12               THE COURT:   Sustained.

13   BY MS. CANGELOSI:

14   Q    So do you have records of the money, the $5,000 coming in to

15   the Louisiana State Conference of the NAACP from this grant, and

16   do you have records of the expenses going out for volunteers or

17   telephones or whatever they went for?

18   A    No, ma'am, I do not.

19   Q    Look on page Louisiana State Conference of the NAACP 652.

20   It's part of the Exhibit 60.       It's page 652.    And there's some

21   grant regulations listed for this grant; are there not?

22   A    Yes, ma'am.

23   Q    And you followed those grant regulations?

24   A    No, ma'am, not all of them.

25   Q    So you're telling us today that you got grant money from the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 210 of 278
                                                                              210

 1   national NAACP, and you didn't follow the grant regulations?

 2   A    Not all of them, because of the low amount of money that

 3   came in.    And, when it came in, our major concern was to utilize

 4   the money to get some people registered and to the polls as

 5   quick as possible.

 6   Q    Look at those grant regulations on that page 5652.          There's

 7   one, two, three, four -- the fifth bullet.         It says:   Must

 8   deposit all NAACP grant funds into an approved account to be

 9   used only for non-partisan outreach activities.

10                    Does it not?

11   A    That's correct.

12   Q    And did ya'll do that?

13   A    I gave the checks, as I stated, to Dr. Johnson.          And I would

14   think that that's what he did.        He put money in the NAACP

15   account.

16   Q    Did you produce any in discovery, in response to the

17   discovery requests, any records to show that this money went

18   into the Louisiana NAACP account?

19   A    I didn't have that information, ma'am.

20              MR. HO:   Objection, Your Honor.      He doesn't know what

21   discovery requests he was responding to, he's not an attorney.

22              THE COURT:    Sustained.

23   BY MS. CANGELOSI:

24   Q    You testified in your deposition, did you not, that you

25   provided your lawyers with every document you had regarding
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 211 of 278
                                                                              211

 1   voter registration activities on behalf of the Louisiana State

 2   Conference of the NAACP?

 3   A     That is correct.

 4   Q     And you testified that all of those were produced in

 5   discovery?

 6   A     I testified that I gave all of the information I had to my

 7   attorneys.

 8   Q     Okay.    And were you the one that collected whatever

 9   information that the Louisiana State Conference of the NAACP had

10   with respect to voter registration activities?

11   A     Yes, ma'am.

12                 MR. HO:   I'm going to object, Your Honor.    The document

13   request is in evidence.        That's a paraphrase of what the

14   document request was.       He didn't know what the document request

15   was, he can't testify to that.

16                 MS. CANGELOSI:   I can prepare to put it in evidence.

17                 THE COURT:   Wait.   I'm sorry.   I'm going to sustain the

18   objection as to the document request but -- I'm going to sustain

19   in part and overrule in part, because I think it's appropriate

20   ask if he was in charge of it and what he did with the

21   documents.      And, what he did with the documents, I can make

22   whatever inferences I deem appropriate.

23                 MS. CANGELOSI:   Your Honor, I want to put in evidence

24   the document request and the response.          So it's SOS 38, 39 and

25   40.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 212 of 278
                                                                              212

 1   BY MS. CANGELOSI:

 2   Q    Does this look like the amount of documents that you

 3   produced to the attorneys?

 4   A    Ma'am, I have no idea.

 5              MR. HO:   Objection, Your Honor.

 6              THE WITNESS:    Your Honor, I don't know how to answer

 7   that.

 8              MR. HO:   This is a stack of paper, or unrelated papers

 9   that we had an objection on earlier?

10              THE COURT:    Stop.

11                    (Sidebar conference.)

12              THE COURT:    Is he the only one that produced these

13   documents?

14              MS. CANGELOSI:    Um-hum.   The requests were all records

15   related to voter registration.       He testified in his deposition

16   that he gathered them all and he produced.         The lawyers in

17   addition said he produced everything in response.

18              MR. HO:   Ms. Cangelosi is leaving out, because there

19   was a separate request of production of the NAACP's checking

20   records and financial reports, a third document request that was

21   untimely, nevertheless we offered to produce those documents.             I

22   have the correspondence here, not subject to a protective order

23   because we didn't want their financial records just running

24   around outside, and Ms. Cangelosi rejected that.          She's trying

25   to establish --
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 213 of 278
                                                                              213

 1              MS. CANGELOSI:    I'm not leaving out.     No, that's wrong.

 2              THE COURT:    This is the thing that -- hold up -- this

 3   is the thing that I just tried to put this all together in my

 4   mind, and it seems to me that this man indicated that he filed

 5   for these grants, he was getting partial sums of what he

 6   requested, he gave the money to the state conference and they

 7   paid the bills from there.       I haven't heard that he's in charge

 8   of the checkbook, and that's my concern.         We may have a

 9   disconnect, but I'm not sure.

10              MS. CANGELOSI:    I might not be, but I didn't ask the

11   question of him.     I asked that the state conference produce with

12   respect to voter registration drives conducted in 2000 all

13   financial expense records, whether paper or electronically

14   stored for the voter registration drive every document, copy of

15   any/all notes, reports, memorandum, correspondence reports,

16   other documents of any kind.       I asked simply for.     I didn't get

17   one of check.     So now he's saying:     Oh, we got the money and we

18   don't have one check to show that.

19              MR. HO:   If I could briefly respond to that, Your

20   Honor.    Financial expense records of the voter registration

21   drives that he keeps, they don't keep those kind of records.

22   They are checks --

23              THE COURT:    There was a separate document request for

24   canceled checks.     I have it on my desk.

25              MS. CANGELOSI:    It's in this request.      I don't have to
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 214 of 278
                                                                              214

 1   ask for cancelled checks.      I asked for any and all.

 2              MR. HO:   There is a separate document request for the

 3   checking account records, which was untimely.

 4              MS. CANGELOSI:    Which you objected to.

 5              MR. HO:   Notwithstanding the fact that it was untimely,

 6   we offered to produce those documents to Ms. Cangelosi subject

 7   to a protective order because they didn't want their records

 8   flying around out there.

 9              MS. CANGELOSI:    Then you shouldn't have sued anybody.

10              MR. HO:   Ms. Cangelosi objected to that.       We offered

11   to.

12              MS. CANGELOSI:    Well, it's responsive to this one.          I

13   don't have to keep asking you the same question over and over.

14              THE COURT:    I'm going allow you to ask these questions

15   but I'm -- I'll allow you to ask the questions and explore it;

16   but, you know, what let's not get bogged down in this.           I really

17   kind of got it.

18              MS. CANGELOSI:    I'll just put this in evidence.

19                    (Sidebar concluded.)

20              MS. CANGELOSI:    Your Honor, pursuant to the bench trial

21   conference, we offer Exhibits 38, 39 and 40.

22              MR. HO:   And our objection to I believe No. 40 is that

23   it's a stack of documents rather than a single document that had

24   earlier objections based on the documents in the record.

25              MS. CANGELOSI:    Actually, on the 38 is the discovery
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 215 of 278
                                                                              215

 1   request.    39 is their response, and their response says we're

 2   going to produce it on a CD.       This is just the printout of the

 3   CD.   If the Court would rather have the CD itself, this shows

 4   that these were all --

 5              THE COURT:    I can assure you, Ms. McNamara and the

 6   Court would prefer it on a CD.

 7              MS. CANGELOSI:    We have the hard copy as well as the

 8   CD.

 9              THE COURT:    Let it be admitted.     Your objection is

10   noted for the record.

11                    (Exhibit admitted.)

12   BY MS. CANGELOSI:

13   Q     Mr. Taylor, back to SOS Exhibit 60, on page 652, the grant

14   regulations I had just read you the one, two, three, four, fifth

15   bullet to require to deposit all funds into an approved account

16   to be used solely for non-partisan outreach activities.

17                    Next bullet required you to pay all bills for

18   activities by check drawn on the approved account where NAACP

19   grant funds are deposited.

20                    Was that done?

21   A     To the best of my understanding, it was.       I did not write

22   the checks.    All I did was, again, when I received the checks, I

23   gave them to Dr. Johnson.      I'm sure that Dr. Johnson put them in

24   the NAACP account.      When these people were paid their stipend,

25   it was written off of the Louisiana State Conference NAACP
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 216 of 278
                                                                              216

 1   account.

 2   Q    And you don't know where those records are today; do you?

 3   A    No, I do not.

 4   Q    And you didn't produce those records in part of the

 5   discovery about voter registration?        You didn't produce them;

 6   did you?

 7   A    No, I did not.

 8   Q    And the regulation further requires the regulations in the

 9   next, second next bullet:      Must keep intact and register all

10   bank statements and cancelled checks, monthly bank statements

11   and cancelled checks must be kept for three years following the

12   completion.    Yes We Can campaign, these items must be made

13   available for three years to the national headquarters upon

14   request.

15                    We're within the three year period today of 2010

16   activity?

17   A    Yes, ma'am.

18   Q    So -- but it's your testimony that you followed these

19   regulations, and you did what you said you were going to do in

20   the form of phone banking in these targeted tract areas?

21   A    Yes, ma'am.

22   Q    And that was the activity conducted with that $5,000 that

23   you obtained?

24   A    Yes, ma'am.

25   Q    And then the other $5,000 was on the Get Out The Vote
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 217 of 278
                                                                              217

 1   activity.    And that's as SOS Exhibit 47 that we put in evidence.

 2   Is that correct?      That was the Get Out The Vote activity, that's

 3   what that $5,000 was used for on this budget?

 4               THE CLERK:   It's not in evidence.

 5               MS. CANGELOSI:    SOS 57 is not in evidence?

 6               CASE MANAGER:    I thought you said 47.

 7               MS. CANGELOSI:    I did.   I got to get drinking.

 8               CASE MANAGER:    56 brought up, but I don't think it's

 9   been admitted.

10               MS. CANGELOSI:    Your Honor, I'd like to move

11   defendant's Exhibit 101-57, it contains the Get Out the Vote

12   budget and the email.

13               THE COURT:   Any objection?

14               MR. HO:   The same objection that we made before, that

15   it's not apparent what's attached to what.         The Secretary of

16   State put these two pages together, but it's not apparent.

17               MS. CANGELOSI:    I think he identified it.

18               THE COURT:   I'm going to allow.     Overruled.

19                    Your objection is noted for the record.

20                    (Exhibit admitted.)

21   BY MS. CANGELOSI:

22   Q    So ya'll spent 5,000 on Get Out the Vote on this budget;

23   correct?

24   A    Yes.

25   Q    And that's all for phone banking activities.         That is what
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 218 of 278
                                                                              218

 1   that budget shows; is that correct?

 2   A    Yes, ma'am.    For this budget.

 3   Q    Okay.   So the $5,000 you got for Get Out the Vote was for

 4   phone banking activities?

 5   A    And also -- yes, ma'am.

 6   Q    And Get Out The Vote is primary an election day activity; is

 7   it not?

 8   A    No, ma'am.    It is not.

 9   Q    Let's look at what your lawyer put in evidence before, it's

10   the exhibit about the Let's Do It Again toolkit.          I think that

11   exhibit was plaintiff's Exhibit 238.        And you said you relied on

12   this Let's Do It Again toolkit for some activities; is that

13   correct?

14   A    That's correct.

15   Q    But we talked about earlier the Let's Get Out The Vote grant

16   that I showed you a minute ago, and that you said you used as

17   election day toolkit; is that correct?

18   A    Yes, ma'am.

19   Q    All right.

20                     But, on the Get Out The Vote activities in that

21   exhibit, which is the Let's Do It Again toolkit, look at page --

22   it's Exhibit 238, look at page LA NAACP-83.         Is that in there?

23   And that's an information sheet.       Do you have that page?      On Get

24   Out The Vote activities.

25   A    Yes, ma'am.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 219 of 278
                                                                              219

 1   Q    And so this is defined as the Get Out The Vote activities

 2   that you did in connection with the Get Out The Vote grant?

 3   A    It's -- this defines part of the activities.         This right

 4   here just deals with the election day events.         We did not wait

 5   until the day of the election to get out and call individuals in

 6   our telephone banking.

 7   Q    Well, this budget that you sent in doesn't specify what days

 8   you are doing it?

 9   A    No, ma'am.    It doesn't specify any dates.

10   Q    So do you have any records of the money you spent?          Because

11   that would show us what days you did it on.

12   A    As I stated before, no, ma'am, I do not.

13   Q    So there's no record of the $5,000 going into the Louisiana

14   State Conference account; is there?

15   A    I have no records.

16              MR. HO:   Objection, Your Honor.

17              THE WITNESS:    Stating this --

18              THE COURT:    What was the objection?

19              MR. HO:   That she misstated his testimony.       He doesn't

20   know.

21              THE COURT:    I think -- I'm going to allow it.       He's

22   under cross examination.      The objection is overruled.

23   BY MS. CANGELOSI:

24   Q    You managed this activity?

25   A    Yes, ma'am.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 220 of 278
                                                                              220

 1   Q    All right.

 2                     You don't have any records of the $5,000 check?

 3   A    No, ma'am, I do not.

 4   Q    Or the $5,000 deposited into the Louisiana --

 5   A    No, ma'am, I do not.

 6   Q    And you don't have any records of whoever was paid $8 per

 7   hour for work done on this?

 8   A    No, ma'am, I do not.

 9   Q    Or whatever was paid for printing of flyers or anything?

10   A    No, ma'am, I do not.

11   Q    But the activities were phone banking?

12              MR. HO:   Objection, asked and answered.

13   BY MS. CANGELOSI:

14   Q    Is that correct?

15              THE COURT:    Overruled.   I'm going allow some of this

16   because it's cross examination.

17   BY MS. CANGELOSI:

18   Q    And, in this election day toolkit that you used, at page

19   0083, they talk about Get Out The Vote phone banking and what

20   the primary purposes of it are; do they not?

21   A    Yes, ma'am, they do.

22   Q    And they list those, the functions of the telephone,

23   including targeting voters to go get out and vote, providing

24   information on poll locations and hours, obtaining names and

25   addresses of voters needing transportation, for babysitting
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 221 of 278
                                                                              221

 1   assistance and asking targeted voters if they need assistance

 2   with getting out to vote.      Is that correct?

 3   A    Yes, ma'am.

 4   Q    So that's how it's defined, and that's what ya'll did?

 5   A    That's how it was defined in that part, yes, ma'am.

 6   Q    And that's what you did?

 7   A    We did that and more.

 8   Q    For $5,000?

 9   A    Yes, ma'am.    Because a lot of things that we did, ma'am, we

10   were never paid for.      We did not -- again, the money came --

11   when the money had come, we had already been working and doing

12   things to Get Out The Vote.       So everything that we did has not

13   -- there wasn't a dollar amount that people were paid for.

14   Q    So your testimony now is that volunteers weren't paid; is

15   that correct?

16   A    No, ma'am, that is not -- all volunteers, as I said or as I

17   tried to state to you earlier, were not paid or given a stipend.

18   Q    A stipend, okay.     You and I have a problem with paid and

19   stipend.    But stipend is giving them money; right?        So all

20   volunteers received money?

21   A    All volunteers did not receive money.

22              THE COURT:    Then what is a stipend?

23              THE WITNESS:    A stipend, ma'am, is what you give to an

24   individual who does certain amount of work.         And we paid

25   stipends to some individuals who were volunteers.          However, all
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 222 of 278
                                                                              222

 1   the people who worked this program were not paid a stipend.

 2   That's the point that I was trying to make, is that, yes, those

 3   who worked to -- like I say, certain students who worked that

 4   were volunteers that didn't have volunteer hours from college,

 5   yes, they were paid a stipend.       There are other individuals who

 6   came in, made phone calls, that were not paid a stipend.

 7                MS. CANGELOSI:   I've already been through that.

 8                THE WITNESS:   But they were still volunteers.

 9   BY MS. CANGELOSI:

10   Q    The final thing on this Get Out To Vote toolkit, which you

11   used, again, look on page 99 LA NAACP 990099.         And they define

12   phone banking as the organization of a group of telephones and

13   callers who'll call registered voters to persuade them to vote.

14                     Is that correct?

15   A    Where you at, ma'am?

16   Q    On page 0099.    Definition of a phone bank.      It's the second

17   thing from the top.

18   A    Okay.    Okay.

19   Q    Um-hum.    That's how it's defined in that toolkit that you

20   used; is that correct?

21   A    Yes, ma'am.

22                MS. CANGELOSI:   I might be finished, just one second.

23                     (Pause in proceedings.)

24                MS. CANGELOSI:   Judge, I want to make sure that SOS 56

25   is in evidence.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 223 of 278
                                                                              223

 1              CASE MANAGER:    No.

 2              MS. CANGELOSI:    I offer SOS 56.

 3              CASE MANAGER:    The rest of 43, I didn't know if you

 4   wanted to offer that.      I know you just did a few lines.

 5              MS. CANGELOSI:    The rest of 43?     I'm not sure I know

 6   what that is.

 7              CASE MANAGER:    It's the deposition.

 8              MS. CANGELOSI:    Oh, no.    Judge said I didn't need it.

 9                    That's all I have, Your Honor.

10              THE COURT:    Thank you.

11                    Mr. Philips.

12              MR. PHILIPS:    No binders, Your Honor.      Good sign, no

13   binders.

14              THE COURT:    It's a very good sign.

15                              CROSS EXAMINATION

16   BY MR. PHILIPS:

17   Q    Mr. Taylor, good afternoon.       I don't know that we have met

18   before.    If you'll bear with me for about 15 minutes, I know

19   it's been a long afternoon for you.

20   A    No problem, sir.

21   Q    You told us earlier on in your testimony that one of the

22   things that you do as an official of the Louisiana conference is

23   training of branches and setting up voter canvassing; is that

24   correct?

25   A    That's correct.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 224 of 278
                                                                              224

 1   Q    And you deal with I think we've used the terms units

 2   previously talking about the local organizations of the NAACP;

 3   right?     You familiar with that term?

 4   A    That's correct.

 5   Q    And can you just tell us briefly how the Louisiana

 6   conference goes about doing this training and assisting the

 7   local units in setting up canvassing activities.

 8   A    At a NAACP Louisiana State Conference meeting, we will have

 9   training conducted about Get Out The Vote campaigns of things

10   that we suggest that you may do at your branch in order to help

11   the people get out.

12   Q    Is that an annual event?

13   A    No.    We have it -- we have four meetings a year.       And then

14   we have our state conference as well as our regional conference.

15   And, even at our national conference, we -- all of these

16   conferences, we do some form of training.

17   Q    Is the training conducted by you on behalf of the Louisiana

18   conference, or perhaps by others?

19   A    It's done by others as well.      I may play a part in it.

20   However, national will -- for example, in the conference we had

21   in September that we spoke about, the Everyone Should Count

22   campaign, Mr. Kirk Clay came down from national and conducted

23   that training session.      And I assisted him in that.

24   Q    With respect to voter registration activities, I know you

25   talked about some about your personal activities in attempting
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 225 of 278
                                                                              225

 1   to assist people in registering to vote; true?

 2   A    Correct.

 3   Q    What from -- put your official Louisiana conference hat on

 4   for me for a minute, if you would, and tell the Court what it is

 5   you did as a representative of the conference in terms of voter

 6   registration activities.

 7   A    I was responsible for setting up different entities to make

 8   sure that things got done when it came to registration.           For

 9   example, I am responsible for setting up phone banking to make

10   sure that whatever location they have that the equipment is

11   supplied however we're going to do that.         I'm responsible for

12   setting up canvassing as far as, you know, different branches.

13   And, when I say set up, the branch may call me, Shreveport may

14   call and say:     We want to do a voter registration or we're doing

15   the voter registration here in Shreveport or in Jonesboro.

16   Q    So the local units or branches would be conducting this

17   activity, and they would call upon you for assistance in setting

18   up or coordinating those activities?

19   A    A lot of times, this would happen.

20   Q    And you talked some about personal voter registration

21   activities, and you mentioned the health units; right?

22                    The purpose, if you would refresh my memory,

23   please, the purpose of being at the health units and talking to

24   people at the health units was what?        What group of people were

25   you trying to identify and register?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 226 of 278
                                                                              226

 1   A      The majority of individuals that I felt -- and, again, this

 2   is a Chippsism now, this is a personal opinion of mine -- the

 3   majority of the people who went to the health units were people

 4   who could not afford to go to doctors and, you know, didn't have

 5   insurance and things of this nature.        So, therefore, I felt that

 6   it was good fertile ground to register them.         Because, again, we

 7   were seeking to register low income as well as

 8   African-Americans.

 9   Q      When you said a personal, I'm distinguishing that -- correct

10   me if I'm wrong -- I distinguishing that from some sort of

11   official posture that the Louisiana conference took about going

12   to health units to assist people, recruit people to vote; is

13   that right?

14   A      I represented the Louisiana State Conference when I did my

15   voter activities, whatever the voting activities were.           However,

16   I did not have to go to Dr. Johnson, for example, and say:

17   Dr. Johnson we're going to set up voting registration at XXX or

18   YYY.    He trusted me enough to do my job and register as many

19   people as we could.

20   Q      So it was personal in the sense that you selected the venue

21   or the place that you went to do this?

22   A      It was personal in the sense that I was the one that did it.

23   However, I represented the Louisiana State Conference in

24   everything I did when it came to voter registration.

25   Q      If I were a person walking out of -- in or out of a health
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 227 of 278
                                                                              227

 1   unit, and you approached me about voter registration, how would

 2   I know that you were associated with the Louisiana conference of

 3   the NAACP?

 4   A    Because I would identify myself.

 5   Q    You would tell everyone that you approach?

 6   A    Yes, I would.    Basically, my pitch was:      Hi, I'm Reverend

 7   Chipps Taylor with the Louisiana State Conference NAACP.

 8   Q    You spent I think you told me one day a month at health

 9   units in Hammond; right?

10   A    Right.

11   Q    Did you ever go to the Louisiana Department of Health and

12   Hospitals facilities in Baton Rouge or in any other parish, the

13   offices, to attempt to do voter registration there?

14   A    I didn't personally.     However, in phone calling with other

15   individuals -- like I say, work these different branches that we

16   have that work with us on voter registration.         There would be

17   times when we would have telephone conversations about what

18   you're doing in your branch, what you're doing in your parish.

19   And I had recommended that -- I thought again, you know, what I

20   had seen was that health units and food stamps offices were good

21   locations for them to go to and register voters.

22   Q    But, beyond the things you did personally at Hammond or

23   Amite, the involvement you had with branches or units conducting

24   voter registration activities at health units or food stamps

25   offices was all done through the branches or units around the
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 228 of 278
                                                                              228

 1   state?

 2   A    I might have went to Baton Rouge once or twice.         In that

 3   sense.    However, it was done by the branches, but it was done

 4   under the banner of the Louisiana State Conference.

 5   Q    And that's primarily because, is it not, that the Louisiana

 6   State Conference doesn't have any individual members; it works

 7   with units and branches; true?

 8   A    To the best of my understanding, branches are members of the

 9   Louisiana State Conference.       However, in order to be a member of

10   a branch, in order to be part of the Louisiana State Conference,

11   you have to be a member of a branch in Louisiana.

12   Q    So you belong to a branch and the branch belongs to the

13   conference?

14   A    Again, in my mind, I find that confusing.        I believe that I

15   stated that I am a member of the Louisiana State Conference.              I

16   am the religious affairs chairman for the Louisiana State

17   Conference.    So I belong to the Baton Rouge branch.        And, again,

18   you would have to speak to our parliamentarian, our

19   constitutional person, for me to understand whether or not.              But

20   as far as I'm concerned, I believe that I hold an office in the

21   Louisiana State Conference as the religious affairs chairman,

22   not my branch.

23                    Now, branches have -- and, for example, the Baton

24   Rouge branch that I'm a member of, I'm also the religious

25   affairs chairman for the local branch in Baton Rouge.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 229 of 278
                                                                              229

 1   Q    You said earlier in your testimony that you thought -- you

 2   went to the food stamps offices because you thought the state

 3   had a duty to register people who made application to food

 4   stamps; is that right, to vote?       Is it your understanding that

 5   the state has an obligation to actually register people who go

 6   and apply for food stamps or to offer to those people an

 7   opportunity to register?

 8   A    I believe they have an opportunity or they have a

 9   responsibility to offer registration to these individuals.

10   Q    And that's what you did.      I mean, you can only offer the

11   opportunity to someone.      You couldn't make them register when

12   you approached them personally in Hammond or Amite; correct?

13   A    That is correct.     However, I found that -- again, this is a

14   personal experience -- that when the people came out who I

15   approached to register, they were eager to register, a lot of

16   them.    And I had kind of asked, you know, well, didn't -- no,

17   didn't nobody ask me.      And, again, another personal, I have

18   individual friends who for example live in Hammond, who because

19   they were talking to me about this case, they asked me about.

20              THE COURT:    We're getting a whole bunch of hearsay on

21   top of hearsay on top of hearsay.        I think we need to stop it

22   right about there.

23   BY MR. PHILIPS:

24   Q    Anybody from the Hammond branch or Baton Rouge or New

25   Orleans accompany you when you went to Hammond for your voter
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 230 of 278
                                                                              230

 1   registration activities?

 2   A    You talking about when I was registering --

 3   Q    Yes, sir.

 4   A    No.

 5   Q    And was it your -- the procedure that you followed when

 6   someone -- you approached someone and you said I'm here to offer

 7   you an opportunity to register to vote and you gave them an

 8   application, I take it?      Yes?

 9   A    A lot of times, they would fill out -- I would fill out --

10   they would fill out the application right there.

11   Q    Then what would happen to it?

12   A    I would turn it in.

13   Q    To whom?

14   A    The Amite, if I was in Amite, used to turn it in to the

15   courthouse.

16   Q    You'd go to the registrar's office?

17   A    Yes.

18   Q    Did you have some people that would accept the application

19   and say:    Well, let me take it home and look at it and if I

20   decide I am going to do it I'm going to send it in myself?           Have

21   some people that did that?

22   A    You had some, however not so many.

23   Q    And you probably had some that said:        Thank you very much,

24   Reverend Taylor but I'm already registered, or I'm not

25   interested; would you agree with that?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 231 of 278
                                                                              231

 1   A    Very few said that they had already registered.         You would

 2   get some that would say, you know, I'm not -- you know, I'm not

 3   interested at this time.

 4   Q    Two questions that I think are fairly specific for you.

 5                    Can you tell the Court what amount of resources --

 6   and you can talk about resources in terms of dollars, people,

 7   that sort of thing -- but what amount of resources was expended

 8   by the Louisiana State Conference of the NAACP on voter

 9   registration activities that were directed to the Louisiana

10   Department of Health and Hospitals, that is Medicaid programs,

11   Women and Infants, Children's programs, recipients of those

12   benefits?

13   A    I have no idea, sir.

14   Q    And I have the same question about the amount of resources

15   expended on voter registration activities directed to food stamp

16   offices for the state.

17   A    Again, I don't know how I would be able to come up with that

18   assessment.

19   Q    Beyond your personal experience, Reverend Taylor, do you

20   have any information at all that you can share with the Court

21   about what other branches did that were voter registration

22   activities directed to either the Medicare -- I'm sorry --

23   Medicaid WIC programs or to food stamps?

24   A    Other than the fact of us discussing it, again, I did not go

25   there with them to the food stamps office or to that health
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 232 of 278
                                                                              232

 1   opportunity, see.     However, since we had talked about the best

 2   places to go -- and we know what we do when we assume -- but,

 3   however, I assumed that they did follow my lead and do what I

 4   asked them to do.

 5   Q    Beyond the assumption -- I agree with you about what we do

 6   when we assume -- beyond the assumption and your personal

 7   experience, you can't quantify for the Court the resources

 8   expended on those activities; is that accurate?

 9   A    I don't know how I could qualify the resources, because,

10   again, I don't know how many people went, I don't know how many

11   hours were spent, I don't know who did it.         So, therefore, I

12   don't know.

13   Q    I understand.

14              MR. PHILIPS:    Your Honor, could I have five seconds to

15   find out if we have any other questions?         Thank you.

16                    (Pause in proceedings.)

17              MR. PHILIPS:    Your Honor, once again, I'm told I have

18   no further questions.      Thank you very much.     Appreciate it.

19              THE WITNESS:    Yes, sir.

20              THE COURT:    Mr. Ho, redirect.

21              MR. HO:   Thank you, Your Honor.

22                             REDIRECT EXAMINATION

23   BY MR. HO:

24   Q    Hello again, Reverend Taylor.       I'll do my best to keep it as

25   brief as possible.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 233 of 278
                                                                              233

 1                    Would you bring up on the screen Secretary of

 2   State 60, which is located in tab 4 of your binder, Reverend

 3   Taylor.

 4                    And could we turn -- this is -- can we turn to the

 5   second page.     Just to remind everyone what this is, this is on

 6   page 649, the Let's Do It Again 2010 unit grant application

 7   which has been admitted into evidence.        Can we turn to page 658?

 8                    And what is this page again, Reverend Taylor?           And

 9   it's on your screen as well, so whatever is easiest for you.

10   A    It's the proposed budget of how we plan to spend the money

11   that we were requesting.

12   Q    And the third column, the header is, I believe,

13   Justification.     What information do you put in the rows in that

14   column?

15   A    What you were doing in order to justify why you needed that

16   money.

17   Q    And let's go after justification four rows down.         What do

18   you see there?

19   A    Are you talking about the door-to-door canvassing?

20   Q    Yes.

21   A    Yes, sir.

22   Q    So did you request money for that?

23   A    Yes, sir.

24   Q    And did the Louisiana State Conference engage in that in

25   2010?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 234 of 278
                                                                              234

 1   A     Yes, we did.

 2   Q     Let's turn back to page 655.     It will be up on your screen.

 3                     Could you tell me what the last line on this page

 4   is?

 5   A     The activities in this unit will be implemented for voter

 6   registration, education, and Get Out The Vote and protection

 7   plans.

 8                MS. CANGELOSI:   Your Honor, I object to him leading.

 9   The parties can read, but the question is what civic activities

10   will you implement for the next election.         It has nothing to do

11   with this current election.

12                THE COURT:   You are leading the witness.     So ...

13                     (Pause in proceedings.)

14                THE COURT:   Objection sustained.

15   BY MR. HO:

16   Q     Was voter registration a component of this grant application

17   as you see it here?

18   A     Yes, it was.   A very important part.

19   Q     Is it set forth on this page?

20   A     Yes.

21   Q     Let's turn to the previous page.      Page 654.    Ms. Cangelosi

22   asked you a few questions about this.        The bottom half of it

23   describes something about phone banking that Ms. Cangelosi asked

24   you about.     What's the starting date for the phone bank

25   activities listed here?
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 235 of 278
                                                                              235

 1   A    August the 16th, 2010.

 2   Q    Do you remember during your direct testimony, Reverend

 3   Taylor, I asked you what's the first question that you're

 4   supposed to ask during phone banking?

 5   A    Yes, I do.

 6   Q    What is it?

 7   A    Are you a registered voter.

 8   Q    Can we turn to page 2 in your binder?

 9              MR. HO:   This has been admitted, this is plaintiff's

10   Exhibit 238.

11                    Just so everyone remembers, the title page of that

12   document is Civic Engagement toolkit Let's Do It Again.

13   BY MR. HO:

14   Q    Can you turn to page 71 in this document.        Just tell me when

15   you're ready after you've reviewed it.

16                     (Pause in proceedings.)

17              THE WITNESS:    Yes, sir.

18   BY MR. HO:

19   Q    Under Civic Engagement How-to sheets, do you see that as a

20   header here?

21   A    Correct.

22   Q    I want to ask you about seven bullets down.         Can you just

23   read that to me and tell me what it means.

24   A    Voter registration, how to use a phone bank to identify

25   unregistered voters.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 236 of 278
                                                                              236

 1   Q    What does that mean?

 2   A    That simply means that, when you're doing phone banking, you

 3   need to be able to identify unregistered voters, if they are a

 4   registered voter or not.

 5   Q    I don't have any other questions about these documents,

 6   Reverend Taylor.

 7                    Two others areas I want to ask you questions

 8   about, just because I want to make a few things clear.

 9                    First is about the checking account for the

10   Louisiana State Conference of the NAACP.         Did you keep the

11   checkbook for that checking account at any time in 2010?

12   A    No, I did not.

13   Q    Did you keep or receive the deposit statements for that

14   checking account?

15   A    No, sir, I did not.

16   Q    There were some questions asked by Ms. Cangelosi about

17   reporting to national in connection with these grants.           What

18   kinds of reporting did you engage in?

19   A    As I stated, Mr. Kirk Clay and I had a very active

20   communication.     So I would speak with him at least twice a week,

21   maybe sometimes even more.       And, during our conversations, I

22   would inform him of what we were doing in the state of

23   Louisiana.

24   Q    Did you have to give him written reports?

25   A    No, I did not.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 237 of 278
                                                                              237

 1   Q    Did he ever -- were written reports ever requested of you?

 2   A    No, sir, they were not.

 3   Q    You referred -- used the phrase, when Ms. Cangelosi was

 4   asking you about this topic, you said something about this being

 5   because of the low amount.       That's the phrase that you used.

 6   What did you mean by that?

 7   A    If I can say this.     In the year 2004 --

 8              MS. CANGELOSI:    Objection, Your Honor.

 9              THE WITNESS:    -- switched over 179,000 --

10              THE COURT:    Sir, there's an objection.      We're not going

11   to go back to 2004.      I think -- Reverend Taylor, you need to ask

12   the question without giving a reference point.

13              THE WITNESS:    Let me see if I can answer it this way.

14   In previous years, when I did this work --

15              THE COURT:    I think you can just answer by telling us,

16   an amount of what?

17              THE WITNESS:    Amount of money.

18              THE COURT:    Thank you.

19                    You can move on.

20   BY MR. HO:

21   Q    Why do you describe it as a low amount of money?

22   A    Because it was compared to, yeah, what I had received

23   before.

24              MS. CANGELOSI:    Objection.

25              THE WITNESS:    Before --
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 238 of 278
                                                                              238

 1              THE COURT:    Sustained.

 2                     I got it.   You can move on.

 3              MR. HO:   I understand, Your Honor.

 4   BY MR. HO:

 5   Q    One last topic that I want to ask you about, Reverend

 6   Taylor.    You testified earlier that the state conference is

 7   engaging in voter registration work this year?

 8              MS. CANGELOSI:     Objection, Your Honor.     Leading.

 9              MR. HO:   I apologize.

10   BY MR. HO:

11   Q    Is the Louisiana conference of the NAACP engaging in voter

12   registration this year?

13              MS. CANGELOSI:     Asked and answered.    And that's to be

14   covered on cross.

15              THE COURT:    I think it is outside the scope.

16              MR. HO:   I understand, Your Honor.

17   BY MR. HO:

18   Q    Ms. Cangelosi asked you a question about payments for people

19   who engage in voter registration work for the Louisiana State

20   Conference of the NAACP.      Do you remember that, Reverend Taylor?

21   A    Yes, I do.

22   Q    Have volunteers been paid for voter registration work with

23   the Louisiana State Conference of NAACP this year?

24              MS. CANGELOSI:     Objection, Your Honor.

25              THE WITNESS:    No, they have not.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 239 of 278
                                                                              239

 1              THE COURT:    Come here.

 2                    (Sidebar conference.)

 3              THE COURT:    I think we're clearly outside the scope of

 4   cross.    I think she focused a great deal on the amount of money

 5   that was received or not received in 2010 preceding this

 6   lawsuit.    And, that's the time of standing that we look at, at

 7   the time prior to the lawsuit.        So I think it's outside the

 8   scope.

 9                    That being said, how much longer are you going to

10   be?

11              MR. HO:   Less than five minutes, Your Honor.

12              MS. CANGELOSI:    Can we quit for the day?

13              MR. PHILIPS:    We have two short ones.

14              THE COURT:    We can go off the record for this.

15                    (Discussion held off the record.)

16   BY MR. HO:

17   Q     Ms. Cangelosi asked you about payments for volunteers,

18   Reverend Taylor.     Are volunteers who engage in voter

19   registration work with the Louisiana State Conference of NAACP

20   always paid money?

21              MS. CANGELOSI:    Objection.    Leading.

22              THE WITNESS:    No, they are not.

23              THE COURT:    It is leading.    I think you need to

24   rephrase your question.      But we got an answer.     So how about if

25   I just promise to remember that it was leading when we got that
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 240 of 278
                                                                              240

 1   answer, and we can move on since I'm going to be the fact

 2   finder.

 3   BY MR. HO:

 4   Q      Did you pay everyone that works when you do this voter

 5   registration work?

 6   A      No, we do not.

 7   Q      When do you pay them?    What makes a difference between when

 8   you pay them and when you don't?

 9   A      A lot of times, the determination is how much money you

10   have.

11   Q      Fair to say, if you have it, you pay them?      Is that fair to

12   say?

13   A      Not everyone.    We have some volunteers that work and never

14   get a dime.

15   Q      Fair to say, if you don't have it, you don't pay them?

16   A      That's exactly right.

17   Q      But they still do the work?      Do they still do the work?

18   A      That's why we're the NAACP.

19               MR. HO:     No further questions of Reverend Taylor.

20               THE COURT:     Thank you.   You may step down.   Thank you.

21               THE WITNESS:     Am I finished?

22               THE COURT:     You're finished.

23               THE WITNESS:     Promise you not going to call me no more?

24               THE COURT:     I'm not calling.   I think he's released.

25   And you can go on Reverend Taylor.        Thank you.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 241 of 278
                                                                              241

 1                MR. PHILIPS:   Your Honor, I believe, with the Court's

 2   guidance, we've been able to reach an agreement that I be

 3   permitted to call Suzy Sonnier, the secretary of DCFS.

 4                THE COURT:   Out of order.

 5                MR. PHILIPS:   Out of order.   Without any prejudice to

 6   anybody.

 7                THE COURT:   Without any prejudice to anyone, we are

 8   going to call --

 9                MR. PHILIPS:   I promise, we will be brief.

10                THE COURT:   I'll hold you to your word.

11                MR. PHILIPS:   That's a relative term, so I thought I

12   would be safe.

13                     SUZY SONNIER, being duly sworn, testified as

14   follows:

15                THE COURT:   Ms. Sonnier, I need you to say your name

16   and spell it for the record, please.

17                THE WITNESS:   Suzy Sonnier, S-O-N-N-I-E-R.     And Suzy is

18   S-U-Z-Y.

19                MR. PHILIPS:   Thank you, Your Honor.

20                               DIRECT EXAMINATION

21   BY MR. PHILIPS:

22   Q    Ms. Sonnier, would you tell the Court what your present duty

23   assignment is, or your job.

24   A    Sure.    I currently serve as the secretary for the Department

25   of Children and Family Services of Louisiana.
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 242 of 278
                                                                              242

 1   Q    When did you assume those duties?

 2   A    June 5th, 2012.

 3   Q    So several months?

 4   A    Sure, yes.

 5   Q    You were not the secretary when the lawsuit we're here to

 6   talk about today was filed; were you?

 7   A    No, I was not.

 8   Q    You had another position in state government at that time?

 9   A    Yes.

10   Q    Since the time you became secretary, were you made aware

11   through the exercise of your official duties about the claims

12   asserted by the plaintiffs regarding the National Voter

13   Registration Act scenarios that affect your department?

14   A    Yes.   Pretty early in my tenure, I was apprised of the

15   lawsuit and everything to date with regard to these activities.

16   Q    Is this a topic in your organization that is regularly

17   discussed by your executive staff?

18   A    Yes, it is.

19   Q    Can you tell the Court just briefly what instructions or

20   guidance you've given to your executive staff with respect to

21   either the claims made in the suit or the activities being taken

22   by your department in response to that?

23   A    Yes.   My commitment and the direction that I gave to our

24   executive team and our staff was to ensure that we were in

25   compliance in any and all ways.       From my understanding, to date,
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 243 of 278
                                                                              243

 1   we've done our best to try to maintain compliance, to make sure

 2   we are near compliance now.

 3              MS. BRANNON:    Your Honor, I'm going to object.       I think

 4   compliance is a legal conclusion.

 5              THE COURT:    I'm going to allow it for the purpose that

 6   it's being offered, I think it's corporate.

 7   BY MR. PHILIPS:

 8   A    My directive was to ensure that we were within the letter of

 9   the law and to make sure we were doing everything that we could

10   to ensure that we would be following the law and that we were --

11   that anything that had been identified or that was of a concern

12   of ours, that we ensured as quickly as possible we made sure

13   that we were doing what we were supposed to be doing if there

14   was a question.

15   Q    The instructions and guidance you just talked about, do

16   those relate also to the prior rulings of this Court with

17   respect to activities that the Court found perhaps needed to be

18   done to bring the department into compliance?

19   A    Yes, absolutely.

20   Q    And do you anticipate -- let me state something.         Strike

21   that.

22                    To the extent that you haven't gotten everything

23   already implemented that you believe may be required, are there

24   ongoing efforts do that?

25   A    Yes, there are.     And I get regular reports of the status of
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 244 of 278
                                                                              244

 1   any of those activities by my executive staff.

 2   Q    Do those activities -- are they directed to revisions or

 3   policies, documents and forms?

 4   A    Yes.

 5   Q    What about with respect to your CAFE system?

 6   A    Yes.    Our work, our ongoing work with CAFE is with a number

 7   of vendors.    So we have directed those activities to be changed,

 8   whether it be language that needs to be incorporated into our

 9   online activities or online forms or other things.          We'll work

10   with our vendors to do that as quickly as possible.

11   Q    Would you also tell the Court what your intentions are with

12   respect to training of the employees who need to know and deal

13   with their clients with respect to the National Voter

14   Registration Act?

15   A    Yes.    Training is an essential component of the efforts of

16   activities that we provide ongoing.        And, certainly, with regard

17   to this lawsuit, our intent is to ensure that all new staff are

18   trained very quickly, almost immediately upon the job, as well

19   as to ensure that people get ongoing training about the

20   requirements of this law.

21   Q    Is your commitment to the track that you've described to the

22   Court subject to any revision or to backtrack while you're the

23   secretary?

24   A    No.    Not at all.   Not at all.    And if, you know, if as a

25   result of these efforts and the Court here, there are new things
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 245 of 278
                                                                              245

 1   that are identified, we will absolutely be committed to get

 2   those in place as quickly as possible as well.

 3              MR. PHILIPS:    Thank you, Ms. Sonnier.      I don't have any

 4   other questions.

 5              MR. HO:   Just a few seconds, Your Honor.

 6              MS. BRANNON:    Your Honor, we have no further questions.

 7   Thank you very much.

 8              THE COURT:    Can I get the lawyers just to come up?

 9                    It's really no big deal, but you can come up, too.

10                    I just want you all to know that I know Ms.

11   Sonnier.    Her daughter's friendly with my granddaughter.         They

12   played soccer together.      I've seen her on the soccer field, not

13   as often as I'd like to because I usually try to skip.           Just so

14   that you know.

15              MS. BRANNON:    We have no objection to that, Your Honor.

16              MS. CANGELOSI:    I don't know --

17              MS. BRANNON:    She seems like a very nice person.

18              THE COURT:    And no control of either of those 13 year

19   old girls.

20                    I'm more comfortable letting everyone know.

21              MS. BRANNON:    We appreciate that, Your Honor.

22                    (Sidebar concluded.)

23              THE COURT:    Thank you, you may step down.

24                    Anything before -- all right.

25                    For reasons we discussed here, we're going to
     Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 246 of 278
                                                                              246

 1   recess until tomorrow morning at 8:30.

 2                    As I appreciate it, the parties have some -- the

 3   attorneys have some stipulations and whatnot to work through.

 4              MR. PHILIPS:    We do, Your Honor.

 5              THE COURT:    Remind you to, please, somebody stay and

 6   visit with Ms. McNamara to do exhibits.

 7                    Thank you.   Court will be in recess until 8:30

 8   tomorrow morning.

 9                    (5:20 p.m., proceedings recessed.)

10

11

12                                  CERTIFICATE

13

14
               I, Susan A. Zielie, Official Court Reporter, do hereby
15   certify that the foregoing transcript is correct.

16

17
                                          /S/ SUSAN A. ZIELIE, FCRR
18                                         ____________________________
                                               Susan A. Zielie, FCRR
19

20

21

22

23

24

25
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 247 of 278
                                                                                                                                      1


            $                                       16 [6] - 1:9, 6:1, 107:7,    145:6, 154:22,            202.546.4173 [2] -
                                     1
                                                     112:7, 139:5, 145:1         156:6, 157:3,              2:20, 2:24
$10,000 [20] - 172:25,     1 [21] - 17:8, 17:21,    1600 [1] - 2:5               159:10, 167:11,           21 [1] - 97:4
 173:10, 173:14,            18:1, 18:7, 18:15,      161 [1] - 16:20              170:8, 182:1              212.859.8247 [1] -
 174:19, 176:19,            21:21, 32:4, 32:24,     16th [1] - 235:1            2009 [17] - 13:6, 15:18,    2:16
 183:17, 183:20,            33:3, 33:4, 33:15,      17 [2] - 138:7, 209:5        17:4, 18:1, 18:7,         212.965.2200 [1] - 2:6
 184:11, 184:18,            38:21, 39:4, 39:10,     179,000 [1] - 237:9          18:15, 33:15, 40:21,      223 [1] - 5:16
 188:25, 194:17,            41:14, 44:13, 52:1,     18 [4] - 10:16, 61:3,        41:14, 44:13, 46:14,      225.342.1125 [1] -
 195:11, 197:4,             78:10, 168:4, 169:2      112:8, 195:19               46:18, 58:11, 58:22,       3:14
 198:15, 198:19,           1/2 [3] - 2:23, 11:3,    1803 [2] - 43:15, 43:16      59:10, 157:3, 197:8       225.342.9939 [2] - 4:6,
 199:1, 199:25,             11:5                    183 [1] - 5:15              2010 [86] - 6:17, 6:20,     4:18
 200:16, 200:19,           10 [11] - 6:24, 54:8,    1887 [1] - 3:13              7:15, 20:7, 20:11,        225.387.0511 [1] - 3:6
 208:4                      54:20, 55:7, 60:15,     19 [2] - 30:13, 46:12        21:4, 22:20, 59:13,       225.387.3221 [2] -
$100,000 [1] - 72:14        61:1, 61:2, 61:4,       1909 [6] - 70:17,            136:16, 143:16,            3:19, 4:13
$15,000 [1] - 197:25        145:6, 162:14,           99:25, 100:4, 101:4,        153:11, 153:14,           225.664.0077 [1] - 3:9
$28,929 [1] - 176:15        181:18                   101:8, 126:12               154:13, 154:20,           232 [1] - 5:14
$30,000 [1] - 173:16       10-5 [1] - 199:23        1915 [6] - 99:25,            156:9, 157:3, 157:5,      234 [1] - 23:8
$35,000 [1] - 198:7        100,000 [1] - 72:12       101:10, 101:13,             157:10, 157:17,           238 [5] - 161:4,
$5,000 [25] - 183:24,      10004 [1] - 2:15          101:15, 102:2               159:6, 159:19,             162:23, 218:11,
 194:25, 195:7,            1001 [1] - 127:23        1950 [1] - 101:15            160:4, 160:23,             218:22, 235:10
 195:8, 197:4, 197:6,      10013 [1] - 2:6          1965 [1] - 99:21             162:14, 163:24,           239 [3] - 167:5,
 197:21, 198:22,           101 [6] - 3:5, 195:19,                                164:7, 164:12,             167:23, 169:4
                                                    1973 [1] - 66:4
 199:7, 200:1, 200:2,       197:19, 207:22,                                      164:17, 166:17,           24 [2] - 61:3, 177:14
                                                    1976 [1] - 65:23
 200:22, 200:25,            207:25, 209:5                                        169:15, 169:18,
                                                    1983 [1] - 67:22                                       241 [3] - 5:19, 174:16,
 206:19, 207:23,           101-57 [1] - 217:11                                   170:8, 170:24,
                                                    1995 [1] - 67:14                                        178:7
 208:1, 209:14,            102 [1] - 196:10                                      171:17, 172:16,
                                                    1996 [2] - 72:9, 138:6                                 242 [5] - 177:12,
 216:22, 216:25,           11 [4] - 27:5, 27:10,                                 172:17, 172:19,
                                                    19th [1] - 138:17                                       177:15, 177:20,
 217:3, 218:3,              45:3, 46:19                                          172:20, 172:25,
                                                    1st [6] - 13:6, 15:18,                                  177:21, 178:14
 219:13, 220:2,            11-926 [1] - 1:8                                      173:11, 175:22,
                                                     17:4, 39:2, 39:24                                     244 [7] - 177:25,
 220:4, 221:8                                                                    181:24, 182:1,
                           11/1/09 [1] - 18:14                                                              192:6, 192:7, 192:8,
                                                                                 182:6, 182:7,
                           11/15/010 [1] - 20:6                 2                                           192:10, 192:19,
                                                                                 182:10, 182:11,
            '              11/15/02 [1] - 22:16                                                             193:2
                                                                                 182:12, 182:20,
                           117 [1] - 5:11           2 [10] - 3:1, 16:18,                                   2471 [2] - 3:18, 4:12
'02 [1] - 22:17                                                                  183:9, 183:16,
                           12 [1] - 116:6            16:19, 16:24, 16:25,                                  2515 [2] - 11:6, 11:13
'09 [12] - 17:21, 38:21,                                                         183:17, 183:22,
                           12/1/09 [2] - 18:13,      21:25, 161:4, 209:5,                                  2517 [2] - 11:3, 11:5
  39:2, 39:10, 39:25,                                                            184:1, 184:11,
                            18:14                    235:8                                                 2556 [1] - 2:9
  41:1, 42:3, 44:22,                                                             184:18, 185:8,
                           120 [1] - 167:11         2.0 [1] - 166:24                                       26 [2] - 185:8, 186:22
  52:18, 52:25                                                                   185:12, 185:23,
                           1250 [1] - 2:19          2.8 [1] - 166:15                                       27 [2] - 60:16, 61:3
'69 [2] - 61:16                                                                  186:5, 186:13,
                           12:30 [2] - 134:8,       20 [1] - 146:17                                        29 [2] - 5:5, 61:3
'71 [2] - 61:16                                                                  186:22, 188:11,
                            134:9                   2000 [9] - 142:5,                                      2908 [1] - 6:21
                                                                                 188:25, 193:15,
                           13 [3] - 46:4, 107:7,     143:17, 145:4,                                        2968 [1] - 6:16
                                                                                 194:15, 194:18,
            /               245:18                   145:6, 145:24,                                        2:00 [2] - 134:8, 135:2
                                                                                 195:9, 197:3, 197:8,
                           130 [1] - 5:9             171:15, 182:8,                                        2nd [1] - 150:14
/S [1] - 246:17                                                                  197:21, 198:7,
                           1301 [1] - 14:23          205:7, 213:12
                                                                                 198:15, 199:4,
                           1303 [1] - 43:14         20003 [1] - 2:24                                                  3
            0              135 [1] - 5:14           20005 [1] - 2:20
                                                                                 199:7, 199:25,
                                                                                 200:19, 200:25,
0 [1] - 45:3               1350 [1] - 2:19          2001 [1] - 107:9             205:22, 208:2,            3 [5] - 4:1, 22:3, 23:7,
0-11 [4] - 27:9, 40:16,    14 [7] - 35:18, 35:22,   2004 [17] - 145:6,           216:15, 233:6,             167:5, 197:20
 45:3                       35:25, 195:24,           155:2, 156:5, 156:7,        233:25, 235:1,            30 [2] - 48:5, 129:22
0-12 [1] - 22:18            196:4, 196:7, 196:16     156:16, 171:15,             236:11, 239:5             3036 [1] - 3:4
                           146 [6] - 12:8, 17:11,    171:25, 172:3,             2011 [11] - 6:21, 7:2,     31st [6] - 55:20, 78:10,
0070 [1] - 161:21
                            32:19, 38:14, 38:22,     172:8, 172:15,              27:12, 27:13, 45:10,       96:13, 97:3, 112:7,
0073 [1] - 163:13
                            49:17                    181:25, 182:2,              46:1, 46:12, 47:3,         113:5
0081 [1] - 164:24
                           15 [16] - 20:7, 20:11,    182:9, 182:16,              53:2, 97:21, 195:8        34 [2] - 168:4, 169:2
0083 [1] - 220:19
                            21:4, 22:20, 61:3,       183:8, 237:7, 237:11       2012 [12] - 1:9, 6:1,      35 [5] - 112:7, 139:4,
0095 [1] - 166:2
                            64:18, 64:19, 75:9,     2005 [1] - 24:21             54:8, 54:20, 55:7,         139:18, 140:3,
0099 [1] - 222:16
                            75:10, 101:16,          2008 [18] - 30:1, 30:17,     55:20, 61:2, 89:13,        140:14
0649 [2] - 202:1,
                            138:25, 140:15,          31:17, 32:4, 47:17,         94:22, 180:25,            35,000 [1] - 72:9
 203:11
                            140:18, 144:25,          52:1, 60:22, 61:6,          195:16, 242:2             38 [6] - 61:3, 116:5,
                            199:23, 223:18           142:11, 143:9,                                         116:6, 211:24,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 248 of 278
                                                                                                                                    2


 214:21, 214:25                                       737 [1] - 2:23              229:25                    219:1, 219:3,
                                       6
3836 [2] - 4:5, 4:17                                  75 [1] - 85:11             accomplish [1] -           220:11, 224:7,
39 [5] - 61:4, 116:16,      6 [14] - 30:5, 32:11,     78 [1] - 5:4                71:10                     224:24, 224:25,
 211:24, 214:21,             49:9, 50:7, 50:10,                                  accomplished [2] -         225:6, 225:18,
 215:1                       51:21, 72:11, 89:13,                 8               70:23, 164:3              225:21, 226:15,
                             103:1, 104:7, 105:6,                                accomplishing [1] -        227:24, 230:1,
            4                110:5, 113:20,           8 [3] - 32:23, 207:6,       70:22                     231:9, 231:15,
                             195:16                    220:6                     accomplishments [1]        231:22, 232:8,
4 [4] - 113:20, 174:16,     60 [10] - 185:2, 185:7,   83 [1] - 5:10               - 72:6                    234:5, 234:9,
 175:18, 233:2               188:16, 191:23,          8:30 [3] - 6:2, 246:1,     accord [1] - 121:10        234:25, 242:15,
40 [4] - 103:10,             201:18, 201:23,           246:7                     accordance [3] -           242:21, 243:17,
 211:25, 214:21,             202:16, 209:20,          8th [3] - 2:23, 3:18,       126:1, 202:8, 203:2       244:1, 244:2, 244:7,
 214:22                      215:13, 233:2             4:11                      according [5] - 70:1,      244:9, 244:16
406 [1] - 1:22              6045 [1] - 102:8                                      74:15, 165:14,           activity [22] - 75:20,
41 [3] - 103:11, 104:6,     62 [1] - 65:19                        9               191:13, 207:7             81:1, 119:17,
 105:6                      627 [1] - 3:13                                       account [15] - 175:10,     120:17, 125:6,
43 [6] - 195:15,            628 [2] - 4:5, 4:16       9 [1] - 145:6               206:15, 206:16,           128:24, 141:20,
 195:21, 207:22,            63 [1] - 9:4              9/1/09 [2] - 13:5, 15:17    210:8, 210:15,            150:19, 153:21,
 209:4, 223:3, 223:5        64 [1] - 9:4              909 [1] - 2:9               210:18, 214:3,            162:18, 183:9,
45 [1] - 113:20             648 [1] - 187:15          918 [1] - 3:4               215:15, 215:18,           183:21, 198:16,
451 [2] - 3:17, 4:11        649 [4] - 187:17,         93 [1] - 35:18              215:24, 216:1,            202:4, 207:5,
47 [2] - 217:1, 217:6        201:24, 203:21,          9386 [5] - 12:18, 33:8,     219:14, 236:9,            216:16, 216:22,
49 [1] - 5:6                 233:6                     33:10, 33:19, 38:12        236:11, 236:14            217:1, 217:2, 218:6,
4th [3] - 3:13, 4:5, 4:16   65 [1] - 5:9              9388 [2] - 14:14, 35:8     accounts [3] - 78:20,      219:24, 225:17
                            650 [2] - 186:1, 187:17   94 [1] - 110:17             115:15, 115:16           actual [4] - 78:11,
            5               652 [3] - 209:19,         9401 [5] - 15:9, 33:8,     accurate [1] - 232:8       80:5, 138:17, 174:10
                             209:20, 215:13            33:21, 36:7, 44:16        Achievement [1] -         addition [2] - 75:8,
5 [7] - 32:21, 32:23,       653 [2] - 204:4, 205:3    9407 [3] - 17:9, 39:14,     137:2                     212:17
 38:13, 48:13, 48:21,       654 [4] - 175:23,          39:18                     Act [3] - 99:21,          additional [3] -
 48:22, 49:16                204:6, 206:7, 234:21     941 [1] - 35:17             242:13, 244:14            174:12, 181:13,
5,000 [2] - 197:8,                                    9422 [6] - 18:9, 38:16,    act [1] - 101:6            192:24
                            655 [1] - 234:2
 217:22                                                38:18, 38:21, 39:4,       acting [1] - 98:25        address [27] - 14:20,
                            658 [2] - 176:11, 233:7
5/23/08 [1] - 50:22                                    39:20                     action [10] - 70:24,       20:2, 20:12, 20:16,
                            664 [1] - 169:3
50,000 [1] - 206:7                                    9424 [6] - 19:15,           71:18, 71:22, 72:10,      21:21, 22:3, 24:20,
                            67 [1] - 107:7
500 [1] - 1:22                                         19:20, 42:18, 42:20,       77:21, 77:22, 101:1,      35:7, 42:25, 43:5,
                            690 [1] - 169:12
501C3 [6] - 76:11,                                     42:21, 43:3                112:21, 124:7             43:8, 43:10, 43:11,
                            697 [1] - 169:3
 76:13, 76:20, 79:20,                                 9427 [1] - 22:8            actions [2] - 101:2        43:12, 43:15, 51:3,
                            698 [3] - 168:9,
 105:2, 116:13                                        947 [1] - 39:17            active [2] - 149:3,        51:13, 51:17, 55:11,
                             168:19, 168:23
501C35 [1] - 76:16                                    99 [2] - 2:5, 222:11        236:19                    57:10, 68:21, 68:24,
                            699 [1] - 168:23
501C4 [2] - 76:14,                                    990099 [1] - 222:11        actively [1] - 142:13      79:7, 149:8, 170:9,
                            6th [6] - 94:21, 107:3,
 105:1                                                                                                      203:12
                             113:19, 114:9,                                      activities [70] - 70:3,
                                                                                                           addresses [2] -
501C4's [1] - 76:10          114:22, 115:24                       A               74:2, 74:4, 74:6,
                                                                                                            148:19, 220:25
504.525.4361 [1] -                                                                75:18, 77:19, 78:18,
 2:10                                                 A.M [1] - 6:2               81:23, 101:5,            addressing [1] -
504.589.7781 [1] -
                                       7              abide [1] - 122:18                                    169:19
                                                                                  102:14, 103:25,
 1:24                                                 abilities [1] - 203:1       105:10, 106:11,          adhere [1] - 202:4
                            7 [8] - 45:9, 45:14,
510 [1] - 51:14                                       ability [2] - 34:16,        106:17, 107:16,          adhered [1] - 177:2
                             45:15, 48:14, 48:16,
52 [2] - 97:4, 195:20        49:11, 60:9               122:10                     129:6, 135:25,           admissibility [4] -
53 [1] - 6:8                                          able [9] - 79:5, 112:10,    141:19, 159:3,            6:10, 6:23, 7:3, 7:24
                            70 [5] - 85:11, 100:9,
54 [2] - 6:14, 6:15                                    113:6, 119:4,              159:5, 162:9,            admissible [3] -
                             101:18, 101:24
55 [1] - 7:1                                           141:18, 155:6,             163:25, 166:18,           23:13, 23:15, 60:11
                            700 [2] - 3:8, 168:23
56 [8] - 193:7, 193:24,                                231:17, 236:3, 241:2       170:25, 173:1,           admit [4] - 97:16,
                            701 [1] - 168:23
 194:1, 194:8, 217:8,                                 absolutely [3] - 9:10,      177:8, 184:20,            111:18, 191:10,
                            70112 [1] - 2:10
 222:24, 223:2                                         243:19, 245:1              184:21, 203:15,           209:7
                            70130 [1] - 1:23
5652 [1] - 210:6                                      Academy [1] - 137:2         206:2, 206:6, 206:9,     admits [1] - 111:19
                            7072-0700 [1] - 3:9
57 [2] - 5:4, 217:5                                   accept [1] - 230:18         210:9, 211:1,            admitted [26] - 6:12,
                            70821 [4] - 3:5, 3:14,
59 [1] - 136:5                                        accepted [1] - 49:7         211:10, 215:16,           6:13, 7:5, 7:6, 12:8,
                             3:19, 4:12
5:20 [1] - 246:9                                      access [2] - 150:7,         215:18, 217:25,           16:20, 32:14, 32:15,
                            70821-3836 [2] - 4:6,
5th [1] - 242:2                                        178:10                     218:4, 218:12,            48:19, 48:20, 49:9,
                             4:17
                                                      accompany [1] -             218:20, 218:24,           49:14, 49:15, 49:18,
                            71 [1] - 235:14
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 249 of 278
                                                                                                                                   3


 49:20, 93:13, 169:7,       98:11, 105:23,           AMY [2] - 3:16, 4:10      appear [2] - 22:13,      appointing [1] - 82:17
 169:8, 188:23,             171:22, 230:25,          amy.lambert@               22:25                   appointment [1] -
 192:1, 215:9,              232:5                     taylorporter.com [2]     APPEARANCES [3] -         114:4
 215:11, 217:9,            agreed [4] - 6:10,         - 3:20, 4:13              2:1, 3:1, 4:1           appointments [2] -
 217:20, 233:7, 235:9       7:10, 54:15, 82:5        analysis [1] - 111:9      application [87] -        68:15, 114:15
admitting [1] - 23:16      agreement [1] - 241:2     analyst [2] - 136:14,      12:24, 13:22, 14:2,     appreciate [6] - 48:11,
adult [10] - 69:11,        ahead [10] - 18:9,         193:4                     17:18, 18:5, 20:2,       61:18, 61:20,
 69:17, 87:20, 88:20,       27:10, 33:21, 38:11,     announcements [3] -        20:13, 25:6, 26:6,       232:18, 245:21,
 91:25, 92:9, 92:12,        39:20, 50:12, 121:9,      129:5, 170:22, 171:6      26:11, 26:13, 27:2,      246:2
 92:15, 92:18, 92:22        166:2, 170:18,           annual [13] - 75:17,       27:21, 30:16, 31:23,    apprised [1] - 242:14
Adult [3] - 83:20, 84:7,    196:25                    77:23, 77:25, 79:16,      32:3, 32:4, 33:13,      approach [13] - 12:4,
 84:22                     aided [1] - 1:25           106:3, 106:9,             33:18, 34:5, 34:20,      23:10, 93:18, 98:7,
advancement [1] -          aimed [1] - 203:15         106:16, 107:12,           36:11, 36:14, 36:21,     98:8, 156:11,
 130:16                    ALEXANDER [1] -            132:3, 173:22,            37:10, 37:19, 38:7,      160:25, 161:24,
Advancement [1] -           3:11                      173:24, 224:12            38:22, 39:15, 39:23,     177:18, 178:1,
 86:15                     Alexander [1] - 28:12     annually [1] - 77:16       40:5, 40:8, 41:18,       189:9, 199:13, 227:5
advise [1] - 13:23         alexander [1] - 28:15     answer [49] - 37:3,        42:14, 43:6, 43:14,     approached [4] -
advocacy [10] - 73:20,     Alexandria [7] - 120:1,    41:11, 44:18, 80:11,      45:1, 45:5, 45:10,       227:1, 229:12,
 73:24, 76:8, 102:16,       120:24, 121:14,           88:17, 90:20, 97:8,       45:25, 46:14, 46:15,     229:15, 230:6
 104:20, 105:9,             122:13, 122:21,           97:11, 98:17, 98:22,      47:18, 48:17, 48:18,    appropriate [2] -
 114:8, 116:10,             131:16, 131:17            103:7, 103:12,            49:13, 52:6, 52:19,      211:19, 211:22
 116:11, 116:12            alleged [1] - 99:24        104:22, 104:24,           53:15, 54:6, 58:10,     approval [4] - 78:2,
Advocacy [1] - 73:21       allow [11] - 61:9,         105:12, 107:12,           58:18, 59:12, 62:9,      118:23, 118:25,
Affairs [1] - 73:12         143:2, 166:23,            110:13, 110:24,           69:25, 175:21,           119:9
affairs [9] - 73:15,        188:21, 191:24,           111:16, 111:18,           176:2, 178:5, 178:6,    approve [2] - 119:3,
 140:19, 141:6,             214:14, 214:15,           111:19, 113:24,           179:6, 184:1,            132:20
 141:9, 142:6,              217:18, 219:21,           114:2, 114:20,            185:13, 185:24,         approved [5] - 96:4,
 152:18, 228:16,            220:15, 243:5             116:2, 116:8,             186:5, 186:7,            119:1, 210:8,
 228:21, 228:25            allowed [4] - 9:19,        116:14, 116:21,           186:14, 188:9,           215:15, 215:18
affect [1] - 242:13         9:20, 98:14, 137:13       116:24, 118:3,            188:12, 192:23,         April [5] - 27:12, 53:1,
affected [1] - 73:23       allowing [1] - 183:5       122:19, 154:25,           194:23, 198:23,          162:14, 162:16,
affiliated [1] - 138:8     almost [4] - 137:23,       196:13, 196:18,           200:2, 200:3,            164:6
afford [1] - 226:4          157:4, 163:6, 244:18      196:22, 197:1,            201:19, 202:17,         area [15] - 25:8, 25:11,
afraid [1] - 128:15        alone [1] - 167:3          197:22, 198:2,            203:11, 204:6,           51:1, 63:11, 69:23,
African [6] - 71:4,        amend [5] - 78:15,         208:3, 208:6, 208:9,      204:23, 204:24,          70:20, 103:16,
 71:6, 72:13, 80:21,        78:19, 169:1, 174:9,      208:12, 208:14,           205:9, 229:3, 230:8,     111:6, 132:16,
 144:22, 226:8              174:13                    208:19, 212:6,            230:10, 230:18,          132:17, 137:11,
                                                      237:13, 237:15,           233:6, 234:16            148:20, 151:2,
African-American [1]       amended [1] - 174:6
 - 72:13                                              239:24, 240:1            applications [9] -        206:24
                           amendments [1] -
                                                     answered [6] - 87:25,      21:1, 25:24, 26:20,     areas [13] - 35:4,
African-Americans [3]       118:11
                                                      93:21, 102:11,            27:2, 44:1, 46:19,       37:22, 68:1, 70:20,
 - 71:6, 144:22, 226:8     American [2] - 72:13,
                                                      115:6, 220:12,            58:10, 184:17,           71:8, 92:12, 111:7,
Africans [3] - 71:5,        72:19
                                                      238:13                    184:19                   150:5, 151:9,
 71:8, 80:23               Americans [8] - 71:4,
                                                     answers [1] - 29:23       applied [9] - 18:15,      151:20, 205:5,
AFTERNOON [1] -             71:5, 71:6, 71:9,
                                                     anticipate [2] - 96:23,    40:17, 63:9, 176:20,     216:20, 236:7
 135:1                      80:21, 80:23,
                                                      243:20                    180:24, 181:2,          argue [1] - 82:1
afternoon [6] -             144:22, 226:8
                                                     any/all [1] - 213:15       192:24, 196:19,         arguing [2] - 126:5,
 135:20, 135:21,           Amite [6] - 160:1,
                                                     anyway [3] - 38:24,        199:6                    171:24
 183:14, 183:15,            227:23, 229:12,
                                                      43:5, 197:6              apply [11] - 11:25,      argumentative [3] -
 223:17, 223:19             230:14
                                                     apartment [3] - 155:6,     13:9, 16:1, 18:2,        91:22, 105:24,
agency [3] - 34:11,        amount [20] - 173:15,
                                                      155:7, 155:14             18:23, 37:2, 37:9,       105:25
 110:2, 116:10              173:17, 176:17,
                                                     apologize [14] - 9:7,      37:15, 41:14,           armed [1] - 29:9
agenda [1] - 108:15         179:9, 179:11,
                                                      10:7, 80:8, 80:13,        154:18, 229:6           Army [1] - 10:11
ago [16] - 11:8, 25:13,     196:22, 197:1,
                                                      130:22, 140:10,          appoint [4] - 68:13,     arranged [1] - 83:5
 39:1, 39:16, 39:22,        199:6, 210:2, 212:2,
                                                      152:25, 155:1,            73:12, 74:14, 204:16
 55:1, 73:18, 85:12,        221:13, 221:24,                                                             arrested [1] - 125:19
                                                      171:18, 177:11,          appointed [10] - 73:6,
 100:9, 116:9,              231:5, 231:7,                                                               arrive [1] - 173:11
                                                      177:21, 177:22,           73:21, 74:3, 74:6,
 126:18, 129:3,             231:14, 237:5,                                                              aside [2] - 128:17,
                                                      178:3, 238:9              113:18, 114:7,
 139:5, 143:8, 147:9,       237:16, 237:17,                                                              171:7
                                                     apparent [2] - 217:15,     128:13, 137:14,
 218:16                     237:21, 239:4                                                               aspects [1] - 144:7
                                                      217:16                    204:18, 204:19
agree [6] - 67:9,          amounted [1] - 72:14                                                         asserted [1] - 242:12
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 250 of 278
                                                                                                                                     4


assessment [1] -          56:10, 65:21, 67:22,       234:24, 235:24            become [7] - 51:6,           233:2, 235:8
 231:18                   140:8, 210:21             bankers [1] - 165:21        51:9, 52:4, 52:5,          binders [2] - 223:12,
assign [1] - 129:17      attorneys [8] - 56:13,     banking [31] - 142:1,       55:2, 114:16, 139:7         223:13
assigned [2] - 41:21,     82:20, 139:13,             146:25, 147:5,            BEFORE [1] - 1:18           birth [1] - 35:7
 41:25                    139:24, 140:4,             149:21, 151:21,           begin [1] - 11:7            Bishop [1] - 137:20
assignment [1] -          211:7, 212:3, 246:3        165:3, 165:10,            beginning [8] - 27:3,       bit [11] - 10:8, 21:10,
 241:23                  attributable [2] -          167:10, 167:21,            28:20, 78:1, 78:5,          38:11, 57:6, 58:3,
assist [9] - 59:9,        100:20, 100:23             170:22, 171:5,             78:8, 78:9, 174:4,          69:7, 79:12, 85:24,
 59:23, 67:23, 68:5,     Atty [3] - 2:8, 3:3, 3:8    173:2, 178:25,             174:5                       117:16, 125:8,
 145:7, 158:12,          August [3] - 32:4,          203:15, 205:19,           behalf [10] - 53:25,         150:25
 160:4, 225:1, 226:12     52:1, 235:1                206:2, 206:6, 206:9,       54:1, 65:12, 74:23,        blank [4] - 21:16,
assistance [8] - 12:1,   authenticated [1] -         206:24, 206:25,            96:2, 153:14, 204:7,        37:16, 37:17, 37:18
 73:22, 109:23,           32:10                      216:20, 217:25,            205:2, 211:1, 224:17       blessed [1] - 137:12
 110:11, 111:14,         authority [22] - 68:12,     218:4, 219:6,             believes [1] - 123:17       block [6] - 30:13,
 221:1, 225:17            74:13, 118:22,             220:11, 220:19,           belong [3] - 138:12,         44:17, 47:4, 47:6,
assisted [7] - 145:10,    119:11, 121:2,             222:12, 225:9,             228:12, 228:17              47:8, 117:25
 145:13, 145:23,          121:3, 121:4,              234:23, 235:4, 236:2      belongs [1] - 228:12        board [21] - 71:13,
 146:1, 146:15,           121:24, 121:25,           Banks [1] - 193:5          below [2] - 22:4, 34:10      118:9, 118:11,
 160:10, 224:23           122:1, 123:24,            banks [1] - 205:23         bench [3] - 191:15,          118:17, 119:1,
assisting [1] - 224:6     124:4, 124:5, 124:6,      banner [1] - 228:4          191:17, 214:20              123:8, 123:9,
associate [1] - 137:25    124:9, 124:21,            Baptist [2] - 137:20,      Bench [1] - 1:9              123:11, 123:13,
associated [1] - 227:2    125:2, 125:6,              153:7                     benefit [1] - 19:17          124:7, 125:3,
association [2] -         125:10, 125:12,           bare [1] - 77:13           benefits [13] - 12:1,        125:18, 125:25,
 86:13, 130:15            125:22, 126:5             bare-bone [1] - 77:13       26:6, 26:11, 26:20,         126:14, 130:13,
Association [1] -        authorization [1] -        base [1] - 146:13           46:22, 48:16, 58:9,         130:15, 131:11,
 86:15                    99:9                      based [14] - 9:24,          59:12, 111:5,               131:13
assume [5] - 193:10,     authorize [3] - 96:2,       34:21, 38:8, 47:17,        111:10, 154:18,            Board [2] - 124:18,
 206:15, 232:2,           97:22, 98:3                47:23, 66:14, 134:3,       231:12                      131:14
 232:6, 242:1            authorized [5] - 94:25,     152:1, 152:2,             best [20] - 24:23,          bodies [3] - 89:21,
assumed [1] - 232:3       96:6, 96:9, 97:19,         167:21, 170:21,            24:24, 26:4, 26:9,          90:1, 90:4
assuming [1] - 55:9       124:13                     190:11, 207:3,             26:18, 127:23,             body [3] - 88:23,
assumption [2] -         auto [1] - 63:15            214:24                     141:4, 172:23,              132:20, 174:2
 232:5, 232:6            available [1] - 216:13     basic [4] - 72:4, 80:15,    176:16, 195:3,             bogged [1] - 214:16
assure [1] - 215:5       awarded [4] - 176:16,       107:14, 166:13             195:10, 198:25,            bone [1] - 77:13
AT [1] - 1:3              179:9, 179:11,            basis [15] - 75:17,         200:21, 202:6,             borders [1] - 168:5
at-large [1] - 89:4       201:10                     77:23, 79:16, 80:4,        203:1, 215:21,             bottom [7] - 12:16,
attach [1] - 76:15       awarding [1] - 203:13       103:20, 104:3,             228:8, 232:1,               14:19, 39:3, 50:19,
attached [9] - 40:3,     aware [9] - 38:9, 55:2,     107:12, 108:12,            232:24, 243:1               187:14, 193:20,
 48:17, 190:20,           55:4, 55:8, 55:15,         111:4, 129:6, 177:7,      better [3] - 33:4,           234:22
 191:6, 191:10,           80:25, 86:5, 102:21,       178:9, 180:9,              55:15, 83:2                bound [1] - 122:18
 194:7, 194:11,           242:10                     182:18, 209:6             between [8] - 46:14,        box [12] - 16:7, 16:8,
 196:7, 217:15           awareness [1] -            Bates [2] - 6:21, 169:2     46:17, 56:10, 68:11,        19:1, 19:2, 19:4,
attachment [1] - 45:18    205:20                    Baton [30] - 3:5, 3:14,     79:25, 126:7,               19:5, 133:15,
attempt [2] - 32:4,      awful [2] - 156:16,         3:19, 4:6, 4:12, 4:17,     141:17, 240:7               133:19, 133:22,
 227:13                   156:21                     66:2, 89:6, 89:8,         beyond [4] - 227:22,         164:10, 164:14
attempted [5] - 31:16,                               92:15, 92:22, 96:6,        231:19, 232:5, 232:6       Box [7] - 3:4, 3:8,
 60:22, 61:5, 145:7,                B                96:10, 96:11, 97:11,      Bible [1] - 154:8            3:13, 3:18, 4:5, 4:12,
 201:4                                               103:24, 106:20,           Bienville [2] - 4:4,         4:17
attempting [1] -         BABINEAUX [1] - 4:14        108:17, 108:18,            4:16                       boxes [2] - 16:4, 164:9
 224:25                  babysitting [1] -           112:15, 137:10,           big [2] - 191:1, 245:9      boycott [1] - 71:17
attend [6] - 112:20,      220:25                     137:19, 138:25,           bigger [1] - 152:7          branch [33] - 89:6,
 113:2, 113:3,           background [3] -            153:10, 227:12,           biggest [1] - 77:16          89:8, 89:9, 92:15,
 126:19, 127:1,           61:24, 136:2, 156:19       228:2, 228:17,            bill [1] - 148:24            92:18, 92:22,
 127:20                  backtrack [1] - 244:22      228:23, 228:25,           bills [4] - 77:12, 213:7,    103:24, 103:25,
attendance [3] -         bad [2] - 122:15            229:24                     215:17                      106:21, 112:16,
 113:1, 133:4, 133:11    badgering [3] - 93:22,     bear [3] - 50:19,          binder [14] - 12:7,          122:21, 129:10,
attention [6] - 12:15,    93:24, 94:5                50:21, 223:18              16:18, 16:23, 23:7,         132:11, 137:11,
 12:18, 16:17, 161:4,    bail [1] - 72:13           bears [1] - 36:18           24:1, 42:19, 45:12,         138:25, 139:1,
 174:15, 176:9           bank [6] - 205:12,         became [3] - 98:19,         161:3, 161:5, 167:6,        139:6, 224:10,
attorney [6] - 56:7,      216:10, 222:16,            139:6, 242:10              174:16, 177:12,             225:13, 227:18,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 251 of 278
                                                                                                                                5


 228:10, 228:11,          build [3] - 132:17,         201:25, 207:21,          99:11, 99:14,           222:9, 222:22,
 228:12, 228:17,           132:18, 141:15             209:13, 210:23,          101:16, 102:13,         222:24, 223:2,
 228:22, 228:24,          Building [2] - 4:4, 4:16    212:1, 215:12,           103:3, 103:6, 105:5,    223:5, 223:8, 234:8,
 228:25, 229:24           building [11] - 13:10,      217:21, 219:23,          106:1, 107:6, 107:8,    237:8, 237:24,
branches [26] - 69:11,     13:13, 13:20, 14:9,        220:13, 220:17,          110:17, 110:18,         238:8, 238:13,
 69:17, 69:20, 87:20,      14:10, 20:20, 57:10,       222:9, 223:16,           111:18, 111:21,         238:24, 239:12,
 88:20, 91:25, 92:9,       57:13, 62:15, 62:16        229:23, 232:23,          115:2, 115:8, 116:4,    239:21, 245:16
 92:12, 92:16, 92:18,     buildings [1] - 51:2        234:15, 235:13,          117:3, 130:17,         Cangelosi [37] - 3:3,
 92:22, 106:24,           bullet [6] - 166:4,         235:18, 237:20,          131:20, 141:7,          5:10, 5:15, 83:1,
 142:1, 223:23,            166:7, 210:7,              238:4, 238:10,           142:21, 144:1,          83:8, 83:11, 83:14,
 225:12, 225:16,           215:15, 215:17,            238:17, 239:16,          145:14, 152:22,         83:25, 87:6, 87:22,
 227:15, 227:23,           216:9                      240:3, 241:21, 243:7     157:2, 157:13,          88:12, 90:8, 91:11,
 227:25, 228:3,           bullets [1] - 235:22       bylaw [1] - 114:24        158:25, 161:22,         93:16, 93:23, 97:13,
 228:7, 228:8,            bunch [1] - 229:20         bylaws [31] - 68:16,      162:3, 163:3,           97:14, 100:2, 101:7,
 228:23, 231:21           Bureau [2] - 4:4, 4:15      69:1, 70:1, 74:12,       167:24, 169:5,          101:12, 104:9,
Branches [2] - 83:20,     business [2] - 18:4,        74:15, 84:2, 84:3,       169:24, 177:14,         110:15, 117:5,
 84:7                      20:23                      85:1, 85:4, 91:10,       177:16, 177:20,         180:9, 188:18,
BRANDON [1] - 4:14        buy [1] - 89:11             91:12, 91:13, 91:14,     180:5, 180:14,          190:9, 196:9,
brandon.babineaux         buying [1] - 89:5           114:17, 114:19,          181:15, 181:21,         212:18, 212:24,
 @la.gov [1] - 4:18       BY [126] - 8:20, 10:6,      114:20, 119:13,          182:8, 182:13,          214:6, 214:10,
BRANNON [6] - 2:18,        12:6, 12:14, 14:18,        119:14, 121:21,          182:20, 182:23,         234:21, 234:23,
 243:3, 245:6,             15:13, 17:14, 19:14,       126:13, 126:14,          183:3, 183:7,           236:16, 237:3,
 245:15, 245:17,           19:23, 23:24, 24:18,       126:22, 126:23,          183:13, 184:4,          238:18, 239:17
 245:21                    27:11, 28:14, 29:18,       126:25, 127:3,           184:8, 184:10,         cannot [7] - 31:20,
break [4] - 26:8,          30:6, 32:2, 32:17,         127:6, 127:7,            185:17, 185:20,         74:21, 88:6, 88:8,
 134:7, 181:15,            33:6, 36:6, 38:15,         127:14, 127:19,          185:22, 187:6,          89:4, 91:4, 91:5
 181:17                    38:23, 39:8, 42:1,         127:22                   187:9, 188:15,         canvassing [14] -
brief [3] - 130:4,         42:11, 44:12, 45:11,                                188:22, 188:24,         142:2, 147:1,
 232:25, 241:9             45:19, 49:25, 50:8,                  C              189:4, 189:9,           149:22, 149:25,
briefed [1] - 98:8         54:18, 55:18, 57:5,                                 189:12, 189:18,         150:4, 166:14,
briefly [4] - 138:15,      65:7, 67:1, 67:11,        Cabra12@aol.com [1]       189:22, 189:25,         166:21, 170:20,
 213:19, 224:5,            70:8, 72:2, 75:25,         - 2:11                   190:2, 190:5,           171:3, 173:2,
 242:19                    80:14, 82:14, 83:10,      CADE [1] - 4:2            190:15, 190:21,         223:23, 224:7,
bring [7] - 98:14,         88:2, 88:18, 90:12,       CAFE [2] - 244:5,         190:24, 191:3,          225:12, 233:19
 98:15, 99:1, 133:22,      90:24, 91:24, 94:15,       244:6                    191:7, 191:12,         capacity [3] - 1:9,
 149:15, 233:1,            96:25, 97:5, 97:17,       callers [1] - 222:13      191:21, 192:3,          1:10, 1:12
 243:18                    99:14, 102:13,            campaign [8] -            192:7, 192:9,          capital [2] - 135:14,
broadly [2] - 171:8,       103:6, 105:5, 106:1,       140:25, 141:25,          192:16, 192:18,         136:11
 171:9                     107:8, 111:21,             169:18, 170:19,          193:20, 193:23,        Capital [1] - 136:12
Brooks [2] - 3:17, 4:10    115:8, 116:4, 117:8,       199:4, 202:11,           194:1, 194:3,          car [6] - 11:14, 11:16,
                           128:1, 130:6, 131:4,       216:12, 224:22           195:21, 195:23,         15:3, 58:4, 61:22,
brought [8] - 56:7,
                           131:22, 135:19,           campaigning [1] -         198:6, 198:12,          61:23
 98:1, 98:12, 98:23,
                           140:11, 141:13,            178:24                   198:14, 199:15,        card [3] - 149:15,
 98:25, 149:18, 217:8
                           143:4, 144:5,             campaigns [1] - 224:9     199:24, 200:11,         158:10, 158:11
Brown [1] - 71:13
                           145:20, 148:15,           canceled [1] - 213:24     200:15, 200:18,        cards [12] - 55:12,
BRUCE [1] - 1:11
                           153:1, 155:24,            cancelled [3] - 214:1,    201:23, 201:25,         64:9, 80:3, 112:11,
budget [32] - 77:25,
                           157:8, 157:16,             216:10, 216:11           204:2, 207:21,          112:17, 112:24,
 78:1, 78:11, 78:15,
                           159:4, 161:2,             candidates [1] - 79:21    209:3, 209:11,          113:6, 113:7, 131:8,
 78:17, 166:23,
                           161:10, 162:12,           CANGELOSI [175] -         209:13, 210:23,         150:17, 150:24,
 173:22, 173:24,
                           163:12, 163:22,            3:3, 6:9, 6:22, 7:3,     211:16, 211:23,         158:7
 173:25, 174:6,
                           168:18, 169:10,            7:13, 7:19, 7:22, 9:6,   212:1, 212:14,         care [5] - 31:5, 56:4,
 174:9, 174:13,
                           170:6, 172:14,             66:10, 66:19, 71:23,     213:1, 213:10,          64:7, 77:9, 138:1
 176:13, 178:16,
                           175:14, 178:12,            81:12, 82:5, 82:11,      213:25, 214:4,         CAREY [1] - 3:7
 186:18, 193:15,
                           180:21, 183:13,            83:10, 88:2, 88:18,      214:9, 214:12,         Carey [1] - 3:8
 194:7, 194:12,
                           184:10, 185:22,            90:11, 90:12, 90:19,     214:18, 214:20,        carpenter [1] - 10:24
 194:15, 194:24,
                           187:9, 188:24,             90:24, 91:24, 93:18,     214:25, 215:7,
 195:2, 206:2, 207:7,                                                                                 carpentry [1] - 61:24
                           192:3, 192:9,              93:24, 94:9, 94:15,      215:12, 217:5,
 217:3, 217:12,                                                                                       carries [1] - 123:12
                           192:18, 193:23,            96:22, 96:25, 97:3,      217:7, 217:10,
 217:22, 218:1,                                                                                       carry [2] - 68:23,
                           194:3, 195:23,             97:5, 97:16, 97:17,      217:17, 217:21,
 218:2, 219:7, 233:10                                                                                  129:15
                           198:14, 200:15,            98:7, 98:11, 98:23,      219:23, 220:13,
budgets [1] - 194:16                                                                                  case [26] - 7:20, 8:25,
                                                                               220:17, 222:7,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 252 of 278
                                                                                                                                    6


 16:12, 21:16, 23:4,      Center [1] - 73:22          117:21, 118:3,            188:4                     191:6, 191:7, 236:8
 24:3, 28:25, 32:25,      centered [1] - 77:8         118:5, 118:15,           church [4] - 15:2,        clearly [1] - 239:3
 35:3, 41:19, 48:23,      central [3] - 119:24,       119:2, 119:5, 122:2,      137:25, 152:4,           CLEMENT [1] - 4:2
 49:16, 54:1, 81:7,        120:22, 120:25             126:20, 127:15            154:11                   CLERK [1] - 217:4
 83:18, 89:14, 94:22,     certain [16] - 7:24,       chartered [3] - 93:4,     Church [3] - 137:20,      clerk [2] - 42:16, 43:23
 98:21, 101:6,             14:1, 14:3, 29:2,          104:15, 105:15            153:7, 153:9             clients [4] - 110:23,
 115:25, 171:23,           68:1, 68:2, 74:14,        charters [9] - 76:12,     churches [13] -            111:1, 244:13
 179:22, 179:25,           101:18, 133:3,             100:15, 102:1,            141:15, 141:19,          clipboard [3] - 150:23,
 180:3, 191:19,            146:17, 147:16,            118:10, 118:20,           150:7, 150:8, 152:5,      155:9, 158:6
 229:19                    149:17, 153:16,            121:20, 126:24,           152:6, 152:7,            close [2] - 24:1,
Case [1] - 1:8             206:24, 221:24,            126:25                    152:17, 153:4,            173:16
CASE [5] - 217:6,          222:3                     charters's [1] - 121:5     153:5, 154:6, 154:7,     closed [1] - 21:17
 217:8, 223:1, 223:3,     certainly [4] - 110:24,    check [23] - 16:4,         154:13                   closely [1] - 21:10
 223:7                     118:5, 125:16,             40:6, 44:17, 44:22,      circumstance [1] -        closes [1] - 150:2
cases [1] - 201:10         244:16                     45:5, 47:6, 47:8,         63:12                    co [1] - 117:10
caseworker [17] -         CERTIFICATE [1] -           47:13, 53:9, 57:24,      cities [1] - 111:6        co-counsel [1] -
 13:21, 34:3, 35:13,       246:12                     58:5, 78:23, 164:2,      citizen [2] - 10:11,       117:10
 35:20, 37:8, 37:20,      certificate [1] - 136:23    164:14, 174:23,           29:10                    colleagues [1] -
 40:25, 41:3, 41:5,       certify [1] - 246:15        174:25, 175:8,           citizens [2] - 101:21,     129:23
 41:9, 41:13, 41:21,      cetera [1] - 187:17         206:23, 207:4,            144:15                   collected [1] - 211:8
 41:25, 42:8, 42:9,       chair [2] - 132:25          213:17, 213:18,          City [1] - 160:1          collecting [1] - 123:17
 43:21, 58:12             chairman [7] - 73:11,       215:18, 220:2            city [7] - 10:14, 29:8,   collector [1] - 148:24
cash [1] - 175:6           124:18, 140:19,           checkbook [2] -            97:9, 152:4, 152:5,      College [4] - 10:19,
catch [1] - 41:11          140:20, 228:16,            213:8, 236:11             152:6, 171:4              83:21, 84:8, 87:20
Cate [1] - 7:21            228:21, 228:25            checked [14] - 16:7,      civic [7] - 138:8,        college [8] - 69:11,
categories [1] - 78:14    chairs [4] - 68:14,         16:8, 19:1, 19:2,         142:7, 142:11,            69:18, 88:20, 91:25,
cautious [1] - 105:3       73:6, 113:14, 114:4        19:4, 19:5, 37:16,        143:20, 163:24,           167:1, 207:12, 222:4
CD [5] - 215:2, 215:3,    chambers [1] - 8:4          37:17, 37:18, 37:21,      164:15, 234:9            COLLIER [2] - 3:16,
 215:6, 215:8             chance [2] - 29:20,         40:24, 47:4, 164:9,      Civic [15] - 142:16,       4:10
cease [9] - 123:24,        34:7                       164:10                    142:18, 143:10,          Colored [1] - 86:15
 124:5, 124:6,            change [7] - 20:2,         checking [8] - 57:23,      143:18, 143:23,          column [2] - 233:12,
 124:22, 124:24,           20:16, 26:3, 43:10,        115:15, 115:16,           144:2, 161:14,            233:14
 124:25, 125:5,            90:20, 90:21               212:19, 214:3,            161:18, 161:19,          comfortable [1] -
 125:10, 125:22           changed [7] - 25:1,         236:9, 236:11,            162:18, 164:22,           245:20
ceciacan@bellsouth         26:23, 42:25, 71:1,        236:14                    172:22, 176:9,           coming [7] - 16:18,
 .net [1] - 3:6            118:9, 168:15, 244:7      checklist [1] - 163:24     235:12, 235:19            51:1, 89:5, 133:12,
celebrate [1] - 138:16    chapter [4] - 119:16,      checks [10] - 13:25,      civil [1] - 143:7          150:6, 160:20,
celebrated [1] -           120:1, 120:25,             206:14, 210:13,          claims [2] - 242:11,       209:14
 101:24                    121:15                     213:22, 213:24,           242:21                   comment [1] - 110:3
celebration [1] -         chapters [7] - 69:10,       214:1, 215:22,           clarification [1] -       commented [1] -
 150:14                    69:12, 69:18, 88:21,       216:10, 216:11            148:14                    126:18
CELIA [2] - 3:3, 3:11      91:25, 118:1, 122:6       children [1] - 100:7      clarify [1] - 56:19       comments [1] -
Celia [3] - 3:3, 28:11,   Chapters [3] - 83:21,      Children [6] - 1:11,      Clay [24] - 142:16,        126:17
 83:11                     84:8, 87:20                3:12, 34:4, 110:22,       142:24, 161:16,          commitment [2] -
celia.alexander@la.       charge [8] - 37:25,         117:10, 241:25            164:21, 167:15,           242:23, 244:21
 gov [1] - 3:15            74:4, 74:6, 115:12,       Children's [1] - 231:11    176:8, 176:10,           committed [2] - 68:2,
cellphone [2] - 52:13,     150:15, 206:25,           CHIPPS [2] - 5:13,         177:4, 185:8, 187:1,      245:1
 52:15                     211:20, 213:7              135:14                    187:21, 188:6,           Committee [11] -
cellphones [1] -          charitable [1] - 10:13     Chipps [4] - 135:11,       188:7, 188:9,             73:11, 73:12,
 147:15                   chart [2] - 117:24,         193:18, 204:8, 227:7      188:12, 189:15,           124:19, 132:15,
Census [2] - 204:11,       118:5                     Chippsism [1] - 226:2      193:9, 194:4,             132:23, 133:2,
 204:16                   charted [1] - 104:17       choose [7] - 150:4,        194:11, 204:17,           138:13, 138:14,
census [12] - 143:16,     charter [30] - 69:25,       150:5, 150:25,            204:22, 224:22,           138:16, 138:19
 143:17, 143:21,           70:1, 85:7, 85:11,         151:2, 151:24,            236:19
                                                                                                         committee [10] -
 169:22, 187:2,            85:14, 85:16, 85:18,       191:15                   clean [2] - 24:12,         68:14, 68:20, 68:21,
 187:12, 202:15,           85:24, 86:1, 86:4,        choosing [1] - 152:9       24:13                     73:6, 113:14, 114:4,
 203:13, 203:17,           87:23, 87:24, 92:23,      chose [2] - 151:1,        clear [11] - 31:19,        119:23, 120:21,
 205:6, 205:7, 205:22      93:1, 93:2, 93:6,          152:12                    37:12, 54:17, 55:10,      138:16
center [3] - 73:20,        93:7, 102:4, 102:8,       Christine [1] - 7:9        55:17, 180:12,           committees [6] -
 73:24, 114:8              102:9, 108:11,            chronological [1] -        185:16, 190:19,           73:13, 113:14,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 253 of 278
                                                                                                                           7


 113:23, 113:24,          213:8, 243:11           139:7, 139:10,          183:17, 189:11,         contents [1] - 168:13
 113:25, 132:25          concerned [6] - 96:7,    139:15, 139:18,         199:14, 205:2,          context [3] - 110:14,
communication [2] -       118:6, 122:9,           140:3, 140:15,          206:5, 212:11,           142:9, 156:25
 141:15, 236:20           153:24, 167:21,         140:17, 140:19,         213:6, 213:11,          continue [9] - 46:22,
communications [1] -      228:20                  141:1, 141:23,          214:21, 223:22,          108:16, 108:17,
 140:9                   concluded [12] -         142:4, 142:10,          224:6, 224:14,           108:19, 125:14,
communities [1] -         23:23, 24:14, 82:13,    142:25, 144:9,          224:15, 224:18,          158:22, 187:2,
 170:21                   94:14, 99:13, 157:7,    144:13, 144:19,         224:20, 225:3,           187:12, 197:12
community [11] -          172:13, 180:20,         144:24, 145:16,         225:5, 226:11,          continued [1] - 158:20
 111:3, 142:13,           183:11, 191:20,         145:21, 146:21,         227:2, 228:13,          continues [1] - 99:10
 143:14, 151:5,           214:19, 245:22          146:23, 151:17,         238:6, 238:11, 239:2    contra [1] - 98:5
 151:6, 153:2,           conclusion [2] -         152:8, 152:14,         conferences [6] -        contractor [1] -
 153:13, 170:21,          44:10, 243:4            153:14, 162:21,         69:14, 70:5, 113:4,      182:10
 170:22, 171:6,          Condor [1] - 11:18       164:12, 164:16,         144:6, 203:14,          contradict [1] - 182:2
 205:20                  conduct [12] - 7:16,     165:5, 165:22,          224:16                  contravenes [1] - 98:5
comparative [1] -         68:13, 74:2, 75:17,     166:17, 171:10,        confidential [1] -       control [1] - 245:18
 111:8                    75:19, 120:1,           172:24, 175:3,          56:14                   convenience [1] -
compared [1] - 237:22     120:25, 128:22,         193:13, 196:20,        confined [1] - 147:16     25:7
complaint [3] - 124:6,    131:17, 150:4,          198:16, 204:7,         confirm [1] - 64:3       convention [21] -
 125:1, 125:17            183:21, 203:15          206:12, 206:16,        confirmation [8] -        77:6, 77:9, 77:16,
complete [11] - 21:15,   conducted [11] -         207:4, 209:15,          25:20, 25:23, 31:3,      77:19, 101:25,
 22:4, 28:2, 28:16,       102:22, 102:24,         209:19, 211:2,          38:10, 48:3, 54:23,      107:15, 108:14,
 35:12, 54:3, 54:12,      106:25, 128:9,          211:9, 215:25,          62:6, 63:5               113:2, 126:19,
 54:19, 55:22, 55:25,     128:11, 128:20,         219:14, 224:8,         confirmed [1] - 47:20     127:11, 127:20,
 110:13                   213:12, 216:22,         226:14, 226:23,        conflict [1] - 198:10     130:8, 132:3, 132:6,
completed [3] - 14:7,     224:9, 224:17,          227:7, 228:4, 228:6,   confused [2] - 200:9,     132:14, 132:19,
 52:1, 62:9               224:22                  228:9, 228:10,          201:3                    133:3, 133:4,
completion [1] -         conducting [4] -         228:15, 228:17,        confusing [3] - 115:1,    133:11, 133:23
 216:12                   25:11, 97:8, 225:16,    228:21, 231:8,          190:17, 228:14          conventions [5] -
complex [2] - 126:10,     227:23                  233:24, 236:10,        connect [1] - 118:1       75:17, 75:19, 75:20,
 155:7                   Conference [141] -       238:20, 238:23,        connected [1] -           127:2
complexes [2] -           23:12, 65:13, 66:13,    239:19                  152:18                  conversation [6] -
 155:6, 155:14            66:18, 66:22, 67:3,    CONFERENCE [1] -        connection [10] -         37:8, 38:5, 58:19,
compliance [11] -         67:6, 67:13, 67:16,     1:5                     60:8, 102:23,            59:8, 59:22, 199:20
 79:2, 122:24,            68:18, 69:8, 70:12,    conference [85] -        103:13, 105:8,          conversations [5] -
 122:25, 123:2,           72:20, 73:11, 74:8,     24:7, 67:4, 68:12,      141:17, 177:3,           56:12, 56:14, 140:8,
 124:25, 125:1,           74:18, 74:19, 74:24,    69:20, 75:3, 75:8,      180:3, 205:8, 219:2,     227:17, 236:21
 242:25, 243:1,           79:13, 79:15, 81:18,    76:22, 78:2, 80:20,     236:17                  COO [3] - 136:20,
 243:2, 243:4, 243:18     83:19, 83:20, 84:5,     88:23, 88:25, 89:7,    consequence [2] -         136:22
complicated [1] -         84:7, 84:12, 84:14,     89:9, 89:12, 91:1,      127:10, 127:13          Cooper [1] - 137:21
 200:10                   84:15, 84:16, 84:20,    91:5, 92:8, 93:20,     consequences [2] -       cooperation [1] -
complied [1] - 69:1       84:21, 86:24, 87:4,     96:3, 98:10, 98:24,     31:23, 127:12            48:12
                          87:16, 87:19, 87:22,    99:3, 102:7, 107:13,   consider [7] - 61:10,
comply [2] - 96:8,                                                                                coordinate [4] -
                          88:20, 89:3, 89:21,     107:23, 109:2,          61:11, 61:12,
 121:22                                                                                            107:24, 108:17,
                          92:2, 93:11, 93:15,     112:19, 113:22,         103:19, 119:8,
component [2] -                                                                                    108:19, 109:5
                          94:18, 95:4, 95:11,     118:7, 118:8,           181:15, 181:17
 234:16, 244:15                                                                                   coordinated [1] -
                          95:13, 95:14, 95:17,    118:21, 119:16,
components [1] -                                                         consistent [1] - 128:5    72:11
                          95:24, 95:25, 96:4,     119:23, 120:20,
 170:19                                                                  consisting [1] - 35:18   coordinates [1] -
                          97:21, 98:2, 99:20,     121:8, 123:7, 124:8,
computer [1] - 50:4                                                      constant [1] - 197:11     108:10
                          100:1, 100:3, 100:6,    125:21, 126:8,
Computer [1] - 1:25                                                      constantly [2] -         coordinating [10] -
                          100:8, 100:25,          128:8, 128:19,
Computer-aided [1] -                                                      107:13, 107:18           69:15, 70:3, 70:5,
                          101:5, 101:11,          128:22, 129:9,
 1:25                                                                    constitution [6] -        79:17, 88:23, 108:9,
                          102:15, 102:16,         129:14, 130:18,
computerized [1] -                                                        118:12, 126:13,          109:12, 121:8,
                          102:22, 103:9,          130:24, 131:5,
 148:17                                                                   126:15, 127:4,           122:7, 225:18
                          105:18, 106:2,          131:16, 132:12,
concentrate [5] -                                                         127:14, 127:19          coordination [2] -
                          107:10, 108:9,          132:24, 143:6,
 144:21, 151:4,                                                          constitutional [1] -      108:11, 117:17
                          109:22, 110:20,         156:14, 161:25,
 151:8, 151:9, 153:22                                                     228:19                  coordinator [1] -
                          113:11, 115:16,         164:21, 171:19,
concentrated [1] -                                                       contact [1] - 146:19      132:6
                          115:20, 138:23,         175:10, 180:7,
 171:4                                                                   contacts [1] - 137:12    copies [3] - 146:5,
                          138:24, 139:3,          181:20, 181:25,
concern [3] - 210:3,                                                     contains [1] - 217:11     196:4, 196:16
                                                  182:2, 182:9,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 254 of 278
                                                                                                                                 8


copy [13] - 18:13,        186:23, 186:24,           246:7, 246:14              155:23, 156:13,         27:24, 55:20, 230:15
 38:24, 84:2, 85:14,      187:18, 193:6,           court [9] - 8:15, 61:10,    156:24, 157:3,         courtroom [8] - 9:8,
 85:16, 86:4, 86:6,       193:11, 194:18,           65:3, 71:12, 71:13,        157:14, 159:2,          9:9, 9:19, 9:21, 9:25,
 91:12, 91:14, 102:9,     194:22, 198:23,           71:20, 89:2, 134:8,        161:1, 161:24,          10:2, 56:15, 80:2
 126:13, 213:14,          200:20, 200:23,           135:10                     162:1, 162:5,          courts [1] - 71:12
 215:7                    201:7, 201:8,            COURT [263] - 1:1,          162:11, 163:2,         covered [2] - 117:16,
corner [4] - 12:16,       201:14, 201:15,           6:3, 6:12, 6:17, 6:19,     163:10, 163:17,         238:14
 25:7, 28:10, 187:14      203:19, 204:9,            7:5, 8:1, 8:6, 8:10,       163:19, 168:9,         create [1] - 73:20
corporate [6] - 89:21,    204:25, 210:11,           8:13, 8:18, 9:9, 9:11,     168:14, 169:7,         created [1] - 70:17
 90:1, 90:4, 92:3,        211:3, 217:2,             9:15, 10:4, 12:5,          170:4, 171:17,         credibility [1] - 191:16
 92:4, 243:6              217:23, 218:1,            16:15, 17:10, 17:12,       172:9, 174:17,         credit [1] - 160:18
Corporation [1] -         218:13, 218:14,           19:10, 19:12, 23:11,       174:19, 174:22,        CROSS [6] - 29:17,
 136:12                   218:17, 220:14,           23:18, 23:22, 24:11,       175:1, 175:5, 175:9,    49:24, 83:9, 117:7,
corporation [3] -         221:2, 221:15,            27:8, 27:10, 29:16,        175:12, 177:19,         183:12, 223:15
 86:11, 86:18, 100:14     222:14, 222:20,           31:21, 31:25, 32:12,       178:2, 178:5,          Cross [8] - 5:5, 5:6,
correct [151] - 13:7,     223:24, 223:25,           32:14, 32:24, 33:3,        178:11, 180:8,          5:10, 5:11, 5:15,
 15:19, 20:8, 21:22,      224:4, 225:2, 226:9,      36:3, 39:4, 42:6,          180:15, 181:17,         5:16, 103:15, 103:18
 22:1, 22:2, 22:4,        229:12, 229:13,           44:9, 45:14, 45:16,        182:3, 182:12,         cross [5] - 36:3,
 22:5, 24:22, 30:22,      235:21, 246:15            48:7, 48:15, 48:19,        182:15, 182:22,         219:22, 220:16,
 33:15, 33:16, 33:19,    correctly [4] - 13:22,     48:24, 49:2, 49:6,         182:24, 183:5,          238:14, 239:4
 33:23, 34:12, 34:13,     139:15, 178:24,           49:10, 49:12, 49:14,       183:10, 184:5,         cumulative [1] -
 38:9, 40:19, 40:22,      187:5                     49:18, 49:23, 54:16,       184:7, 185:21,          114:25
 40:24, 41:15, 41:20,    correspondence [2] -       55:14, 56:12, 60:12,       187:7, 188:21,         curious [1] - 52:4
 43:1, 43:16, 43:17,      212:22, 213:15            60:17, 61:9, 61:17,        189:10, 189:24,        current [4] - 24:20,
 43:18, 46:13, 47:19,    council [1] - 101:21       62:1, 62:3, 62:5,          190:4, 190:14,          149:7, 205:6, 234:11
 47:22, 49:2, 50:17,     Council [1] - 83:19        62:8, 62:12, 62:17,        190:16, 190:22,
                                                                                                      cut [2] - 80:13, 129:5
 51:7, 52:2, 54:2,       councils [5] - 69:12,      62:21, 63:3, 63:7,         191:14, 191:24,
 54:11, 56:25, 62:2,      69:18, 88:21, 92:1,       63:12, 63:20, 63:22,       192:8, 192:15,
                          92:9                      63:25, 64:2, 64:5,         193:21, 193:25,
                                                                                                                 D
 63:21, 65:14, 77:18,
 85:8, 85:10, 85:13,     Councils [4] - 83:20,      64:9, 64:12, 64:17,        195:20, 195:22,        d/b/a [1] - 84:13
 85:15, 85:17, 86:20,     84:7, 84:22, 87:20        64:22, 65:2, 66:16,        198:9, 199:13,         DALE [1] - 2:3
 86:22, 88:8, 88:11,     counsel [5] - 28:12,       66:21, 66:25, 67:10,       199:18, 200:5,         data [1] - 193:4
 88:21, 90:8, 91:2,       31:24, 67:19, 91:11,      69:19, 70:7, 72:1,         200:8, 200:12,
                                                                                                      date [28] - 13:4, 15:16,
 91:3, 92:1, 92:10,       117:10                    75:21, 75:24, 80:10,       200:17, 201:22,
                                                                                                       17:20, 18:12, 20:5,
 92:11, 92:13, 92:14,    counsel's [1] - 44:11      81:16, 81:19, 82:7,        207:20, 209:8,
                                                                                                       22:15, 27:5, 35:7,
 92:16, 92:20, 95:5,     Count [1] - 224:21         82:12, 83:1, 83:7,         209:12, 210:22,
                                                                                                       39:3, 46:3, 50:21,
 95:8, 95:12, 95:13,     count [2] - 146:18,        88:1, 88:16, 90:21,        211:17, 212:10,
                                                                                                       85:12, 89:19, 90:13,
 95:22, 95:23, 97:23,     205:13                    91:23, 93:19, 93:23,       212:12, 213:2,
                                                                                                       103:21, 108:1,
 102:23, 103:22,         countersign [1] -          94:4, 94:12, 97:2,         213:23, 214:14,
                                                                                                       108:4, 116:24,
 104:1, 105:23,           106:13                    97:14, 98:8, 99:7,         215:5, 215:9,
                                                                                                       150:1, 162:7,
 106:4, 108:7,           country [4] - 61:18,       99:12, 101:15,             217:13, 217:18,
                                                                                                       162:13, 179:12,
 109:10, 109:24,          69:12, 118:2, 124:20      102:12, 104:24,            219:18, 219:21,
                                                                                                       190:14, 195:6,
 110:6, 112:17,          couple [9] - 61:13,        105:25, 110:15,            220:15, 221:22,
                                                                                                       195:17, 234:24,
 112:24, 113:8,           83:6, 126:17, 132:2,      111:20, 115:4,             223:10, 223:14,
                                                                                                       242:15, 242:25
 115:10, 115:13,          134:4, 160:22,            116:2, 117:6,              229:20, 232:20,
                                                                                                      date's [1] - 34:11
 115:18, 115:21,          164:20, 174:17,           127:25, 129:24,            234:12, 234:14,
                                                                                                      dated [6] - 22:20,
 115:22, 116:25,          179:18                    130:3, 130:19,             237:10, 237:15,
                                                                                                       39:1, 39:10, 46:12,
 136:1, 144:21,                                     130:23, 131:2,             237:18, 238:1,
                         course [9] - 9:20,                                                            185:8, 186:22
 147:6, 149:9,                                      131:21, 132:2,             238:15, 239:1,
                          73:6, 75:19, 78:15,                                                         dates [10] - 46:17,
 149:23, 150:11,                                    132:7, 132:12,             239:3, 239:14,
                          110:10, 111:13,                                                              128:15, 190:15,
 152:19, 152:21,                                    132:22, 133:5,             239:23, 240:20,
                          138:19, 141:18,                                                              190:16, 195:2,
 153:19, 154:19,                                    133:14, 133:17,            240:22, 240:24,
                          165:11                                                                       199:2, 201:5, 206:8,
 156:4, 177:23,                                     133:19, 133:22,            241:4, 241:7,
                         Court [20] - 1:21, 9:5,                                                       219:9
 183:23, 184:12,                                    133:25, 134:2,             241:10, 241:15,
                          10:8, 36:20, 190:6,                                                         daughter's [1] -
 184:13, 185:9,                                     134:7, 135:3, 135:6,       243:5, 245:8,
                          215:3, 215:6, 225:4,                                                         245:11
 185:10, 185:14,                                    135:9, 135:12,             245:18, 245:23,
                          231:5, 231:20,                                                              DAVID [2] - 2:13, 4:3
 185:24, 186:2,                                     135:16, 140:7,             246:5
                          232:7, 241:22,                                                              david.mccay@la.gov
 186:5, 186:8, 186:9,                               141:10, 143:1,            court's [1] - 64:18
                          242:19, 243:16,                                                              [1] - 4:8
 186:11, 186:12,          243:17, 244:11,           144:4, 145:19,            Court's [2] - 181:18,
                                                                                                      day-by-day [1] - 104:3
 186:14, 186:18,          244:22, 244:25,           148:2, 148:7,              241:1
                                                                                                      day-to-day [5] - 69:2,
                                                    148:13, 152:24,           courthouse [3] -
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 255 of 278
                                                                                                                                     9


 69:3, 77:11, 77:13,        163:8, 171:24, 172:7      190:3, 191:3,              172:4, 184:3,              103:14, 103:17,
 77:15                     Defendants [1] - 1:14      195:12, 195:16,            199:10, 205:5,             103:23, 104:8,
days [4] - 10:17,          defense [10] - 111:22,     196:8, 197:6,              225:7, 225:12,             104:13, 105:8
 20:13, 219:7, 219:11       111:24, 111:25,           197:17, 198:4,             227:15                    disconnect [1] - 213:9
DC [2] - 2:20, 2:24         112:1, 112:2, 112:3,      199:5, 199:16,            difficulty [1] - 198:13    discovered [1] - 182:4
DCFS [32] - 7:16, 7:18,     112:4, 112:14, 133:7      200:1, 207:16,            diligently [1] - 172:9     discovery [9] - 91:17,
 7:19, 8:2, 12:18,         Defense [1] - 2:4          207:19, 209:4,            dime [1] - 240:14           91:19, 187:14,
 14:14, 15:9, 17:9,        define [2] - 202:21,       209:9, 210:24,            direct [32] - 5:4, 5:14,    210:16, 210:17,
 19:15, 22:7, 28:12,        222:11                    212:15, 223:7              12:15, 12:18, 70:23,       210:21, 211:5,
 32:20, 32:23, 33:8,       defined [7] - 91:8,       deposition's [1] -          70:24, 71:18, 71:22,       214:25, 216:5
 33:14, 33:18, 36:7,        91:10, 91:12, 219:1,      190:4                      88:8, 88:10, 91:5,        discrimination [4] -
 38:13, 38:21, 39:4,        221:4, 221:5, 222:19     Derbigny [5] - 11:22,       91:6, 91:7, 91:9,          70:18, 70:19, 79:8
 41:13, 43:3, 43:21,       defines [1] - 219:3        14:23, 15:3, 57:20,        109:22, 110:2,            discuss [3] - 107:16,
 43:25, 45:9, 45:14,       definition [5] - 68:25,    57:21                      110:10, 111:13,            155:25, 177:8
 45:15, 48:14, 49:11,       69:2, 74:11, 74:12,      describe [6] - 62:8,        117:21, 119:17,           discussed [7] - 8:4,
 49:16, 83:4, 241:3         222:16                    62:13, 69:21, 173:7,       120:15, 120:16,            37:9, 37:11, 155:12,
DCSF [1] - 7:24            definitions [1] - 74:11    201:13, 237:21             120:23, 122:10,            155:19, 242:17,
deadline [1] - 153:23      degree [1] - 207:14       described [2] - 173:8,      125:22, 151:16,            245:25
deal [8] - 7:25, 142:12,   DeLEEUW [1] - 2:12         244:21                     153:2, 153:25,            discussing [3] -
 158:20, 204:21,           delegates [4] - 133:2,    describes [3] -             154:14, 166:15,            101:19, 156:1,
 224:1, 239:4,              133:3, 133:4, 133:12      201:19, 202:2,             166:22, 235:2              231:24
 244:12, 245:9             Delgado [1] - 10:18        234:23                    DIRECT [4] - 8:19,         discussion [3] -
dealing [3] - 31:22,       delivered [2] - 133:15,   describing [1] -            65:6, 135:18, 241:20       37:14, 38:1, 56:9
 153:18, 159:9              133:19                    155:16                    Direct [2] - 5:9, 5:19     Discussion [2] -
deals [4] - 143:13,        demarcation [1] - 6:16    designated [3] -           directed [6] - 110:21,      180:19, 239:15
 219:4                     demigaurd [1] - 126:2      81:10, 81:13, 81:21        231:9, 231:15,            disorganized [1] -
dealt [1] - 142:13         Denham [1] - 3:9          desist [9] - 123:25,        231:22, 244:2, 244:7       191:1
dear [1] - 193:12          Department [9] - 1:11,     124:5, 124:6,             direction [1] - 242:23     disparities [2] - 71:1,
debate [1] - 105:22         1:12, 34:4, 110:22,       124:22, 124:24,           directive [2] - 119:11,     71:8
December [23] -             117:10, 117:11,           124:25, 125:5,             243:8                     displaced [1] - 73:23
 17:21, 18:1, 18:7,         227:11, 231:10,           125:10, 125:23            directly [11] - 60:19,     dispute [2] - 108:4,
 18:15, 27:5, 27:13,        241:24                   desk [5] - 14:1, 35:4,      68:17, 74:21, 88:13,       156:23
 38:21, 39:2, 39:10,       department [5] -           36:16, 37:20, 213:24       89:4, 98:5, 118:3,        disqualify [1] - 122:1
 39:24, 40:16, 41:1,        142:11, 176:9,           determination [3] -         120:9, 129:19,            distinguishing [2] -
 44:13, 44:21, 45:3,        242:13, 242:22,           55:13, 55:14, 240:9        171:22, 200:8              226:9, 226:10
 46:12, 46:14, 46:18,       243:18                   determine [1] - 51:9       director [21] - 68:19,     distressed [1] -
 47:3, 58:22, 59:10,       deposed [2] - 195:15,     determines [1] -            73:21, 73:24, 79:6,        170:20
 78:10                      195:16                    132:12                     104:11, 114:5,            distributed [2] -
decide [3] - 109:7,        deposit [4] - 175:5,      developed [1] - 177:4       114:7, 114:8,              129:14, 133:25
 122:13, 230:20             210:8, 215:15,           development [1] -           114:13, 115:1,            DISTRICT [3] - 1:1,
decides [1] - 119:23        236:13                    166:11                     137:6, 137:15,             1:2, 1:19
decision [5] - 47:8,       deposited [5] -           Development [1] -           142:6, 142:16,            district [1] - 73:3
 47:12, 118:15,             115:17, 175:9,            136:11                     161:19, 164:22,           divide [1] - 205:19
 151:9, 191:19              206:15, 215:19,          DHH [2] - 7:12, 8:3         204:11, 204:15,           DMV [4] - 151:23,
declaration [5] - 24:2,     220:4                    dho@naacpldf.org            204:16, 204:18,            154:16, 160:19,
 24:5, 48:16, 48:21,       deposition [54] -          [1] - 2:7                  204:20                     160:20
 180:12                     27:24, 28:1, 28:4,       dictatorial [3] - 121:6,   Directors [2] - 124:18,    DMVs [4] - 159:10,
decline [3] - 16:9,         28:5, 54:10, 55:7,        121:9, 121:22              131:14                     160:17, 160:18
 54:12, 54:14               61:2, 81:7, 81:12,       difference [2] -           directors [19] -           docs [1] - 178:4
declined [5] - 26:5,        81:13, 81:15, 81:22,      171:21, 240:7              113:16, 113:17,           doctors [1] - 226:4
 26:10, 26:19, 27:1,        82:6, 89:6, 89:13,       different [31] - 63:10,     113:23, 114:1,            document [102] - 12:3,
 44:4                       90:17, 93:13, 94:21,      70:24, 71:14, 82:8,        114:3, 114:10,             14:13, 16:14, 16:17,
deem [1] - 211:22           96:12, 96:13, 97:3,       82:11, 93:4, 98:20,        114:16, 114:20,            17:2, 17:8, 22:7,
Defendant [3] - 3:3,        101:19, 102:25,           99:16, 109:5, 109:6,       114:21, 118:10,            23:14, 23:17, 23:19,
 3:11, 4:2                  104:6, 105:6,             132:15, 133:12,            123:9, 123:11,             24:9, 24:12, 24:13,
defendant's [1] -           105:20, 107:4,            136:17, 146:25,            125:25, 126:14,            27:1, 30:7, 32:22,
 217:11                     110:5, 112:4, 112:7,      147:2, 147:11,             130:13, 130:15,            39:1, 39:5, 39:6,
defendants [8] -            113:19, 115:24,           147:12, 151:20,            131:11                     39:9, 39:22, 41:8,
 80:13, 81:25, 82:20,       139:25, 155:18,           152:16, 154:4,            directs [1] - 120:1         46:18, 48:14, 50:9,
 127:22, 162:10,            155:20, 156:5,            160:7, 168:16,            disaster [7] - 102:23,      50:14, 50:19, 50:24,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 256 of 278
                                                                                                                           10


 51:5, 51:20, 51:21,     153:7, 153:8, 153:9,    dresser [3] - 55:25,       133:8                     email's [1] - 185:16
 51:23, 52:4, 78:3,      154:20, 156:3,           56:5, 56:18              educations [1] -           employed [1] - 10:20
 91:6, 161:5, 161:11,    159:8, 160:14,          drinking [1] - 217:7       107:11                    employee [2] - 58:25,
 161:15, 162:2,          164:2, 164:3,           drive [16] - 30:20,       EDWARD [3] - 5:13,          59:16
 162:13, 162:15,         164:21, 170:8,           38:8, 62:18, 64:6,        135:7, 135:14             employees [1] -
 162:17, 162:19,         177:10, 183:22,          119:24, 120:2,           Edward [4] - 73:7,          244:12
 162:25, 163:4,          215:20, 220:7,           120:3, 120:4, 120:5,      135:5, 135:11, 204:8      enabled [1] - 52:20
 167:4, 167:12,          224:19, 225:8,           120:22, 121:1,           effect [2] - 38:10,        enacted [3] - 142:11,
 167:14, 167:15,         227:25, 228:3,           122:14, 122:17,           143:14                     142:15
 167:17, 167:21,         243:1, 243:18            128:23, 129:15,          effective [3] - 97:14,     enclosed [1] - 168:3
 167:25, 168:1,         door [21] - 31:22,        213:14                    182:5, 183:1              encounter [1] - 142:5
 168:2, 168:3, 168:7,    57:11, 98:12, 98:13,    drives [7] - 62:10,       effort [6] - 109:23,       encourage [2] - 149:3,
 168:8, 168:13,          98:16, 98:23, 99:3,      106:25, 128:11,           110:10, 111:13,            150:2
 169:6, 169:11,          99:5, 99:8, 166:14,      128:14, 128:19,           148:4, 200:9, 203:12      encouraging [1] -
 170:18, 174:15,         166:21, 170:19,          213:12, 213:21           efforts [6] - 80:22,        150:18
 175:15, 175:19,         171:3, 233:19           drug [1] - 25:7            110:22, 151:16,           end [7] - 29:15, 36:15,
 177:11, 185:1,         door-to-door [5] -       due [1] - 152:11           243:24, 244:15,            58:18, 78:8, 174:4,
 185:12, 185:19,         166:14, 166:21,         dues [3] - 75:9, 75:10,    244:25                     182:25, 195:5
 189:17, 190:7,          170:19, 171:3,           75:11                    eight [3] - 11:8, 57:17,   ended [1] - 156:25
 190:8, 190:12,          233:19                  duly [4] - 8:11, 64:25,    62:1                      endorse [1] - 79:21
 190:16, 191:5,         DOUGLAS [1] - 4:2         135:7, 241:13            either [12] - 18:13,       enforce [2] - 125:7,
 191:19, 191:22,        douglas.cade@la.         during [28] - 7:11,        39:2, 39:10, 87:11,        125:22
 192:5, 192:6, 193:8,    gov [1] - 4:7            7:15, 9:19, 26:6,         88:20, 101:11,            enforcement [4] -
 193:17, 193:22,        down [32] - 13:9,         26:11, 26:19, 28:5,       118:19, 127:14,            121:6, 122:4,
 194:7, 201:19,          14:19, 15:23, 18:2,      37:9, 54:10, 59:8,        127:18, 231:22,            125:10, 125:12
 202:1, 202:2,           35:11, 43:7, 43:10,      59:17, 59:22, 78:15,      242:21, 245:18            engage [10] - 119:23,
 202:16, 202:21,         51:20, 56:22, 64:20,     81:22, 153:14,           elaborate [1] - 181:7       120:17, 128:24,
 207:1, 210:25,          75:14, 83:23,            153:25, 155:20,          elders [1] - 137:25         144:13, 166:18,
 211:12, 211:14,         112:15, 112:18,          157:11, 157:17,          elected [5] - 47:23,        170:24, 233:24,
 211:18, 211:24,         113:6, 126:3, 128:4,     159:24, 169:19,           73:4, 73:5, 74:25,         236:18, 238:19,
 212:20, 213:14,         129:20, 137:11,          170:9, 170:12,            89:10                      239:18
 213:23, 214:2,          139:16, 155:8,           171:23, 174:7,           election [20] - 32:5,      engaged [9] - 109:22,
 214:23, 235:12,         164:6, 164:10,           235:2, 235:4, 236:21      79:24, 79:25,              142:14, 144:24,
 235:14                  164:14, 200:17,         duties [4] - 68:15,        166:13, 170:11,            145:2, 145:5,
documents [28] -         204:23, 214:16,          68:17, 242:1, 242:11      179:13, 180:11,            153:12, 162:8,
 33:1, 50:4, 124:11,     224:22, 233:17,         duty [4] - 29:1, 29:9,     187:3, 187:12,             163:7, 166:19
 124:14, 124:16,         235:22, 240:20,          229:3, 241:22             192:24, 197:12,           engagement [5] -
 133:9, 145:25,          245:23                                             202:18, 203:8,             142:7, 143:7,
 146:13, 151:11,
 160:24, 161:3,
                        Dpt [3] - 3:12, 4:3,                E               218:6, 218:17,             143:21, 163:25,
                         4:15                                               219:4, 219:5,              164:15
 171:7, 173:17,         Dr [22] - 65:8, 65:18,   eager [1] - 229:15         220:18, 234:10,           Engagement [16] -
 173:21, 190:24,         67:2, 69:20, 72:5,      early [2] - 178:10,        234:11                     142:11, 142:16,
 201:13, 211:21,         80:8, 80:10, 81:6,       242:14                   elections [2] - 79:21,      142:18, 143:10,
 212:2, 212:13,          81:8, 81:21, 82:15,     earnest [1] - 175:8        169:20                     143:18, 143:23,
 212:21, 213:16,         82:20, 129:25,          easier [1] - 191:17       electrical [1] - 77:12      144:2, 161:14,
 214:6, 214:23,          138:20, 175:8,          easiest [1] - 233:9       electronically [1] -        161:18, 161:19,
 214:24, 236:5, 244:3    206:14, 207:3,          EASTERN [1] - 1:2          213:13                     162:18, 164:22,
dollar [1] - 221:13      210:13, 215:23,         EBONI [1] - 3:11          elects [1] - 128:22         172:22, 176:9,
dollars [2] - 129:16,    226:16, 226:17          economic [1] - 70:21      eligible [1] - 52:18        235:12, 235:19
 231:6                  draft [12] - 176:4,      economically [1] -        eliminate [1] - 71:1       engages [1] - 146:21
done [44] - 42:17,       178:9, 179:7, 189:6,     170:20                   eliminating [2] -          engaging [2] - 238:7,
 63:18, 101:1,           189:14, 189:18,         Education [1] - 71:13      70:19, 79:8                238:11
 101:25, 103:8,          189:20, 190:12,         education [12] - 70:20,   Elmo [1] - 177:13          English [1] - 34:17
 103:13, 104:8,          190:19, 191:9,           77:21, 79:19,            email [13] - 185:7,        ensure [5] - 242:24,
 104:9, 104:14,          191:10                   107:14, 107:18,           186:21, 186:25,            243:8, 243:10,
 107:10, 107:18,        drastic [1] - 71:18       130:9, 130:10,            187:10, 187:20,            244:17, 244:19
 109:25, 121:19,        draw [3] - 80:12,         143:13, 144:12,           188:1, 188:12,            ensured [1] - 243:12
 129:19, 134:1,          161:4, 174:15            150:3, 179:17, 234:6      189:14, 190:20,           entail [5] - 136:15,
 136:18, 141:4,         drawing [1] - 117:24     Educational [1] - 2:4      191:11, 191:13,            137:24, 143:12,
 149:18, 151:19,        drawn [1] - 215:18       educational [1] -          197:10, 217:12             149:24, 150:12
 152:16, 153:5,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 257 of 278
                                                                                                                                    11


entails [2] - 142:19,        211:23, 214:18,            32:23, 45:9, 45:15,        229:14, 231:19,             115:23
 143:24                      217:1, 217:4, 217:5,       49:15, 49:20, 97:4,        232:7                     felt [4] - 28:19, 116:9,
enter [1] - 7:10             218:9, 222:25, 233:7       161:4, 162:23,            explain [4] - 24:13,         226:1, 226:5
entire [1] - 153:16         evil [1] - 123:1            167:5, 167:23,             172:2, 172:3, 201:5       FERRAND [1] - 1:5
entirely [1] - 107:2        evolved [1] - 71:5          169:8, 174:16,            explained [2] -            Ferriday [2] - 132:9,
entities [1] - 225:7        exact [6] - 51:2, 85:12,    177:12, 185:1,             159:11, 179:1               132:10
entitled [4] - 53:10,        128:15, 173:17,            185:7, 188:16,            explains [1] - 14:1        fertile [2] - 151:7,
 88:17, 133:3, 144:10        179:12, 201:5              188:23, 192:1,            explore [1] - 214:15         226:6
entity [5] - 86:21, 88:5,   exactly [10] - 41:3,        192:7, 192:8,             Express [1] - 175:3        few [27] - 12:10, 14:19,
 95:25, 109:3, 111:25        53:20, 62:13,              192:10, 193:7,            extent [3] - 75:6,           15:9, 15:23, 22:7,
equipment [1] -              128:21, 137:5,             193:24, 194:8,             79:23, 243:22               24:15, 52:6, 57:1,
 225:10                      143:24, 147:7,             195:15, 196:4,            extra [1] - 187:8            70:9, 72:11, 81:5,
ERICA [1] - 2:12             148:16, 189:17,            196:7, 196:16,            extraneous [2] -             90:19, 128:2, 136:2,
Ernest [3] - 64:24,          240:16                     201:23, 209:4,             168:6, 168:7                153:5, 154:16,
 65:4, 109:3                EXAMINATION [13] -          209:20, 215:13,           Eye [1] - 2:19               157:22, 164:23,
ERNEST [3] - 5:8,            8:19, 29:17, 49:24,        217:1, 217:11,                                         167:6, 176:11,
                                                        217:20, 218:11,
 64:25, 65:4                 57:4, 65:6, 83:9,
                                                        218:22, 235:10
                                                                                             F                 181:13, 181:14,
especially [1] - 152:3       117:7, 130:5,                                                                     223:4, 231:1,
ESQ [22] - 2:3, 2:3,         135:18, 183:12,           exhibit [22] - 6:9, 7:4,   face [1] - 6:16              234:22, 236:8, 245:5
 2:8, 2:12, 2:12, 2:13,      223:15, 232:22,            23:16, 23:21, 32:9,       faced [1] - 121:11         field [1] - 245:12
 2:13, 2:17, 2:18,           241:20                     32:20, 38:20, 45:17,      facilities [1] - 227:12    fifth [2] - 210:7,
 2:22, 3:3, 3:7, 3:11,      examination [3] -           48:13, 48:14, 48:20,      fact [11] - 26:14, 45:5,     215:14
 3:11, 3:16, 3:16, 4:2,      36:3, 219:22, 220:16       49:11, 49:17, 56:22,        64:3, 118:20,            fight [4] - 68:6, 70:18,
 4:2, 4:3, 4:9, 4:10,       example [18] - 27:19,       60:9, 169:1, 191:23,        121:18, 189:8,             71:8, 72:15
 4:14                        35:8, 118:14,              194:21, 215:11,             190:20, 206:7,           figure [2] - 177:23,
essence [1] - 193:12         121:13, 122:11,            218:10, 218:11,             214:5, 231:24, 240:1       194:17
                             122:24, 123:16,            218:21                    factors [1] - 58:4         file [13] - 32:10, 32:25,
essential [1] - 244:15
                             123:18, 150:13,           Exhibits [1] - 214:21      facts [1] - 55:9             48:23, 49:16, 69:24,
establish [5] - 82:2,
                             150:14, 150:21,           exhibits [4] - 6:5,        factual [1] - 81:20          76:14, 78:20,
 156:19, 182:8,
 182:10, 212:25              152:4, 206:23,             48:13, 49:6, 246:6        fail [1] - 71:21             100:16, 121:19,
established [3] -            224:20, 225:9,            exist [4] - 71:2, 100:4,   failed [1] - 127:20          124:6, 125:1,
 66:16, 171:20,              226:16, 228:23,            101:8, 101:10             failing [1] - 137:4          125:17, 191:22
 194:21                      229:18                    existed [1] - 101:13       fair [9] - 10:25, 77:16,   filed [13] - 27:7, 27:12,
estimate [2] - 146:14,      examples [3] - 73:18,      existence [5] - 85:11,       119:21, 126:8,             27:15, 51:6, 53:1,
 173:10                      122:25, 152:16             102:7, 118:4,               129:20, 152:20,            53:14, 53:21, 84:20,
et [1] - 187:17             except [1] - 125:23         173:25, 174:2               240:11, 240:15             87:16, 96:7, 182:19,
evaluate [1] - 205:12       exchanging [1] -           exists [1] - 118:12        fairly [1] - 231:4           213:4, 242:6
evaluation [1] - 186:7       122:5                     expand [1] - 137:11        familiar [8] - 19:18,      files [3] - 100:17,
evening [1] - 140:1         exclude [1] - 169:1        expectation [2] -            111:24, 142:7,             190:23, 191:1
                            excluded [1] - 189:2        30:23, 51:5                 161:11, 165:1,           filing [7] - 53:12, 96:2,
event [4] - 150:13,
 150:17, 155:16,            exclusively [1] - 163:6    expelled [1] - 121:20        167:12, 175:19,            96:9, 97:19, 97:22,
 224:12                     excuse [8] - 16:11,        expelling [1] - 127:16       224:3                      98:3, 98:17
events [5] - 143:14,         19:3, 21:4, 27:8,         expend [2] - 77:5,         Family [7] - 1:11, 3:12,   fill [19] - 13:14, 13:16,
 147:3, 155:25,              111:23, 120:14,            203:2                       21:11, 34:4, 110:23,       20:16, 27:22, 28:21,
 156:1, 219:4                139:22, 179:23            expended [3] - 231:7,        117:10, 241:25             30:2, 34:25, 35:12,
everywhere [1] -            executive [11] - 68:19,     231:15, 232:8             far [15] - 47:11,            36:10, 42:15, 47:15,
 112:10                      68:21, 79:6, 104:11,      expending [1] -              103:20, 118:6,             54:5, 54:25, 63:23,
evidence [36] - 6:6,         114:7, 119:22,             110:21                      129:18, 136:18,            106:6, 173:8, 230:9,
 16:20, 24:10, 32:10,        120:21, 242:17,           expenditures [1] -           137:3, 138:20,             230:10
 55:10, 63:8, 98:13,         242:20, 242:24,            202:7                       139:13, 144:23,          filled [28] - 13:2,
 127:22, 127:23,             244:1                     expense [3] - 77:17,         146:16, 153:24,            13:22, 25:6, 25:7,
 162:10, 162:23,            Executive [3] - 73:11,      213:13, 213:20              167:20, 204:17,            25:9, 29:3, 34:24,
 167:23, 169:4,              132:23, 133:1             expenses [13] - 77:4,        225:12, 228:20             35:19, 36:13, 36:22,
 178:4, 182:1,              exempt [1] - 76:11          77:8, 78:11, 78:16,       FCRR [3] - 1:21,             37:13, 37:23, 41:17,
 188:16, 188:21,            exercise [1] - 242:11       78:22, 78:24,               246:17, 246:18             43:25, 51:3, 52:4,
 189:1, 191:22,             Exhibit [55] - 6:8,         115:17, 174:6,            features [1] - 166:13        52:6, 54:22, 55:6,
 192:10, 192:14,             6:13, 6:14, 6:15, 7:1,     174:10, 206:17,           February [1] - 136:25        56:17, 63:1, 63:24,
 192:16, 194:21,             7:6, 12:8, 16:20,          206:19, 206:22,           Federal [1] - 175:3          175:24, 178:20,
 201:18, 209:3,              17:11, 30:5, 32:11,        209:16                    federal [5] - 76:6,          204:24, 206:7
 211:13, 211:16,             32:15, 32:19, 32:21,      experience [3] -             76:18, 76:21, 76:23,     filling [3] - 31:23,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 258 of 278
                                                                                                                               12


  34:19, 35:24              flying [1] - 214:8        forgive [1] - 154:12    Foster [1] - 72:8                     G
fills [1] - 106:13          focus [4] - 70:20,        forgot [1] - 71:24      foundation [2] -
final [7] - 176:2, 176:5,     159:16, 169:20,         forgotten [1] - 63:1      144:4, 185:21            game [1] - 189:24
  179:2, 179:6, 179:7,        170:13                  Form [1] - 50:11        four [17] - 25:14, 71:8,   gathered [1] - 212:16
  179:8, 222:10             focused [4] - 29:23,      form [114] - 12:1,        108:13, 155:11,          geared [2] - 77:20,
finances [1] - 78:18          117:15, 172:10,          12:24, 12:25, 17:3,      160:3, 166:13,            77:22
financial [12] - 68:3,        239:4                    17:6, 17:7, 17:20,       167:25, 168:5,           gears [1] - 179:18
  76:15, 106:3, 106:9,      focusing [1] - 182:6       17:22, 17:23, 18:5,      168:7, 168:17,           general [4] - 67:19,
  106:16, 108:21,           folder [1] - 33:5          18:6, 18:18, 19:1,       168:20, 169:2,            78:14, 141:21, 151:1
  109:16, 115:12,           folk [1] - 123:4           20:2, 20:3, 20:4,        210:7, 215:14,           generally [2] - 72:3,
  212:20, 212:23,           folks [8] - 38:20,         20:9, 20:15, 20:16,      224:13, 233:17            144:7
  213:13, 213:20              111:11, 122:13,          20:18, 21:5, 21:6,     fourth [1] - 164:10        generate [2] - 77:14,
finder [1] - 240:2            137:3, 178:25,           21:7, 21:10, 21:15,    frank [1] - 198:10          78:18
fine [8] - 23:21, 60:13,      203:9, 203:10            22:19, 22:20, 22:25,   Frank [1] - 2:14           generating [1] - 75:18
  83:7, 83:15, 155:11,      follow [13] - 29:15,       25:9, 25:10, 25:21,    free [3] - 14:7, 170:21,   geographic [1] - 92:12
  163:17, 172:6,              42:12, 51:8, 71:25,      26:15, 27:17, 27:25,     171:4                    girls [1] - 245:19
  172:12                      72:1, 82:22, 88:16,      28:6, 28:15, 28:22,    freedom [1] - 68:6         given [17] - 18:6, 21:5,
finish [5] - 50:12,           148:22, 181:14,          30:9, 30:11, 30:16,    Fried [1] - 2:14            21:6, 21:7, 29:5,
  94:6, 104:24,               202:5, 202:24,           30:19, 34:19, 34:23,   friend [2] - 73:10,         35:11, 53:24,
  131:23, 178:25              210:1, 232:3             34:24, 35:6, 35:11,      137:10                    133:10, 136:16,
finished [5] - 82:23,       follow-up [4] - 29:15,     35:12, 35:14, 35:15,   friendly [1] - 245:11       139:12, 199:16,
  179:16, 222:22,             42:12, 51:8, 181:14      35:16, 35:17, 35:18,   friends [1] - 229:18        207:3, 208:9,
  240:21, 240:22            followed [3] - 209:23,     35:19, 35:20, 35:24,   front [9] - 50:3, 50:13,    208:11, 208:20,
finishes [1] - 111:16         216:18, 230:5            35:25, 36:11, 36:14,     51:22, 62:14, 84:3,       221:17, 242:20
finishing [1] - 178:23      following [5] - 185:11,    37:13, 37:14, 37:18,     151:22, 155:10,          glasses [1] - 28:10
first [48] - 6:8, 6:20,       188:6, 202:1,            40:3, 40:8, 40:11,       197:10, 201:21           global [1] - 182:21
  8:8, 12:7, 17:8, 28:2,      216:11, 243:10           40:13, 40:18, 40:20,   Full [2] - 137:20, 153:9   globally [1] - 182:1
  33:18, 34:15, 40:18,      follows [6] - 8:12,        40:22, 40:23, 42:23,   full [2] - 173:15,         goals [10] - 70:10,
  41:4, 41:7, 44:5,           65:1, 135:8, 186:1,      42:24, 43:10, 43:19,     176:16                    70:14, 70:15, 70:16,
  58:10, 60:19, 61:14,        187:20, 241:14           44:2, 44:25, 45:2,     functionally [1] -          70:22, 70:23, 71:10,
  61:17, 62:9, 67:17,       food [70] - 12:24,         45:4, 47:11, 47:15,      126:7                     205:17, 205:18
  73:3, 102:2, 102:4,         12:25, 13:9, 13:14,      50:16, 51:8, 51:10,    functions [3] - 122:7,     God [1] - 138:6
  122:23, 142:5,              14:2, 17:18, 18:2,       51:13, 52:1, 53:23,      128:5, 220:22            goods [1] - 103:15
  144:17, 148:22,             18:4, 18:15, 20:2,       54:3, 54:13, 54:19,    Fund [2] - 2:4, 136:12     Gospel [2] - 137:20,
  154:20, 158:5,              20:12, 29:3, 33:13,      54:25, 55:19, 55:22,
                                                                              fund [8] - 111:22,          153:9
  159:8, 162:16,              34:24, 35:3, 35:14,      55:24, 56:5, 58:5,
                                                                                111:24, 111:25,          GOTV [1] - 144:10
  165:13, 165:15,             35:15, 35:17, 35:21,     59:6, 59:9, 59:25,
                                                                                112:1, 112:5,            governing [2] -
  165:18, 165:19,             36:10, 36:11, 36:13,     63:2, 63:23, 63:24,
                                                                                112:14, 133:7,            124:14, 124:15
  165:20, 165:21,             36:21, 37:11, 37:19,     87:21, 115:21,
                                                                                136:11                   Government [1] - 3:4
  168:3, 169:20,              37:24, 39:15, 40:2,      149:19, 165:4,
                                                                              funding [24] - 73:19,      government [2] -
  170:14, 172:18,             40:4, 40:7, 40:21,       174:25, 175:24,
                                                                                75:12, 75:13, 75:21,      76:21, 242:8
  178:18, 185:7,              41:1, 41:14, 42:14,      183:25, 201:21,
                                                                                76:23, 77:1, 114:23,     grades [1] - 137:4
  185:11, 186:21,             43:5, 44:1, 44:25,       216:20, 224:16
                                                                                128:23, 171:10,          granddaughter [1] -
  193:8, 203:23,              45:1, 45:4, 45:25,      formality [1] - 79:10
                                                                                171:13, 171:25,           245:11
  204:5, 235:3, 236:9         46:15, 46:19, 52:16,    format [1] - 168:5        172:16, 172:18,          grant [109] - 76:4,
first-time [1] - 169:20       52:17, 52:18, 52:19,    formats [1] - 168:15      172:20, 173:1,            76:18, 76:20, 105:2,
fiscal [5] - 78:8, 78:9,      58:16, 58:21, 59:4,     forms [19] - 13:13,       173:6, 173:7, 173:9,      116:19, 116:23,
  174:4, 174:5                151:23, 154:15,          13:16, 23:2, 25:19,      173:11, 174:12,           173:7, 175:21,
fitter [1] - 10:20            158:24, 159:1,           30:2, 35:4, 35:22,       180:24, 192:5,            176:2, 176:20,
five [13] - 25:14, 41:2,      159:5, 159:9,            37:20, 37:23, 40:2,      192:24                    177:3, 178:5, 178:6,
  41:17, 45:2, 48:23,         159:12, 159:22,          43:24, 51:3, 53:5,     funds [14] - 74:1,          179:15, 183:25,
  58:14, 59:2, 59:8,          159:23, 160:1,           70:24, 109:6, 133:8,     75:16, 75:18,             184:1, 184:14,
  59:18, 59:22, 137:8,        160:5, 227:20,           146:5, 244:3, 244:9      110:21, 112:2,            184:16, 184:19,
  232:14, 239:11              227:24, 229:2,          forth [1] - 234:19        112:3, 129:13,            184:24, 185:12,
flip [5] - 12:10, 15:9,       229:3, 229:6,           forums [3] - 170:23,      183:18, 183:20,           185:23, 186:5,
  19:18, 161:5, 175:23        231:15, 231:23,          171:6, 205:23            193:14, 203:2,            186:7, 186:13,
Floor [2] - 3:18, 4:11        231:25                  forward [9] - 8:10,       210:8, 215:15,            187:1, 187:11,
Florida [2] - 3:17, 4:11    FOR [1] - 1:1              9:15, 14:14, 15:9,       215:19                    187:20, 187:23,
flow [1] - 129:13           forces [1] - 110:2         19:9, 19:15, 22:7,     future [1] - 11:9           188:1, 188:5, 188:7,
flyers [1] - 220:9          foregoing [1] - 246:15     135:6, 176:11
                                                                                                          188:8, 188:11,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 259 of 278
                                                                                                                            13


 191:5, 191:12,          86:24, 102:16,             226:3, 226:12,            32:13, 36:1, 41:24,     213:19, 214:2,
 192:5, 192:12,          102:17, 222:12,            226:25, 227:8,            44:6, 48:16, 48:21,     214:5, 214:10,
 192:23, 192:25,         225:24                     227:20, 227:24,           54:14, 55:9, 56:24,     214:22, 217:14,
 193:16, 194:15,        guess [3] - 83:25,          231:25                    57:1, 57:3, 57:5,       219:16, 219:19,
 194:22, 194:25,         144:21, 162:3             Health [5] - 1:13, 4:3,    60:3, 60:5, 61:7,       220:12, 232:21,
 195:1, 195:8, 195:9,   guidance [3] - 241:2,       4:15, 227:11, 231:10      64:15, 64:23, 65:7,     232:23, 234:15,
 195:25, 196:2,          242:20, 243:15            hear [8] - 64:2,           66:23, 67:1, 67:11,     235:9, 235:13,
 196:12, 196:14,        guidelines [1] - 76:13      126:16, 128:9,            70:8, 71:25, 72:2,      235:18, 237:20,
 196:19, 197:5,         guides [1] - 170:21         152:2, 156:20,            75:25, 80:12, 80:14,    238:3, 238:4, 238:9,
 197:11, 197:21,        guy [1] - 191:7             157:13, 191:17            81:20, 82:10, 82:14,    238:10, 238:16,
 198:7, 198:23,         guys [3] - 48:24,          heard [5] - 9:25,          82:19, 82:25, 87:25,    238:17, 239:11,
 199:2, 199:6, 199:8,    126:13, 191:15             84:16, 90:21, 200:7,      90:16, 91:21, 93:17,    239:16, 240:3,
 199:12, 200:1,                                     213:7                     93:21, 98:4, 98:18,     240:19, 245:5
 200:2, 200:23,                    H               hearing [1] - 153:19       102:11, 105:24,        Ho [21] - 5:4, 5:9, 5:14,
 201:1, 201:3, 201:4,                              hearsay [6] - 161:23,      110:12, 111:16,         29:23, 33:1, 42:23,
 201:6, 201:18,         half [3] - 58:24, 59:15,    162:2, 162:4,             114:25, 127:21,         56:7, 56:13, 56:22,
 201:19, 201:20,         234:22                     229:20, 229:21            130:6, 130:22,          64:22, 130:4, 135:3,
 202:2, 202:5, 202:8,   hallway [1] - 14:6         Heath [1] - 117:11         131:4, 131:22,          135:21, 139:21,
 202:10, 202:13,        Hammond [9] - 136:7,       Heckard [1] - 115:9        132:1, 134:5, 135:4,    168:9, 168:24,
 202:14, 202:15,         153:7, 158:1, 227:9,      held [5] - 67:20, 96:14,   135:17, 135:19,         174:8, 190:8,
 202:16, 202:21,         227:22, 229:12,            96:19, 180:19,            140:11, 141:12,         190:18, 201:5,
 202:22, 202:25,         229:18, 229:24,            239:15                    141:13, 143:4,          232:20
 203:3, 203:7, 203:8,    229:25                    hello [1] - 232:24         144:5, 145:18,         ho [1] - 6:4
 203:9, 204:6, 204:7,   hand [4] - 12:16,          help [13] - 17:10,         145:20, 148:14,        hold [5] - 124:10,
 207:23, 208:1,          30:13, 131:8, 187:14       29:10, 68:4, 68:7,        148:15, 152:25,         200:17, 213:2,
 208:8, 208:18,         handed [2] - 103:14,        71:1, 119:15,             153:1, 155:22,          228:20, 241:10
 209:15, 209:21,         103:15                     136:19, 142:12,           155:24, 156:18,        holiday [1] - 138:20
 209:23, 209:25,        handle [1] - 121:21         146:24, 203:8,            156:23, 157:4,         home [2] - 55:25,
 210:1, 210:6, 210:8,   handles [2] - 69:3,         203:9, 203:15,            157:8, 157:15,          230:19
 215:13, 215:19,         122:3                      224:10                    157:16, 159:4,         homeless [1] - 31:9
 218:15, 219:2,         handwriting [2] -          helpful [1] - 172:2        160:25, 161:2,         Honor [137] - 6:5, 6:9,
 233:6, 234:16           14:24, 35:9               helping [2] - 141:24,      161:10, 162:7,          6:18, 7:4, 9:6, 10:3,
granted [1] - 9:17      handyman [1] - 10:25        142:1                     162:12, 162:22,         12:4, 16:11, 23:9,
grants [24] - 76:1,     happy [1] - 67:7           helps [1] - 33:3           163:6, 163:12,          24:8, 24:15, 30:5,
 76:5, 76:6, 76:20,     hard [3] - 22:18,                                     163:22, 167:22,         31:14, 32:8, 32:13,
                                                   hereby [1] - 246:14
 104:20, 115:21,         168:1, 215:7                                         168:10, 168:16,         32:16, 32:21, 32:25,
                                                   hi [2] - 117:9, 227:6
 115:22, 116:6,                                                               168:18, 169:1,          36:2, 41:24, 44:6,
                        harder [1] - 170:13        high [4] - 72:13,
 176:23, 176:25,                                                              169:9, 169:10,          45:8, 45:15, 48:5,
                        Harris [1] - 2:14           72:14, 82:3, 169:22
 184:23, 184:24,                                                              170:2, 170:6,           49:5, 49:9, 49:21,
                        HARRY [2] - 3:16, 4:9      higher [1] - 155:13
 194:18, 194:20,                                                              171:18, 171:22,         54:14, 55:10, 57:3,
                        hat [2] - 125:21, 225:3    himself [1] - 148:23
 198:19, 199:2,                                                               172:7, 172:11,          60:10, 60:23, 61:8,
                        hate [1] - 130:23          hinge [1] - 191:19
 201:2, 201:10,                                                               172:14, 174:18,         64:15, 64:16, 64:23,
                        HB [1] - 1:22              historian [1] - 101:23
 201:14, 203:13,                                                              175:14, 177:15,         66:10, 71:23, 81:12,
                        head [2] - 42:5, 42:18     historically [1] - 99:17
 203:14, 213:5,                                                               177:17, 177:21,         83:6, 90:16, 91:21,
                        header [5] - 164:4,        history [4] - 31:17,
 236:17                                                                       177:25, 178:3,          93:17, 98:4, 98:7,
                         164:6, 169:14,             31:20, 31:21, 101:23
Gravier [4] - 11:21,                                                          178:6, 178:12,          107:6, 110:12,
                         233:12, 235:20            History [1] - 60:10
 11:23, 11:24, 43:15                                                          180:9, 180:18,          114:25, 127:21,
                        headquarters [5] -         hit [3] - 73:19, 103:15,
Great [1] - 153:8                                                             180:21, 181:10,         130:2, 130:17,
                         118:1, 118:3,              130:7                     182:16, 184:2,
great [3] - 65:11,                                                                                    131:20, 134:5,
                         119:16, 161:19,           HO [202] - 2:3, 6:5,
 83:16, 239:4                                                                 185:15, 185:19,         134:6, 135:4,
                         216:13                     6:14, 6:18, 6:20,         187:4, 187:8,
GREENSTEIN [1] -                                                                                      135:17, 141:7,
                        health [27] - 151:22,       6:25, 7:7, 7:17, 7:20,    188:17, 189:1,
 1:12                                                                                                 142:21, 144:1,
                         154:16, 154:17,            7:23, 8:7, 8:20, 9:10,    189:7, 189:17,
Greenstein [1] - 4:2                                                                                  145:14, 147:9,
                         154:21, 154:24,            9:13, 10:6, 12:4,         189:20, 190:19,
greet [1] - 158:7                                                                                     148:14, 152:22,
                         155:8, 155:10,             12:6, 12:14, 14:18,       191:1, 191:5, 191:9,
Gregory [1] - 137:21                                                                                  152:25, 154:25,
                         156:10, 157:12,            15:13, 16:13, 16:16,      192:2, 192:13,
grocery [3] - 51:2,                                                                                   156:11, 160:25,
                         157:19, 157:25,            17:11, 17:14, 19:14,      193:19, 198:3,
 62:15, 62:21                                                                                         161:22, 162:22,
                         158:1, 158:23,             19:23, 23:16, 23:24,      198:8, 199:9, 200:7,
ground [3] - 94:5,                                                                                    162:25, 163:3,
                         159:10, 159:12,            24:15, 24:17, 24:18,      209:6, 210:20,
 151:7, 226:6                                                                                         163:15, 163:21,
                         160:8, 225:21,             27:11, 28:11, 28:14,      211:12, 212:5,
group [6] - 50:25,                                                                                    167:22, 167:24,
                         225:23, 225:24,            29:12, 31:19, 32:1,       212:8, 212:18,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 260 of 278
                                                                                                                                 14


 168:10, 169:2,          hurricanes [1] -           Inc [1] - 2:4                165:9, 166:12,              9:16, 34:20, 34:21,
 169:9, 169:24,           103:16                    incident [1] - 156:6         207:12, 219:5,              122:18, 242:19,
 171:16, 172:21,         hypothet [2] - 122:20      include [1] - 170:19         221:25, 222:5,              243:15
 177:18, 177:22,         hypothetical [2] -         included [1] - 101:20        226:1, 227:15, 229:9      instructs [1] - 138:4
 177:25, 178:3,           121:13, 131:15            including [6] - 69:12,     industry [1] - 170:10       insurance [1] - 226:5
 178:8, 180:5,                                        71:6, 81:22, 166:15,     Infants [1] - 231:11        intact [1] - 216:9
 181:15, 184:2,                      I                166:25, 220:23           inferences [1] -            intend [1] - 107:17
 185:15, 185:18,                                    income [4] - 151:4,          211:22                    intent [1] - 244:17
 187:4, 188:15,          Iberville [1] - 14:11        151:6, 152:3, 226:7      inflection [1] - 150:6      intention [1] - 51:5
 188:17, 189:4,          idea [7] - 64:8, 121:15,   inconsistent [1] -         inform [2] - 181:21,        intentions [1] - 244:11
 189:9, 189:12,            122:15, 137:13,            198:8                      236:22                    interested [3] -
 190:6, 191:21,            176:6, 212:4, 231:13     incorporated [4] -         informal [1] - 78:17          149:11, 230:25,
 192:2, 192:13,          identified [14] - 28:11,     86:9, 86:19, 86:21,      information [44] -            231:3
 193:19, 198:3,            33:12, 33:17, 50:16,       244:8                      20:15, 22:4, 28:20,       interesting [1] - 141:8
 199:9, 209:3, 209:6,      95:22, 189:20,           incorrect [1] - 140:1        29:2, 29:6, 35:6,         interpret [2] - 170:1,
 209:11, 210:20,           190:2, 191:23,           increase [2] - 79:22,        35:24, 37:7, 47:12,         170:2
 211:12, 211:23,           192:4, 192:17,             79:23                      52:7, 98:1, 108:21,       interrelated [1] -
 212:5, 212:6,             209:4, 217:17,           increased [2] - 112:21       109:16, 111:1,              129:10
 213:20, 214:20,           243:11, 245:1            increasing [2] - 77:22,      122:5, 133:6,             interrupt [2] - 9:6,
 217:10, 219:16,         identify [8] - 165:16,       203:16                     133:17, 139:12,             31:6
 223:9, 223:12,            186:17, 193:21,          incur [1] - 174:10           146:6, 148:20,            interruption [2] - 10:7,
 232:14, 232:17,           193:24, 225:25,                                       150:2, 175:24,              24:17
                                                    incurred [1] - 174:7
 232:21, 234:8,            227:4, 235:24, 236:3                                  175:25, 187:1,
                                                    indeed [1] - 51:9                                      interview [2] - 35:13,
 237:8, 238:3, 238:8,    ignorance [1] - 154:12                                  187:11, 187:20,
                                                    independence [1] -                                       36:15
 238:16, 238:24,         III [4] - 5:13, 135:11,                                 187:23, 188:1,
                                                      138:17                                               interviewed [9] - 34:3,
 239:11, 241:1,            135:15, 204:8                                         188:5, 188:7,
                                                    independent [2] -                                        34:8, 37:14, 40:25,
 241:19, 243:3,          illegal [1] - 125:18                                    191:12, 197:11,
                                                      104:18, 182:9                                          41:13, 41:18, 42:2,
 245:5, 245:6,           immediately [3] -                                       201:6, 205:8,
                                                    independently [5] -                                      42:12, 43:21
 245:15, 245:21,           137:1, 188:1, 244:18                                  205:15, 205:24,
                                                      104:15, 104:17,                                      introduce [4] - 32:9,
 246:4                   impeach [2] - 81:14,                                    207:3, 210:19,
                                                      105:14                                                 32:10, 188:16,
honor [1] - 138:21         90:17                                                 211:6, 211:9,
                                                    indicate [3] - 108:22,                                   191:22
HONORABLE [1] -          impeachable [1] -                                       218:23, 220:24,
                                                      109:16                                               introduces [1] -
 1:18                      209:7                                                 231:20, 233:13
                                                    indicated [4] - 35:4,                                    148:23
hoping [1] - 124:24      impeaching [1] -                                      Information [2] -
                                                      35:20, 61:11, 213:4                                  involved [14] - 56:3,
Hospitals [6] - 1:13,      198:4                                                 186:10, 205:4
                                                    indirect [5] - 88:10,                                    68:5, 79:21, 80:22,
 4:3, 4:15, 117:11,      impeachment [3] -                                     informed [1] - 140:5
                                                      88:12, 91:7, 91:8,                                     99:1, 99:16, 99:21,
 227:12, 231:10            97:15, 180:10, 209:8                                infrequent [1] -
                                                      91:9                                                   99:24, 118:18,
host [1] - 164:15        implement [3] - 82:18,                                  169:21
                                                    indirectly [5] - 87:2,                                   138:24, 139:2,
hot [4] - 135:23,          205:11, 234:10                                      inhabited [1] - 57:13         142:3, 142:13, 143:7
                                                      88:14, 89:11, 113:3,
 158:5, 170:21, 171:4    implementation [3] -                                  inherent [1] - 124:10       involvement [4] -
                                                      120:10
hour [6] - 58:24,          80:6, 110:3, 129:16                                 initial [2] - 43:5, 43:14     67:21, 138:22,
                                                    individual [25] - 72:24,
 59:15, 207:7, 220:7     implemented [2] -                                     initials [1] - 34:10          151:15, 227:23
                                                      74:19, 74:23, 74:25,
hours [10] - 59:15,        234:5, 243:23                                       initiated [1] - 99:4        involves [2] - 60:21,
                                                      80:25, 87:1, 87:2,
 108:22, 109:9,          implementing [1] -                                    inner [5] - 111:6,            112:21
                                                      88:4, 88:5, 88:6,
 109:17, 155:11,           82:4                                                  152:4, 152:5, 152:6,      irrelevant [3] - 23:20,
                                                      88:24, 89:1, 89:2,
 160:3, 207:13,          importance [1] -                                        171:4                       31:21, 156:21
                                                      100:16, 111:2,
 220:24, 222:4,            149:25                                              inquire [1] - 31:8
                                                      120:8, 120:10,                                       issue [15] - 16:12,
 232:11                  important [13] - 21:14,                               inside [3] - 13:10,
                                                      131:19, 131:23,                                        44:6, 66:11, 82:7,
house [2] - 57:9,          29:7, 67:8, 94:3,                                     13:13, 13:20                98:20, 100:15,
                                                      155:4, 204:17,
 61:21                     119:15, 120:13,                                     inspirational [1] - 68:4      123:20, 123:24,
                                                      221:24, 228:6,
houses [1] - 111:11        120:18, 144:15,            229:18                   instance [2] - 86:12,         124:5, 124:21,
housing [2] - 57:7,        146:10, 146:11,          individually [2] -           99:22                       124:24, 124:25,
 143:13                    156:24, 165:12,            90:25, 109:3             instead [2] - 50:4,           125:10, 125:12,
How-to [1] - 235:19        234:18                   individuals [23] -           72:3                        156:22
Hudson [1] - 2:5         improper [1] - 34:16         73:22, 74:14, 74:21,     instructed [7] - 35:1,      issued [6] - 70:1,
hum [3] - 85:9,          IN [1] - 1:1                 86:23, 87:1, 91:4,         35:2, 36:10, 36:17,         76:12, 102:1, 102:2,
 212:14, 222:19          in-person [1] - 47:1         111:9, 121:21,             36:21, 37:21, 53:24         102:4, 126:20
human [1] - 88:5         inaccurate [1] - 140:5       127:16, 133:10,          instruction [4] - 9:11,     issues [4] - 163:1,
Hurricane [2] - 24:21,   inappropriate [1] -          141:24, 144:22,            9:14, 31:15, 36:24          163:11, 169:19,
 73:23                     123:18                     152:3, 160:20,           instructions [6] -            203:12
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 261 of 278
                                                                                                                                  15


item [3] - 61:1, 78:22,   judge [6] - 29:14,          79:14, 79:18,                167:25, 168:17,            111:24, 111:25,
  78:24                     56:10, 82:21,             140:21, 143:12,              168:20, 178:4,             112:1, 112:2, 112:4,
itemized [2] - 176:13,      129:22, 222:24,           151:15, 173:1,               178:25, 180:22,            112:14, 125:4,
  178:16                    223:8                     236:18                       206:1, 234:3, 238:5        133:6, 243:4
items [4] - 21:19,        Judge [11] - 38:13,        King [3] - 138:13,          law [7] - 65:24, 91:8,     Legal [3] - 2:4, 4:4,
  78:12, 78:14, 216:12      50:6, 90:11, 93:18,       138:19, 138:20               96:8, 146:4, 243:9,        4:15
itself [9] - 16:14,         93:25, 96:22,            Kirk [17] - 142:16,           243:10, 244:20           legally [1] - 108:8
  23:17, 57:13,             104:23, 104:25,           161:16, 164:21,            Law [3] - 2:8, 3:3, 3:8    legislation [5] - 71:1,
  115:22, 162:2,            149:6, 181:13, 191:4      167:15, 176:8,             LAWRENCE [1] - 2:8           71:20, 99:17,
  168:1, 168:8,           JUDGE [1] - 1:19            176:9, 185:8,              lawsuit [24] - 27:7,         101:21, 105:10
  203:11, 215:3           July [6] - 55:20, 96:13,    187:21, 189:15,              27:12, 27:15, 53:1,      legislative [2] - 70:25,
                            97:3, 112:7, 113:5,       193:8, 193:9,                53:12, 53:14, 53:21,       71:11
           J                205:21                    193:12, 194:4,               96:2, 96:7, 96:9,        length [1] - 6:6
                          June [19] - 89:13,          204:17, 204:22,              97:20, 97:23, 98:3,      lengthy [3] - 154:25,
J-O-H-N-S-O-N [1] -         94:21, 103:1, 104:6,      224:22, 236:19               98:17, 98:20, 98:25,       163:3, 163:8
  65:5                      104:7, 105:6, 107:3,     kit [1] - 161:14              99:2, 99:4, 172:10,      less [4] - 10:20, 11:1,
jack [1] - 11:1             110:5, 113:19,           knowing [4] - 31:4,           239:6, 239:7, 242:5,       121:7, 239:11
Jacobson [1] - 2:14         114:9, 114:22,            37:23, 52:8, 146:17          242:15, 244:17           letter [8] - 94:24,
jail [1] - 72:13            115:24, 138:13,          knowledge [5] - 9:24,       lawyer [6] - 27:20,          94:25, 95:21, 125:9,
JAMES [1] - 4:14            138:16, 138:17,           82:2, 99:20, 110:19,         53:23, 65:22, 72:17,       193:8, 194:11,
JANE [1] - 1:18             150:14, 195:16,           199:1                        183:25, 218:9              203:20, 243:8
January [9] - 78:7,         205:21, 242:2            knowledgeable [2] -         lawyer's [1] - 147:9       letterhead [2] - 93:9,
  78:10, 96:16, 97:20,    junior [1] - 8:17           81:3, 81:24                lawyers [9] - 29:13,         94:17
  107:15, 174:1,          Junior [1] - 10:18         known [2] - 111:25,           53:15, 54:1, 130:23,     letters [6] - 93:10,
  174:3, 174:9            Justification [1] -         141:8                        180:23, 181:12,            94:10, 94:17,
Jena [2] - 72:11, 72:12     233:13                   knows [3] - 41:25,            210:25, 212:16,            123:25, 125:11,
JESSE [1] - 2:13          justification [1] -         143:3, 180:13                245:8                      125:13
Joanne [1] - 7:9            233:17                   KORGAONKAR [1] -            lay [2] - 144:4, 185:21    letting [1] - 245:20
job [5] - 136:17,         justify [1] - 233:15        2:3                        LDF [4] - 112:9,           level [19] - 68:20,
  193:13, 226:18,                                                                  112:13, 112:24,            68:21, 76:10, 76:22,
  241:23, 244:18                     K                           L                 113:5                      79:4, 79:16, 79:17,
JOHNSON [3] - 1:10,                                                              lead [1] - 232:3             80:5, 82:2, 82:3,
  5:8, 64:25              Katrina [6] - 24:21,       LA [18] - 2:10, 3:5, 3:9,   leading [13] - 130:17,       105:13, 114:19,
Johnson [27] - 64:24,      25:5, 73:19, 73:23,         3:14, 3:19, 4:6, 4:12,      130:19, 130:20,            116:13, 118:17,
  65:4, 65:8, 65:18,       103:15, 136:16              4:17, 88:7, 161:20,         131:3, 131:20,             118:24, 122:1,
  67:2, 69:20, 72:5,      keep [15] - 44:24,           163:13, 169:3,              152:23, 189:21,            124:8, 125:7, 125:15
  80:10, 81:8, 82:15,      67:8, 90:22, 120:13,        176:11, 182:2,              234:8, 234:12,           levels [2] - 79:4
  82:20, 94:16, 99:15,     141:12, 146:5,              183:17, 187:15,             238:8, 239:21,           life [6] - 10:10, 10:12,
  109:3, 117:9, 128:2,     146:6, 146:10,              218:22, 222:11              239:23, 239:25             29:8, 58:4, 68:1,
  129:25, 175:8,           172:9, 213:21,            LA-NAACP [2] - 169:3,       learned [4] - 10:23,         79:10
  206:13, 206:14,          214:13, 216:9,              176:11                      24:25, 25:18, 26:22      light [1] - 22:11
  207:3, 210:13,           232:24, 236:10,           lacking [1] - 199:15        lease [2] - 11:11,         likely [1] - 151:6
  215:23, 226:16,          236:13                    lady [2] - 18:4, 28:9         11:12                    limine [5] - 31:19,
  226:17                  keeps [1] - 213:21         Lafayette [2] - 132:8,      least [10] - 47:20,          60:18, 60:20, 98:9,
johnson [5] - 65:2,       kept [3] - 173:21,           132:9                       62:20, 108:13,             99:8
  80:8, 81:6, 81:21,       188:18, 216:11            laid [2] - 36:16, 37:20       116:17, 151:6,           limit [1] - 31:25
  83:11                   kind [27] - 25:9, 25:23,   LAMBERT [2] - 3:16,           154:7, 159:23,           limited [4] - 60:23,
join [2] - 88:13, 88:14    30:19, 30:20, 39:3,         4:10                        166:19, 183:24,            143:10, 172:20,
JONES [13] - 3:7,          88:9, 90:14, 99:15,       language [3] - 34:17,         236:20                     183:2
  49:25, 50:6, 50:8,       101:10, 103:8,              54:14, 244:8              leave [2] - 14:7, 14:9     line [21] - 15:23,
  54:17, 54:18, 55:17,     104:22, 119:15,           large [5] - 73:4, 89:4,     leaving [2] - 212:18,        21:14, 28:24, 61:3,
  55:18, 56:19, 56:25,     128:4, 144:14,              111:11, 150:5, 199:6        213:1                      61:4, 64:11, 78:12,
  60:7, 60:14, 60:19       146:18, 150:19,           last [29] - 7:2, 18:21,     left [3] - 41:18, 50:21,     78:14, 78:22, 78:24,
Jones [4] - 3:8, 5:6,      152:17, 154:14,             24:19, 26:13, 27:2,         167:2                      94:6, 95:6, 112:7,
  49:23, 57:23             154:25, 156:10,             29:4, 40:15, 40:17,       leg [1] - 179:2              116:6, 186:22,
Jonesboro [1] -            157:20, 158:2,              45:3, 45:4, 82:8,         legacy [1] - 138:21          195:19, 195:24,
  225:15                   190:17, 213:16,             103:10, 124:20,           legal [18] - 16:12,          197:20, 234:3
JOSEPH [2] - 3:16,         213:21, 214:17,             138:15, 140:18,             44:10, 54:15, 55:12,     lined [1] - 35:3
  4:9                      229:16                      144:25, 149:2,              55:14, 100:12,           lines [11] - 14:19,
JR [2] - 3:16, 4:9        kinds [8] - 39:21,           153:23, 154:1,              109:11, 111:22,            15:23, 107:7,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 262 of 278
                                                                                                                            16


  113:20, 117:25,           123:25, 125:19,          38:21, 38:24,             137:19, 138:9,          134:7, 134:9
  147:11, 147:12,           125:21, 126:8,           181:23, 183:9             138:22, 138:24,        Luther [7] - 8:8, 8:16,
  170:21, 171:5,            127:5, 127:7,          looks [5] - 18:13,          139:2, 139:7,           13:1, 17:25, 138:12,
  209:5, 223:4              127:14, 127:19,          18:14, 22:18,             139:10, 139:14,         138:19, 138:20
list [8] - 7:7, 87:3,       129:15, 131:16,          113:20, 168:3             139:18, 140:2,         LUTHER [4] - 1:5, 5:3,
  106:11, 147:18,           132:5, 132:7,          loud [1] - 183:4            140:15, 140:16,         8:11, 8:16
  147:20, 147:21,           132:16, 132:18,        LOUISIANA [3] - 1:2,        140:19, 141:1,
  148:2, 220:22             132:19, 133:1,           1:5, 6:1                  141:23, 142:4,                    M
listed [2] - 209:21,        139:6, 141:15,         Louisiana [238] - 1:10,     142:9, 142:25,
  234:25                    224:2, 224:7,            1:11, 1:12, 1:23,         144:2, 144:9,          ma'am [92] - 10:3,
listen [1] - 80:11          225:16, 228:25           3:12, 4:3, 4:15,          144:13, 144:18,         66:19, 83:13, 87:8,
lists [3] - 106:16,       locally [1] - 105:16       10:10, 10:12, 10:13,      144:23, 145:15,         89:4, 101:17, 104:5,
  148:5, 150:2            locals [2] - 129:8,        21:11, 30:9, 30:11,       145:21, 146:4,          104:17, 107:5,
litigant [1] - 47:24        129:9                    50:11, 50:17, 51:14,      146:21, 146:23,         110:7, 135:11,
litigation [6] - 26:14,   locate [1] - 136:17        51:16, 65:12, 65:15,      151:16, 152:8,          140:10, 174:21,
  45:6, 47:9, 47:11,      located [3] - 69:16,       66:5, 66:8, 66:13,        152:13, 153:8,          175:7, 175:11,
  47:14, 105:9              158:1, 233:2             66:17, 66:22, 67:3,       153:14, 158:1,          183:19, 184:21,
live [19] - 11:2, 11:3,   location [10] - 81:24,     67:4, 67:6, 67:12,        160:1, 162:21,          184:25, 185:4,
  11:9, 11:13, 11:23,       96:18, 122:16,           67:15, 67:18, 68:6,       164:12, 164:16,         185:6, 186:3, 186:6,
  11:24, 16:1, 18:23,       132:20, 147:8,           68:11, 68:18, 69:7,       164:24, 165:5,          186:15, 186:19,
  29:8, 37:1, 51:1,         147:16, 149:17,          69:9, 69:13, 69:14,       165:22, 166:2,          187:16, 187:19,
  61:24, 66:1, 97:13,       152:9, 160:16,           69:18, 70:11, 70:12,      166:17, 170:24,         188:13, 193:1,
  136:6, 148:20,            225:10                   70:15, 72:12, 72:20,      171:9, 171:25,          193:3, 194:19,
  155:8, 169:21,          locations [6] - 80:25,     73:11, 73:19, 73:21,      172:24, 173:22,         195:10, 195:18,
  229:18                    151:20, 154:4,           74:8, 74:16, 74:18,       175:3, 177:9,           196:6, 196:18,
lived [9] - 10:10,          160:21, 220:24,          74:19, 74:22, 74:23,      181:24, 193:13,         197:15, 197:17,
  10:12, 10:14, 11:13,      227:21                   75:1, 75:6, 75:10,        196:20, 198:16,         198:18, 198:20,
  11:18, 11:19, 11:20,    locked [3] - 67:24,        79:13, 79:14, 80:19,      204:7, 206:12,          198:24, 200:21,
  57:19, 61:20              67:25, 68:7              80:23, 83:19, 83:20,      206:16, 207:4,          200:24, 201:7,
living [22] - 10:17,      LOFFLER [1] - 2:13         84:4, 84:7, 84:11,        209:15, 209:19,         201:12, 202:3,
  11:7, 11:14, 15:1,      look [55] - 12:19,         84:14, 84:15, 84:20,      210:18, 211:1,          202:6, 202:23,
  15:3, 15:4, 25:5,         14:13, 16:19, 16:21,     84:21, 86:12, 86:21,      211:9, 215:25,          203:1, 203:4,
  30:1, 31:11, 31:16,       16:23, 19:17, 21:10,     86:24, 87:3, 87:6,        219:13, 220:4,          203:20, 204:1,
  51:10, 55:11, 57:7,       23:25, 30:7, 38:16,      87:7, 87:10, 87:13,       223:22, 224:5,          204:10, 205:1,
  57:18, 57:25, 58:3,       44:14, 45:13, 50:6,      87:14, 87:15, 87:16,      224:8, 224:17,          205:14, 205:16,
  58:6, 61:22, 61:23,       51:21, 101:21,           87:19, 87:22, 88:19,      225:3, 226:11,          205:25, 206:4,
  65:20, 66:3, 136:10       111:3, 111:7,            89:3, 89:10, 89:20,       226:14, 226:23,         206:10, 207:11,
LLP [3] - 2:14, 3:17,       120:23, 131:2,           90:5, 90:6, 91:1,         227:2, 227:7,           208:12, 208:14,
  4:10                      155:8, 162:3,            92:1, 92:8, 93:11,        227:11, 228:4,          208:15, 209:18,
local [68] - 69:23,         163:13, 163:18,          93:15, 94:18, 95:4,       228:5, 228:9,           209:22, 209:24,
  75:5, 75:6, 79:4,         163:19, 163:20,          95:10, 95:13, 95:14,      228:10, 228:11,         210:19, 211:11,
  79:17, 89:22, 89:23,      164:24, 167:4,           95:17, 95:24, 95:25,      228:15, 228:16,         212:4, 216:17,
  103:24, 104:2,            167:6, 168:14,           96:4, 97:21, 98:1,        228:21, 231:8,          216:21, 216:24,
  104:4, 104:8, 104:9,      168:19, 168:20,          99:3, 99:19, 99:25,       231:9, 233:24,          218:2, 218:5, 218:8,
  104:11, 104:14,           175:15, 193:7,           100:3, 100:6, 100:8,      236:10, 236:23,         218:18, 218:25,
  105:4, 105:13,            193:24, 195:12,          100:20, 100:25,           238:11, 238:19,         219:9, 219:12,
  105:17, 106:19,           195:19, 197:19,          101:4, 101:11,            238:23, 239:19,         219:25, 220:3,
  106:24, 107:16,           201:17, 201:18,          101:18, 101:20,           241:25                  220:5, 220:8,
  107:21, 107:24,           204:5, 205:3, 206:1,     102:6, 102:15,          Louisiana's [1] -         220:10, 220:21,
  108:1, 108:6,             207:22, 208:15,          102:22, 103:8,            102:3                   221:3, 221:5, 221:9,
  108:14, 108:15,           209:19, 210:6,           103:16, 105:18,         love [1] - 150:7          221:16, 221:23,
  108:21, 116:13,           212:2, 218:9,            106:2, 107:1,           low [8] - 111:8,          222:15, 222:21
  117:21, 118:1,            218:21, 218:22,          107:10, 108:9,            169:19, 170:9,         Magnolia [3] - 11:3,
  118:13, 118:15,           222:11, 230:19,          109:2, 109:22,            203:12, 210:2,          11:6, 11:13
  119:2, 119:12,            239:6                    110:20, 113:3,            226:7, 237:5, 237:21   mail [7] - 25:23, 26:1,
  119:17, 120:5,          looked [10] - 18:21,       113:11, 115:15,         lower [5] - 151:4,        52:9, 62:3, 149:16,
  120:11, 120:17,           33:2, 39:22, 41:8,       115:20, 119:24,           151:6, 152:3,           166:15, 166:22
  122:10, 122:21,           44:3, 46:18, 182:3,      120:20, 120:22,           170:11, 205:6          mailed [2] - 43:12,
  123:1, 123:15,            185:5, 196:5, 196:17     120:25, 121:14,         lowest [1] - 205:21       56:1
  123:16, 123:21,         looking [5] - 38:12,       129:7, 135:25,          lunch [3] - 116:17,      mailing [1] - 14:20
                                                     136:7, 136:11,                                   maintain [3] - 115:15,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 263 of 278
                                                                                                                             17


 205:11, 243:1             122:3, 123:15,           113:3, 120:8,             MILAZZO [1] - 1:18        moments [4] - 12:10,
maintains [1] - 115:16     142:9, 147:7,            120:10, 120:11,           Milazzo [1] - 181:13       24:15, 57:1, 167:6
major [3] - 153:24,        154:17, 159:11,          120:15, 120:23,           Milazzo's [1] - 149:6     monetary [2] - 110:21,
 170:11, 210:3             162:20, 169:23,          121:17, 121:20,           mind [7] - 38:1, 38:3,     208:13
majority [2] - 226:1,      169:25, 170:5,           123:25, 131:19,            38:4, 88:15, 146:19,     money [54] - 77:5,
 226:3                     174:22, 176:21,          131:24, 228:6, 228:8       213:4, 228:14             77:14, 79:6, 105:2,
man [5] - 73:7, 108:22,    179:7, 190:1,           Membership [2] -           mine [7] - 13:1, 17:25,    106:11, 106:17,
 109:17, 193:9, 213:4      197:13, 229:10,          124:18, 124:19             35:10, 137:10,            115:16, 116:20,
manage [2] - 68:17,        236:1, 237:6            membership [12] -           151:10, 201:24,           116:23, 123:5,
 104:10                   meaning [1] - 76:17       75:3, 75:9, 75:10,         226:2                     123:7, 123:17,
managed [1] - 219:24      means [9] - 9:18,         75:11, 88:13, 89:5,       minorities [1] - 71:6      128:25, 136:16,
management [2] -           76:11, 89:10,            89:11, 91:10, 91:12,      minute [11] - 39:1,        172:23, 173:17,
 69:3, 69:4                117:17, 122:9,           101:22, 125:16,            39:22, 49:3, 59:22,       181:3, 181:4,
MANAGER [5] - 217:6,       166:24, 170:13,          140:20                     64:18, 70:10, 96:22,      183:21, 196:21,
 217:8, 223:1, 223:3,      235:23, 236:2           memberships [3] -           113:22, 126:18,           196:23, 197:2,
 223:7                    meant [6] - 31:6,         88:13, 88:14, 132:18       218:16, 225:4             199:2, 199:3, 199:7,
manner [2] - 98:19,        31:17, 170:3, 170:5,    memorandum [1] -           minutes [9] - 58:14,       200:22, 202:10,
 193:15                    170:7                    213:15                     59:2, 59:8, 59:18,        202:22, 206:6,
manuals [3] - 162:10,     mechanic [3] - 10:19,    memory [5] - 22:21,         64:19, 90:19,             206:11, 208:21,
 163:8                     10:22, 63:14             24:24, 112:6,              181:18, 223:18,           209:14, 209:25,
march [4] - 71:16,        Medicaid [2] - 231:10,    200:14, 225:22             239:11                    210:2, 210:4,
 72:8, 72:11, 72:18        231:23                  mention [3] - 25:17,       mis [1] - 20:15            210:14, 210:17,
March [2] - 96:16,        Medicare [1] - 231:22     66:17, 92:3               mis-information [1] -      213:6, 213:17,
 97:21                    meet [2] - 29:20,        mentioned [11] -            20:15                     219:10, 221:10,
marched [1] - 72:9         108:12                   71:10, 128:3,             mischaracterizes [1] -     221:11, 221:19,
marches [1] - 105:9       meeting [18] - 68:21,     148:16, 150:10,            91:22                     221:20, 221:21,
MARIE [1] - 3:11           96:4, 96:5, 96:9,        150:25, 152:17,           missed [1] - 69:22         233:10, 233:16,
mark [2] - 196:3,          96:11, 96:13, 96:16,     153:11, 159:2,            missing [1] - 133:14       233:22, 237:17,
 196:16                    96:17, 97:8, 97:22,      160:17, 162:9,            mission [10] - 70:17,      237:21, 239:4,
                           109:7, 120:21,           225:21                     71:7, 77:21, 80:18,       239:20, 240:9
marked [6] - 14:4,
                           120:23, 124:20,         merely [1] - 178:9          107:14, 122:24,          monies [5] - 75:14,
 16:4, 33:18, 103:3,
 161:20, 185:1             132:20, 174:3, 224:8    Mesodontia [1] -            123:1, 123:2, 123:3,      77:9, 106:8, 129:1,
                          meetings [3] - 68:11,     153:7                      158:20                    184:16
marketer [1] - 148:23
                           68:13, 224:13           mess [1] - 190:1           misstated [1] - 219:19    monitor [1] - 185:25
Martin [3] - 138:12,
 138:19, 138:20           member [35] - 73:10,     message [1] - 186:25       misstatement [1] -        month [10] - 78:5,
                           74:21, 75:5, 88:6,      messages [1] - 166:25       139:20                    157:11, 157:17,
master [1] - 11:1
                           88:8, 88:9, 88:23,      messaging [1] -            misstating [3] - 36:1,     157:21, 157:23,
matching [1] - 199:11
                           88:25, 89:3, 89:8,       166:16                     36:4, 184:2               159:20, 159:23,
material [2] - 133:8,
                           89:11, 91:1, 91:8,      messing [2] - 167:2,       mistakes [1] - 97:16       159:24, 227:8
 149:25
                           91:9, 92:16, 92:19,      190:10                    misunderstand [1] -       monthly [1] - 216:10
materials [6] - 77:7,
                           122:1, 125:13,          met [2] - 140:4, 223:17     126:4                    months [13] - 10:16,
 130:8, 130:9,
                           129:10, 138:12,         method [1] - 75:16         misunderstanding [1]       11:8, 38:6, 47:2,
 130:10, 131:5, 131:7
                           138:25, 139:4,          methods [1] - 71:22         - 87:14                   52:6, 57:17, 62:1,
matter [2] - 60:24,
                           139:6, 139:9,           MICHAEL [1] - 2:12         mobile [1] - 57:9          63:8, 63:18, 153:23,
 119:7
                           139:13, 139:18,         michael.deleeuw@                                      154:1, 205:20, 242:3
matters [2] - 8:7,                                                            mobilization [5] -
                           140:2, 140:13,           friedfrank.com [1] -       144:12, 167:10,          morning [10] - 6:3,
 32:21
                           140:14, 228:9,           2:16                       168:21, 179:5,            8:8, 8:21, 8:22,
McCAY [1] - 4:3
                           228:11, 228:15,         MICHELLE [1] - 2:17         179:17                    29:19, 65:8, 65:9,
mcNamara [1] - 215:5
                           228:24                  mid [4] - 169:20,                                     83:11, 246:1, 246:8
McNamara [1] - 246:6                                                          mobilize [1] - 203:10
                          members [45] - 73:4,      170:12, 202:18,                                     Morning [2] - 137:19,
McRitchie [2] - 7:21,                                                         mobilizing [3] - 79:24,
                           73:5, 74:19, 75:4,       203:8                                                153:9
 7:22                                                                          79:25, 80:1
                           75:6, 86:23, 87:1,      mid-term [4] - 169:20,                               most [12] - 72:6, 81:3,
meals [1] - 103:14                                                            mode [1] - 103:17
                           87:2, 87:3, 88:3,        170:12, 202:18,                                      103:16, 111:7,
mean [38] - 26:7,                                                             modern [2] - 147:14,
                           88:10, 88:19, 88:25,     203:8                                                114:18, 121:9,
 34:15, 40:16, 43:8,                                                           147:23
                           89:20, 90:2, 90:14,     might [11] - 31:8, 56:3,                              129:6, 152:20,
 52:19, 55:6, 67:25,                                                          modified [2] - 6:14,
                           91:4, 91:5, 91:6,        77:7, 78:18, 85:18,                                  153:3, 158:15,
 68:24, 72:24, 76:19,                                                          6:23
                           91:7, 91:25, 92:8,       96:22, 101:13,                                       160:11
 78:12, 79:4, 95:13,                                                          moment [9] - 16:19,
                           93:6, 94:2, 94:8,        196:24, 213:10,                                     Mother's [1] - 205:13
 97:8, 100:16, 107:4,                                                          23:2, 26:17, 39:16,
                           96:5, 103:17,            222:22, 228:2                                       motion [6] - 31:19,
 109:3, 119:14,                                                                60:3, 73:18, 141:22,
                           112:25, 113:2,                                                                60:19, 98:6, 98:9,
 120:14, 121:20,                                   Mike [1] - 72:8             143:8, 156:12
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 264 of 278
                                                                                                                      18


 99:7, 171:23             104:25, 105:24,         217:14, 219:16,           190:2, 190:5,          70:13, 70:15, 70:17,
motions [1] - 60:17       110:12, 111:16,         219:19, 220:12,           190:15, 190:21,        71:3, 71:14, 71:15,
motor [1] - 61:22         114:25, 117:8,          223:12, 223:16,           190:24, 191:3,         72:20, 73:20, 73:21,
move [17] - 6:6, 15:7,    127:21, 128:1,          229:23, 232:14,           191:7, 191:12,         74:8, 74:16, 74:18,
 23:2, 71:25, 72:4,       129:22, 129:25,         232:17, 232:21,           191:21, 192:3,         74:20, 74:22, 74:24,
 94:13, 115:7,            130:6, 130:22,          232:23, 234:15,           192:7, 192:9,          75:1, 75:6, 75:11,
 127:25, 149:21,          130:25, 131:4,          235:9, 235:13,            192:16, 192:18,        76:8, 77:1, 79:3,
 156:24, 167:22,          131:22, 132:1,          235:18, 237:20,           193:20, 193:23,        79:13, 79:15, 79:24,
 168:16, 169:3,           134:5, 134:6, 135:4,    238:3, 238:4, 238:9,      194:1, 194:3,          80:20, 83:19, 84:4,
 217:10, 237:19,          135:17, 135:19,         238:10, 238:16,           195:21, 195:23,        84:6, 84:12, 84:15,
 238:2, 240:1             140:11, 141:12,         238:17, 239:11,           198:6, 198:12,         84:16, 84:20, 84:21,
moved [7] - 21:25,        141:13, 143:4,          239:13, 239:16,           198:14, 199:15,        87:4, 87:6, 87:7,
 22:3, 139:5, 148:12,     144:5, 145:18,          240:3, 240:19,            199:24, 200:11,        87:13, 87:14, 87:15,
 178:3, 182:6, 183:2      145:20, 148:14,         241:1, 241:5, 241:9,      200:15, 200:18,        87:17, 87:19, 87:21,
MR [300] - 6:5, 6:14,     148:15, 152:25,         241:11, 241:19,           201:23, 201:25,        88:7, 88:20, 89:3,
 6:18, 6:20, 6:25, 7:7,   153:1, 155:22,          241:21, 243:7,            204:2, 207:21,         89:10, 89:21, 91:2,
 7:17, 7:20, 8:3, 8:7,    155:24, 156:11,         245:3, 245:5, 246:4       209:3, 209:11,         92:2, 92:9, 92:23,
 8:20, 9:10, 9:13,        156:15, 156:18,        mrupp@projectvote.         209:13, 210:23,        93:10, 93:14, 94:18,
 10:6, 12:4, 12:6,        156:20, 156:23,         org [1] - 2:21            211:16, 211:23,        95:3, 95:10, 95:14,
 12:14, 14:18, 15:13,     157:4, 157:6, 157:8,   MS [179] - 6:9, 6:22,      212:1, 212:14,         95:17, 95:24, 96:1,
 16:11, 16:13, 16:14,     157:15, 157:16,         7:3, 7:13, 7:19, 7:22,    213:1, 213:10,         97:21, 98:2, 99:16,
 16:16, 17:11, 17:14,     159:4, 160:25,          9:6, 66:10, 66:19,        213:25, 214:4,         99:20, 100:4,
 19:14, 19:23, 23:9,      161:2, 161:10,          71:23, 81:12, 82:5,       214:9, 214:12,         100:10, 100:20,
 23:13, 23:16, 23:19,     162:7, 162:12,          82:11, 83:10, 88:2,       214:18, 214:20,        100:23, 101:1,
 23:24, 24:8, 24:15,      162:22, 162:24,         88:18, 90:11, 90:12,      214:25, 215:7,         101:5, 101:20,
 24:17, 24:18, 27:11,     163:6, 163:12,          90:19, 90:24, 91:24,      215:12, 217:5,         102:7, 102:22,
 28:11, 28:14, 29:12,     163:22, 167:22,         93:18, 93:24, 94:9,       217:7, 217:10,         104:11, 107:10,
 29:18, 30:4, 30:6,       168:10, 168:12,         94:15, 96:22, 96:25,      217:17, 217:21,        108:10, 110:20,
 31:14, 31:19, 31:24,     168:16, 168:18,         97:3, 97:5, 97:16,        219:23, 220:13,        112:1, 112:14,
 32:1, 32:2, 32:8,        169:1, 169:9,           97:17, 98:7, 98:11,       220:17, 222:7,         113:3, 114:7, 116:8,
 32:13, 32:16, 32:17,     169:10, 170:2,          98:23, 99:11, 99:14,      222:9, 222:22,         117:25, 120:1,
 32:20, 32:25, 33:4,      170:6, 171:16,          101:16, 102:13,           222:24, 223:2,         126:10, 129:6,
 33:6, 36:1, 36:5,        171:18, 171:20,         103:3, 103:6, 105:5,      223:5, 223:8, 234:8,   131:14, 132:5,
 36:6, 38:13, 38:15,      171:22, 172:5,          106:1, 107:6, 107:8,      237:8, 237:24,         138:12, 138:23,
 38:20, 38:23, 39:8,      172:7, 172:11,          110:17, 110:18,           238:8, 238:13,         138:25, 139:1,
 41:24, 42:1, 42:11,      172:14, 174:18,         111:18, 111:21,           238:24, 239:12,        139:3, 139:4,
 44:6, 44:8, 44:11,       175:14, 177:15,         115:2, 115:8, 116:4,      239:21, 243:3,         139:14, 140:13,
 44:12, 45:8, 45:11,      177:17, 177:21,         117:3, 130:17,            245:6, 245:15,         140:17, 141:16,
 45:15, 45:17, 45:19,     177:25, 178:3,          131:20, 141:7,            245:16, 245:17,        141:23, 142:4,
 48:5, 48:9, 48:16,       178:6, 178:8,           142:21, 144:1,            245:21                 142:10, 142:17,
 48:18, 48:21, 48:23,     178:12, 180:9,          145:14, 152:22,          multiple [2] - 62:17,   143:6, 144:2,
 49:1, 49:5, 49:8,        180:18, 180:21,         157:2, 157:13,            94:7                   144:13, 144:19,
 49:11, 49:13, 49:16,     181:10, 182:16,         158:25, 161:22,          must [8] - 21:15,       144:24, 145:22,
 49:21, 49:25, 50:6,      182:18, 184:2,          162:3, 163:3,             62:19, 124:4,          146:21, 146:23,
 50:8, 54:14, 54:17,      185:15, 185:19,         167:24, 169:5,            160:18, 210:7,         147:25, 151:17,
 54:18, 55:9, 55:17,      187:4, 187:8,           169:24, 177:14,           216:9, 216:11,         152:14, 161:19,
 55:18, 56:19, 56:24,     188:17, 189:1,          177:16, 177:20,           216:12                 161:20, 163:13,
 56:25, 57:1, 57:3,       189:5, 189:7,           180:5, 180:14,                                   163:24, 164:12,
 57:5, 60:3, 60:5,        189:17, 189:20,         181:15, 181:21,                    N             164:16, 164:24,
 60:7, 60:14, 60:19,      190:1, 190:6,           182:8, 182:13,                                   165:5, 165:22,
 61:7, 64:15, 64:16,      190:19, 191:1,          182:20, 182:23,          NAACP [204] - 1:6,      166:2, 166:17,
 64:23, 65:7, 66:23,      191:5, 191:9,           183:3, 183:7,             2:4, 65:13, 65:15,     167:16, 169:3,
 67:1, 67:11, 70:8,       191:18, 192:2,          183:13, 184:4,            66:5, 66:8, 66:18,     170:24, 171:10,
 71:25, 72:2, 75:25,      192:13, 193:19,         184:8, 184:10,            66:24, 67:4, 67:6,     172:21, 173:23,
 80:12, 80:14, 81:20,     198:3, 198:8, 199:9,    185:17, 185:20,           67:8, 67:13, 67:16,    174:25, 176:11,
 82:10, 82:14, 82:19,     200:7, 209:6,           185:22, 187:6,            67:18, 67:21, 67:23,   181:8, 183:17,
 82:25, 83:5, 87:25,      210:20, 211:12,         187:9, 188:15,            67:24, 68:11, 68:12,   183:18, 184:11,
 90:16, 91:21, 93:17,     212:5, 212:8,           188:22, 188:24,           68:13, 68:16, 68:18,   187:15, 187:22,
 93:21, 98:4, 98:18,      212:18, 213:19,         189:4, 189:9,             69:8, 69:9, 69:10,     193:9, 194:5,
 102:11, 104:23,          214:2, 214:5,           189:12, 189:18,           69:15, 69:24, 69:25,   198:17, 198:19,
                          214:10, 214:22,         189:22, 189:25,           70:1, 70:3, 70:11,     200:19, 203:13,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 265 of 278
                                                                                                                              19


 206:12, 206:15,           117:22, 118:3,            43:9, 68:7, 151:14,      NIYATI [1] - 2:22          55:9, 66:10, 71:23,
 209:15, 209:19,           118:7, 118:13,            170:7, 170:9,            nobody [2] - 86:4,         98:4, 115:2, 127:21,
 210:1, 210:8,             118:16, 118:17,           170:13, 233:15,           229:17                    161:22, 188:17,
 210:14, 210:18,           119:4, 119:8, 121:4,      243:17                   noise [1] - 200:17         189:4, 189:25,
 211:2, 211:9,             121:25, 122:3,           needing [1] - 220:25      non [2] - 210:9,           198:3, 211:12,
 215:18, 215:24,           122:22, 123:8,           needs [6] - 24:12,         215:16                    234:8, 243:3
 215:25, 222:11,           123:9, 123:10,            56:23, 129:18,           non-partisan [2] -        objected [6] - 182:15,
 224:2, 224:8, 227:3,      123:11, 123:13,           141:3, 209:9, 244:8       210:9, 215:16             182:17, 189:5,
 227:7, 231:8,             123:14, 123:22,          negotiate [1] - 71:19     none [3] - 11:1, 64:15,    189:13, 214:4,
 236:10, 238:11,           124:7, 125:2, 125:7,     neighborhood [4] -         64:16                     214:10
 238:20, 238:23,           125:17, 125:23,           25:11, 27:6, 170:20,     normal [1] - 62:14        objecting [3] - 125:14,
 239:19, 240:18            126:9, 126:20,            171:3                    normally [3] - 153:18,     152:22, 183:5
NAACP's [3] - 135:25,      127:1, 127:3, 127:4,     neighbors [1] - 111:9      153:22, 158:7            objection [73] - 6:22,
 172:1, 212:19             127:14, 127:19,          never [30] - 25:16,       North [2] - 3:13, 57:20    7:3, 23:9, 23:19,
NAACP-83 [1] -             129:2, 129:13,            26:10, 31:2, 40:23,      note [2] - 99:11, 162:7    24:9, 32:12, 36:1,
 218:22                    130:15, 140:14,           42:2, 42:7, 42:10,       noted [3] - 191:25,        41:24, 44:6, 80:12,
name [47] - 8:14, 8:16,    142:17, 142:22,           44:3, 56:2, 62:5,         215:10, 217:19            81:12, 87:25, 90:16,
 13:18, 28:10, 29:19,      142:23, 144:3,            63:6, 78:19, 79:5,       notes [3] - 99:17,         91:21, 93:17, 99:11,
 35:7, 37:22, 53:6,        147:25, 167:16,           84:16, 85:16, 85:19,      99:19, 213:15             102:11, 105:24,
 65:3, 66:12, 66:19,       172:21, 174:24,           87:9, 87:10, 102:5,      nothing [8] - 40:24,       110:12, 114:25,
 83:17, 83:18, 83:24,      176:20, 176:24,           109:13, 109:22,           78:23, 82:17, 110:3,      115:2, 130:17,
 84:1, 84:2, 84:3,         177:3, 180:24,            115:20, 121:11,           110:4, 181:9, 209:7,      131:20, 141:7,
 84:6, 84:11, 84:14,       181:4, 183:18,            151:14, 168:2,            234:10                    143:2, 144:1,
 84:19, 84:21, 84:24,      184:12, 187:21,           173:21, 178:3,                                      145:14, 158:25,
                                                                              notice [1] - 139:20
 84:25, 85:3, 85:18,       187:22, 194:5,            208:24, 221:10,                                     162:24, 163:10,
                                                                              noticed [1] - 140:1
 86:1, 86:8, 87:4,         198:15, 198:21,           240:13                                              167:24, 168:12,
                                                                              notwithstanding [1] -
 87:13, 87:18, 87:19,      200:19, 204:19,          nevertheless [1] -                                   169:5, 169:6,
                                                                               214:5
 87:21, 87:24, 93:9,       204:21, 206:5,            212:21                                              169:24, 170:4,
                                                                              November [10] - 20:7,
 93:11, 94:1, 94:10,       210:1, 216:13,           NEW [2] - 1:3, 6:1                                   178:8, 180:5,
                                                                               20:11, 21:4, 22:20,
 94:18, 95:9, 95:16,       224:15, 224:20,          new [4] - 7:1, 118:20,                               182:18, 183:4,
                                                                               39:2, 39:10, 59:13,
 111:12, 135:10,           224:22, 236:17            244:17, 244:25                                      184:2, 185:15,
                                                                               187:2, 187:12,
 135:12, 153:5,           native [1] - 10:10        New [30] - 1:23, 2:6,                                187:4, 190:10,
                                                                               197:12
 193:20, 241:15           natural [1] - 139:5        2:10, 2:15, 2:15,                                   190:11, 190:18,
                                                                              nshah@projectvote.
named [3] - 73:7,         nature [5] - 18:4,         11:4, 14:11, 20:25,                                 191:24, 193:19,
                                                                               org [1] - 2:25
 113:11, 113:14            20:22, 137:4,             24:21, 39:24, 51:14,                                198:9, 199:9, 209:6,
                                                                              number [19] - 6:21,
names [10] - 66:11,        147:10, 226:5             51:16, 80:2, 92:18,                                 210:20, 211:18,
                                                                               13:11, 18:3, 18:9,
 66:14, 72:24,            near [4] - 14:19,          103:15, 103:25,                                     212:5, 212:9,
                                                                               20:21, 90:18, 102:8,
 146:10, 147:13,           154:23, 195:5, 243:2      106:21, 108:18,                                     214:22, 215:9,
                                                                               130:25, 133:3,
 147:18, 147:20,          necessarily [3] -          112:16, 112:18,                                     217:13, 217:14,
                                                                               145:25, 152:1,
 147:21, 148:18,           107:23, 112:25,           132:10, 139:1,                                      217:19, 219:16,
                                                                               164:9, 173:11,
 220:24                    118:6                     150:14, 153:8,                                      219:18, 219:22,
                                                                               177:14, 177:22,
narrative [1] - 71:23     necessary [2] - 29:6,      205:21, 205:23,                                     220:12, 234:14,
                                                                               177:23, 180:11,
NATASHA [1] - 2:3          186:25                    206:24, 229:24                                      237:8, 237:10,
                                                                               199:11, 244:6
nation [1] - 122:21       need [33] - 7:20, 9:11,   next [32] - 6:4, 13:15,                              237:24, 238:8,
                                                                              number's [4] - 13:11,
National [7] - 86:15,      13:23, 24:11, 34:16,      13:19, 13:20, 13:23,                                238:24, 239:21,
                                                                               13:12, 18:3, 20:21
 124:18, 131:14,           66:13, 72:1, 74:11,       16:4, 19:18, 21:14,                                 245:15
                                                                              numbered [4] - 21:19,
 161:18, 161:19,           77:14, 90:17, 90:19,      57:11, 64:23, 83:6,                                objections [2] - 115:5,
                                                                               169:3, 186:1, 187:24
 242:12, 244:13            110:15, 111:19,           111:17, 132:20,                                     214:24
                                                                              numbers [8] - 12:15,
national [99] - 69:9,      116:2, 121:19,            135:4, 140:4,                                      obligation [2] -
                                                                               146:16, 155:13,
 69:25, 70:16, 73:20,      127:22, 140:7,            149:21, 164:6,                                      125:20, 229:5
                                                                               178:20, 187:13,
 74:1, 75:22, 75:23,       149:4, 165:16,            164:14, 170:17,                                    observation [1] -
                                                                               187:18, 199:11
 76:10, 76:12, 76:15,      171:17, 174:17,           185:11, 185:23,                                     168:12
                                                                              NVRA [2] - 7:17, 7:19
 77:1, 79:1, 86:14,        181:22, 185:2,            186:7, 186:10,                                     obtain [1] - 174:12
                                                                              NW [1] - 2:19
 86:16, 86:18, 87:9,       193:14, 221:1,            186:13, 186:17,                                    obtained [1] - 216:23
                                                                              NY [2] - 2:6, 2:15
 92:24, 100:10,            223:8, 229:21,            187:13, 187:17,                                    obtaining [1] - 220:24
 100:14, 100:16,           236:3, 237:11,            205:18, 215:17,                                    obviously [3] - 53:5,
 100:17, 100:19,           239:23, 241:15,           216:9, 234:10                       O               177:21, 199:15
 100:24, 101:3,            244:12                   nice [1] - 245:17                                   occasion [2] - 41:5,
                                                                              o'clock [1] - 134:8
 104:19, 105:15,          needed [12] - 25:21,      night [3] - 124:20,                                  155:17
                                                                              oath [1] - 89:17
 106:3, 106:20,            35:4, 35:21, 37:22,       154:8, 154:9                                       occasionally [1] -
                                                                              object [15] - 16:11,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 266 of 278
                                                                                                                                   20


 171:12                      172:21, 174:25,              53:14, 54:1, 54:8,      opportunities [1] -        organs [1] - 88:22
occasions [1] -              183:18, 184:12,              56:5, 56:7, 60:3,        74:3                      original [3] - 6:15,
 158:12                      187:21, 187:22,              60:19, 62:10, 70:3,     opportunity [7] - 44:4,     71:7, 168:2
occupancy [1] -              194:5, 195:17,               70:4, 72:3, 75:12,       137:14, 229:7,            originally [2] - 143:20,
 136:23                      198:15, 200:19,              78:4, 79:1, 92:15,       229:8, 229:11,             156:7
occurred [4] - 27:13,        204:19, 204:21,              92:18, 94:6, 97:12,      230:7, 232:1              ORLEANS [2] - 1:3,
 53:17, 62:13, 99:25         206:25, 228:20,              100:17, 115:12,         order [22] - 9:18, 9:23,    6:1
October [1] - 1:9            230:16, 231:25               122:6, 125:13,           13:13, 54:3, 75:4,        Orleans [34] - 1:23,
OCTOBER [1] - 6:1           Office [5] - 7:8, 21:11,      128:4, 128:5, 130:7,     83:5, 88:24, 123:20,       2:10, 11:4, 14:12,
OF [5] - 1:2, 1:5, 1:17,     31:7, 86:12, 148:3           132:17, 137:25,          125:23, 147:4,             20:25, 24:21, 30:16,
 5:2, 157:11                officer [4] - 74:7,           143:14, 147:21,          173:9, 178:10,             30:24, 33:14, 38:8,
offer [30] - 32:8, 32:10,    74:12, 74:14, 74:15          149:16, 151:7,           188:4, 193:14,             39:24, 41:13, 46:15,
 45:17, 48:25, 49:2,        officers [8] - 72:20,         153:11, 155:2,           212:22, 214:7,             47:17, 51:14, 51:16,
 49:8, 59:8, 59:23,          72:23, 74:13,                155:5, 159:2,            224:10, 228:9,             80:2, 92:18, 103:15,
 60:7, 60:9, 60:12,          113:11, 113:21,              161:20, 164:20,          228:10, 233:15,            103:25, 106:21,
 60:15, 60:16, 60:24,        114:3, 119:22,               169:11, 175:4,           241:4, 241:5               108:18, 112:16,
 61:1, 61:24, 127:23,        132:24                       177:11, 177:16,         orders [1] - 124:5          112:18, 132:10,
 162:22, 167:22,            offices [11] - 154:16,        178:13, 180:9,          organization [79] -         139:1, 150:14,
 169:3, 178:7,               159:9, 159:13,               180:22, 184:24,          66:12, 66:20, 68:13,       153:9, 205:21,
 188:15, 209:3,              159:15, 182:4,               187:17, 188:8,           68:20, 68:23, 69:4,        205:23, 206:24,
 214:21, 223:2,              227:13, 227:20,              191:5, 194:16,           70:9, 70:14, 70:16,        229:25
 223:4, 229:6, 229:9,        227:25, 229:2,               194:21, 195:3,           71:7, 72:7, 72:16,        otherwise [1] - 114:24
 229:10, 230:6               231:16                       195:4, 196:4,            73:5, 75:2, 76:8,         ought [1] - 106:15
offered [22] - 27:25,       official [27] - 1:9, 1:10,    196:17, 197:6,           76:9, 76:12, 79:11,       ourselves [1] - 189:2
 29:2, 29:3, 40:1,           1:12, 56:2, 73:14,           197:7, 199:10,           80:4, 82:3, 83:17,        outlined [1] - 68:15
 49:6, 54:20, 55:19,         74:7, 74:8, 74:10,           202:18, 202:19,          84:4, 84:6, 85:7,         outreach [11] -
 56:25, 61:4, 98:14,         74:15, 84:3, 84:6,           203:23, 204:24,          86:1, 86:4, 86:8,          151:16, 153:13,
 156:18, 163:1,              84:11, 84:14, 84:21,         205:23, 210:7,           86:14, 86:16, 86:18,       153:25, 154:14,
 189:1, 189:3,               84:24, 84:25, 85:2,          211:8, 212:12,           87:5, 87:15, 88:6,         156:10, 157:12,
 189:12, 190:7,              96:5, 140:16,                213:17, 213:18,          88:22, 92:24, 93:14,       157:18, 159:21,
 190:9, 191:22,              140:23, 181:1,               214:12, 215:14,          93:25, 94:3, 94:19,        203:15, 210:9,
 212:21, 214:6,              204:14, 223:22,              222:22, 223:21,          95:9, 95:16, 96:6,         215:16
 214:10, 243:6               225:3, 226:11,               226:22, 227:8, 238:5     100:14, 100:16,           outside [19] - 10:1,
office [84] - 7:15, 13:9,    242:11                      One [1] - 2:15            100:19, 100:20,            62:13, 62:16, 63:16,
 13:25, 18:2, 20:14,        Official [2] - 1:21,         one-page [1] - 6:9        100:25, 105:15,            150:21, 150:22,
 20:20, 20:24, 20:25,        246:14                      ones [7] - 102:2,         106:3, 106:20,             156:10, 157:12,
 33:14, 39:24, 40:21,       officially [3] - 177:4,       108:2, 138:11,           109:7, 110:20,             157:19, 159:5,
 41:1, 42:10, 42:13,         181:2, 181:3                 166:20, 171:2,           117:16, 117:22,            159:12, 159:22,
 43:3, 43:7, 43:23,         often [10] - 148:20,          181:13, 239:13           118:5, 118:16,             160:5, 160:7,
 43:25, 46:20, 47:1,         153:25, 154:6,              ongoing [5] - 187:2,      119:4, 119:11,             160:19, 212:24,
 58:16, 58:22, 58:23,        156:9, 157:10,               243:24, 244:6,           119:18, 120:16,            238:15, 239:3, 239:7
 58:25, 59:4, 59:14,         157:17, 157:18,              244:16, 244:19           120:17, 120:18,           overall [1] - 109:12
 59:17, 59:20, 69:25,        159:21, 170:14,             online [2] - 244:9        121:18, 122:15,           overrule [5] - 143:2,
 74:1, 74:8, 76:10,          245:13                      open [2] - 99:4, 99:5     123:10, 123:15,            163:10, 170:4,
 76:15, 79:1, 87:9,         old [6] - 9:3, 65:18,        opened [9] - 31:22,       123:16, 124:15,            198:9, 211:19
 89:16, 91:18,               65:19, 136:4, 136:5,         98:11, 98:12, 98:13,     125:25, 126:11,           overruled [6] - 131:21,
 100:10, 104:19,             245:19                       98:16, 98:23, 99:3,      126:20, 127:3,             159:2, 162:11,
 119:8, 123:9, 124:7,       on-going [1] - 187:11         99:8                     127:4, 128:5, 181:8,       217:18, 219:22,
 125:2, 125:17,             once [9] - 41:3, 70:1,       operate [3] - 70:4,       222:12, 242:16             220:15
 129:2, 129:13,              129:25, 139:6,               87:23, 92:23            organization's [3] -       oversight [10] - 69:2,
 142:17, 142:22,             154:7, 157:21,              operates [1] - 85:7       84:19, 104:19,             70:2, 108:11,
 142:23, 144:3,              159:23, 228:2,              operation [3] - 77:11,    124:14                     108:12, 108:16,
 147:8, 147:9,               232:17                       77:13, 77:15            organizational [4] -        109:5, 117:17,
 147:10, 147:22,            one [96] - 6:9, 14:11,       operationally [1] -       74:17, 117:24,             118:6, 122:9, 124:9
 147:25, 150:22,             18:21, 20:21, 21:1,          126:7                    123:13, 124:11            own [5] - 19:17, 76:14,
 151:23, 158:24,             24:23, 27:2, 27:19,         operations [2] -         organizations [4] -         92:23, 162:10, 163:8
 159:1, 159:6,               27:20, 28:1, 28:23,          205:12, 205:20           93:4, 117:21, 138:8,      owners [1] - 136:17
 159:22, 160:1,              32:22, 35:16, 39:16,        Operations [1] - 84:22    224:2
 160:5, 160:19,              40:13, 42:16, 44:22,        opinion [3] - 85:6,      organize [1] - 69:24
 160:20, 167:16,             45:12, 45:20, 51:2,          102:15, 226:2           organized [1] - 181:16
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 267 of 278
                                                                                                                              21


                            235:14                    22:25, 35:2, 38:2,        Pause [21] - 12:12,     percent [2] - 75:9,
           P
                           paged [1] - 193:8          69:9, 75:4, 76:11,         14:16, 15:11, 19:21,    75:11
p.m [2] - 134:9, 246:9     pages [27] - 6:15,         79:10, 80:18,              24:16, 48:8, 49:4,     percentages [2] -
P.M [1] - 135:2             6:16, 6:23, 14:14,        107:14, 108:15,            57:2, 60:4, 90:23,      111:4, 205:6
packet [2] - 40:5, 45:1     15:9, 18:9, 19:15,        109:12, 120:5,             96:21, 96:24, 103:5,   perfect [1] - 97:18
packets [1] - 35:17         19:18, 22:7, 22:23,       120:6, 122:5, 128:6,       161:8, 177:24,         perform [4] - 68:15,
page [135] - 6:9, 12:15,    33:8, 35:18, 46:2,        139:7, 143:14,             184:6, 190:13,          103:25, 154:23,
 12:16, 12:18, 13:4,        60:16, 61:2, 161:6,       143:18, 162:16,            203:25, 222:23,         159:5
 14:14, 14:19, 15:16,       164:23, 167:25,           168:1, 168:6, 168:8,       234:13, 235:16         performed [2] - 79:13,
 15:20, 16:21, 16:23,       168:7, 168:17,            168:11, 168:20,           pay [11] - 77:11,        159:3
 17:9, 18:9, 18:12,         168:20, 169:2,            178:25, 179:3,             77:12, 206:20,         perhaps [3] - 55:15,
 19:7, 19:19, 20:5,         176:11, 188:6,            179:5, 197:25,             207:6, 215:17,          224:18, 243:17
 22:10, 33:18, 33:23,       199:17, 217:16            208:4, 209:20,             240:4, 240:7, 240:8,   period [11] - 101:19,
 34:11, 34:14, 34:25,      paid [36] - 68:19,         211:19, 216:4,             240:11, 240:15          101:22, 108:14,
 35:8, 35:18, 35:25,        75:10, 79:6, 115:17,      219:3, 221:5,             paying [1] - 207:6       139:10, 146:18,
 36:18, 36:20, 36:23,       181:9, 206:17,            224:19, 228:10,           payments [2] -           157:11, 157:17,
 38:12, 38:18, 39:12,       206:19, 206:20,           234:18                     238:18, 239:17          157:23, 159:20,
 39:14, 39:18, 39:20,       206:22, 206:23,          partial [1] - 213:5        People [1] - 86:15       159:24, 216:15
 39:23, 40:1, 42:18,        207:1, 207:9,            partially [1] - 108:5      people [92] - 25:10,    permission [5] - 12:4,
 44:14, 45:23, 46:4,        207:14, 208:7,           participate [1] -           25:15, 28:22, 41:21,    152:9, 160:25,
 46:5, 47:4, 60:10,         208:9, 208:16,            119:18                     46:15, 50:25, 62:12,    177:18, 178:1
 61:3, 61:4, 78:4,          208:17, 208:19,          participation [5] -         62:17, 63:15, 64:9,    permitted [1] - 241:3
 90:17, 95:3, 97:2,         208:24, 208:25,           74:2, 77:23, 79:23,        64:10, 64:11, 68:3,    person [17] - 13:21,
 97:4, 103:10, 105:6,       213:7, 215:24,            112:22, 121:13             68:17, 69:10, 72:9,     29:5, 37:25, 42:2,
 107:6, 110:16,             220:6, 220:9,            particular [12] - 34:25,    72:12, 74:19, 74:23,    42:16, 47:1, 74:4,
 110:17, 111:17,            221:10, 221:13,           61:25, 69:16, 70:2,        80:2, 111:4, 114:16,    81:3, 87:16, 88:4,
 112:7, 113:19,             221:14, 221:17,           78:25, 110:2, 111:1,       121:14, 129:11,         88:6, 89:4, 125:15,
 113:20, 116:5,             221:18, 221:24,           111:2, 128:24,             129:12, 131:16,         170:3, 226:25,
 116:6, 116:16,             222:1, 222:5, 222:6,      129:17, 164:20,            131:17, 145:7,          228:19, 245:17
 161:20, 162:3,             238:22, 239:20            179:14                     145:10, 145:12,        personal [13] - 9:24,
 163:13, 163:14,           paper [8] - 36:8, 37:6,   parties [6] - 6:6, 9:17,    145:22, 145:24,         110:19, 151:15,
 166:2, 168:3, 168:4,       38:24, 45:21, 50:4,       29:14, 84:20, 234:9,       145:25, 146:14,         224:25, 225:20,
 168:19, 169:11,            168:6, 212:8, 213:13      246:2                      146:16, 146:17,         226:2, 226:9,
 169:12, 175:23,           papers [6] - 25:4,        partisan [2] - 210:9,       146:19, 146:24,         226:20, 226:22,
 176:12, 176:13,            36:16, 36:17, 43:9,       215:16                     147:12, 147:18,         229:14, 229:17,
 177:16, 178:13,            187:24, 212:8            parts [4] - 26:12,          148:6, 148:18,          231:19, 232:6
 185:7, 185:11,            paperwork [13] -           63:15, 153:16,             148:21, 148:23,        personally [19] - 29:1,
 185:23, 186:1,             13:25, 14:7, 42:17,       162:25                     149:7, 150:2, 150:6,    80:22, 110:25,
 186:4, 186:7,              43:8, 48:4, 54:24,       pass [8] - 68:25,           150:18, 150:23,         145:3, 145:7,
 186:10, 186:13,            59:13, 63:18, 173:9,      71:19, 101:21,             152:1, 152:2, 152:6,    145:12, 145:15,
 186:16, 186:17,            176:23, 176:25,           112:10, 112:16,            154:18, 155:14,         145:16, 145:22,
 186:21, 193:8,             181:2, 181:24             112:23, 113:7,             158:7, 158:9,           146:1, 150:5,
 194:8, 194:10,            paragraph [2] -            119:25                     158:12, 158:15,         151:19, 153:13,
 195:19, 196:9,             203:22, 205:18           passage [1] - 99:21         159:15, 159:16,         154:2, 158:12,
 196:10, 197:19,           paraphrase [1] -          passed [3] - 68:22,         160:4, 160:10,          165:25, 227:14,
 202:1, 203:11,             211:13                    97:7, 97:22                160:11, 164:11,         227:22, 229:12
 203:21, 204:4,            pardon [2] - 16:22,       passing [2] - 80:3,         166:14, 182:5,         persons [5] - 1:6,
 204:5, 205:3, 205:4,       38:17                     99:9                       210:4, 215:24,          68:5, 88:19, 132:25
 206:1, 206:7,             parent [6] - 100:5,       past [3] - 118:22,          221:13, 222:1,         perspective [1] -
 207:22, 207:24,            100:7, 100:10,            129:1, 180:10              224:11, 225:1,          117:18
 209:5, 209:19,             100:11, 100:12           pastor [2] - 137:20,        225:24, 226:3,         persuade [1] - 222:13
 209:20, 210:6,            parents [1] - 100:8        138:4                      226:12, 226:19,        petition [1] - 99:25
 215:13, 218:21,           Parish [7] - 30:17,       patience [1] - 157:9        229:3, 229:5, 229:6,   PHILIPS [90] - 3:16,
 218:22, 218:23,            30:24, 33:14, 38:8,      Patrick [12] - 15:4,        229:14, 230:18,         4:9, 8:3, 16:11,
 220:18, 222:11,            41:13, 46:16, 47:17       15:7, 25:5, 30:1,          230:21, 231:6,          16:14, 23:9, 23:13,
 222:16, 233:5,            parish [3] - 136:8,        31:11, 31:16, 51:1,        232:10, 238:18,         23:19, 24:8, 29:18,
 233:6, 233:7, 233:8,       227:12, 227:18            51:14, 57:7, 57:15,        244:19                  30:4, 30:6, 31:14,
 234:2, 234:3,             parliamentarian [1] -      61:20, 62:3               people's [1] - 146:10    31:24, 32:2, 32:8,
 234:19, 234:21,            228:18                   Patricks [1] - 11:19       per [3] - 108:10,        32:16, 32:17, 32:20,
 235:8, 235:11,            part [39] - 22:20,        pause [1] - 232:16          207:6, 220:6            32:25, 33:4, 33:6,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 268 of 278
                                                                                                                               22


 36:5, 36:6, 38:13,       picked [1] - 83:25           178:23, 191:15,          premise [1] - 148:18       57:2, 60:4, 90:23,
 38:15, 38:20, 38:23,     picket [1] - 71:17           222:2, 237:12            prepare [1] - 211:16       96:21, 96:24, 103:5,
 39:8, 42:1, 42:11,       piece [3] - 121:6,          points [2] - 40:6,        prepared [4] - 50:24,      134:9, 161:8,
 44:8, 44:11, 44:12,       144:17                      166:4                     51:8, 193:2, 193:3        177:24, 184:6,
 45:8, 45:11, 45:15,      pieces [2] - 26:8,          policies [2] - 123:12,    presence [1] - 42:10       203:25, 222:23,
 45:17, 45:19, 48:5,       168:6                       244:3                    present [4] - 11:3,        232:16, 234:13,
 48:9, 48:18, 48:23,      pipe [1] - 10:19            policy [10] - 68:22,       60:24, 78:1, 241:22       235:16, 246:9
 49:1, 49:5, 49:8,        pitch [1] - 227:6            68:24, 68:25, 69:2,      presented [3] - 25:4,     Proceedings [5] -
 49:11, 49:13, 49:16,     Place [1] - 132:15           76:8, 82:3, 104:19,       96:3, 174:2               1:25, 48:8, 64:21,
 49:21, 64:16, 83:5,      place [20] - 43:13,          110:1, 110:3, 114:19     president [37] - 66:8,     181:19, 190:13
 104:23, 104:25,           61:25, 63:15, 63:16,       political [4] - 70:21,     67:12, 67:17, 68:10,     PROCEEDINGS [1] -
 117:8, 128:1,             78:22, 78:25, 81:1,         77:21, 77:22, 112:20      68:11, 68:19, 72:5,       1:17
 129:22, 129:25,           81:25, 96:19, 126:1,       poll [1] - 220:24          72:8, 73:3, 73:25,       process [10] - 26:6,
 130:25, 134:6,            150:22, 151:1,             polls [4] - 149:5,         74:13, 75:1, 86:5,        26:7, 26:11, 37:10,
 156:11, 156:15,           151:3, 151:25,              166:13, 203:10,           86:9, 89:7, 89:10,        38:2, 58:18, 126:1,
 156:20, 157:6,            152:12, 153:3,              210:4                     93:14, 94:11, 94:17,      126:2, 126:5, 179:2
 162:24, 168:12,           154:18, 182:25,            poor [5] - 144:22,         95:7, 95:10, 95:17,      processed [1] - 25:24
 171:16, 171:20,           226:21, 245:2               159:16, 170:15,           104:12, 113:12,          produce [7] - 210:16,
 172:5, 178:8,            places [10] - 111:11,        170:16                    117:18, 123:24,           212:21, 213:11,
 182:18, 189:5,            116:5, 147:2,              Porter [2] - 3:17, 4:10    124:8, 124:13,            214:6, 215:2, 216:4,
 190:1, 190:6,             151:22, 151:23,            portion [1] - 209:4        124:21, 125:2,            216:5
 191:18, 223:12,           152:13, 152:16,            position [6] - 74:10,      125:22, 129:9,           produced [7] - 190:25,
 223:16, 229:23,           154:13, 159:3, 232:2        74:16, 121:6,             132:5, 137:10,            191:3, 211:4, 212:3,
 232:14, 232:17,          plaintiff [4] - 8:25,        124:10, 136:20,           141:3, 175:8              212:12, 212:16,
 239:13, 241:1,            83:17, 95:25, 98:21         242:8                    presidents [2] -           212:17
 241:5, 241:9,            plaintiff's [22] - 6:8,     positions [3] - 73:1,      113:12, 133:1            production [2] -
 241:11, 241:19,           6:15, 7:1, 12:8,            73:2, 74:14              pressured [1] - 28:21      187:14, 212:19
 241:21, 243:7,            16:19, 17:11, 23:8,        possible [6] - 158:21,    presume [1] - 194:6       profession [2] - 65:21,
 245:3, 246:4              32:18, 38:14, 38:22,        210:5, 232:25,           presumption [1] -          72:17
Philips [15] - 3:17,       49:17, 162:23,              243:12, 244:10,           85:20                    proffer [2] - 61:9,
 4:10, 5:5, 5:11, 5:16,    167:4, 167:23,              245:2                    pretty [1] - 242:14        61:10
 5:19, 7:23, 29:16,        169:4, 174:16,             possibly [2] - 29:4,      previous [6] - 40:10,     proffered [1] - 23:8
 29:19, 57:22, 117:6,      177:12, 192:7,              29:5                      40:13, 178:6, 192:5,     Program [2] - 186:10,
 117:9, 131:15,            192:8, 192:10,             posture [1] - 226:11       234:21, 237:14            205:4
 189:13, 223:11            218:11, 235:9                                        previously [4] - 20:12,   program [20] - 8:3,
                                                      potential [1] - 169:21
phone [40] - 31:9,        Plaintiffs [2] - 1:7, 2:3                              45:10, 199:25, 224:2      44:14, 82:18,
                                                      powers [1] - 116:9
 52:9, 52:11, 52:19,      plaintiffs [5] - 8:8,                                 primarily [3] - 71:3,      103:20, 129:4,
                                                      Poydras [2] - 1:22, 2:9
 52:20, 147:12,            64:24, 98:19, 135:5,                                  79:3, 228:5               137:3, 137:5, 137:6,
                                                      practical [2] - 119:7,
 149:19, 149:21,           242:12                                                                          137:15, 142:6,
                                                       122:20                   primary [5] - 71:4,
 151:21, 165:3,           plan [7] - 23:16,                                                                144:10, 155:3,
                                                      practically [1] -          75:18, 79:22, 218:6,
 165:9, 165:10,            129:19, 205:4,                                                                  155:4, 179:5,
                                                       109:25                    220:20
 165:21, 167:10,           205:11, 233:10                                                                  186:13, 195:5,
                                                      practice [1] - 171:23     printed [1] - 77:7
 167:20, 170:22,          plans [1] - 234:7                                                                204:15, 205:17,
                                                      praise [1] - 138:3        printing [1] - 220:9
 171:5, 203:15,                                                                                            205:19, 222:1
                          play [2] - 189:24,          prayer [1] - 138:3        printout [1] - 215:2
 205:12, 205:19,                                                                                          programatic [3] -
                           224:19                     preacher [1] - 150:7      prison [1] - 92:9
 205:22, 206:2,                                                                                            102:16, 103:19,
                          played [1] - 245:12         preaching [2] - 138:1,    privilege [1] - 56:11
 206:6, 206:8,                                                                                             105:7
                          Plaza [1] - 2:15             138:7                    privileged [1] - 140:9
 206:23, 216:20,                                                                                          programmatic [3] -
                          pleadings [1] - 7:25        precede [1] - 190:16      problem [5] - 47:13,
 217:25, 218:4,                                                                                            76:9, 108:8, 116:10
                          pleasure [1] - 141:3        preceding [2] -            155:9, 182:4,
 220:11, 220:19,                                                                                          programs [16] -
                          PO [7] - 3:4, 3:8, 3:13,     172:10, 239:5             221:18, 223:20
 222:6, 222:12,                                                                                            102:14, 102:21,
                           3:18, 4:5, 4:12, 4:17      precinct [1] - 203:13     procedure [2] - 160:7,
 222:16, 225:9,                                                                                            102:24, 103:8,
                          podium [1] - 200:7          precincts [1] - 203:17     230:5
 227:14, 234:23,                                                                                           103:12, 103:23,
                          point [25] - 14:2,          precise [1] - 7:11        procedures [2] -
 234:24, 235:4,                                                                                            104:7, 104:9,
                           24:19, 24:23, 26:4,        predicate [1] - 81:20      123:12, 125:4
 235:24, 236:2                                                                                             104:10, 104:13,
                           26:9, 26:19, 44:11,        prefer [2] - 164:24,      proceed [5] - 8:18,
phones [1] - 147:10                                                                                        116:11, 116:12,
                           47:23, 53:14, 55:2,         215:6                     20:22, 111:20,
phrase [2] - 237:3,                                                                                        129:5, 231:10,
                           55:4, 57:20, 93:22,        preference [1] - 44:2      135:16, 175:13
 237:5                                                                                                     231:11, 231:23
                           94:4, 101:18, 125:3,       prejudice [4] - 70:19,    proceedings [22] -
physical [1] - 150:20                                                                                     progressed [1] -
                           133:15, 147:21,             79:8, 241:5, 241:7        12:12, 14:16, 15:11,
pick [2] - 43:23, 175:4                                                                                    147:14
                           155:4, 175:7, 178:7,       preliminary [1] - 8:7      19:21, 24:16, 49:4,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 269 of 278
                                                                                                                             23


Project [2] - 2:18, 2:23    128:6, 132:17,           quickly [5] - 130:7,       126:12, 181:25            180:11, 195:4,
project [2] - 78:17,        181:18, 201:11,           243:12, 244:10,          reasons [3] - 98:19,       199:20, 200:21
 205:23                     201:13, 201:20,           244:18, 245:2             151:8, 245:25            recommend [1] -
projected [3] - 205:5,      202:2, 202:5,            quit [1] - 239:12         REBECCA [1] - 4:2          123:8
 205:21, 206:2              202:21, 220:20           quite [1] - 206:18        rebecca.clement.la.       recommendation [3] -
projects [4] - 73:18,      pursuant [1] - 214:20     quote [2] - 114:8,         gov [1] - 4:7             118:18, 118:19,
 75:15, 114:5, 166:12      push [1] - 153:24          133:11                   receipt [2] - 184:14,      125:24
promise [3] - 239:25,      put [25] - 19:7, 43:14,                              206:11                   recommended [1] -
 240:23, 241:9              66:24, 71:17, 72:17,                R              receivable [1] - 78:20     227:19
prong [1] - 179:4           127:24, 128:17,                                    receive [25] - 9:14,      recommending [2] -
pronged [2] - 144:11,       139:15, 149:16,          racial [4] - 70:18,        17:7, 20:14, 21:9,        118:23, 121:24
 179:1                      177:13, 181:22,           70:19, 79:8               25:23, 26:1, 43:6,       record [24] - 12:9,
proof [6] - 60:8, 60:9,     194:21, 204:13,          radio [2] - 129:4,         51:11, 52:18, 53:11,      28:12, 66:10, 78:22,
 60:12, 60:16, 60:24,       204:23, 210:14,           129:5                     62:3, 63:4, 117:21,       78:24, 82:2, 99:11,
 61:1                       211:16, 211:23,          raise [2] - 75:16, 79:5    133:6, 136:20,            135:12, 163:9,
properly [2] - 25:21,       213:3, 214:18,           rate [4] - 168:7,          149:25, 161:15,           180:12, 180:19,
 138:2                      215:23, 217:1,            169:22, 203:16,           167:14, 171:10,           181:23, 182:13,
properties [4] -            217:16, 218:9,            205:22                    172:24, 179:12,           183:3, 191:21,
 136:17, 136:18,            225:3, 233:13            rather [4] - 58:5,         196:22, 197:1,            191:25, 192:15,
 136:19, 136:21            puts [1] - 132:4           104:20, 214:23,           221:21, 236:13            214:24, 215:10,
property [1] - 136:17                                 215:3                    received [32] - 25:20,     217:19, 219:13,
proposals [1] - 204:8                 Q              reach [3] - 80:20,         48:3, 48:4, 52:7,         239:14, 239:15,
proposed [2] - 207:7,                                 205:5, 241:2              52:9, 54:23, 54:24,       241:16
 233:10                    qualify [1] - 232:9       read [27] - 15:23,         62:5, 73:19, 76:1,       record's [1] - 190:19
protection [2] - 71:4,     quantify [1] - 232:7       21:20, 34:17, 34:23,      115:20, 138:6,           Recorded [1] - 1:25
 234:6                     quarter [1] - 6:20         35:23, 36:7, 36:9,        162:15, 171:14,          records [19] - 115:13,
protective [2] -           quarterly [1] - 108:12     36:17, 36:18, 36:20,      173:14, 173:18,           206:11, 209:14,
 212:22, 214:7             quarters [1] - 7:2         36:23, 37:2, 37:6,        181:4, 183:17,            209:16, 210:17,
protest [3] - 71:16,       question's [1] - 151:1     37:18, 39:23, 40:20,      183:20, 184:16,           212:14, 212:20,
 72:12, 72:18              questioned [1] - 62:23     50:3, 85:4, 107:6,        184:18, 195:10,           212:23, 213:13,
protests [1] - 105:9       questioning [2] -          162:4, 170:18,            196:20, 196:21,           213:20, 213:21,
provide [6] - 76:9,         28:24, 94:6               184:5, 187:4,             199:1, 199:7, 207:2,      214:3, 214:7, 216:2,
 91:16, 103:18,            questions [63] - 23:14,    187:10, 215:14,           215:22, 221:20,           216:4, 219:10,
 108:16, 165:10,            23:17, 23:18, 23:20,      234:9, 235:23             237:22, 239:5             219:15, 220:2, 220:6
 244:16                     23:22, 29:13, 29:14,     reading [5] - 22:5,       receives [2] - 75:9,      recruit [4] - 131:16,
provided [8] - 51:13,       29:15, 29:22, 32:18,      34:20, 35:25, 90:22,      132:15                    131:19, 131:23,
 73:22, 91:12, 91:17,       39:21, 48:10, 57:22,      198:4                    receiving [4] - 47:11,     226:12
 91:19, 147:25,             60:5, 61:13, 64:13,      ready [14] - 12:11,        52:16, 52:17, 130:8      Red [2] - 103:15,
 206:14, 210:25             64:14, 66:13, 66:14,      12:19, 14:15, 15:10,     recent [1] - 172:15        103:18
providing [1] - 220:23      67:2, 70:9, 80:7,         18:10, 139:25,           recently [1] - 26:24      REDIRECT [3] - 57:4,
proving [1] - 129:19        80:15, 81:5, 82:12,       161:5, 161:6,            receptionist [2] -         130:5, 232:22
provision [1] - 126:19      82:19, 82:21, 88:16,      163:14, 164:25,           13:12, 13:17             redirect [1] - 232:20
                            88:17, 91:20, 94:9,       167:7, 175:16,           receptionists [1] -       redoing [1] - 52:10
provisions [1] -
                            103:7, 104:22,            193:13, 235:15            20:21                    Reed [1] - 7:9
 121:21
                            117:3, 117:15,           real [3] - 43:15,         recess [9] - 7:12,        refer [8] - 23:14,
PSAs [1] - 129:4
                            126:17, 128:2,            120:20, 141:12            64:18, 64:19, 64:21,      23:21, 24:11, 65:15,
public [7] - 12:1,
                            130:1, 132:1, 134:3,     realize [1] - 149:16       134:8, 181:18,            69:10, 87:5, 87:13
 109:23, 110:11,
                            134:4, 136:3,            realized [1] - 156:7       181:19, 246:1, 246:7     reference [4] - 24:13,
 111:14, 129:4,
                            146:20, 157:4,           really [15] - 91:12,      recessed [2] - 134:9,      112:4, 156:16,
 170:22, 171:5
                            174:17, 179:19,           94:20, 102:3,             246:9                     237:12
pull [2] - 32:22, 56:22
                            180:22, 181:10,           103:24, 117:15,          recipients [1] - 231:11   referencing [1] -
purchase [1] - 147:15
                            181:12, 193:16,           128:17, 130:7,           recognize [8] - 30:8,      199:10
purports [1] - 204:6
                            214:14, 214:15,           146:10, 146:21,           39:15, 45:20, 50:14,     referral [1] - 24:9
purpose [14] - 9:23,
                            231:4, 232:15,            168:1, 171:25,            51:23, 178:18,           referred [4] - 131:13,
 69:7, 70:13, 79:22,
                            232:18, 234:22,           177:9, 191:14,            185:3, 194:2              147:5, 204:14, 237:3
 111:19, 157:1,
                            236:5, 236:7,             214:16, 245:9            recollection [14] -       referring [5] - 33:1,
 157:2, 181:23,
                            236:16, 240:19,          reason [11] - 42:24,       24:19, 24:23, 25:1,       33:8, 45:9, 56:5,
 203:6, 203:9,
                            245:4, 245:6              43:2, 43:17, 52:7,        26:5, 26:10, 26:18,       130:13
 203:18, 225:22,
                           quick [3] - 141:12,        52:10, 76:7, 114:6,       26:23, 128:18,           reflect [6] - 28:12,
 225:23, 243:5
                            171:18, 210:5             122:14, 124:17,           172:23, 176:16,           78:16, 145:25,
purposes [11] - 128:4,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 270 of 278
                                                                                                                             24


 151:11, 174:6,           152:6, 158:8,              131:17, 133:8,             74:9, 79:12, 79:14,     renegade [1] - 123:4
 174:10                   158:16, 158:22,            135:25, 141:18,            79:18, 80:19, 81:5,     renew [2] - 47:2, 169:5
reflected [3] - 34:12,    159:17, 159:18,            142:2, 144:11,             115:13, 131:6,          renewal [2] - 26:6,
 35:6, 124:11             160:12, 160:21,            146:5, 146:22,             142:3, 143:22,           26:7
refresh [5] - 22:21,      165:20, 166:12,            147:2, 149:15,             144:6, 153:21,          renovating [1] - 57:14
 112:6, 199:20,           182:5, 210:4,              149:19, 150:2,             171:13, 171:22,         rent [3] - 77:8, 77:11,
 200:13, 225:22           222:13, 230:24,            150:9, 150:10,             172:17, 172:19,          136:20
refuse [1] - 37:5         231:1, 235:7, 236:4        150:16, 150:17,            180:25, 212:15          repair [1] - 136:19
regard [4] - 103:23,     registering [11] -          150:24, 151:16,           relates [2] - 110:22,    repeat [1] - 157:14
 163:11, 242:15,          144:18, 145:23,            153:2, 153:12,             125:16                  repeating [1] - 29:24
 244:16                   146:1, 146:15,             153:13, 153:19,           relationship [4] -       rephrase [10] - 36:4,
regarding [16] - 8:1,     149:12, 150:1,             153:20, 153:22,            121:11, 126:7,           44:8, 44:9, 145:18,
 14:2, 26:14, 35:3,       150:23, 158:13,            153:24, 154:23,            141:15, 177:5            145:19, 152:24,
 35:21, 36:11, 36:13,     160:4, 225:1, 230:2        157:11, 157:18,           relative [1] - 241:11     155:22, 155:23,
 37:24, 45:6, 47:14,     registrar [1] - 56:2        158:7, 159:21,            released [2] - 193:14,    184:7, 239:24
 56:15, 107:10,          Registrar [3] - 30:24,      160:16, 164:15,            240:24                  report [13] - 9:21,
 108:7, 193:17,           31:7, 52:21                166:10, 172:2,            relevance [2] - 141:8,    9:22, 76:16, 100:15,
 210:25, 242:12          registrar's [1] - 230:16    173:3, 179:14,             180:6                    104:18, 106:14,
regional [1] - 224:14    registration [183] -        179:16, 179:20,           relevancy [1] - 162:24    106:16, 106:20,
register [61] - 16:1,     7:2, 17:3, 17:6, 17:7,     181:6, 183:21,            relevant [7] - 31:18,     106:21, 108:6,
 16:9, 18:23, 26:5,       18:6, 21:5, 21:6,          184:20, 198:16,            45:18, 94:3, 145:15,     109:4, 109:8, 152:13
 26:10, 26:19, 30:16,     21:8, 25:10, 25:12,        200:20, 211:1,             145:17, 157:1, 163:1    Report [1] - 21:12
 37:2, 37:5, 37:9,        25:19, 25:20, 25:24,       211:10, 212:15,           relied [1] - 218:11      reported [1] - 78:11
 37:15, 38:2, 38:7,       26:15, 27:16, 27:25,       213:12, 213:14,           relief [7] - 102:23,     reporter [3] - 8:15,
 44:4, 44:18, 53:4,       28:2, 28:6, 28:15,         213:20, 216:5,             103:14, 103:17,          65:3, 135:10
 53:5, 54:3, 54:6,        28:20, 28:22, 30:9,        224:24, 225:6,             103:23, 104:8,          Reporter [2] - 1:21,
 58:15, 59:3, 59:19,      30:11, 30:20, 32:3,        225:8, 225:14,             104:14, 105:8            246:14
 59:23, 62:9, 62:24,      36:12, 36:19, 38:5,        225:15, 225:20,           Religious [1] - 73:12    reporting [5] - 177:2,
 62:25, 63:9, 64:11,      38:8, 40:3, 40:8,          226:17, 226:24,           religious [9] - 73:15,    177:3, 177:9,
 80:22, 96:8, 109:23,     40:11, 40:13, 40:18,       227:1, 227:13,             140:19, 141:5,           236:17, 236:18
 110:11, 111:13,          44:25, 45:2, 47:12,        227:16, 227:24,            141:8, 142:6,           reports [14] - 76:14,
 144:19, 145:7,           47:15, 50:16, 52:1,        229:9, 230:1, 231:9,       152:18, 228:16,          76:15, 100:17,
 145:13, 146:16,          53:15, 54:13, 54:19,       231:15, 231:21,            228:21, 228:24           106:3, 106:9,
 146:17, 146:24,          55:12, 55:19, 56:3,        234:6, 234:16,            remember [46] - 24:2,     106:11, 106:13,
 147:19, 148:4,           56:16, 57:23, 57:24,       235:24, 238:7,             24:5, 25:14, 34:3,       108:16, 212:20,
 149:17, 150:18,          58:5, 58:19, 59:6,         238:12, 238:19,            34:6, 34:7, 37:8,        213:15, 236:24,
 158:9, 159:15,           59:9, 59:25, 62:6,         238:22, 239:19,            43:2, 58:18, 59:6,       237:1, 243:25
 164:11, 166:14,          62:10, 64:6, 74:2,         240:5                      59:25, 81:7, 81:10,     represent [2] - 56:13,
 203:9, 216:9,            74:5, 75:15, 77:23,       Registration [6] -          89:13, 94:20, 94:21,     117:9
 225:25, 226:6,           79:17, 79:18, 79:22,       15:21, 18:19, 50:11,       94:25, 96:12, 96:13,    representative [3] -
 226:7, 226:18,           80:3, 81:23, 81:25,        60:10, 242:13,             96:15, 96:19, 99:15,     34:11, 35:20, 225:5
 227:21, 229:3,           82:16, 106:25,             244:14                     104:6, 105:13,          represented [3] -
 229:5, 229:7,            107:11, 107:14,           registration/voter [1] -    107:3, 109:18,           190:8, 226:14,
 229:11, 229:15,          107:17, 107:19,            44:2                       112:19, 113:1,           226:23
 230:7                    107:22, 107:24,           registrations [1] -         115:24, 128:11,         request [20] - 60:7,
registered [55] -         108:2, 108:3, 108:7,       155:4                      155:16, 156:1,           60:21, 69:25,
 15:25, 18:22, 24:20,     108:23, 109:10,           regular [6] - 79:9,         156:4, 162:15,           121:19, 125:5,
 25:22, 29:25, 30:3,      110:22, 111:6,             80:4, 103:20, 129:5,       178:24, 179:11,          132:15, 176:7,
 30:25, 31:11, 37:1,      111:8, 112:9,              207:12, 243:25             180:2, 195:15,           211:13, 211:14,
 38:10, 47:17, 47:21,     112:11, 112:17,           regularly [1] - 242:16      195:16, 199:19,          211:18, 211:24,
 47:25, 48:2, 51:6,       112:21, 112:22,           regulated [1] - 118:10      200:13, 202:12,          212:19, 212:20,
 51:9, 51:12, 52:5,       112:24, 113:5,            regulation [1] - 216:8      207:19, 235:2,           213:23, 213:25,
 52:21, 55:3, 55:8,       113:7, 119:24,            regulations [8] -           238:20, 239:25           214:2, 215:1,
 55:10, 62:24, 63:17,     120:2, 120:3, 120:4,       186:8, 209:21,            remembered [1] -          216:14, 233:22
 64:3, 86:11, 144:16,     120:5, 120:22,             209:23, 210:1,             156:3                   requested [8] - 9:17,
 144:20, 146:11,          120:25, 122:14,            210:6, 215:14,            remembers [2] -           56:7, 173:13,
 146:14, 148:6,           122:17, 122:22,            216:8, 216:19              168:11, 235:11           173:15, 173:16,
 148:11, 148:12,          128:3, 128:11,            rejected [1] - 212:24      remind [2] - 233:5,       176:14, 213:6, 237:1
 148:19, 148:25,          128:19, 128:23,           relate [1] - 243:16         246:5                   requesting [1] -
 149:1, 149:7, 151:6,     129:15, 131:7,            related [19] - 64:13,      remove [1] - 48:17        233:11
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 271 of 278
                                                                                                                               25


requests [3] - 210:17,     141:25, 166:11,          right-hand [3] - 12:16,                               165:4, 165:6,
                                                                                          S
 210:21, 212:14            225:7, 225:9, 225:11       30:13, 187:14                                       165:11, 165:14,
require [1] - 215:15     responsive [1] -           rights [2] - 99:16,        S-C-O-T-T [1] - 8:17       165:23
required [13] - 21:15,     214:12                     101:6                    S-O-N-N-I-E-R [1] -       scroll [1] - 51:20
 79:1, 106:2, 108:6,     rest [4] - 35:23, 92:21,   Rights [1] - 99:21          241:17                   SE [1] - 2:23
 108:8, 112:20,            223:3, 223:5             Rita [1] - 73:23           S-U-Z-Y [1] - 241:18      seat [1] - 8:13
 123:6, 126:19,          restate [1] - 184:9        RMR [1] - 1:21             safe [1] - 241:12         sec [1] - 103:4
 155:3, 207:13,          restrictions [1] -         role [9] - 66:5, 66:7,     Saint [1] - 153:8         second [26] - 16:21,
 215:17, 243:23            202:24                     67:15, 68:7, 118:23,     sale [1] - 193:4           16:23, 44:21, 56:5,
requirement [7] -        result [5] - 52:5,           118:25, 140:16,          SARAH [1] - 2:18           58:21, 60:10, 60:15,
 108:20, 109:4,            101:20, 108:12,            152:18                   satisfied [1] - 190:6      60:21, 61:1, 63:23,
 109:11, 109:15,           127:18, 244:25           roles [3] - 67:20,         satisfies [1] - 169:6      63:24, 84:18, 89:19,
 126:21, 127:1,          resulted [1] - 98:2          140:21, 140:22           saw [9] - 25:16, 40:23,    90:11, 130:12,
 159:14                  results [1] - 70:18        rolls [1] - 55:16           41:3, 41:9, 42:2,         166:7, 179:20,
requirements [2] -       retreading [1] - 94:5      Ron [1] - 89:16             42:7, 68:6, 80:1          186:1, 194:7, 194:8,
 177:2, 244:20           return [2] - 21:15,        RONALD [1] - 2:8           scenarios [1] - 242:13     194:10, 216:9,
requires [1] - 216:8       42:15                    Ronald [1] - 2:8           Schedler [1] - 3:3         222:16, 222:22,
research [2] - 101:25,   returns [1] - 100:18       roofer [1] - 10:24         SCHEDLER [1] - 1:9         233:5
 151:5                   reveal [1] - 56:14         room [1] - 13:20           school [4] - 65:24,       seconds [5] - 48:6,
reserve [1] - 29:10      Reverend [42] - 9:15,      rooms [1] - 77:7            72:13, 72:14, 137:3       129:22, 177:22,
Reserve [1] - 10:11        73:7, 74:4, 81:4,        roster [1] - 101:22        Schriver [1] - 2:14        232:14, 245:5
resolution [8] - 96:5,     82:17, 114:6,            Rouge [30] - 3:5, 3:14,    scoot [4] - 39:14,        Secretary [14] - 1:10,
 97:6, 97:22, 98:2,        128:10, 128:13,            3:19, 4:6, 4:12, 4:17,    42:5, 42:18, 46:2         1:11, 1:12, 6:10, 7:8,
 99:2, 99:9, 119:25,       128:18, 135:6,             66:2, 89:6, 89:9,        scope [3] - 238:15,        7:12, 7:15, 30:4,
 124:12                    135:20, 135:24,            92:15, 92:22, 96:6,       239:3, 239:8              32:11, 83:3, 86:12,
resolutions [5] -          140:7, 141:4, 143:5,       96:10, 96:11, 97:11,     Scott [63] - 8:9, 8:10,    148:3, 217:15, 233:1
 68:22, 68:23, 68:25,      157:9, 161:3,              103:24, 106:20,           8:13, 8:16, 8:21, 9:1,   secretary [9] - 73:4,
 110:4, 118:11             162:13, 163:23,            108:18, 112:15,           9:3, 10:7, 10:8, 11:2,    113:12, 147:21,
resolved [1] - 8:7         169:12, 170:17,            137:10, 137:19,           11:25, 12:7, 12:21,       189:2, 241:3,
resources [8] -            178:13, 179:18,            138:25, 153:10,           13:1, 16:7, 16:18,        241:24, 242:5,
 110:21, 172:1,            180:22, 181:11,            227:12, 228:2,            16:21, 16:23, 17:17,      242:10, 244:23
 231:5, 231:6, 231:7,      183:14, 193:17,            228:17, 228:24,           17:25, 18:16, 19:24,     secretary-treasurer
 231:14, 232:7, 232:9      204:8, 227:6,              228:25, 229:24                                      [1] - 73:4
                                                                                22:21, 23:3, 23:25,
respect [17] - 48:21,      230:24, 231:19,          roughly [3] - 59:2,         24:3, 24:17, 26:3,       section [3] - 186:16,
 80:19, 82:16, 101:5,      232:24, 233:2,             67:20, 164:19             26:17, 28:24, 29:12,      186:17, 186:18
 108:23, 109:9,            233:8, 235:2, 236:6,     route [3] - 82:9, 82:10,    29:19, 29:25, 32:3,      sections [1] - 14:3
 141:22, 152:11,           237:11, 238:5,             82:11                     32:18, 33:7, 34:15,      see [56] - 12:15, 13:18,
 156:17, 211:10,           238:20, 239:18,          rows [2] - 233:13,          36:7, 37:12, 38:11,       14:19, 15:16, 15:20,
 213:12, 224:24,           240:19, 240:25             233:17                    38:16, 38:24, 39:4,       16:2, 16:4, 18:18,
 242:20, 243:17,         reverend [8] - 73:10,      ROY [1] - 1:5               39:9, 40:25, 41:10,       18:21, 21:11, 21:14,
 244:5, 244:12,            73:20, 129:16,           rule [3] - 109:13,          42:19, 44:13, 45:10,      21:21, 21:25, 28:22,
 244:13                    137:16, 137:18,            130:24, 130:25            45:12, 45:20, 46:5,       30:4, 30:7, 32:23,
respond [1] - 213:19       138:5, 168:19,           Rule [1] - 127:23           48:11, 50:1, 50:9,        34:10, 38:3, 41:5,
responding [3] -           174:19                   ruled [3] - 60:11,          56:12, 56:21, 57:6,       42:16, 46:5, 52:21,
 34:21, 94:9, 210:21     REVEREND [2] - 10:3,         60:23, 99:7               60:6, 61:5, 61:13,        53:9, 79:23, 79:25,
response [12] - 30:20,     10:5                     rules [3] - 56:9,           61:14, 64:20              99:17, 102:1, 112:6,
 71:24, 105:7,           review [1] - 139:24          202:25, 203:3            SCOTT [2] - 5:3, 8:11      116:11, 136:18,
 116:16, 149:6,          reviewed [2] - 139:25,     ruling [3] - 31:19,        Scott's [2] - 32:24,       141:10, 147:18,
 205:22, 210:16,           235:15                     98:5, 98:15               49:16                     164:4, 164:6, 166:4,
 211:24, 212:17,         revision [1] - 244:22                                 SCOTT,JR [1] - 1:5         166:7, 169:14,
                                                    rulings [2] - 181:22,
 215:1, 242:22           revisions [1] - 244:2                                 screen [14] - 39:5,        187:15, 192:7,
                                                      243:16
responses [1] - 23:21    revocation [2] -                                       45:13, 50:3, 50:13,       192:19, 193:21,
                                                    run [1] - 156:4
responsibilities [7] -     118:14, 127:15                                       51:22, 163:16,            193:24, 194:8,
                                                    running [1] - 212:23
 68:9, 73:14, 73:17,     revoke [2] - 118:19,                                   164:23, 166:3,            194:10, 195:2,
                                                    runs [2] - 132:3, 138:2
 82:15, 141:5,             122:2                                                166:5, 167:5,             195:13, 197:10,
                                                    Rupert [2] - 67:22,
 141:14, 141:22          revoked [1] - 121:20                                   169:13, 233:1,            200:13, 207:18,
                                                      84:1
responsibility [2] -     reward [2] - 68:3                                      233:9, 234:2              208:16, 232:1,
                                                    RUPP [1] - 2:17
 129:17, 229:9           Richardson [3] -                                      screens [1] - 163:19       233:18, 234:17,
                                                    RUTH [1] - 1:10
responsible [7] -          67:22, 68:4, 84:1                                                              235:19, 237:13
                                                    RYAN [1] - 2:13            script [9] - 147:13,
 138:1, 141:24,          ride [1] - 149:4                                       147:18, 148:22,          seek [1] - 70:25
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 272 of 278
                                                                                                                                26


seeking [1] - 226:7         141:18, 142:1,            156:14, 161:25,            56:18, 62:16, 68:20,       211:17, 231:22
selected [1] - 226:20       142:2, 142:23,            171:19, 199:14,            85:2, 163:16, 180:2       sort [5] - 15:2, 63:5,
self [1] - 142:2            147:2, 147:8,             212:11, 214:19            situated [1] - 1:6          83:2, 226:10, 231:7
self-registration [1] -     147:11, 148:17,          sidebar [18] - 23:23,      situation [3] - 45:6,      SOS [31] - 6:16, 6:21,
 142:2                      150:8, 150:16,            24:14, 82:13, 93:20,       57:7, 121:12               49:9, 50:7, 50:10,
send [4] - 100:17,          150:17, 160:16,           94:14, 99:13,             six [9] - 6:23, 29:5,       51:21, 60:9, 60:15,
 112:18, 187:1,             162:18, 167:20,           130:18, 157:7,             41:2, 41:17, 45:3,         61:1, 97:4, 185:1,
 230:20                     171:7, 180:22,            171:18, 172:13,            47:2, 72:12, 205:5,        185:7, 188:16,
sends [1] - 112:9           225:13, 226:17,           180:7, 180:20,             205:19                     191:22, 193:7,
Senior [1] - 137:21         234:19                    181:20, 183:11,           skills [1] - 199:15         193:24, 194:1,
sense [3] - 226:20,        setting [7] - 82:3,        189:11, 191:20,           skip [3] - 33:21, 38:11,    194:8, 194:21,
 226:22, 228:3              223:23, 224:7,            239:2, 245:22              245:13                     195:15, 201:18,
sent [29] - 25:21,          225:7, 225:9,            sides [1] - 180:23         Skip [2] - 29:19, 117:9     201:23, 207:22,
 30:24, 56:2, 56:6,         225:12, 225:17           sign [23] - 14:3, 19:13,   slaves [1] - 138:17         209:4, 211:24,
 94:25, 112:15,            seven [2] - 10:11,         21:15, 26:13, 27:21,      sleeping [1] - 58:4         215:13, 217:1,
 113:5, 133:9,              235:22                    27:22, 35:1, 35:5,        SNAP [2] - 44:13,           217:5, 222:24, 223:2
 139:21, 161:16,           several [7] - 10:19,       35:20, 35:21, 36:17,       203:13                    source [3] - 75:18,
 167:15, 174:24,            20:13, 27:18, 64:10,      36:24, 37:22, 37:25,      sneaking [1] - 191:18       128:23, 192:5
 175:2, 175:3,              113:12, 116:5, 242:3      39:12, 40:20, 51:4,       soccer [2] - 245:12        sources [6] - 75:12,
 187:21, 187:25,           SHAH [1] - 2:22            63:2, 119:10,             social [1] - 70:21          75:13, 171:13,
 188:1, 188:6, 188:7,      share [2] - 94:1,          158:21, 223:12,           solely [3] - 9:24,          172:16, 172:18,
 188:8, 188:12,             231:20                    223:14                     64:13, 215:16              174:12
 189:15, 189:16,           sheet [1] - 218:23        signature [20] - 19:7,     solicited [1] - 37:3       south [1] - 103:16
 189:19, 191:12,           sheetrock [1] - 10:24      22:10, 22:13, 22:14,      solid [1] - 117:25         South [3] - 14:23,
 192:23, 194:4, 219:7      sheets [1] - 235:19        30:14, 33:17, 33:25,      SOLLIE [1] - 2:12           15:2, 57:21
sentence [2] - 18:22,      shelter [1] - 15:2         34:1, 34:10, 36:19,       someone [11] - 9:21,       Southern [1] - 65:25
 170:18                    sheriff [1] - 125:19       39:6, 39:18, 40:6,         13:18, 17:5, 27:16,       space [1] - 21:16
separate [6] - 88:5,       shift [2] - 158:23,        40:24, 45:23, 46:7,        125:8, 149:19,            spare [1] - 10:20
 101:2, 185:19,             179:18                    50:19, 50:21, 95:1,        150:13, 169:25,           speakers [1] - 77:6
 212:19, 213:23,           shoes [1] - 72:18          95:6                       229:11, 230:6             speaking [8] - 58:25,
 214:2                     short [2] - 87:21,        signature's [1] - 19:11    sometime [1] - 156:4        59:16, 105:16,
September [11] - 13:6,      239:13                   signed [25] - 26:16,       sometimes [10] -            115:4, 153:19,
 15:18, 17:4, 33:15,       shorten [1] - 7:7          30:17, 30:19, 30:23,       71:21, 107:23,             154:2, 165:16,
 41:14, 42:3, 58:11,       shortened [2] - 6:6,       32:3, 33:23, 36:7,         116:7, 131:7, 133:7,       202:15
 164:7, 185:8,              66:11                     36:22, 37:13, 38:7,        139:23, 148:10,           speaks [1] - 16:14
 186:22, 224:21            show [17] - 12:3, 23:7,    40:14, 40:15, 42:10,       148:11, 191:17,           special [7] - 68:14,
sequence [1] - 187:25       46:3, 53:15, 61:4,        51:8, 63:3, 63:25,         236:21                     73:13, 73:18, 75:14,
sequestration [1] -         111:13, 160:23,           93:10, 94:16,                                         75:21, 114:5, 114:15
                                                                                somewhat [1] - 197:9
 9:18                       177:11, 185:1,            139:22, 179:24,                                      specific [14] - 80:25,
                                                                                somewhere [4] - 25:8,
seriousness [1] -           190:2, 196:3, 196:7,      180:3, 180:11,                                        81:22, 81:24,
                                                                                 27:6, 62:15, 91:8
 97:18                      196:15, 197:5,            180:13, 193:17,                                       119:19, 141:21,
                                                                                Sonnier [7] - 3:11,
serve [2] - 141:3,          210:17, 213:18,           193:19                                                144:7, 146:20,
                                                                                 241:3, 241:15,
 241:24                     219:11                   significant [1] - 72:6                                 151:25, 152:9,
                                                                                 241:17, 241:22,
served [4] - 67:17,        showed [4] - 59:13,       signing [3] - 24:2,                                    152:12, 152:13,
                                                                                 245:3, 245:11
 140:18, 140:20             94:24, 183:25,            37:25, 64:9                                           153:5, 201:11, 231:4
                                                                                SONNIER [2] - 5:18,
service [7] - 10:18,        218:16                   signs [2] - 71:17,                                    specifically [4] -
                                                                                 241:13
 61:17, 61:18, 129:4,      shown [3] - 21:22,         150:18                                                128:3, 128:8,
                                                                                soon [1] - 8:4
 138:2, 170:22, 171:5       22:4, 27:1               similarly [1] - 1:6                                    146:22, 153:20
                                                                                sorry [36] - 9:6, 11:15,
Services [7] - 1:11,       shows [4] - 185:25,       simple [1] - 120:20                                   specifics [2] - 80:16,
                                                                                 11:22, 12:3, 17:11,
 3:12, 4:4, 4:15, 34:4,     206:4, 215:3, 218:1      Simplified [1] - 21:12      17:19, 17:24, 20:17,       171:9
 117:10, 241:25            Shreveport [3] -          simply [6] - 37:18,         22:17, 23:7, 24:8,        specify [2] - 219:7,
services [3] - 67:23,       108:17, 225:13,           124:12, 149:1,             24:17, 25:17, 27:10,       219:9
 76:9, 103:19               225:15                    149:14, 213:16,            28:3, 28:23, 30:10,       speculate [1] - 64:8
Services' [1] - 110:23     shut [1] - 126:3           236:2                      31:6, 40:12, 41:10,       spell [5] - 8:14, 65:3,
SESSION [1] - 135:1        side [6] - 30:13,         single [2] - 78:22,         46:9, 51:15, 53:18,        135:10, 135:12,
session [1] - 224:23        122:12, 125:10,           214:23                     55:5, 56:24, 59:12,        241:16
set [28] - 70:17, 74:12,    125:12, 125:16,          sit [4] - 9:19, 10:1,       130:11, 148:13,           spend [2] - 76:14,
 74:13, 75:2, 107:16,       181:12                    14:6, 35:11                179:3, 192:13,             233:10
 118:21, 121:5,            Sidebar [10] - 23:12,     site [1] - 133:23           196:5, 196:10,            spent [7] - 106:8,
 138:16, 138:20,            24:7, 81:18, 98:10,      sitting [7] - 28:9,         196:17, 196:25,            106:12, 106:17,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 273 of 278
                                                                                                                           27


 217:22, 219:10,          staple [1] - 40:4        126:19, 127:1,          144:18, 144:23,            1:25
 227:8, 232:11            Star [2] - 137:20,       127:2, 127:11,          145:15, 145:21,           step [4] - 64:20,
spoken [1] - 181:1         153:9                   127:20, 128:8,          146:21, 146:23,            133:14, 240:20,
sponsored [3] - 128:9,    Start [1] - 164:4        128:19, 128:22,         151:17, 152:8,             245:23
 128:10, 128:20           start [5] - 44:13,       129:4, 129:9,           152:13, 153:14,           Stephens [1] - 153:8
sponsoring [1] - 64:5      52:17, 119:2,           129:14, 130:8,          162:21, 164:12,           stepped [1] - 13:10
sponsors [2] - 92:3,       144:11, 196:11          131:5, 132:24,          164:16, 165:5,            steps [1] - 71:18
 92:4                     started [11] - 67:21,    143:6, 144:2, 144:6,    165:22, 166:17,           stick [1] - 146:22
sponsorship [1] -          71:4, 74:17, 136:25,    146:4, 147:22,          171:10, 172:24,           still [11] - 47:16,
 77:9                      143:9, 143:20,          159:15, 160:18,         175:3, 193:13,             51:21, 119:4,
spot [1] - 158:9           154:21, 155:2,          164:21, 170:24,         196:20, 198:16,            126:14, 147:17,
Springs [1] - 3:9          156:8, 159:9            177:8, 181:24,          204:7, 206:12,             148:11, 149:3,
St [13] - 11:19, 15:4,    starting [5] - 52:16,    182:2, 182:9,           206:16, 207:4,             149:7, 222:8, 240:17
 15:7, 25:5, 30:1,         195:19, 195:24,         182:13, 183:17,         209:15, 209:19,           stip [1] - 8:5
 31:11, 31:16, 51:1,       207:22, 234:24          203:14, 204:11,         211:1, 211:9,             stipend [15] - 207:2,
 51:14, 57:7, 57:15,      starts [5] - 15:23,      204:18, 204:19,         215:25, 217:16,            207:9, 207:14,
 61:20, 62:3               36:19, 110:17,          205:2, 208:22,          219:14, 224:8,             208:20, 208:24,
stack [3] - 191:1,         168:9, 186:4            208:23, 208:25,         226:14, 226:23,            215:24, 221:17,
 212:8, 214:23            STATE [1] - 1:5          213:6, 213:11,          227:7, 228:4, 228:6,       221:18, 221:19,
staff [7] - 79:6,         state [150] - 10:12,     221:17, 224:14,         228:9, 228:10,             221:22, 221:23,
 123:12, 242:17,           10:13, 29:8, 53:24,     228:1, 229:2, 229:5,    228:15, 228:16,            222:1, 222:5, 222:6
 242:20, 242:24,           53:25, 54:1, 65:2,      231:16, 236:22,         228:21, 231:8,            stipend's [1] - 208:21
 244:1, 244:17             68:6, 68:12, 69:14,     238:6, 242:8, 243:20    233:2, 233:24,            stipends [5] - 208:10,
stamp [17] - 14:2,         69:16, 70:2, 70:4,     State [145] - 1:10,      236:10, 238:19,            208:11, 208:13,
 17:18, 18:2, 18:5,        70:6, 73:5, 75:3,       3:12, 6:10, 7:12,       238:23, 239:19             208:16, 221:25
 20:2, 20:12, 29:3,        75:4, 75:5, 75:8,       30:4, 32:11, 65:12,    State's [4] - 7:8, 7:15,   stipulation [4] - 7:10,
 34:24, 35:3, 35:14,       75:10, 75:11, 76:5,     66:13, 67:3, 67:6,      86:12, 148:3               7:14, 7:23, 8:1
 35:17, 41:1, 46:15,       76:18, 76:20, 76:21,    67:12, 67:16, 68:18,   state's [1] - 119:9        stipulations [1] -
 46:20, 151:23,            76:23, 77:16, 77:19,    69:8, 70:12, 73:11,    state-wide [1] - 129:4      246:3
 159:13, 231:15            78:2, 79:4, 79:16,      74:8, 74:18, 74:19,    statement [18] - 23:5,     stood [1] - 151:21
stamps [55] - 12:24,       80:23, 84:19, 86:21,    74:24, 79:13, 79:15,    80:18, 81:14,             stop [9] - 35:25,
 12:25, 13:9, 13:10,       87:10, 88:23, 88:24,    83:3, 83:19, 83:20,     115:22, 139:9,             123:21, 124:23,
 13:14, 18:15, 20:14,      88:25, 89:5, 89:7,      84:4, 84:7, 84:11,      139:12, 139:15,            125:5, 125:6, 140:6,
 33:13, 35:15, 35:21,      89:9, 89:12, 91:1,      84:14, 84:15, 84:16,    139:17, 139:23,            140:7, 212:10,
 36:10, 36:11, 36:13,      91:5, 92:8, 92:13,      84:20, 84:21, 86:24,    139:24, 140:1,             229:21
 36:21, 37:11, 37:19,      92:21, 95:7, 96:3,      87:3, 87:16, 87:19,     140:5, 179:21,            stopped [2] - 57:18,
 37:24, 39:15, 40:2,       97:10, 98:24, 99:3,     87:22, 88:19, 89:3,     179:24, 180:3,             181:6
 40:4, 40:7, 40:21,        102:1, 102:6,           89:20, 92:1, 93:10,     180:13, 180:16,           store [3] - 25:7, 62:15
 41:14, 42:14, 43:5,       105:12, 106:25,         93:15, 94:18, 95:4,     208:15                    stored [1] - 213:14
 43:6, 44:1, 44:25,        107:22, 107:23,         95:10, 95:13, 95:14,   statements [4] -           story [3] - 51:2, 62:22,
 45:1, 45:4, 45:25,        108:10, 109:2,          95:17, 95:24, 95:25,    209:9, 216:10,             67:24
 52:16, 52:17, 52:18,      109:13, 112:9,          96:4, 97:21, 98:1,      236:13
                                                                                                     straighten [1] - 49:1
 52:19, 58:16, 58:21,      113:22, 115:23,         99:20, 100:1, 100:3,   STATES [2] - 1:1, 1:19
                                                                                                     strategies [1] - 166:12
 59:4, 154:16,             116:13, 117:18,         100:6, 100:8,          states [1] - 118:13
                                                                                                     Street [25] - 1:22, 2:5,
 158:24, 159:1,            118:7, 118:8,           100:25, 101:4,         stating [6] - 25:4,         2:9, 2:19, 2:23, 3:4,
 159:5, 159:9,             118:15, 118:18,         101:11, 102:15,         27:1, 51:11, 173:17,       3:13, 3:17, 4:5, 4:11,
 159:22, 159:23,           118:19, 118:20,         102:16, 102:22,         207:1, 219:17              4:16, 11:3, 11:6,
 160:1, 160:5,             118:21, 118:24,         103:8, 105:18,         statistical [1] - 111:4     11:18, 15:4, 15:7,
 227:20, 227:24,           119:1, 119:3,           106:2, 107:10,         statistically [1] -         25:5, 30:1, 31:12,
 229:2, 229:4, 229:6,      119:10, 119:11,         108:9, 109:22,          111:12                     31:17, 51:14, 57:7,
 231:23, 231:25            119:16, 119:23,         110:20, 113:11,        status [4] - 31:8,          57:16, 61:20, 62:3
stand [2] - 130:25,        120:3, 120:5,           115:16, 115:20,         57:23, 57:24, 243:25      street [1] - 155:8
 160:19                    120:11, 120:16,         138:22, 138:24,        stay [6] - 57:15,          streets [2] - 25:11,
standing [9] - 68:14,      120:18, 121:8,          139:2, 139:7,           158:22, 160:23,            50:25
 73:6, 114:3, 132:25,      122:1, 122:3,           139:10, 139:15,         165:11, 172:11,
                                                   139:18, 140:2,                                    stressful [1] - 58:3
 155:9, 156:22,            122:15, 123:7,                                  246:5
                                                   140:15, 140:16,                                   strike [4] - 25:17,
 181:23, 182:18,           123:14, 123:17,                                stayed [1] - 158:19
                                                   140:19, 141:1,                                     71:16, 173:6, 243:20
 239:6                     123:20, 123:24,                                staying [3] - 15:3,
                                                   141:23, 142:4,                                    structure [6] - 74:18,
standpoint [3] - 77:13,    124:8, 124:21,                                  31:13, 57:11
                                                   142:10, 142:25,                                    79:11, 114:24,
 108:9, 129:6              125:15, 126:8,                                 Stenography [1] -
                                                   144:9, 144:13,                                     123:13, 123:14,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 274 of 278
                                                                                                                                28


 171:24                     165:13, 165:18,             136:9, 137:11,          ten [2] - 58:14, 146:18     6:17, 6:19, 7:5, 8:1,
structured [1] -            202:9, 202:22,              137:14                  tender [1] - 49:22          8:6, 8:10, 8:13, 8:16,
 114:20                     235:4, 243:13             targeted [4] - 203:12,    tennis [1] - 72:18          8:18, 9:9, 9:11, 9:15,
stubs [1] - 78:23          supposedly [1] -             203:17, 216:20,         tenure [1] - 242:14         10:4, 12:5, 12:13,
students [4] - 72:13,       148:19                      221:1                   term [11] - 54:15, 91:8,    14:17, 15:12, 16:15,
 207:12, 207:13,           surely [1] - 91:15         targeting [2] - 170:20,     100:12, 142:7,            17:10, 17:12, 17:13,
 222:3                     Susan [2] - 246:14,          220:23                    142:9, 169:20,            19:10, 19:11, 19:12,
study [1] - 154:8           246:18                    tax [2] - 76:11, 100:18     170:12, 202:18,           19:13, 19:22, 23:11,
stuff [5] - 82:1, 105:7,   SUSAN [2] - 1:21,          taxes [2] - 76:14,          203:8, 224:3, 241:11      23:18, 23:22, 24:11,
 111:11, 182:21,            246:17                      100:16                  terminology [1] -           27:8, 27:9, 27:10,
 183:8                     susan_zielie@laed.         Taylor [58] - 3:17,         144:21                    29:16, 31:21, 31:25,
subcommittee [2] -          uscourts.gov [1] -          4:10, 9:15, 73:7,       terms [9] - 68:22,          32:12, 32:14, 32:24,
 166:10, 166:11             1:23                        73:10, 73:20, 74:4,       69:1, 78:18, 82:4,        33:3, 36:3, 39:4,
subject [7] - 60:17,       suspend [1] - 125:3          81:4, 82:17, 114:7,       111:4, 122:10,            39:6, 42:6, 42:9,
 60:24, 105:22,            suspension [2] -             128:10, 128:13,           224:1, 225:5, 231:6       44:9, 45:14, 45:16,
 186:22, 212:22,            127:15, 127:16              128:18, 129:16,         testified [25] - 8:11,      48:7, 48:15, 48:19,
 214:6, 244:22             suspicion [1] - 191:18       135:5, 135:6, 135:9,      9:22, 32:7, 33:12,        48:24, 49:2, 49:6,
submit [4] - 43:2,         sustain [2] - 211:17,        135:11, 135:20,           51:25, 64:25, 81:21,      49:10, 49:12, 49:14,
 46:19, 106:2, 206:25       211:18                      135:24, 140:7,            86:23, 102:19,            49:18, 49:23, 54:16,
submitted [18] -           sustained [14] - 16:15,      141:4, 143:5, 157:9,      110:1, 113:5, 135:7,      55:14, 56:12, 56:17,
 20:18, 21:1, 23:5,         54:16, 88:1, 91:23,         161:3, 162:13,            142:23, 178:9,            60:12, 60:17, 61:9,
 33:13, 42:24, 43:19,       102:12, 105:25,             163:23, 168:19,           178:10, 189:13,           61:16, 61:17, 61:23,
 176:23, 176:25,            127:25, 130:21,             169:12, 170:17,           192:21, 194:24,           62:1, 62:2, 62:3,
 178:16, 179:21,            131:3, 178:11,              174:19, 178:13,           199:5, 210:24,            62:4, 62:5, 62:7,
 179:24, 194:16,            209:12, 210:22,             179:18, 180:22,           211:4, 211:6,             62:8, 62:11, 62:12,
 195:3, 195:4, 195:5,       234:14, 238:1               181:11, 183:14,           212:15, 238:6,            62:14, 62:17, 62:19,
 204:8, 204:23             SUZY [2] - 5:18,             187:10, 189:13,           241:13                    62:21, 62:23, 63:3,
subsequent [4] -            241:13                      192:4, 193:18,          testify [9] - 8:25, 10:2,   63:6, 63:7, 63:10,
 41:16, 41:17, 172:3,      Suzy [3] - 241:3,            204:5, 204:8,             65:12, 81:11, 81:21,      63:12, 63:14, 63:20,
 172:6                      241:17                      215:13, 223:17,           135:24, 143:3,            63:21, 63:22, 63:24,
suburbs [1] - 111:10                                    227:7, 230:24,            163:7, 211:15             63:25, 64:1, 64:2,
                           switched [1] - 237:9
successful [1] -                                        231:19, 232:24,         testifying [6] - 103:7,     64:4, 64:5, 64:7,
                           sworn [7] - 8:11,
 193:14                                                 233:3, 233:8, 235:3,      106:10, 109:15,           64:9, 64:10, 64:12,
                            64:25, 82:6, 89:17,
succession [3] -                                        236:6, 237:11,            109:18, 110:5, 115:3      64:17, 64:22, 65:2,
                            110:6, 135:7, 241:13
 187:18, 188:2, 188:4                                   238:6, 238:20,          testimony [51] - 9:20,      65:4, 66:16, 66:21,
                           system [8] - 83:3,
                                                        239:18, 240:19,           9:21, 9:24, 23:20,        66:24, 66:25, 67:10,
sudden [1] - 28:21          147:24, 148:16,
                                                        240:25                    33:7, 36:1, 36:4,         69:19, 69:23, 70:7,
sued [1] - 214:9            148:17, 244:5
                                                      TAYLOR [5] - 5:13,          37:12, 37:13, 40:7,       72:1, 75:21, 75:23,
suggest [1] - 224:10       systematic [1] -
                                                        10:3, 10:5, 135:7,        40:10, 40:19, 41:4,       75:24, 80:10, 81:16,
suit [5] - 84:20, 87:16,    169:19
                                                        135:15                    41:12, 43:20, 44:3,       81:19, 82:7, 82:12,
 95:25, 182:19,
                                                      team [2] - 56:13,           53:9, 60:8, 61:7,         82:24, 83:1, 83:7,
 242:21                               T                 242:24                                              88:1, 88:16, 90:21,
Suite [4] - 2:5, 2:9,                                                             62:5, 89:2, 90:7,
                                                      technology [4] -            91:22, 97:20, 98:16,      91:23, 93:19, 93:23,
 2:19, 3:5                 tab [23] - 12:7, 16:18,
                                                        147:14, 147:23,           99:5, 100:19,             94:4, 94:12, 97:2,
sums [1] - 213:5             16:19, 16:24, 16:25,
                                                        166:15, 166:25            100:22, 100:24,           97:14, 98:8, 99:7,
Sunday [2] - 138:2,          17:8, 23:7, 23:25,
                                                      Teenth [2] - 138:13,        103:21, 105:21,           99:12, 101:15,
 154:8                       32:24, 33:3, 33:4,
                                                        138:16                    107:3, 107:20,            101:17, 102:12,
superintendent [1] -         38:12, 39:4, 42:19,
                                                      telemarketing [1] -         112:6, 131:13,            104:24, 105:1,
 137:12                      43:4, 161:4, 167:5,
                                                        147:1                     156:16, 180:10,           105:25, 110:15,
supplied [4] - 205:8,        174:16, 175:17,
                                                      telephone [9] - 142:1,      182:16, 184:3,            111:20, 115:4,
 205:15, 205:24,             175:18, 233:2
                                                        146:25, 147:5,            190:11, 191:10,           116:2, 116:3, 117:5,
 225:11                    table [8] - 62:13,
                                                        151:21, 173:2,            192:6, 193:2, 198:5,      117:6, 127:25,
support [3] - 72:9,          62:16, 62:18,
                                                        178:25, 219:6,            199:24, 216:18,           129:24, 130:3,
 132:18, 173:1               150:16, 150:17,
                                                        220:22, 227:17            219:19, 221:14,           130:19, 130:23,
Support [1] - 21:12          150:20, 179:6, 179:7
                                                      telephones [3] -            223:21, 229:1, 235:2      131:2, 131:21,
supported [3] - 173:2,     tables [2] - 147:2,
                                                        77:12, 209:17,          TESTIMONY [1] - 5:2         132:2, 132:5, 132:7,
 173:3                       150:10
                                                        222:12                  text [2] - 166:15,          132:8, 132:12,
suppose [3] - 119:22,      tag [1] - 110:25
                                                      telephoning [3] -           166:25                    132:14, 132:22,
 120:20, 122:13            talks [3] - 91:6, 186:7,
                                                        166:15, 166:21,                                     132:23, 133:5,
supposed [9] - 13:21,        186:10                                             THE [349] - 1:1, 1:2,
                                                        177:6                                               133:10, 133:14,
 108:20, 148:6,            Tangipahoa [3] -                                       1:5, 1:18, 6:3, 6:12,
                                                                                                            133:16, 133:17,
 Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 275 of 278
                                                                                                                               29


133:18, 133:19,          219:21, 220:15,          timing [1] - 122:15          172:1                    truth [4] - 89:17,
133:20, 133:22,          221:22, 221:23,          title [8] - 85:18,         TOWNSEND [1] - 3:11          108:5, 110:6, 110:8
133:24, 133:25,          222:8, 223:10,             204:11, 204:12,          track [2] - 146:6,         truthful [2] - 139:21,
134:1, 134:2, 134:7,     223:14, 229:20,            204:13, 204:14,            244:21                     168:24
135:3, 135:6, 135:9,     232:19, 232:20,            204:22, 204:23,          tracks [2] - 203:13,       try [20] - 29:23, 36:5,
135:11, 135:12,          234:12, 234:14,            235:11                     203:17                     37:5, 68:3, 68:5,
135:14, 135:16,          235:17, 237:9,           titled [1] - 60:10         tract [3] - 169:22,          71:19, 71:20, 80:7,
140:7, 140:10,           237:10, 237:13,          titles [1] - 140:23          205:5, 216:20              80:8, 80:20, 128:15,
141:10, 143:1,           237:15, 237:17,          tjones@tomoneslaw          tracts [1] - 205:19          132:19, 144:19,
144:4, 145:19,           237:18, 237:25,            .com [1] - 3:10          trade [1] - 10:19            146:6, 195:7, 200:5,
148:2, 148:5, 148:7,     238:1, 238:15,           today [24] - 8:23, 8:25,   trades [1] - 10:19           200:16, 243:1,
148:9, 148:13,           238:25, 239:1,             21:2, 54:22, 59:13,      trailer [4] - 57:9,          245:13
152:24, 155:23,          239:3, 239:14,             60:6, 65:10, 65:13,        57:11, 57:15, 61:22      trying [23] - 79:7,
156:13, 156:24,          239:22, 239:23,            67:2, 71:12, 85:2,       trained [3] - 103:17,        81:25, 82:2, 94:1,
157:3, 157:14,           240:20, 240:21,            89:2, 91:16, 100:24,       103:18, 244:18             94:2, 98:22, 107:19,
159:2, 161:1, 161:9,     240:22, 240:23,            105:21, 106:10,          training [16] - 7:16,        126:4, 126:6,
161:24, 162:1,           240:24, 241:4,             135:24, 158:5,             7:17, 7:19, 141:24,        126:14, 146:24,
162:5, 162:11,           241:7, 241:10,             173:4, 180:2,              163:8, 164:15,             172:9, 185:17,
163:2, 163:10,           241:15, 241:17,            209:25, 216:2,             223:23, 224:6,             185:20, 186:17,
163:15, 163:17,          243:5, 245:8,              216:15, 242:6              224:9, 224:16,             194:17, 194:20,
163:18, 163:19,          245:18, 245:23,          together [6] - 121:7,        224:17, 224:23,            200:3, 200:11,
163:21, 168:9,           246:5                      155:12, 156:4,             244:12, 244:15,            202:20, 212:24,
168:14, 169:7,         themselves [3] - 1:6,        213:3, 217:16,             244:19                     222:2, 225:25
170:4, 171:17,           68:4, 113:1                245:12                   trainings [1] - 164:20     TUESDAY [1] - 6:1
172:9, 174:17,         therefore [7] - 147:11,    toll [2] - 170:21, 171:4   transcript [2] - 90:17,    Tuesday [1] - 154:10
174:19, 174:21,          151:7, 152:5,            toll-free [2] - 170:21,      246:15                   turn [28] - 12:7, 14:14,
174:22, 174:24,          159:17, 170:13,            171:4                    TRANSCRIPT [1] -             16:17, 17:8, 17:9,
175:1, 175:2, 175:5,     226:5, 232:11            TOM [1] - 1:9                1:17                       18:9, 19:9, 19:15,
175:7, 175:9,          they've [2] - 109:25,      tomorrow [2] - 246:1,                                   22:7, 43:4, 161:20,
                                                                             transportation [2] -
175:11, 175:12,          183:8                      246:8                                                 163:13, 164:23,
                                                                               155:5, 220:25
177:19, 178:2,         thinking [2] - 17:4,       tongue [1] - 139:23                                     166:2, 168:19,
                                                                             treasurer [6] - 73:4,
178:5, 178:11,           156:6                                                                            169:12, 176:11,
                                                  tongue-tied [1] -            106:13, 106:14,
180:8, 180:15,         thinks [2] - 120:18,                                                               180:23, 204:4,
                                                    139:23                     113:12, 115:9
181:17, 182:3,           122:15                                                                           230:12, 230:14,
                                                  took [5] - 10:19,          Trial [1] - 1:9
182:12, 182:15,        third [3] - 59:12,                                                                 233:4, 233:7, 234:2,
                                                    37:24, 55:25, 96:12,     trial [5] - 6:7, 23:15,
182:22, 182:24,          212:20, 233:12                                                                   234:21, 235:8,
                                                    226:11                     191:15, 191:17,
183:5, 183:10,         thirty [1] - 177:22                                                                235:14
                                                  tool [1] - 161:14            214:20
184:5, 184:7,          thousand [2] - 145:24,                                                           turnout [7] - 166:11,
                                                  toolbox [2] - 167:10,      TRICHE [1] - 1:18
185:21, 187:7,           146:14                                                                           169:19, 170:9,
                                                    168:21                   tried [8] - 27:16, 28:5,
188:20, 188:21,        three [25] - 7:2, 19:18,                                                           170:11, 203:12,
                                                  toolkit [9] - 205:13,        154:7, 159:23,
189:10, 189:24,          22:23, 29:4, 59:18,                                                              203:16, 205:6
                                                    218:10, 218:12,            180:10, 182:16,
190:4, 190:14,           59:22, 63:8, 130:7,                                                            tutorial [1] - 137:2
                                                    218:17, 218:21,            213:3, 221:17
190:16, 190:22,          144:11, 147:4,                                                                 twice [3] - 180:4,
                                                    220:18, 222:10,          trip [3] - 41:16, 41:17,
191:14, 191:24,          153:23, 154:1,                                                                   228:2, 236:20
                                                    222:19, 235:12             58:21
192:8, 192:15,           157:11, 157:17,                                                                Two [1] - 1:10
                                                  top [12] - 15:20, 18:18,   trips [2] - 41:17, 42:13
193:21, 193:25,          157:23, 159:20,                                                                two [39] - 14:14,
                                                    34:14, 47:3, 95:3,       trouble [2] - 137:3,
194:2, 195:20,           159:24, 166:4,                                                                   19:15, 21:1, 26:8,
                                                    118:7, 123:14,             200:4
195:22, 198:9,           179:1, 210:7,                                                                    26:12, 27:23, 29:9,
                                                    186:4, 205:3,            truck [1] - 31:13
199:13, 199:18,          215:14, 216:11,                                                                  43:25, 44:1, 44:5,
                                                    222:17, 229:21           true [21] - 29:25,
200:5, 200:8,            216:13, 216:15                                                                   48:13, 53:5, 55:1,
                                                  topic [5] - 21:11, 81:5,     35:13, 38:8, 39:12,
200:12, 200:17,        three-pronged [2] -                                                                57:19, 59:15, 62:20,
                                                    237:4, 238:5, 242:16       43:14, 43:20, 46:12,
201:22, 201:24,          144:11, 179:1                                                                    73:4, 77:22, 79:3,
                                                  topics [5] - 26:3,           47:4, 53:12, 56:6,
204:1, 207:20,         throughout [2] - 68:5,                                                             88:12, 93:4, 137:23,
                                                    81:10, 81:13, 81:22,       85:23, 107:2,
209:8, 209:12,           69:12                                                                            138:15, 140:21,
                                                    130:7                      107:23, 108:5,
210:22, 211:17,        Thursday [1] - 154:10                                                              155:11, 160:3,
                                                  total [6] - 176:14,          114:20, 118:2,
212:6, 212:10,         tie [3] - 116:11,                                                                  166:19, 184:3,
212:12, 213:2,                                      184:18, 196:22,            118:6, 123:20,
                         141:10, 141:11             197:1, 199:23,             127:19, 225:1, 228:7       184:23, 187:8,
213:23, 214:14,                                                                                           193:8, 205:20,
                       tied [2] - 139:23, 197:9     199:25                   trust [2] - 106:14,
215:5, 215:9, 217:4,                                                                                      205:22, 210:7,
                       timeframe [1] - 205:23     toward [1] - 110:21          129:18
217:13, 217:18,                                                                                           215:14, 217:16,
                       timely [1] - 193:15        towards [2] - 169:18,      trusted [1] - 226:18
219:17, 219:18,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 276 of 278
                                                                                                                               30


  231:4, 236:7, 239:13     unit's [2] - 118:15,       71:25, 72:1, 75:2,        Vietnam [5] - 10:10,        53:10, 54:3, 54:6,
two-paged [1] - 193:8       127:19                    77:7, 79:3, 82:22,         10:15, 10:16, 29:9,        58:15, 59:3, 59:20,
type [4] - 124:8,          UNITED [2] - 1:1, 1:19     83:25, 85:24, 88:17,       61:14                      59:23, 60:22, 61:5,
  136:18, 141:19,          Units [2] - 124:19         98:14, 98:15, 98:24,      view [1] - 72:6             62:10, 63:17, 120:4,
  173:21                   units [83] - 69:15,        98:25, 99:1, 99:4,        violation [1] - 127:18      120:6, 140:25,
typed [1] - 193:20          69:17, 70:2, 70:3,        109:4, 118:21,            violations [1] - 156:18     142:12, 144:16,
types [3] - 72:25,          70:6, 71:14, 75:3,        121:5, 121:25,            visit [2] - 44:21, 246:6    144:18, 144:19,
  88:12, 103:18             75:7, 79:24, 88:24,       123:4, 123:5, 125:8,      voluntary [2] - 121:14,     145:8, 145:13,
Tyra [1] - 193:4            89:1, 100:11,             125:18, 130:25,            121:18                     145:23, 146:1,
                            100:15, 100:23,           131:2, 132:17,            volunteer [6] - 104:12,     146:12, 146:15,
           U                103:24, 104:2,            132:18, 133:1,             129:7, 181:8,              146:24, 147:19,
                            104:4, 104:8,             138:16, 138:20,            207:13, 208:23,            148:4, 148:7,
um-hum [2] - 212:14,        104:11, 104:14,           141:18, 142:1,             222:4                      148:20, 149:4,
 222:19                     104:20, 105:4,            142:2, 142:23,            volunteered [1] -           149:17, 150:1,
unclear [1] - 39:3          105:13, 105:17,           143:5, 146:18,             207:15                     150:3, 158:8,
under [20] - 17:8, 36:3,    106:20, 106:24,           147:2, 147:8,             volunteering [1] -          158:13, 160:5,
 67:21, 70:2, 76:13,        107:16, 107:21,           147:11, 148:17,            67:23                      160:12, 164:11,
 85:7, 87:23, 89:16,        107:22, 107:24,           150:8, 150:16,            volunteers [24] - 79:5,     165:20, 166:14,
 92:23, 93:6, 95:1,         108:6, 108:10,            150:17, 155:25,            79:7, 121:17, 129:2,       170:14, 179:1,
 100:11, 118:7,             108:14, 108:21,           156:1, 156:24,             207:6, 207:8, 207:9,       182:6, 220:23,
 169:17, 205:17,            109:12, 112:10,           156:25, 158:21,            208:7, 208:16,             221:2, 222:13,
 205:18, 208:8,             112:20, 112:23,           160:16, 162:18,            208:17, 208:23,            225:1, 226:12,
 219:22, 228:4,             112:25, 113:1,            164:23, 167:20,            208:25, 209:16,            229:4, 230:7
 235:19                     113:2, 113:6,             169:13, 175:4,             221:14, 221:16,           voted [4] - 60:22,
underlying [1] - 48:14      117:20, 118:2,            178:23, 178:25,            221:20, 221:21,            61:5, 120:8, 149:2
underneath [1] -            118:8, 118:13,            181:14, 182:25,            221:25, 222:4,            Voter [6] - 15:20,
 69:20                      123:15, 123:25,           190:1, 190:10,             222:8, 238:22,             18:18, 50:11, 60:10,
underperforming [1] -       124:1, 126:8, 126:9,      193:12, 199:11,            239:17, 239:18,            242:12, 244:13
 203:16                     126:18, 127:1,            200:12, 213:2,             240:13                    voter [190] - 17:3,
understood [4] - 33:7,      127:5, 127:17,            217:8, 223:23,            Vote [44] - 2:18, 2:23,     17:5, 17:7, 18:6,
 76:17, 122:5, 180:18       129:15, 132:16,           224:7, 225:7, 225:9,       75:15, 140:25,             21:5, 21:6, 21:7,
undertake [1] - 119:17      132:18, 132:19,           225:12, 225:13,            141:25, 144:10,            25:10, 25:11, 25:19,
unemployed [1] -            133:1, 133:12,            225:18, 226:17,            148:3, 173:3,              25:20, 25:22, 25:24,
 170:15                     154:16, 154:21,           231:17, 233:1,             192:12, 192:25,            26:14, 27:16, 27:25,
unemployment [1] -          159:12, 203:14,           234:2, 245:8, 245:9        193:16, 194:15,            28:2, 28:5, 28:15,
 169:22                     203:15, 224:1,           upcoming [1] - 79:24        194:25, 195:8,             28:20, 28:21, 30:9,
uninhabited [1] -           224:7, 225:16,           utilize [1] - 210:3         197:4, 197:21,             30:11, 30:20, 36:12,
 61:21                      225:21, 225:23,                                      198:7, 198:22,             36:19, 38:5, 38:8,
Unit [2] - 186:10,          225:24, 226:3,                      V                199:6, 199:8, 200:1,       38:10, 40:3, 40:8,
 205:4                      226:12, 227:9,                                       200:22, 201:17,            40:11, 40:12, 40:18,
                            227:20, 227:23,          Van [3] - 147:24,           202:11, 202:12,            44:2, 44:25, 45:2,
unit [43] - 69:15,
                            227:24, 227:25,           148:16, 148:17             202:13, 207:23,            47:11, 47:15, 50:16,
 69:24, 70:5, 70:15,
                            228:7                    varied [1] - 59:15          208:1, 216:25,             51:6, 51:9, 51:12,
 75:5, 89:22, 89:23,
                           University [1] - 65:25    various [6] - 10:23,        217:2, 217:11,             51:25, 52:5, 52:21,
 108:15, 119:12,
 120:5, 120:11,            unless [2] - 56:22,        37:21, 75:14,              217:22, 218:3,             53:15, 54:12, 54:19,
 120:17, 121:8,             99:10                     100:15, 118:8, 122:6       218:6, 218:15,             55:3, 55:8, 55:11,
 122:10, 123:1,            unofficial [1] - 140:24   vehicle [4] - 51:11,        218:20, 218:24,            56:3, 57:23, 57:24,
 123:21, 125:13,           unquote [2] - 114:8,       57:19, 57:25, 58:7         219:1, 219:2,              58:5, 58:19, 59:6,
 127:7, 127:10,             133:11                   vendors [2] - 244:7,        220:19, 221:12,            59:9, 59:25, 62:6,
 132:5, 133:3,             unregistered [3] -         244:10                     222:10, 224:9, 234:6       62:10, 64:5, 74:2,
 151:22, 154:17,            158:21, 235:25,          venue [1] - 226:20         vote [82] - 15:25, 16:1,    74:5, 75:15, 77:22,
 154:24, 155:8,             236:3                    verification [1] - 21:16    16:9, 18:23, 18:24,        77:23, 79:17, 79:19,
 155:10, 156:10,           unrelated [1] - 212:8     verified [1] - 189:7        24:20, 26:5, 26:10,        79:22, 79:23, 80:3,
 157:12, 157:19,           untimely [3] - 212:21,    version [3] - 176:2,        26:16, 26:19, 29:25,       81:23, 81:24, 82:16,
 157:25, 158:1,             214:3, 214:5              176:5, 179:6               30:16, 30:25, 31:16,       106:25, 107:10,
 158:23, 159:10,           up [93] - 10:19, 24:12,   versus [1] - 15:3           32:4, 37:1, 37:2,          107:13, 107:14,
 160:8, 163:24,             24:13, 26:8, 29:15,      veteran [3] - 10:11,        37:5, 37:9, 37:15,         107:17, 107:19,
 184:1, 185:12,             32:22, 34:14, 35:4,       10:15, 29:9                38:2, 44:4, 44:19,         107:22, 107:24,
 185:23, 188:11,            42:12, 43:23, 51:8,      vice [4] - 67:17, 73:3,     47:17, 47:21, 47:25,       108:2, 108:3, 108:7,
 227:1, 233:6, 234:5        54:22, 55:17, 71:17,      113:12                     48:2, 53:4, 53:7,          108:23, 109:9,
                                                                                                            110:21, 111:5,
  Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 277 of 278
                                                                                                                           31


 111:8, 112:9,           80:17, 80:19, 99:16,     ALEXANDER [1] -           witness's [4] - 60:8,       143:9, 145:4, 145:5,
 112:10, 112:16,         101:6, 130:9, 131:6,     3:11                       61:2, 111:16, 156:16       145:24, 153:12,
 112:21, 112:22,         141:17, 141:19,         willing [2] - 97:16,       witnesses [4] - 9:7,        153:16, 153:17,
 112:24, 113:5,          141:20, 141:23,          191:9                      9:9, 9:18, 83:6            154:22, 155:25,
 113:7, 119:23,          142:3, 142:18,          WILSON [1] - 2:8           women [1] - 71:6            156:1, 160:23,
 120:1, 120:3, 120:4,    143:10, 143:14,         Wilson [1] - 2:8           Women [1] - 231:11          170:9, 170:12,
 120:22, 120:25,         143:22, 144:6,          Wilson's [2] - 89:16,      wondering [1] - 188:5       172:17, 174:4,
 122:14, 122:17,         144:24, 145:22,          195:17                    word [6] - 15:24,           174:5, 174:7,
 122:22, 128:3,          146:22, 150:3,          window [7] - 13:12,         37:24, 76:18,              174:10, 176:3,
 128:11, 128:19,         163:6, 171:11,           13:16, 18:3, 20:22,        120:16, 187:8,             176:19, 176:21,
 128:23, 129:15,         172:17, 172:19,          40:3, 43:23, 157:23        241:10                     180:25, 183:16,
 130:9, 130:10,          226:15, 226:17          windows [1] - 42:16        wording [1] - 7:11          183:22, 196:1,
 131:7, 131:17,         vs [1] - 71:13           wished [1] - 37:15         words [5] - 101:3,          196:13, 199:4,
 133:8, 135:25,                                  withdraw [1] - 190:10       118:2, 123:4,              199:8, 200:20,
 144:20, 148:25,                  W              withdrawn [1] - 16:13       124:12, 170:1              216:15, 224:13,
 149:18, 151:16,                                 WITNESS [82] - 8:16,       worker [1] - 41:19          237:7, 238:7,
 153:2, 153:13,         wait [11] - 13:11,        12:13, 14:17, 15:12,      workers [5] - 35:3,         238:12, 238:23,
 153:20, 154:23,         19:10, 42:6, 45:14,      17:13, 19:11, 19:13,       155:2, 207:1, 207:2        245:18
 157:11, 157:18,         49:3, 49:6, 104:24,      19:22, 27:9, 39:6,        works [2] - 228:6,         years [47] - 10:11,
 159:20, 164:15,         193:25, 211:17,          42:9, 56:17, 61:16,        240:4                      10:23, 25:14, 29:4,
 166:10, 167:10,         219:4                    61:23, 62:2, 62:4,                                    29:9, 67:20, 71:5,
                                                                            workshops [8] -
 168:21, 169:19,        waited [1] - 181:9        62:7, 62:11, 62:14,        77:20, 77:21,              72:11, 73:25, 85:12,
 170:9, 170:21,         walked [2] - 62:21,       62:19, 62:23, 63:6,        107:13, 112:19,            100:9, 101:18,
 171:13, 172:1,          158:8                    63:10, 63:14, 63:21,       112:20, 134:1              101:24, 116:9,
 179:14, 179:16,        walking [1] - 226:25      63:24, 64:1, 64:4,        worship [1] - 138:3         118:9, 128:13,
 179:20, 180:25,        Walmart [4] - 150:7,      64:7, 64:10, 65:4,                                    129:3, 136:5, 137:8,
                                                                            write [8] - 34:17, 35:6,
 181:6, 183:21,          150:21, 151:22,          66:24, 69:23, 75:23,                                  137:23, 138:7,
                                                                             35:8, 83:23, 129:20,
 184:19, 198:16,         155:15                   82:24, 101:17,                                        138:25, 139:4,
                                                                             186:25, 207:4,
 200:20, 203:12,        Walmarts [1] - 154:15     105:1, 116:3, 117:5,                                  139:5, 139:13,
                                                                             215:21
 203:16, 205:6,         wants [1] - 123:2         132:5, 132:8,                                         139:14, 139:19,
                                                                            writing [2] - 16:9,
 211:1, 211:10,         Washington [2] -          132:14, 132:23,                                       140:3, 140:14,
                                                                             125:9
 212:15, 213:12,         2:20, 2:24               133:10, 133:16,                                       140:15, 140:18,
                                                                            written [12] - 14:22,
 213:14, 213:20,        waste [1] - 160:15        133:18, 133:20,                                       145:1, 145:13,
                                                                             23:5, 24:5, 36:8,
 216:5, 223:23,         water [1] - 158:6         133:24, 134:1,                                        146:18, 147:9,
                                                                             139:8, 169:17,
 224:24, 225:5,         ways [2] - 146:25,        135:11, 135:14,                                       156:4, 167:1,
                                                                             179:21, 179:24,
 225:14, 225:15,         242:25                   140:10, 148:5,                                        171:14, 172:3,
                                                                             180:3, 215:25,
 225:20, 226:15,        Weatherford [1] - 7:9     148:9, 161:9,                                         172:6, 172:8,
                                                                             236:24, 237:1
 226:24, 227:1,         web [3] - 166:15,         163:15, 163:18,                                       172:15, 216:11,
                                                                            wrote [4] - 98:11,
 227:13, 227:16,         166:24                   163:21, 174:21,                                       216:13, 237:14
                                                                             128:4, 194:4, 194:11
 227:24, 229:25,        webinars [1] - 177:5      174:24, 175:2,                                       YELLIN [1] - 2:13
 231:8, 231:15,         week [5] - 57:19,         175:7, 175:11,                                       yesterday [2] - 9:13,
 231:21, 234:5,                                                                         X               199:21
                         154:4, 154:7, 154:9,     188:20, 194:2,
 234:16, 235:7,          236:20                   201:24, 204:1,                                       York [3] - 2:6, 2:15,
                                                                            XXX [1] - 226:17
 235:24, 236:4,         weekly [1] - 177:7        212:6, 219:17,                                        2:15
 238:7, 238:11,                                                                                        young [3] - 67:22,
 238:19, 238:22,
                        weeks [2] - 20:13,        221:23, 222:8,                        Y               130:23, 137:3
                         55:1                     232:19, 235:17,
 239:18, 240:4                                    237:9, 237:13,            ya'll [8] - 105:10,        yourself [6] - 10:9,
                        weight [1] - 191:16
Voters [3] - 30:24,                               237:17, 237:25,            116:6, 116:22,             72:21, 136:3, 145:2,
                        whatnot [1] - 246:3
 31:7, 52:21                                      238:25, 239:22,            189:24, 207:6,             151:24, 165:16
                        whatsoever [1] -
voters [18] - 96:8,                               240:21, 240:23,            210:12, 217:22,           Youth [5] - 83:19,
                         110:14
 109:23, 110:11,                                  241:17                     221:4                      83:20, 84:7, 84:22,
                        white [1] - 101:20
 111:13, 148:6,                                  witness [20] - 6:4, 7:7,   year [58] - 7:15, 27:3,     87:20
                        who'll [1] - 222:13
 148:19, 158:21,                                  8:8, 28:11, 31:15,         27:8, 38:6, 78:2,         youth [5] - 69:12,
                        whoever's [1] - 150:15
 169:20, 169:21,                                  32:9, 49:22, 54:15,        78:6, 78:8, 78:9,          69:18, 88:21, 92:1,
                        whole [4] - 77:14,
 170:14, 220:23,                                  55:17, 64:23, 93:22,       78:15, 106:12,             92:9
                         108:5, 185:5, 229:20
 220:25, 221:1,                                   93:25, 98:13,              106:17, 107:15,           YYY [1] - 226:18
                        WIC [4] - 8:3, 154:18,
 222:13, 227:21,                                  130:19, 135:4,             107:16, 107:17,
                         159:1, 231:23
 235:25, 236:3
                        wide [1] - 129:4          168:11, 178:1,             108:13, 112:15,                      Z
Voting [1] - 99:21                                178:8, 191:23,             113:6, 132:21,
                        WILLIAMS [1] - 3:11
voting [31] - 31:17,                              234:12                     142:5, 142:11,            zero [1] - 128:15
                        WILLIAMS-
 79:12, 79:14, 79:18,
   Case 2:11-cv-00926-JTM-JCW Document 421 Filed 11/13/12 Page 278 of 278
                                                                            32


ZIELIE [2] - 1:21,
 246:17
Zielie [2] - 246:14,
 246:18
